Case 3:18-cv-01063-JWD-EWD        Document 99-4      04/27/22    Page 1 of 236




               UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF LOUISIANA


STANLEY P. BAUDIN,                   )
                                     )
                     Plaintiff,      )   Civil Action No.: 18-1063
                                     )
                                     )
     v.
                                     )   JUDGE SHELLY DICK
                                     )
                                     )
ASTRAZENECA
PHARMACEUTICALS LP;                  )   MAGISTRATE JUDGE
ASTRAZENECA LP; and MERCK            )
                                     )   ERIN WILDER-DOOMES
SHARP & DOHME CORPORATION,
                                     )
                     Defendants.     )

                    RULE 26 EXPERT REPORT
             HELGE WALDUM, MD, PhD, DOCTOR d ETAT




                                                                                 EXHIBIT 3
Case 3:18-cv-01063-JWD-EWD          Document 99-4       04/27/22      Page 2 of 236




The Use of Proton Pump Inhibitors and the Development of Gastric Cancer and the
                            Rebound Phenomenon

              Expert Report of Helge Waldum, MD, PhD, Doctor d'Etat

                    Professor of Medicine and Gastroenterology

                  Department of Clinical and Molecular Medicine
                 Norwegian University of Science and Technology
                              Trondheim, Norway




                                  Page 1 of 160
   Case 3:18-cv-01063-JWD-EWD           Document 99-4   04/27/22   Page 3 of 236




                                  TABLE OF CONTENTS
                                                .
II. Backgro                                                                          ...
                                                                                           ..
                                                                   ..
                                                                              ...                       ....21
                                                                                           .


                                                                        ...
                                                                                                          .27
       B. The Enterochromaffin-                                                     ................28
                                                                                               .
                                                                                                           37
XI. Agents Reducing Gastric A                                                                              42
                                                                                     ..............43
                                                                                      ...
                                                                                                    .
XV. Gastric Polyps an                                                                                      51


                                                                              .
                                                                                     ...............60
                                                                                                          .66
       B. Neur                                                .
                                                                                                        ....82
                                                                                                            5
                                                                                                         .93
XXI. Determination of Causation: The Bradford                                                            110
                                                                                                .           1
   Case 3:18-cv-01063-JWD-EWD           Document 99-4   04/27/22   Page 4 of 236




                                                                                .           9
                                                                                         .121
                                                                                          122
      E. Biological Gradient (Dose Respons                                ..             .123
                                                                   .......................132
                                                                                    .     134
                                                                          . .       . ...135
                                                                     ..                 ...137
                                                                                 .          9
                                                                           ...............141
XXIV. Specific Causation C                                                          ... 142
                                                                               . .         4
     Case 3:18-cv-01063-JWD-EWD             Document 99-4         04/27/22     Page 5 of 236




I.      Introduction and Scope

I have been asked to review, analyze, and provide an expert opinion on the current state of

scientific evidence concerning the relationship between the use of proton pump inhibitors (PPIs)

and the risk of gastric cancer.

My focus is to review the cumulative medical and scientific evidence, published and otherwise,

and draw upon nearly 50-years of thought, research, and study of the scientific and medical

literature regarding the trophic hormone, gastrin, gastric anatomy & physiology, gastric

pathology, and gastric carcinogenicity.

All of my opinions are held to a reasonable degree of medical certainty, and I reserve the right to

modify my opinions based on further documents or information that may be provided to me in

the future.

II. Background, Education, Experience, Credentials and Qualifications

I am Professor of Medicine, Department of Clinical and Molecular Medicine, Norwegian

University of Science and Technology, Trondheim, Norway.

I received my MD from Oslo University, Norway in 1971 with the second-best results ever

obtained, and the achievement was reported to the King.

After finishing my MD, I worked at district hospital for 12 months and in general practice for 6

months. In 1973 I worked at Institute for Job Physiology, University of Oslo where I started to

do research resulting in my two first publications on extreme physical loads and recovery.

My next position was at Tromsø, in the north of Norway, where a new university had been

established a few years before, and where I stayed for nearly eight years. All the time I had


                                          Page 4 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22     Page 6 of 236




combined positions at Department of Internal Medicine, mainly at Section of Gastroenterology

and Hepatology, and Institute of Clinical Medicine, University of Tromsø.

At my first day of work in Tromsø I was approached by the young professor in Gastroenterology

who suggested that I should start doing research on gastrin. Since that day, January the second,

1974, there has been no day that I have not thought of gastrin.

I went to Professor Jens Rehfeld, Copenhagen and learned radioimmunoassay of gastrin which

we established at our research laboratory. Afterwards, we established radioimmunoassay of

many other gastrointestinal peptides like secretin, VIP, GIP, and pepsinogen I (a useful marker

for evaluation of the gastric acid producing mucosa of the stomach)1,2

I defended my first thesis in Tromsø: Studied on group I Pepsinogens and Secretin.3,4 The last

year spent in Tromsø I was temporary Professor and Head of the Clinical Unite of

Gastroenterology.

I moved to my birth area, Trondheim, in the autumn of 1981 where I got a combined position at

the university and the hospital. In January of 1986 I was appointed Professor, a position I have

maintained from that time. I was the Head of Department of Gastroenterology and Hepatology

for about twenty years until I left that position at the age of 67 years in 2013 but continued as

Senior Consultant until 2018.

I spent one year in Paris at Hôpital Bichat where I did gastrointestinal research guided by

Professeur Serge Bonfils. During this stay I passed a course on gastrointestinal physiology and

gastroenterology: Waldum HL. Production d'anticorps monoclonaux à partir d'une lignée de

cellules gastriques humaines HGT-1. Diplôme d'etudes approfondies de biologie cellulaire et




                                          Page 5 of 160
   Case 3:18-cv-01063-JWD-EWD                Document 99-4         04/27/22     Page 7 of 236




fonctionelle des processus digestifs. Année 1987-1988. Responsable: Professeur S. Bonfils -

Paris VII.

This course made it possible for me to defend my second thesis which I started on the

sabbatical year in Paris and fulfilled in Trondheim after returning home. I defended it in Paris in

1993: Waldum HL. La Cellule Enterochromaffin-Like (ECL) - Une Cellule Clé De La

Muqueuse Gastrique. Thesis. Université de Paris, 1993 avec la menmtion: Très honorable avec

Felicitations. (The enterochromaffin-like cell (ECL) - a key cell in the gastric mucosa. Thesis.

University of Paris, 1993 with the mention: Very Honorable with Congratulations).

I am a physician with a specialty in gastroenterology, gastric anatomy & physiology and I have

spent over 50-years investigating gastric disorders including gastric pathology and gastric

carcinogenesis. As such, I hold expertise in gastric pathology and carcinogenesis, especially

gastric tumour pathology.

In the 1980s we made important contributions to the understanding of gastric acid regulation

showing the central role of the ECL cell releasing histamine stimulating the parietal cell to

secrete acid. With the description of the ECL cell malignant tumours in rodents secondary to

long-term gastric acid inhibition, we also started to study trophic effects and I led the

development of a histological laboratory.

During my year of training in Paris I finished a study which included pathological examinations;

this also assisted me in developing my expertise. During this period, I have cooperated with the

following persons at the Department of Pathology in Trondheim: Professor PhD Olav Haugen,

Professor PhD Christina Vogt Isaksen, Professor PhD Ivar Sjåk Nordrum. Professor Sture

Falkmer and senior consultant, PhD, Patricia Mjønes. Throughout my 30 years devoted for


                                            Page 6 of 160
   Case 3:18-cv-01063-JWD-EWD              Document 99-4        04/27/22     Page 8 of 236




pathology I have developed experience and expertise in the evaluation of histochemistry,

immunohistochemistry, electron microscopy, immune-electron microscopy, and in-situ

hybridization.

I have cooperated, internationally, with other experts in these areas including common

publications with:


   Professor Julia Polak



   neuroendocrinology. Paper: Waldum HL, Aase S, Kvetnoi I, Brenna E, Sandvik AK,

   Syversen U, Johnsen G, Polak JM. Neuroendocrine differentiation in human gastric

   carcinoma. Cancer 1998; 83: 435-444.

   Doctor Jun Soga. Dr. Jun Soga has worked within the field of neuroendocrinology for nearly



   reclassified the tumours occurring spontaneously in the rodent Mastomys from

   adenocarcinomas to neuroendocrine carcinomas as early as in the late sixties. We wrote

   together a paper which has been read and cited by others: Helge L Waldum 1, Arne K

   Sandvik, Eiliv Brenna, Reidar Fossmark, Gunnar Qvigstad, Jun Soga. Classification of

   tumours J Exp Clin Cancer Res. 2008 Nov 14;27(1):70.

   I will also add that many of the PhD theses I have supervised over the years have been, or

   more less, related to pathology and none of the international or national experts in pathology

   we have had as opponents                                 , have opined major criticism to our

   work in pathology.




                                         Page 7 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4        04/27/22     Page 9 of 236




My expertise in gastric pathology is also reflected in many of my publications:

   Waldum HL, Sørdal ØF. Classification of Epithelial Malignant Tumors - the Differentiation
   Between Adenocarcinomas and Neuroendocrine Carcinomas: Why Rely on Nonspecific
   Histochemistry and Dismiss Specific Methods Like Immunohistochemistry and In Situ
   Hybridization? Appl Immunohistochem Mol Morphol. 2016 May-Jun;24(5):309-12.

   Waldum HL, Fossmark R. Types of gastric cancer.                     Int J Mol Sci. 2018
   Dec. 18;19(12).

   Waldum HL, Sørdal ØF, Mjønes PG. The enterochromaffin-like (ECL) cell- central in
   gastric physiology and pathology. Int J Mol Sci 2019;20.

   Waldum HL, Fossmark R. Chronic gastritis, gastric acid secretion, gastrin and gastric
   cancer. Clin Transl Gastroenterol. 2019 Sep;10(9).

   Waldum H, Mjønes P. Towards Understanding of Gastric Cancer Based upon Physiological
   Role of Gastrin and ECL Cells. Cancers (Basel). 2020 Nov 22;12(11):3477.

   Waldum HL, Öberg K, Sørdal ØF, Sandvik AK, Gustafsson BI, Mjønes P, Fossmark R. Not
   only stem cells, but also mature cells, particularly neuroendocrine cells, may develop into
   tumours-time for a paradiogm shift. Therapeutic Advan Gastroenterol 2018,11:1-17.

   Mjønes P, Nordrum IS, Sørdal Ø, Sagatun L, Fossmark R, Sandvik A, Waldum HL.
   Expression of the Cholecystokinin-B Receptor in Neoplastic Gastric Cells. Horm Cancer.
   2018 Feb;9(1):40-54.

   Waldum H, Mjønes PG. Correct Identification of Cell of Origin May Explain Many Aspects
   of Cancer: The Role of Neuroendocrine Cells as Exemplified from the Stomach. Int J Mol
   Sci. 2020 Aug 11;21(16):5751.

   Fossmark R, Calvete O, Mjønes P, Benitez J, Waldum HL. ECL-cell carcinoids and
   carcinoma in patients homozygous for an inactivating mutation in the gastric H(+) K(+)
   ATPase alpha subunit. APMIS. 2016 Jul;124(7):561-6.

   Jianu CS, Lange OJ, Viset T, Qvigstad G, Martinsen TC, Fougner R, Kleveland PM,
   Fossmark R, Hauso Ø, Waldum HL. Gastric neuroendocrine carcinoma after long- term use
   of proton pump inhibitor. Scand J Gastroenterol. 2012 Jan;47(1):64-7.

   Jianu CS, Fossmark R, Viset T, Qvigstad G, Sørdal O, Mårvik R, Waldum HL. Gastric
   carcinoids after long-term use of a proton pump inhibitor. Aliment Pharmacol Ther. 2012
   Oct;36(7):644-9. doi: 10.1111/apt.12012. Epub 2012 Aug 5.

   Martinsen TC, Skogaker NE, Fossmark R, Nordrum IS, Sandvik AK, Bendheim MØ,
   Bakkelund KE, Waldum HL. Neuroendocrine cells in diffuse gastric carcinomas: an


                                          Page 8 of 160
Case 3:18-cv-01063-JWD-EWD            Document 99-4        04/27/22     Page 10 of 236




ultrastructural study with immunogold labeling of chromogranin A. Appl Immunohistochem
Mol Morphol. 2010 Jan;18(1):62-8.

Qvigstad G, Kolbjørnsen Ø, Skancke E, Waldum HL. Gastric neuroendocrine carcinoma
associated with atrophic gastritis in the Norwegian Lundehund. J Comp Pathol. 2008
Nov;139(4):194-201.

Fossmark R, Zhao CM, Martinsen TC, Kawase S, Chen D, Waldum HL. Dedifferentiation
of enterochromaffin-like cells in gastric cancer of hypergastrinemic cotton rats. APMIS.
2005 Jun;113(6):436-49.

Bakkelund K, Fossmark R, Nordrum I, Waldum H. Signet ring cells in gastric carcinomas
are derived from neuroendocrine cells. J Histochem Cytochem. 2006 Jun;54(6):615-21. doi:
10.1369/jhc.5A6806.2005. Epub 2005 Dec 12.

Fossmark R, Martinsen TC, Qvigstad G, Bendheim MØ, Kopstad G, Kashima K, Waldum
HL. Ultrastructure and chromogranin A immunogold labelling of ECL cell carcinoids.
APMIS 2005 Jul.Aug; 113(-8): 506-12.

Qvigstad G, Qvigstad T, Westre B, Sandvik AK, Brenna E, Waldum HL. Neuroendocrine
differentiation in gastric adenocarcinomas associated with severe hypergastrinemia and/or
pernicious anemia. APMIS. 2002 Feb;110(2):132-9.

Waldum HL, Qvigstad G, Falkmer S. Indications for a neuroendocrine tumor- carcinoma
sequence. Virchows Arch. 2001 Aug;439(2):215-7.

Qvigstad G, Sandvik AK, Brenna E, Aase S, Waldum HL. Detection of chromogranin A in
human gastric adenocarcinomas using a sensitive immunohistochemical technique.
Histochem J. 2000 Sep;32(9):551-6.

Cui G, Qvigstad G, Falkmer S, Sandvik AK, Kawase S, Waldum HL. Spontaneous
ECLomas      in   cotton    rats  (Sigmodon   hispidus):    tumours    occurring   in
hypoacidic/hypergastrinaemic animals with normal parietal cells. Carcinogenesis. 2000
Jan;21(1):23-7.

Waldum HL, Aase S, Kvetnoi I, Brenna E, Sandvik AK, Syversen U, Johnsen G, Vatten L,
Polak JM. Neuroendocrine differentiation in human gastric carcinoma. Cancer. 1998 Aug
1;83(3):435-44.

Waldum HL, Haugen OA, Brenna E. Do neuroendocrine cells, particularly the D-cell, play a
role in the development of gastric stump cancer? Cancer Detect Prev. 1994;18(6):431-6.

Waldum HL, Brenna C. Classification of gastric carcinomas. Hum Pathol. 1993
Jan;24(1):114-5.



                                     Page 9 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22     Page 11 of 236




   Waldum HL, Haugen OA, Isaksen C, Mecsei R, Sandvik AK. Enterochromaffin-like tumour
   cells in the diffuse but not the intestinal type of gastric carcinomas. Eur J Gastroenterol
   Hepatol 1991; 3: 245-249.
   Waldum HL, Lehy T, Brenna E, Sandvik AK, Petersen H, Søgnen BS, Bonfils S, Lewin MJ.
   Effect of the histamine-1 antagonist astemizole alone or with omeprazole on rat gastric
   mucosa. Scand J Gastroenterol. 1991 Jan; 26(1):23-35.

    Waldum H, Mjønes PG. Correct Identification of Cell of Origin May Explain Many
   Aspects of Cancer: The Role of Neuroendocrine Cells as Exemplified from the Stomach. Int
   J Mol Sci. 2020 Aug 11; 21(16):5751.

III. Selective Professional Achievements

   Solved a more than a 50-year dispute about the regulation of gastric acid secretion with the

   interaction between the principal gastric acid secretagogues and localization of the gastrin

   receptor by the isolated rat stomach model.

   Described rebound acid hypersecretion after profound acid inhibition with proton pump

   inhibitors (PPIs), a mechanism responsible for the problems in stopping treatment with PPIs

   when first started due to dyspepsia secondary to rebound acid hypersecretion.

   Described that gastric juice may play an important role in the defense against prion diseases.

   Contributed significantly to the medical literature regarding gastric pathology.

   Contributed to the development of chromogranin A as an important marker for

   neuroendocrine cell hyperplasia and neoplasia.

   Made important contributions to the classification of tumours in general and particularly to

   the classification of gastric carcinomas.

   Showed the central role of gastrin in gastric tumourigenesis. Described the close relationship

   between the regulation of function and growth with implications for hormonal carcinogenesis

   and tumour prevention.




                                         Page 10 of 160
Case 3:18-cv-01063-JWD-EWD              Document 99-4     04/27/22     Page 12 of 236




Gave arguments for and claimed that profound long-term inhibition of gastric acid secretion

would lead to gastric carcinomas not only in animals, but also in man. This has been

supported by many epidemiological papers from autumn 2017.

Described that the carcinogenic effect of gastric Helicobacter pylori (H. pylori) infection

most likely was due to the increase in gastrin.

Developed a rodent model (Japanese cotton rat) to study ECL cell tumourigenesis. Combined

physiology, animal models, studies on human gastric cancers into a new concept for an

important part of human gastric carcinomas.

Supervised 20 candidates for PhD.

Published 430 original papers.




book is based upon experience for more than 30 years.

Published 20 book chapters including one chapter on the ECL cell in: Encyclopedia of

Gastroenterology 2nd Edition. (Ernst Kuipers editor). Elsevier 2019.pp. 265-272, and one

chapter on gastric hormones in:       Hormonal Signaling in Biology & Medicine. Gerald

Litwack, editor. Elsevier. 2019, pp. 341-360

Expert (1 of 5) at FDA meeting in Washington, year 2000, about proton pump inhibitors over

the counter.

Invited as Expert by International Agency for Research on Cancer (IARC) of the World

Health Organization for an IARC Working




                                      Page 11 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4        04/27/22     Page 13 of 236




                                                                           Dec. 1, 1999. IARC

   Technical Publication No. 39. 2003.

   Together with Director Sidney Wolfe, Public Citizen wrote a petition to FDA in 2011 about




   Editor for two




IV. Selective Germane Publications


Waldum HL, Burhol PG, Straume BK. Serum group I pepsinogens and gastrin in relation to
gastric H+ and pepsin outputs before and after subcutaneous injection of pentagastrin. Scand J
Gastroenterol.1978;13(8):943-6.
Waldum HL, Burhol PG. Serum group I pepsinogens. Scand J Gastroenterol. 1981;16(4):449-
51.
Kleveland PM, Waldum HL, Bjerve KS, Fjøsne HE. Bioassay of gastrin, using the totally
isolated, vascularly perfused rat stomach. A biomodel sensitive to gastrin in physiological
concentrations. Scand J Gastroenterol. 1986 Oct;21(8):945-50.
Sandvik AK, Kleveland PM, Waldum HL. Stimulated pepsin secretion after omeprazole-
induced acid suppression in the totally isolated, vascularly perfused rat stomach. Scand J
Gastroenterol. 1987 Apr;22(3):362-6.
Sandvik AK, Waldum HL, Kleveland PM, Schulze Søgnen B. Gastrin produces an immediate
and dose-dependent histamine release preceding acid secretion in the totally isolated, vascularly
perfused     rat     stomach.      Scand       J      Gastroenterol.       1987        Sep;22(7):
803-8.
Waldum HL, Sandvik AK. Histamine and the stomach. Scand J Gastroenterol. 1989
Mar;24(2):130-9.
Sandvik AK, Waldum HL. Rat gastric histamine release: a sensitive gastrin bioassay. Life Sci.
1990;46(6):453-9.


                                         Page 12 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22     Page 14 of 236




Waldum HL, Lehy T, Brenna E, Sandvik AK, Petersen H, Søgnen BS, Bonfils S, Lewin MJ.
Effect of the histamine-1 antagonist astemizole alone or with omeprazole on rat gastric mucosa.
Scand J Gastroenterol. 1991 Jan;26(1):23-35.
Sandvik AK, Waldum HL. Aspects of the regulation of gastric histamine release. Scand J
Gastroenterol Suppl. 1991; 180:108-12.
Waldum HL, Haugen OA, Isaksen C, Mecsei R, Sandvik AK. Enterochromaffin-like tumour
cells in the diffuse but not the intestinal type of gastric carcinomas. Eur J Gastroenterol Hepatol
1991; Scand J Gastroenterol Suppl. 1991; 180:165-9.
Kleveland PM, Waldum HL. The gastrin receptor assay. Scand J Gastroenterol Suppl. 1991;
180:62-9.
Sandvik AK, Waldum HL. CCK-B (gastrin) receptor regulates gastric histamine release and
acid secretion. Am J Physiol. 1991 Jun;260(6 Pt 1): G925-8.
Waldum HL, Sandvik AK, Brenna E, Petersen H. Gastrin-histamine sequence in the regulation
of gastric acid secretion. Gut. 1991 Jun;32(6):698-701.
Brenna E, Håkanson R, Sundler F, Sandvik AK, Waldum HL. The effect of omeprazole-
induced hypergastrinemia on the oxyntic mucosa of mastomys. Scand J Gastroenterol. 1991
Jun;26(6):667-72.
Waldum HL, Petersen H. 24-hour intragastric acidity and plasma gastrin after omeprazole
treatment and after proximal gastric vagotomy in duodenal ulcer patients. Gastroenterology.
1991 Jul;101(1):274.
Brenna E, Waldum HL. Studies of isolated parietal and enterochromaffin-like cells from the rat.
Scand J Gastroenterol. 1991 Dec;26(12):1295-306.
Brenna E, Waldum HL, Sandvik AK, Schulze Søgnen B, Kristensen A. Effects on the rat
oxyntic mucosa of the histamine2-antagonist loxtidine and the H+, K(+)-ATPase inhibitor
omeprazole. Aliment Pharmacol Ther. 1992 Jun;6(3):335-49.
Waldum HL, Sandvik AK. The role of gastric secretagogues in regulating gastric histamine
release in vivo. Gastroenterology. 1992 Sep;103(3):1123.
Brenna E, Waldum HL. Trophic effect of gastrin on the enterochromaffin like cells of the rat
stomach: establishment of a dose response relationship. Gut. 1992 Oct; 33(10):1303-6.
Waldum HL, Sandvik AK, Syversen U, Brenna E. The enterochromaffin-like (ECL) cell.
Physiological and pathophysiological role. Acta Oncol. 1993; 32(2):141-7.
Waldum HL, Brenna C. Classification of gastric carcinomas. Hum Pathol. 1993
Jan;24(1):114-5.
Waldum HL, Sandvik A, Brenna E. Gastrin, the enterochromaffin-like cell, and gastric tumors.
Gastroenterology. 1993 Oct; 105(4):1264-6.


                                         Page 13 of 160
  Case 3:18-cv-01063-JWD-EWD              Document 99-4        04/27/22     Page 15 of 236




Waldum HL, Brenna E, Kleveland PM, Sandvik AK, Syversen U. Review article: the use of
gastric acid-inhibitory drugs - physiological and pathophysiological considerations. Aliment
Pharmacol Ther. 1993 Dec; 7(6):589-96.
Waldum HL, Haugen OA, Brenna E. Do neuroendocrine cells, particularly the D-cell, play a
role in the development of gastric stump cancer? Cancer Detect Prev. 1994;18(6):431-6.
Syversen U, Jacobsen MB, O'Connor DT, Rønning K, Waldum HL. Immunoassays for
measurement of chromogranin A and pancreastatin-like immunoreactivity in humans:
correspondence in patients with neuroendocrine neoplasia. Neuropeptides. 1994 Mar;26(3):201-
6.
Sandvik AK, Dimaline R, Mårvik R, Brenna E, Waldum HL. Gastrin regulates histidine
decarboxylase activity and mRNA abundance in rat oxyntic mucosa. Am J Physiol. 1994
Aug;267(2 Pt 1): G254-8. doi: 10.1152/ajpgi.1994.267.2. G254.
Brenna E, Swarts HG, Klaassen CH, de Pont JJ, Waldum HL. Evaluation of the trophic effect of
long-term treatment with the histamine H2 receptor antagonist loxtidine on rat oxyntic mucosa
by differential counting of dispersed cells. Gut. 1994 Nov; 35(11):1547-50.
Waldum HL, Brenna E. Omeprazole tolerability. Drug Saf. 1994 Dec;11(6):477-8.
Waldum HL, Brenna E, Kleveland PM, Sandvik AK. Gastrin-physiological and
pathophysiological role: clinical consequences. Dig Dis. 1995 Jan-Feb; 13(1):25-38.
Mårvik R, Sandvik AK, Waldum HL. Bioassay of gastrin using the isolated vascularly perfused
rat stomach. A new, simplified and sensitive method. Acta Physiol Scand. 1995 Nov;155(3):323-
7.
Waldum HL, Sandvik AK, Brenna E, Kleveland PM. The gastrin-histamine sequence.
Gastroenterology. 1996 Sep; 111(3):838-9.
Waldum HL, Arnestad JS, Brenna E, Eide I, Syversen U, Sandvik AK. Marked increase in
gastric acid secretory capacity after omeprazole treatment. Gut.1996 Nov; 39(5):649-53.
Mårvik R, Sandvik AK, Waldum HL. Gastrin stimulates histamine release from the isolated pig
stomach. Scand J Gastroenterol. 1997 Jan; 32(1):2-5.
Sandvik AK, Brenna E, Waldum HL. Review article: the pharmacological inhibition of gastric
acid secretion - tolerance and rebound. Aliment Pharmacol Ther. 1997 Dec; 11(6):1013-8.
Waldum HL, Kvetnoi IM, Sylte R, Schultze B, Martinsen TC, Sandvik AK. The effect of the
peroxisoime proliferator ciprofibrate on the gastric mucosa and particularly the gastrin cell. J
Mol Endocrino. 1998 Feb; 20 (1): 111-7.
Waldum HL, Brenna E, Sandvik AK. Relationship of ECL cells and gastric neoplasia. Yal J
Biol Med. 1998 May-Aug; 71(3-4):325-35.




                                        Page 14 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4        04/27/22      Page 16 of 236




Waldum HL, Aase S, Kvetnoi I, Brenna E, Sandvik AK, Syversen U, Johnsen G, Vatten L,
Polak JM. Neuroendocrine differentiation in human gastric carcinoma. Cancer. 1998 Aug
1;83(3):435-44.
Qvigstad G, Arnestad JS, Brenna E, Waldum HL. Treatment with proton pump inhibitors
induces tolerance to histamine-2 receptor antagonists in Helicobacter pylori-negative patients.
Scand J Gastroenterol. 1998 Dec;33(12):1244-8.
Waldum HL. Hypergastrinaemia with long-term omeprazole treatment. Aliment Pharmacol
Ther. 1999 Mar; 13(3):440.
Waldum HL, Rørvik H, Falkmer S, Kawase S. Neuroendocrine (ECL cell) differentiation of
spontaneous gastric carcinomas of cotton rats (Sigmodon hispidus). Lab Anim Sci. 1999
Jun;49(3):241-7.
Waldum HL. ECL cell tumor and endocrine carcinoma of the stomach. Gastroenterology.
1999 Aug;117(2):510-11.
Waldum HL, Syversen U. Prospective study of the value of serum chromogranin A or serum
gastrin levels in the assessment of the presence, extent, or growth of gastrinomas. Cancer. 1999
Oct 1; 86(7):1377-8.
Cui G, Qvigstad G, Falkmer S, Sandvik AK, Kawase S, Waldum HL. Spontaneous ECLomas in
cotton rats (Sigmodon hispidus): tumours occurring in hypoacidic/hypergastrinaemic animals
with normal parietal cells. Carcinogenesis. 2000 Jan;21(1):23-7.
Waldum HL, Brenna E. Personal review: is profound acid inhibition safe? Aliment Pharmacol
Ther. 2000 Jan; 14(1):15-22.
Waldum HL, Mårvik R, Grønbech JE, Sandvik AK, Aase S. Oxyntic lesions may be provoked
in the rat both by the process of acid secretion and also by gastric acidity. Aliment Pharmacol
Ther. 2000 Jan;14(1):135-41.
Bakke I, Qvigstad G, Brenna E, Sandvik AK, Waldum HL. Gastrin has a specific proliferative
effect on the rat enterochromaffin-like cell, but not on the parietal cell: a study by elutriation
centrifugation. Acta Physiol Scand. 2000 May; 169(1):29-37.
Waldum HL, Syversen U. Chromogranin A (CGA) and the enterochromaffin-like (ECL) cell.
Adv Exp Med Biol. 2000; 482:361-7.
Waldum HL, Brenna E, Sandvik AK. The mechanism of histamine secretion from gastric
enterochromaffin-like cells. Am J Physiol Cell Physiol. 2000 Jun; 278(6):C1275-6.
Qvigstad G, Sandvik AK, Brenna E, Aase S, Waldum HL. Detection of chromogranin A in
human gastric adenocarcinomas using a sensitive immunohistochemical technique. Histochem
J. 2000 Sep; 32(9):551-6.
Waldum HL, Brenna E, Martinsen TC. Safety of proton pump inhibitors. Aliment Pharmacol
Ther. 2000 Nov;14(11):1537-8.

                                         Page 15 of 160
  Case 3:18-cv-01063-JWD-EWD              Document 99-4        04/27/22     Page 17 of 236




Kleveland O, Syversen U, Slørdahl K, Waldum HL. Hypergastrinemia as a cause of
chromogranin A increase in blood in patients suspected to have neuroendocrine tumor.
Digestion. 2001;64(2):71-4.
Waldum HL, Qvigstad G, Falkmer S. Indications for a neuroendocrine tumor- carcinoma
sequence. Virchows Arch. 2001 Aug;439(2):215-7.
Waldum HL. The safety of proton pump inhibitors. Aliment Pharmacol Ther. 2001
May;15(5):729-30.
Waldum HL, Syversen U. Serum chromogranin A in the control of patients on long-term
treatment with inhibitors of acid secretion. Eur J Clin Invest. 2001 Sep;31(9):
741-3.
Qvigstad G, Qvigstad T, Westre B, Sandvik AK, Brenna E, Waldum HL. Neuroendocrine
differentiation in gastric adenocarcinomas associated with severe hypergastrinemia and/or
pernicious anemia. APMIS. 2002 Feb; 110(2):132-9.
Martinsen TC, Taylor DM, Johnsen R, Waldum HL. Gastric acidity protects mice against prion
infection? Scand J Gastroenterol. 2002 May; 37(5):497-500.
Waldum HL, Brenna E, Sandvik AK. Long-term safety of proton pump inhibitors: risks of
gastric neoplasia and infections. Expert Opin Drug Saf. 2002 May;1(1):29-38.
Waldum HL, Kleveland PM, Sandvik AK, Brenna E, Syversen U, Bakke I, Tømmerås K. The
cellular localization of the cholecystokinin 2 (gastrin) receptor in the stomach. Pharmacol
Toxicol. 2002 Dec; 91(6):359-62.
Waldum H, Brenna E. Discussion on the effect of chronic hypergastrinemia on human
enterochromaffin-like cells: insights from patients with sporadic gastrinomas. Gastroenterology.
2003 May ;124(5):1564-5; author reply 1565.
Martinsen TC, Kawase S, Håkanson R, Torp SH, Fossmark R, Qvigstad G, Sandvik AK,
Waldum HL. Spontaneous ECL cell carcinomas in cotton rats: natural course and prevention by
a gastrin receptor antagonist. Carcinogenesis. 2003 Dec; 24(12):1887-96.
Viste A, Øvrebø K, Maartmann-Moe H, Waldum H. Lanzoprazole promotes gastric
carcinogenesis in rats with duodenogastric reflux. Gastric Cancer. 2004; 7(1):31-5.
Fossmark R, Martinsen TC, Torp SH, Kawase S, Sandvik AK, Waldum HL. Spontaneous
enterochromaffin-like cell carcinomas in cotton rats (Sigmodon hispidus) are prevented by a
somatostatin analogue. Endocr Relat Cancer. 2004 Mar; 11(1):149-60.
Qvigstad G, Waldum H. Rebound hypersecretion after inhibition of gastric acid secretion.
Basic Clin Pharmacol Toxicol. 2004 May; 94(5):202-8.
Fossmark R, Martinsen TC, Bakkelund KE, Kawase S, Waldum HL. ECL-cell derived gastric
cancer in male cotton rats dosed with the H2-blocker loxtidine. Cancer Res. 2004 May 15;
64(10):3687-93.

                                        Page 16 of 160
  Case 3:18-cv-01063-JWD-EWD             Document 99-4        04/27/22    Page 18 of 236




 Fykse V, Sandvik AK, Qvigstad G, Falkmer SE, Syversen U, Waldum HL. Treatment of ECL
cell carcinoids with octreotide LAR. Scand J Gastroenterol. 2004 Jul; 39(7):621-8.
Fossmark R, Martinsen TC, Bakkelund KE, Kawase S, Torp SH, Waldum HL.
Hypergastrinaemia induced by partial corpectomy results in development of enterochromaffin-
like cell carcinoma in male Japanese cotton rats. Scand J Gastroenterol. 2004 Oct; 39(10):919-
26.
Syversen U, Ramstad H, Gamme K, Qvigstad G, Falkmer S, Waldum HL. Clinical significance
of elevated serum chromogranin A levels. Scand J Gastroenterol. 2004 Oct;39(10):969-73.
Fossmark R, Martinsen TC, Qvigstad G, Bendheim MØ, Kopstad G, Kashima K, Waldum HL.
Ultrastructure and chromogranin A immunogold labelling of ECL cell carcinoids. APMIS 2005
Jul - Aug; 113(-8): 506-12.
Martinsen TC, Bergh K, Waldum HL. Gastric juice: a barrier against infectious diseases. Basic
Clin Pharmacol Toxicol. 2005 Feb; 96(2):94-102.
Bakkelund K, Fossmark R, Nordrum I, Waldum H. Signet ring cells in gastric carcinomas are
derived from neuroendocrine cells. J Histochem Cytochem. 2006 Jun; 54(6):615-21. Epub 2005
Dec 12.
Waldum HL, Fossmark R. Idiopathic gastric acid hypersecretion. Eur J Gastroenterol Hepatol.
2005 Dec; 17(12):1433.
Waldum HL, Gustafsson B, Fossmark R, Qvigstad G. Antiulcer drugs and gastric cancer. Dig
Dis Sci. 2005 Oct;50 Suppl 1: S39-44.
Fossmark R, Zhao CM, Martinsen TC, Kawase S, Chen D, Waldum HL. Dedifferentiation of
enterochromaffin-like cells in gastric cancer of hypergastrinemic cotton rats. APMIS. 2005
Jun;1136):436-49.
Waldum HL. Hypergastrinaemia in patients infected with Helicobacter pylori treated with
proton pump inhibitors. Gut. 2005 Apr; 54(4):566.
Fossmark R, Johnsen G, Johanessen E, Waldum HL. Rebound acid hypersecretion after long-
term inhibition of gastric acid secretion. Aliment Pharmacol Ther. 2005 Jan 15;21(2):149-54.
Jianu C, Qvigstad G, Waldum HL. Synchronous gastric adenocarcinoma and carcinoid. J
Gastrointestin Liver Dis. 2006 Jun; 15(2):202; author reply 202-3.
Waldum H. Assessment of the risk of iatrogenic hypergastrinaemia from patients with
gastrinoma. Basic Clin Pharmacol Toxicol. 2006 Jan; 98(1):3.
Waldum HL, Qvigstad G. Proton pump inhibitors and gastric neoplasia. Gut. 2007
Jul;56(7):1019-20; author reply 1020.
Fossmark R, Waldum H. Rebound acid hypersecretion. Aliment Pharmacol Ther. 2007 Apr
15;25(8):999-1000; author reply 1000.


                                       Page 17 of 160
  Case 3:18-cv-01063-JWD-EWD              Document 99-4       04/27/22     Page 19 of 236




Cui G, Waldum HL. Physiological and clinical significance of enterochromaffin-like cell
activation in the regulation of gastric acid secretion. World J Gastroenterol. 2007 Jan
28;13(4):493-6.
Waldum HL, Sandvik AK, Brenna E, Fossmark R, Qvigstad G, Soga J. Classification of
tumours. J Exp Clin Cancer Res. 2008 Nov 14;27(1):70.
Qvigstad G, Kolbjørnsen Ø, Skancke E, Waldum HL. Gastric neuroendocrine carcinoma
associated with atrophic gastritis in the Norwegian Lundehund. J Comp Pathol. 2008 Nov;
139(4):194-201.
Fossmark R, Qvigstad G, Waldum HL. Gastric cancer: animal studies on the risk of
hypoacidity and hypergastrinemia. World J Gastroenterol. 2008 Mar 21; 14(11):1646-51.
Fossmark R, Jianu CS, Martinsen TC, Qvigstad G, Syversen U, Waldum HL. Serum gastrin and
chromogranin A levels in patients with fundic gland polyps caused by long-term proton-pump
inhibition. Scand J Gastroenterol. 2008 Jan; 43(1):20-4.
Waldum HL, Kleveland PM, Brenna E, Bakke I, Qvigstad G, Martinsen TC, Fossmark R,
Gustafsson BI, Sandvik AK. Interactions between gastric acid secretagogues and the localization
of the gastrin receptor. Scand J Gastroenterol. 2009; 44(4):390-3.
Fossmark R, Qvigstad G, Martinsen TC, Hauso Ø, Waldum HL. Animal models to study the
role of long-term hypergastrinemia in gastric carcinogenesis. J Biomed Biotechnol. 2011;
2011:975479.
 Jianu CS, Fossmark R, Syversen U, Hauso Ø, Waldum HL. A meal test improves the
specificity of chromogranin A as a marker of neuroendocrine neoplasia. Tumour Biol. 2010 Oct;
31(5):373-80.
Waldum HL, Qvigstad G, Fossmark R, Kleveland PM, Sandvik AK. Rebound acid
hypersecretion from a physiological, pathophysiological and clinical viewpoint. Scand J
Gastroenterol. 2010 Apr; 45(4):389-94.
Martinsen TC, Skogaker NE, Fossmark R, Nordrum IS, Sandvik AK, Bendheim MØ, Bakkelund
KE, Waldum HL. Neuroendocrine cells in diffuse gastric carcinomas: an ultrastructural study
with immunogold labeling of chromogranin A. Appl Immunohistochem Mol Morphol. 2010 Jan;
18(1):62-8.
Jianu CS, Lange OJ, Viset T, Qvigstad G, Martinsen TC, Fougner R, Kleveland PM, Fossmark
R, Hauso Ø, Waldum HL. Gastric neuroendocrine carcinoma after long- term use of proton
pump inhibitor. Scand J Gastroenterol. 2012 Jan; 47(1):64-7.
Jianu CS, Fossmark R, Viset T, Qvigstad G, Sørdal O, Mårvik R, Waldum HL. Gastric
carcinoids after long-term use of a proton pump inhibitor. Aliment Pharmacol Ther. 2012
Oct;36(7):644-9. Epub 2012 Aug 5.
Waldum HL, Sandvik AK, Hauso O, Qvigstad G, Fossmark R. Withdrawing PPI therapy:
response to Metz et al. Am J Gastroenterol. 2012 Feb; 107(2):325-6; author reply 326.

                                        Page 18 of 160
  Case 3:18-cv-01063-JWD-EWD              Document 99-4        04/27/22     Page 20 of 236




Bakkelund KE, Nordrum IS, Fossmark R, Waldum HL. Gastric carcinomas localized to the
cardia. Gastroenterol Res Pract. 2012; 2012:457831.
Fossmark R, Waldum H. Development of diffuse carcinomas in the gastric corpus in patients
with rugal hyperplastic gastritis. Int J Cancer. 2013 Nov; 133(9):2260.
Fossmark R, Waldum H. The distressing overuse of gastric acid inhibitors. Dig Dis Sci. 2013
Mar; 58(3):600-1.
Waldum HL, Hauso Ø, Sørdal ØF, Fossmark R. Gastrin May Mediate the Carcinogenic Effect
of Helicobacter pylori Infection of the Stomach. Dig Dis Sci. 2015 Jun; 60(6):1522-7.
Waldum HL, Hauso Ø, Fossmark R. The regulation of gastric acid secretion - clinical
perspectives. Acta Physiol (Oxf). 2014 Feb; 210(2):239-56.
Waldum HL, Hauso Ø, Fossmark R. Letter: proton pump inhibitors, hypergastrinaemia and
the risk of gastric neoplasia. Aliment Pharmacol Ther. 2015 Aug; 42(3):389.
Fossmark R, Sagatun L, Nordrum IS, Sandvik AK, Waldum HL. Hypergastrinemia is
associated with adenocarcinomas in the gastric corpus and shorter patient survival. APMIS.
2015 Jun; 123(6):509-14.
Boyce M, Moore AR, Sagatun L, Parsons BN, Varro A, Campbell F, Fossmark R, Waldum HL,
Pritchard DM. Netazepide, a gastrin/cholecystokinin-2 receptor antagonist, can eradicate gastric
neuroendocrine tumours in patients with autoimmune chronic atrophic gastritis. Br J Clin
Pharmacol. 2017 Mar; 83(3):466-475.
Sagatun L, Mjønes P, Jianu CS, Boyce M, Waldum HL, Fossmark R. The gastrin receptor
antagonist netazepide (YF476) in patients with type 1 gastric enterochromaffin-like cell
neuroendocrine tumours: review of long-term treatment. Eur J Gastroenterol Hepatol. 2016 Nov;
28(11):1345-1352.
Waldum HL, Kleveland PM, Sørdal ØF. Helicobacter pylori and gastric acid: an intimate and
reciprocal relationship. Therap Adv Gastroenterol. 2016 Nov; 9(6):836-844.
Sagatun L, Fossmark R, Jianu CS, Qvigstad G, Nordrum IS, Mjønes P, Waldum HL. Follow-up
of patients with ECL cell-derived tumours. Scand J Gastroenterol. 2016 Nov; 51(11):1398-405.
Fossmark R, Calvete O, Mjønes P, Benitez J, Waldum HL. ECL-cell carcinoids and carcinoma
in patients homozygous for an inactivating mutation in the gastric H(+) K(+) ATPase alpha
subunit. APMIS. 2016 Jul; 124(7):561-6.
Waldum HL, Sørdal ØF. Classification of Epithelial Malignant Tumors - the Differentiation
Between Adenocarcinomas and Neuroendocrine Carcinomas: Why Rely on Nonspecific
Histochemistry and Dismiss Specific Methods Like Immunohistochemistry and In Situ
Hybridization? Appl Immunohistochem Mol Morphol. 2016 May-Jun; 24(5):309-12.




                                        Page 19 of 160
  Case 3:18-cv-01063-JWD-EWD             Document 99-4        04/27/22    Page 21 of 236




Waldum HL, Hauso Ø, Brenna E, Qvigstad G, Fossmark R. Does long-term profound inhibition
of gastric acid secretion increase the risk of ECL cell- derived tumors in man? Scand J
Gastroenterol. 2016 Jul; 51(7):767-73.
Waldum HL. Proton pump inhibitors and gastric cancer. Tidsskr Nor Laegeforen. 2016 Jan
12; 136(1):13-4. English, Norwegian.
Mjønes P, Nordrum IS, Sørdal Ø, Sagatun L, Fossmark R, Sandvik A, Waldum HL. Expression
of the Cholecystokinin-B Receptor in Neoplastic Gastric Cells. Horm Cancer. 2018 Feb ;9(1):40-
54.
Waldum HL, Sagatun L, Mjønes P. Gastrin and Gastric Cancer. Front Endocrinol (Lausanne).
2017 Jan 17; 8:1.
Waldum HL, Fossmark R. Types of Gastric Carcinomas. Int J Mol Sci. 2018 Dec 18;
19(12):4109.
Waldum HL, Sørdal Ø, Fossmark R. Proton pump inhibitors (PPIs) may cause gastric cancer
- clinical consequences. Scand J Gastroenterol. 2018 Jun; 53(6):639-642.
Waldum HL, Öberg K, Sørdal ØF, Sandvik AK, Gustafsson BI, Mjønes P, Fossmark R. Not
only stem cells, but also mature cells, particularly neuroendocrine cells, may develop into
tumours: time for a paradigm shift. Therap Adv Gastroenterol. 2018 May
27;11:1756284818775054.
Waldum HL, Fossmark R. Proton pump inhibitors and gastric cancer: a long expected side
effect finally reported also in man. Gut. 2018 Jan; 67(1):199-200. Epub 2017 Nov 20.
Fossmark R, Martinsen TC, Waldum HL. Adverse Effects of Proton Pump Inhibitors -
Evidence and Plausibility. Int J Mol Sci. 2019 Oct 21; 20(20):5203.
Waldum HL, Rehfeld JF. Gastric cancer and gastrin: on the interaction of Helicobacter pylori
gastritis and acid inhibitory induced hypergastrinemia. Scand J Gastroenterol. 2019 Sep;
54(9):1118-1123.
Waldum HL, Fossmark R. Role of Autoimmune Gastritis in Gastric Cancer. Clin Transl
Gastroenterol. 2019 Sep; 10(9): e00080.
Waldum HL, Sørdal ØF, Mjønes PG. The Enterochromaffin-like [ECL] Cell- Central in Gastric
Physiology and Pathology. Int J Mol Sci. 2019 May 17; 20(10):2444.
Waldum H, Mjønes P. Towards Understanding of Gastric Cancer Based upon Physiological
Role of Gastrin and ECL Cells. Cancers (Basel). 2020 Nov 22; 12(11):3477.
Ness-Jensen E, Bringeland EA, Mattsson F, Mjønes P, Lagergren J, Grønbech JE, Waldum HL,
Fossmark R. Hypergastrinemia is associated with an increased risk of gastric adenocarcinoma
with proximal location: A prospective population-based nested case-control study. Int J
Cancer. 2021 Apr 15; 148(8):1879-1886.Waldum H, Mjønes PG. Correct Identification of Cell


                                       Page 20 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4     04/27/22     Page 22 of 236




of Origin May Explain Many Aspects of Cancer: The Role of Neuroendocrine Cells as
Exemplified from the Stomach. Int J Mol Sci. 2020 Aug 11; 21(16):5751.
Waldum H. Gastrin drives gastric cancer due to oxyntic atrophy also after Helicobacter pylori
eradication. Therap Adv Gastroenterol. 2020 Jun 23; 13:1756284820931717.
Waldum HL. Clinical consequences of controversies in gastric physiology. Scand J
Gastroenterol. 2020 Jun; 55(6):752-758.
Waldum HL. The increase in early-onset gastric carcinomas from 1995 is probably due to the
introduction of proton pump inhibitors. Surgery. 2020 Sep; 168(3):568-569.
Waldum H, Fossmark R. Gastritis, Gastric Polyps and Gastric Cancer. Int J Mol Sci. 2021 Jun
18;22(12):6548.
Waldum H. Tumor Classification Should Be Based on Biology and Not Consensus: Re-Defining
Tumors Based on Biology May Accelerate Progress, An Experience of Gastric Cancer. Cancers
(Basel). 2021 Jun 24;13(13):3159.


V. Selective Abbreviations Used in This Report
CCK-B receptor       Gastrin receptor
CGA                  Chromogranin A
ECL                  Enterochromaffin-Like cell
H2RA                 Histamine2 Receptor Antagonist
H. pylori            Helicobacter pylori bacteria
HCL                  Hydrochloric acid
NET                  Neuroendocrine tumour
PPI                  Proton Pump Inhibitor
OR                   Odds Ratio
aOR                  adjusted Odds Ratio
HR                   Hazard Ratio
aHR                  adjusted Hazzard Ratio
SIR:                 Standardized Incidence Ratio
RR                   Relative Risk




                                         Page 21 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22     Page 23 of 236




VI. Overview of Methodology
The basis of my opinions derives from my education, training, experience, research and what is

accepted within the community of leading physicians practicing in the field of medicine,

gastroenterology, and gastric carcinogenicity.

My opinions are based on my nearly 50-years of research involving gastroenterology, gastric

anatomy & physiology and pathophysiology including, but not limited to, the trophic hormone

gastrin and its affects within the stomach; hypergastrinemia (elevated levels of gastrin within the

blood) and its effects upon the gastric wall and cellular components; the enterochromaffin-like

(ECL) cell and its role in gastric carcinogenicity, especially in the presence of hypergastrinemia;

the role of gastric acid suppression, especially that caused by proton pump inhibitors (PPIs) in



some long-term PPI users who then try to stop taking the medication. I conducted a thorough

search in PubMed where relevant articles, whether supporting or opposing my view, were

included. I have also reviewed internal company documents, relevant depositions, reports, and

medical records in the Stanley Baudin vs AstraZeneca et al Product Litigation. I utilized the

same methodology in reviewing PubMed, reviewing all available materials, and reviewing

relevant articles, whether supporting or opposing my views, as I do in my usual and customary

research and publications.5

To reach my conclusions, I have employed the same scientific methodology and rigor that I have

used during some 50-years of study, research, in the writing of over 430 original scientific papers

and when educating and training 20 candidates for their PhD. This includes my contribution to

and review of the relevant published literature, expert judgment to assess the quality and




                                         Page 22 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4            04/27/22   Page 24 of 236




meaning of the various papers and studies that were reviewed, and my syntheses of the available

evidence.

The methods I used to derive and present my opinions are those used in general in the

assessment of causal relations in science and medicine and, more specifically, in

gastroenterology, gastric pathology and gastric carcinogenicity. The methods are based on the

experience and insight I have accumulated during over 50 years of research, consulting,

reviewing and PhD-candidate supervision, from discussions and interactions with leading

gastroenterologists, gastric oncologists, and gastric pathologists

My opinions may be further supplemented and refined, subject to results that may come from

further medical and scientific study and research and the continued review of additional

information and discovery materials produced in this litigation.

VII. Key Expert Opinions

The present review is based upon nearly 50                                          ology, gastric

physiology, and pathology.

I hold the below expert opinions to a reasonable degree of medical and scientific certainty. Other

opinions may be stated within my report.


       In humans, gastrin is the main physiological regulator of gastric acid secretion.

       In humans and other species, the stimulation of acid secretion by gastrin is mediated by

       the stimulation of histamine release from the ECL cell.

       Gastrin has a general trophic (growth) effect on the gastric oxyntic (acid-producing)

       mucosa.



                                           Page 23 of 160
Case 3:18-cv-01063-JWD-EWD               Document 99-4       04/27/22     Page 25 of 236




   Gastrin has a more specific effect upon the ECL cell, not only regulating its function but

   also its growth.

   The ECL cell has been shown to contain the gastrin receptor.

   Treatment with PPIs in conventional doses leads to variable, sometimes marked,

   hypergastrinemia.

   Nexium has caused a 2- to 6-fold increase in serum gastrin levels in 80% 100% of

   patients receiving chronic therapy.

   Gastrin stimulates ECL cells to increase in density and proliferate.

   In humans, treatment with PPIs in conventional doses results in a variable and sometimes

   marked increase in ECL cell mass because of hypergastrinemia.

   The ECL cell mass will persist longer than the effect of the PPI when the drug is

   discontinued.

   An increased ECL cell mass is responsible for the increased gastric acid secretory

   capacity seen after termination of treatment with a proton pump inhibitor (the so-called

   rebound effect seen in some patients).

   Long-term profound acid inhibition induced by both PPIs and an insurmountable

   histamine-2 receptor antagonist (loxtidine) induced malignant ECL cell-derived tumours

   in the oxyntic mucosa of rodents.

   Loxtidine was under development by Glaxo Wellcome (now GlaxoSmithKline) and, after

   observations of it inducing malignant ECL cell-derived tumours in the oxyntic mucosa of

   rodents, its development was cancelled.

   Omeprazole (Prilosec) was under development by Swedish AB Hässle, part of Astra AB

   (now AstraZeneca) contemporaneously with loxtidine and omeprazole induced similar


                                       Page 24 of 160
  Case 3:18-cv-01063-JWD-EWD                Document 99-4       04/27/22     Page 26 of 236




       malignant ECL cell-derived tumours in the oxyntic mucosa of rodents; its development

       was continued.

       Hypergastrinemia causes gastric neoplasia of different degrees of malignancy in rodents

       including ECL cell-derived neuroendocrine tumors (NETs), also called carcinoid tumors,

       and carcinomas.

       There is a causal connection between hypergastrinemia and ECL cell carcinogenesis in

       humans.

       Many of the gastric carcinomas in humans, and particularly those of diffuse type, are

       neuroendocrine tumors and not adenocarcinomas.

       Long-term use of proton pump inhibitors results in a proliferation of ECL cells, the cells

       which release histamine and influence the parietal cells to release gastric acid. These

       ECL cells remain for a period of time after cessation of PPI use resulting in continued

       excessive gastric acid release; the so-

       Long-term use of proton pump inhibitors has increasingly been shown to induce and/or

       promote the development of gastric cancer and, for the reasons set forth below, it is my

       opinion to a reasonable degree of medical certainty, more probable than not, that Stanley

                  long-term treatment with the Nexium substantially contributed to the

       development of his gastric cancer.

VIII. Normal Gastric Anatomy and Physiology

The stomach is a complex organ that aids in digestion, regulating nutrition, controlling appetite

and whose acidic pH and proteolytic enzymes minimize the threat posed by swallowed

pathogenic microbes. The stomach is a dilated cylindrical J-shaped organ whose anatomic



                                          Page 25 of 160
  Case 3:18-cv-01063-JWD-EWD                Document 99-4            04/27/22   Page 27 of 236




regions can be distinguished based on specific landmarks                               rdia region

linking to the esophagus while the pyloric region links to the duodenum, the small intestine.




                                   Fig.1. Anatomy of the stomach 6

The stomach continues the chemical digestion which begins in the mouth with saliva. Via the

esophagogastric junction, or cardiac orifice, the stomach attaches to the esophagus through

which the stomach receives food. Gastric contractions provide mechanical assistance to

digestion. The stomach serves as a container for ingested food and little nutrient absorption

occurs inside the stomach. All foods ingested are broken down into chyme, an acidic fluid

consisting of gastric juices and partially digested food. True digestion with absorption of

nutrients occurs when the chyme passes from the stomach through the pyloric valve between the

stomach and the duodenum and through the small and large intestines.




                                         Page 26 of 160
   Case 3:18-cv-01063-JWD-EWD                Document 99-4         04/27/22     Page 28 of 236




There are several important cells found within the walls of the stomach, including the acid-

producing parietal cells and enzyme producing chief cells and, also, different neuroendocrine

cell.7 At present, at least six endocrine cells have been described in the stomach: G cells, D cells,

enterochromaffin-like (ECL) cells, A-like cells, D1/P cells, and enterochromaffin (EC) cells. 8

In the cardia, which has nothing to do with the heart but is the top region of the stomach and

pyloric region, cells can be found which secret mucus along with several hormones.

Additionally, cells in the pyloric region also release gastrin.

The gastric activity involved in digestion just briefly discussed is divided into three phases:

cephalic, gastric, and intestinal. I will concentrate in this report on the cells and hormones

involved with the gastric phase of digestion.

The three principal gastric acid secretagogues, acetylcholine, gastrin, and histamine have been

known since 1920.9,10,11 For purposes of this Expert Report, I will concentrate on the ECL cell

and, to a lesser degree, the G cells.

       A. The G Cell

The G cells, so named because they release gastrin, are located within the antral mucosa and play

an important role in regulating gastric acid secretion by releasing gastrin into the bloodstream. 12

Proteins within ingested food stimulate the G cells to release gastrin, which stimulates the

enterochromaffin-like cells (below) to release histamine and stimulates parietal cells to secrete

acid. The G cells have a direct contact with the gastric lumen (open type) and gastrin release is

inhibited or stimulated by the presence or absence of gastric acid.13




                                           Page 27 of 160
   Case 3:18-cv-01063-JWD-EWD                Document 99-4          04/27/22     Page 29 of 236




Curiously, the mechanism and the receptor by which luminal acid regulates gastrin release has

not been completely elucidated. Moreover, it is agreement that both the G cell and somatostatin

producing D cell, both being of the open type, are involved, and both express the calcium-

sensing (CaS) receptor which is believed to play an important role in acid sensing 14,15. Acid

sensing ion channels also occur in the mucosa of the gastrointestinal tract14, and visceral afferent

neurons have been reported to sense acid.16

Following the secretion of gastric acid, under normal circumstances, feedback pathways are

activated to inhibit further acid secretion.17 One such protective feedback is related to the release

of somatostatin by D cells within the stomach.18,19 Somatostatin exerts inhibitory control on

gastrin release by the antral G cells and has a direct effect on the parietal cell and the ECL cell by

inhibiting gastrin-induced histamine release.20

       B. The Enterochromaffin-like (ECL) Cell

I have studied the ECL cell for several decades and, as previously mentioned, my Doctor d Etat



                                                                   La Cellule Enterochromaffin-Like

(ECL) -                                                                     e Paris.

I have, currently, 89 peer-reviewed publications on the ECL cell with the first,

Enterochromaffin-Like Tumour Cells in the Diffuse but not the Intestinal Type of Gastric
                                                  21
Carcinomas                                             I have lectured on the role of the ECL cell in

gastric cancer formation and 15 of my 20 PhD candidates whom I have supervised conducted

research involving the ECL cell, gastrin and gastric cancer (Table I). Amongst the 20 book

chapters I have written there is an entire chapter devoted to the ECL cell.22


                                           Page 28 of 160
   Case 3:18-cv-01063-JWD-EWD                     Document 99-4          04/27/22         Page 30 of 236




Table I. Fifteen of the twenty theses I supervised to PhD concerned gastrin, the ECL
                                cell and gastric cancer.
                    Year
    Candidate      of PhD                 Title                          Most important finding
Per M. Kleveland   1987     Studies on gastrin                   Functionally gastrin stimulates acid
                                                                 secretion via histamine
Arne K. Sandvik    1988     Rat gastric histamine                Showed that gastrin released histamine
Eiliv Brenna       1992     Regulation of function and           Gastrin stimulates acid secretion in
                            growth of gastric mucosa             isolated parietal cells only when
                                                                 increasing histamine concentration
Unni Syversen      1994     Chromogranin A. Physiological        Chromogranin        A       elevation     in
                            and Clinical role                    gastrinoma patients is probably due to
                                                                 ECL cell proliferation.
Ronald Mårvik      1999     Pharmacological, physiological,      Release of histamine by gastrin in
                            and pathophysiological studies on    isolated pig stomach. The process of
                            isolated stomachs.                   acid secretion accentuates ischemia in
                                                                 the stomach, an argument for inhibition
                                                                 of acid secretion in severely ill patients.
Gunnar Qvigstad    2000     Consequences of                      Showed that maximal pentagastrin-
                            hypergastrinemia in man.             stimulated acid secretion was increased
                                                                 by concomitant vagal stimulation and
                                                                 that previous PPI treatment induced
                                                                 tolerance to histamine -2 blockers. Use
                                                                 of tyramide signal amplification
                                                                 disclosed neuroendocrine markers in
                                                                 many gastric carcinomas.
Tom Chr.           2002     Hypergastrinemia and gastric         The peroxisome proliferator ciprofibrate
Martinsen                   hypoacidity in rodents.              induces     hypergastrinemia        without
                                                                 changing gastric acidity, and a gastrin
                                                                 antagonist prevents gastric cancer in
                                                                 Japanese cotton rats. Immuno-electron
                                                                 microscopy .
Guang-Lin Cui      2001     Functional aspects of the ECL cell   In this work it is shown that PACAP
                            in rodents                           stimulates acid secretion by releasing
                                                                 histamine      and     that     omeprazole
                                                                 suppressed body weight gain and bone
                                                                 mineralization in young rats.
Ingunn Bakke       2002     Mechanism and consequences of        The gastrin receptor is located on the
                            peroxisome proliferator-induced      ECL cell, but not on the parietal cell.
                            hyperfunction of the rat gastrin-    Specific trophic effect on the ECL cell.
                            producing cell.
Reidar Fossmark    2004     Gastric cancer in Japanese cotton    Japanese cotton rats develop gastric
                            rats                                 carcinomas of ECL cell origin. In this
                                                                 thesis it is shown that a gastrin
                                                                 antagonist as well as a somatostatin
                                                                 analogue prevents tumour development.
Karin Elvenes      2010     Gastric neuroendocrine cells-role    The most important findings in this
Bakkelund                   in gastric neoplasia in man and      thesis are the demonstration of
                            rodents.                             neuroendocrine/ECL cell markers but
                                                                 not mucin in signet ring cancer cells and
                                                                 the demonstration of secretory granules
                                                                 in cancer cells from diffuse gastric


                                             Page 29 of 160
   Case 3:18-cv-01063-JWD-EWD                   Document 99-4          04/27/22         Page 31 of 236



                                                               carcinomas.
Constantin Sergiu   2012    Proton pump inhibitors and         The most important findings are the
Jianu                       gastric neoplasia                  description of a gastric carcinoma
                                                               developing from a polyp in a hiatal
                                                               hernia in a patient having been treated
                                                               for 15 years with PPIs (very similar
                                                               history like the SB case) and the
                                                               description of ECL cell NETs after PPI
                                                               treatment that disappeared when
                                                               stopping treatment.
Øystein Sørdal      2012    The role of gastrin and the ECL    In this thesis in-situ hybridization with a
                            cell in gastric carcinogenesis     new and more specific method was
                                                               applied on human and rodent tumour
                                                               tissue. The most important finding was
                                                               the lack of mucin proteins and mRNA in
                                                               the amorphous material in signet ring
                                                               cells whereas neuroendocrine markers
                                                               were expressed
Liv Sagatun         2017    Hormones and neuroendocrine        Here it is shown that hypergastrinemia
                            cells. Role in gastric             mainly       predisposes      to    gastric
                            tumourigenesis.                    carcinomas localized to the corpus
                                                               which is in line with the role of the ECL
                                                               cell being confined to the oxyntic area.
Patricia Mjønes     2018    Hormones and neuroendocrine        Neuron specific enolase is shown to be
                            cells. Role in gastric and renal   more specific neuroendocrine marker
                            tumourigenesis                     than generally believed, and that the
                                                               gastrin receptor was expressed in gastric
                                                               tumour cells of variable malignancy



The ECL cell was identified by Thunberg in the oxyntic mucosa in the 1960s23 and accepted as

the cell producing and storing the histamine taking part in the regulation of gastric acid secretion

in the rat.24 Subsequently the ECL cell was described in other species, including man, but

histamine was not found in the ECL cells in non-rodent species until the later part of the 1980s.25

Gastrin was soon recognized as an important stimulant of the ECL cell growth inducing not only

ECL cell hyperplasia, but also                  ECL-omas                                            carcinoid)

tumors              which are mainly composed of ECL cells.26

Dr. Nilo Havu who was, at that time, with the Department of Pathology in the Toxicology

Laboratories of what was, previously, AB Astra in Sweden, described these findings in the rat in

1986.27


                                              Page 30 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4       04/27/22     Page 32 of 236




                                                                 Minutes    Merck/Hässle/FDA

Meeting to Discuss Losec28 Resubmission. 29

                   In addition, it will be important to discuss the progression from increased

numbers of ECL cells through to neoplasia. It will be important to discuss this in light of the

animal data.

                                                             -induced decreased acid secretion,

subsequent development of hypergastrinemia, resultant ECL proliferation, dysplasia, and the

development of cancer. Hypergastrinemia causes gastric neoplasia of different degrees of

malignancy in rodents.27 Hypergastrinemia has also been associated with various gastric

malignancies in human beings including neuroendocrine tumors (NETs), previously named

carcinoid tumors, and carcinomas such as adenocarcinomas30 including signet ring cell

carcinomas.

The ECL cell is the most predominant gastric neuroendocrine cell and produces and releases

histamine.31,32,33 The ECL cells have a close connection to the acid producing parietal cells.34

The ECL is confined to oxyntic glands localized to the oxyntic mucosa but also may be found in

the antral mucosa35 and is the only cell in the stomach where the gastrin receptor has been

demonstrated with certainty.36 (Fig. 2)




                                          Page 31 of 160
  Case 3:18-cv-01063-JWD-EWD                        Document 99-4             04/27/22        Page 33 of 236




                          regulation of gastric acid
   Fig. 2. The regulation of gastric acid secretion (a) with a closer view of the interaction between gastrin,
                                            the ECL cell and the parietal cell (b).37




Gastrin stimulates the ECL cell by interaction with gastrin receptor (CCK2), previously also

called the CCK-B receptor, thereby activating the release of histamine from the ECL cells.

Histamine subsequently stimulates the parietal cells to produce hydrochloric acid. (Fig. 2 and 3).




                                                 Page 32 of 160
  Case 3:18-cv-01063-JWD-EWD                    Document 99-4           04/27/22       Page 34 of 236




Fig. 3. Waldum HL, Sandvik AK: Gastric functional and trophic receptors for CCK; in Stone TW (ed): Aspects of
 synaptic transmission. 2. Acetylcholine, sigma receptors, CCK and eicosanoids, neurotoxins. London, Taylor &
                                            Francis, 1993, pp 157- 172.




                                             Page 33 of 160
   Case 3:18-cv-01063-JWD-EWD                 Document 99-4         04/27/22      Page 35 of 236




IX.    The Function of Gastric Juice and the Regulation of Gastric Acid Secretion.

The gastric juice is unique in being both a highly acidic liquid with active enzymes, especially

the proteolytic enzyme pepsin but also a lipase. The acidity denatures ingested proteins which

subsequently are cleaved by the active enzyme pepsin secreted as a proenzyme pepsinogen

activated by acid. Thus, the protein digestion is started. However, from a biological point of view

the most important function of the gastric juice is to destroy swallowed microorganisms, a task

which the gastric juice is ideal to do by the combination of high acidity and active enzymes.

Normal gastric juice kills bacteria, virus and even prions. Above pH 4.0 pepsin has no

proteolytic activity38, gastric juice loses its bactericidal activity at around pH 3.539 and, therefore,

gastric acidity is maintained by regulation below that value.40. Gastric acidity is regulated by the

vagal nerves41 as well as by hormones with gastrin from the antral part of the stomach being the

most important.42

As previously mentioned, for 100 years43 it has been known that acetylcholine from the vagal

nerves, gastrin from the antrum and histamine were the three major gastric acid secretagogues. In

the late sixties the enterochromaffin-like cell (ECL) in the oxyntic mucosa was shown to be the

cell producing the histamine taking part in the regulation of acid secretion 44, and it is now

established that the gastrin receptor is localized on the ECL cell 45 which, upon stimulation,

releases histamine which subsequently stimulates the acid producing parietal cell.31,32,46 Vagal

nerves stimulate the parietal cell via acetylcholine47 and also acid secretion indirectly via

histamine release by interaction with a muscarinic-2 receptor on the ECL cells.48 The parietal

cell contains a proton pump which in the resting situation is confined to cytoplasmatic vesicles

but upon stimulation are incorporated into the luminal membrane whereby H+ is pumped into the




                                           Page 34 of 160
   Case 3:18-cv-01063-JWD-EWD              Document 99-4         04/27/22     Page 36 of 236




glandular lumen followed by K+ transport into the cell and Cl- into the lumen to maintain

electrical neutrality.49

From above, it should be clear that gastric juice has important biological functions. However,

this highly acidic and proteolytic juice may cause damage when it is exposed to mucosa not

designated for such exposure. In fact, only the gastric mucosa, and the mucosa of the duodenal

bulb, by their combined secretion of mucous and bicarbonate, can withstand normal gastric juice.

However, even in these anatomic locations a break can occur due to an increase in gastric acidity

or a reduction in the defense mechanisms. Moreover, the stratified epithelium in the esophageal

mucosa becomes damaged due to reflux of gastric juice when the gastro-esophageal valv           by

some cause or the other does not function properly. Both peptic ulcer and lesions in patients with

gastro-oesophageal reflux disease (GERD) heal with treatment reducing gastric acidity.

However, after the recognition of Helicobacter pylori (H. pylori) as the cause of peptic ulcer

disease, and the subsequent healing of the disease by H. pylori eradication, GERD has become

the main indication for long-term treatment with inhibitors of gastric acid secretion. In addition,

gastric changes due to use of non-steroid anti-inflammatory drugs (NSAIDs) as well as bleeding

secondary to antiplatelet and anticoagulation drugs, may be prevented by inhibitors of gastric

acid secretion. Therefore, many such patients use such drugs.

Mishuk et al.,50                       PPI use among the U.S. population increased from 5.70%

in 2002-2003 to 6.73% in 2016-2017 (P value = 0.011), representing an 18.07% overall

increase of PPI use. Increased trends in PPI use were observed among U.S. adults aged 65 years

and older, both males and females, non-Hispanic whites, non-Hispanic blacks, Hispanics,

Asians




                                         Page 35 of 160
   Case 3:18-cv-01063-JWD-EWD                  Document 99-4          04/27/22       Page 37 of 236




                                                F]indings of this study are also in accord with the

existing evidence of increased PPI use worldwide, such as in Australia (ref.51) and Taiwan

(ref.52

PPIs are increasingly being prescribed for prolonged, sometimes lifetime, use by health care

providers.53 In 2016, Scarpignato et al., writing with the Italian Society of Pharmacology, the

Italian Association of Hospital Gastroenterologists, and the Italian Federation of General

Practitioners, wrote,

           Soon after the introduction of omeprazole, the first PPI, into the market, Jean
          Paul Galmiche, a leading French gastroenterologist, wrote a thoughtful article
          [ref.54] anticipating that the unprecedented clinical efficacy of these drugs would
          have lead (patients and physicians alike) to addiction, and indeed, this is the
          case. Once on a PPI, the majority of patients stay on long-term PPIs, often
          indefinitely [ref.55], especially the elderly [ref.56]. (Emphasis added)

Nevertheless, despite this new, post-approval information regarding the addiction potential of

these drugs, many patients with diffuse dyspepsia are given such drugs without an accepted

indication. Generally, the more efficient an inhibitor of gastric acid secretion is, the more

effective it is with respect to healing of eventual lesions and in reducing acid related symptoms.

Therefore, the most efficient of the inhibitors became most popular and most prevalently used.




                                             Page 36 of 160
  Case 3:18-cv-01063-JWD-EWD                 Document 99-4       04/27/22     Page 38 of 236




X. Gastrin and Its Role in Gastric Acid Secretion

Immediately after having moved to Trondheim, I started planning for further research. Since I

knew that patients with reduced gastric acidity, which led to an increase in gastrin levels, were

predisposed to develop gastric cancer I d                          The Role of Gastrin in Gastric

Carcinogenesis

I applied for such a project and received a grant which made it possible to establish a laboratory

and a research group. We started to study the expression of gastrin receptor on human gastric

carcinomas cells. We decided to copy a method described by a U.S. group described in a reputed

journal and used in many papers published by the same group in the same journal. However, we

could not reproduce the method and therefore contacted the laboratory describing the method

and we were welcomed there. Unfortunately, they could not themselves reproduce the method

after the foreign researcher having developed the method had returned to his home country.

Accordingly, we realized that we had to develop our own method.57 In a receptor assay, it is

implicit that the labelled ligand (in this case gastrin) must have preserved its structure and

biological activity. Unfortunately, there existed no bioassay with enough specificity and

sensitivity to assess gastrin activity of radioactively labelled gastrin. Although isolated rat

stomach at that time was reported not to secrete acid, we realized that this was due to hypoxia

when using only oxygenated buffer for vascular perfusion taking into consideration that acid

secretion probably is the most energy requiring process in the body by creating a gradient of

more than 1 million between the gastric juice and the body. We therefore added red blood cells

to the vascular perfusion and the stomach started to produce acid.58

At the same time, Short et al.59 published on their success of making an isolated rat stomach

produce acid and their description did suggest some important points. However, Short et al. did

                                            Page 37 of 160
   Case 3:18-cv-01063-JWD-EWD              Document 99-4         04/27/22     Page 39 of 236




not develop their stomach model further and, unlike us, did not make any further physiological

studies on this model.

We showed that our labelled gastrin had full biological activity and, thus, was suitable for use in

a gastrin receptor assay. We also felt that the model was ideal for studying the interaction

between the different major gastric acid secretagogues, acetylcholine, gastrin, and histamine,

which, at that time, was disputed. With this model we could definitively close more than 60-

years of scientific disagreement for we established that maximum gastrin-stimulated acid

secretion was inferior to maximum histamine-stimulated acid secretion and that gastrin did not

augment maximal histamine-stimulated acid secretion whereas a cholinergic agent augmented

maximal histamine-stimulated acid secretion60

These findings were compatible with gastrin-stimulating acid secretion via increasing histamine

release whereas acetylcholine had a direct stimulatory effect. We were the first group to apply a

specific and sensitive histamine immunoassay and show that gastrin released histamine in

quantities enough to explain the acid stimulation.61 Some years later we got access to a

fluorinated gastrin analogue which we could show in the isolated rat stomach bound to the

histamine-producing enterochromaffin-like (ECL) cell and not to the parietal cell.36 Thus, we had

solved most of the important questions related to the physiological regulation of gastric acid

secretion.

Gastrin stimulates the histamine release from the ECL cell, the only cell with an undisputed

gastrin receptor62. There has been a long discussion concerning whether the gastrin receptor is

localized to the parietal cell. The paper by Kopin et al. 63 cloning the gastrin receptor from

oxyntic mucosal cells seemed to settle the discussion despite the possibility for ECL cell

contamination of the cells purified to 95% in parietal cells. However, there is from a functional

                                         Page 38 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22     Page 40 of 236




point of view no need for a gastrin receptor on the parietal cell.36,61 In a recent experimental

study the presence of the gastrin receptor gene in a phase of parietal cell development was

claimed64 which is surprising since this expression was not attributed to any physiological or

trophic effect. Based upon the calcitonin releasing effect of pentagastrin in patients with

medullary thyroid carcinoma, the presence of a gastrin (CCKB(2)) receptor on the C cells has

been assumed65. However, endogenous hypergastrinemia has not been reported to induce C cell

hyperplasia, and it cannot be excluded that the calcitonin releasing effect of pentagastrin given in

a high dose could be mediated by a CCKA receptor which shares part of the active site with the

CCKB receptor.66 Anyhow, it may at least be concluded that the only location of the

gastrin/CCK B receptor of importance for gastric cancer is on the ECL cell.

Histamine, in turn, stimulates the parietal cell, but since the acid secretion in parietal cells in

patients using PPIs is blocked (inhibited), no further acid is produced, and the luminal acidity is

not changed. Thus, there is a continuous stimulation of gastrin release from the G cell and of

histamine release from the ECL cell.

Stimulation of the function of cells is frequently accompanied by stimulation of proliferation. 67

Accordingly, cells being constantly stimulated develop hyperplasia. Both the G cell 68 and the

ECL cell69 can proliferate, but the ECL cell is much more responsive than the G cell. Thus, after

a period of hypoacidity the densities of G cell in the antrum and the ECL cell in the oxyntic

mucosa are increased.70 The density of ECL cells is more markedly elevated and, possibly due to

differences in regulation of proliferation between the two cell types or other inherent properties,

the G cell, in contrast to the ECL cell does not generally develop into a tumour although a case

report describing an antral gastrinoma in a patient after PPI treatment 71 and description of G cell

tumours in connection with H. pylori gastritis and PPI use have been reported.72

                                          Page 39 of 160
  Case 3:18-cv-01063-JWD-EWD                     Document 99-4            04/27/22        Page 41 of 236




In rodents, the ECL cell shows a brisk response to hypergastrinemia resulting in a marked

hyperplasia.73 There is a species difference in oxyntic ECL density depending of the number of

meals per day ingested with the rat eating, more or less, continuously on one side and, thus,

having the highest ECL cell density and the dog, which has but one or two meals a day, on the

other side of the equation with low ECL density; man can be found in between.32




      Fig.4. Histamine sensitivity and ECL cell density have opposite relationship to amount of meals/day.




With prolonged hypergastrinemia clusters of ECL cells develop74 which, with time, can develop

into ECL neuroendocrine tumours (NETs) and, after more prolonged PPI exposure, ECL

tumours of variable malignancy27,75 Also, in man, PPI treatment was recognized early on to

induce hypergastrinemia and resultant ECL cell hyperplasia.76 However, despite what had been

shown in rodents, it was claimed by some ECL cell hyperplasia did not develop further into

tumours in man.77

Nevertheless, Astra, the producer of the first PPI, omeprazole, described in a report filed in

connection with the process of getting PPIs sold over the counter that, while some patients


                                               Page 40 of 160
   Case 3:18-cv-01063-JWD-EWD                          Document 99-4              04/27/22        Page 42 of 236




developed ECL cell NETs after PPI treatment, these tumours disappeared after termination of the

PPI treatment.78 Subsequently, there have been multiple reports on the occurrence of gastric

NETs in patients having been treated with PPIs for some time13,79,80,81,82,83 as well as an increase

in prevalence following the introduction of PPIs.84 As discussed in more detail below, there has

been an increase in the incidence and prevalence of NETS during the last several decades being

most marked for the stomach both in the U.S.85 as well as in England.86 There can accordingly be

no doubt that long-term treatment with PPIs predisposes to gastric NETs as seen with all

conditions with long-term hypergastrinemia including autoimmune gastritis87,88, Helicobacter

pylori infection89,90, gastrinoma as part of multiple endocrine neoplasia type I (MEN I)91 or the

sporadic form92,93 and in patients after surgery with retained antrum not exposed to gastric acid.94

Finally, Denis M. McCarthy, in a recent review, incriminated hypergastrinemia as the cause of

the increase in gastric NETs originating from the ECL cell, and that PPI treatment contributed to

this development.95

In general NETs show some peculiarities compared with other malignant tumours (Table II). The
traits of the neuroendocrine tumours reflect closely the properties of the normal neuroendocrine
cells which in many respects are predisposed to tumour development.

    Peculiarities with neuroendocrine tumours                These peculiarities may be explained by properties of
                                                                                the cell of origin

In spite of an apparent benign phenotype, metastasize       They are spread among other cells reflecting low
early                                                       adherence. The enterochromaffin like (ECL) cell in the
                                                            stomach has been shown not to express E-cadherin. Low
                                                            adherence facilitates spread.
Grow slowly. Cytotoxic drugs mainly without any             NE cells do divide, but very slowly
effect on tumour growth
Tumour cells look very similar to the normal cell of
origin. Low mutation rate.
Immunotherapy does not seem promising
Produce signal substances which may give symptoms Produce signal substances
if reaching the circulation in sufficient concentration
and having an easily recognized effect
                              Table II. The properties of NETs reflect their cell of origin. 96



                                                    Page 41 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22      Page 43 of 236




XI. Agents Reducing Gastric Acidity.

Antacids were among the first to have some effect of acid related discomfort and diseases. These

are buffers raising luminal pH and often have an immediate effect on pain. Unfortunately,

antacids have a short-lived effect and do not raise the gastric pH for a sufficient period to induce

healing when used in accepted doses.

Anticholinergic drugs reduce gastric acidity97, however they are not widely utilized because they

are associated with many side effects when given in high doses.

The first drugs found to be efficient in elevating gastric pH in a sufficient time to allow healing

of peptic ulcers were the histamine-2 (H-2) blockers.98 These drugs dominated market in the

treatment of peptic ulcer during the late seventies and the eighties. However, the H-2 blockers

often failed to sufficiently induce necessary inhibition of acid secretion and, therefore, PPIs

replaced the use of H-2 blockers after but a few years in the marketplace.

The PPIs bind irreversibly to an activated proton pump and thus prevent anymore H+ secretion

from the pump.99

preventing it from secreting H+. In response, the parietal cells will develop new proton pumps to

secrete H+ necessitating continuous use of a PPI. PPIs blocks the final and common step in acid

secretion irrespective of the mode of stimulation, and since PPIs only bind to activated pumps

and are destroyed by high acidity in the stomach, they need to be given in connection with meals.

Nevertheless, the full effect achieved by PPIs is reached only after several days with the

accumulation of blocked pumps. PPIs generally have a short serum half-life, but due to its

covalent binding to the activated proton pump, the effect lasts for more than 24 hours.100 By

blocking the final step in acid secretion PPIs, in sufficient dosing, can remove nearly all acid

secretion after several days of treatment101 in contrast to other agents inhibiting acid secretion at

                                          Page 42 of 160
   Case 3:18-cv-01063-JWD-EWD                Document 99-4       04/27/22     Page 44 of 236




the time of PPI launching. The PPIs have very few direct side effects reflecting their interference

with a unique mechanism not found other places in the body as well as the dependence of acidity

to become activated. Thus, the problems related to PPI use are solely secondary to their

biological function, the inhibition of gastric acid secretion.

XII. Consequences of Inhibition of Gastric Acid Secretion.

At an approximate pH of 4.0 pepsin activity is virtually lost38 and the bactericidal effect of

gastric juice drops concomitantly.102 Despite this knowledge for many decades, there has been

little concern expressed regarding the loss of the protective biological function of gastric juice:

the killing of microorganisms.




the defense against prions which are misfolded proteins with the ability to transmit their

misfolded shape onto normal variants and cause several neurodegenerative diseases in humans

and many other animals. We were able to show an increased rate of infection in mice dosed with

inhibitors of gastric acid secretion when exposed to a scrapie agent which is a prion with a three-

dimensional folding configuration. Experimental scrapie, a fatal brain disease, has been

extensively studied in hamsters and mice when the agent is absorbed via the oral route.103,104

Recently, interest in the microbiological effect within the stomach has increased in connection

with evolved focus on the gut microbiome.105 But in contrast to some members of the medical



keep it highly acidic by stimulation of acid secretion via increasing gastrin. The gastrin

producing G cell, localized in the antral mucosa, responds to luminal acidity either directly via

receptors on the G cell itself106,107 or indirectly via somatostatin producing D cells59. The

inhibition of gastrin release by luminal acid tapers gradually off until a pH level of

                                           Page 43 of 160
   Case 3:18-cv-01063-JWD-EWD                 Document 99-4        04/27/22      Page 45 of 236




approximately 3.5 to 4.0 above which gastrin release is maximal 108 which indirectly shows the

biological significance of the microbiological killing by gastric juice.

Gastrin stimulates the histamine release from the ECL cell, as discussed above, the only cell with

an undisputed gastrin receptor.36 Histamine in turn stimulates the parietal cell, but since the acid

secretion in parietal cells in patients using PPIs, is blocked, no more acid is produced, and the

luminal acidity is not changed. Thus, there is a continuous stimulation of gastrin release from the

G cell and of histamine release from the ECL cell. There seems to be a general rule that

stimulation of function is accompanied by stimulation of proliferation. 67 Accordingly, cells being

constantly stimulated develop hyperplasia. Both the G cell68 and the ECL cell69 have the ability

to proliferate, but the ECL cell is much more responsive than the G cell. Thus, after a period of

hypoacidity the densities of G cell in the antrum and the ECL cell in the oxyntic mucosa are

increased.70 The density of ECL cells is more markedly elevated , and possibly due to differences

in regulation of proliferation between the two cell types or other inherent properties, the G cell,

in contrast to the ECL cell does not generally develop into a tumour although a single case report

describing an antral gastrinoma in a patient after PPI treatment 71 and description of G cell

tumours in connection with H. pylori gastritis and PPI use have been reported.72

                      hic Role Within the Stomach

Since the description of the Zollinger-Ellison syndrome109 it has been generally accepted that

gastrin has a trophic effect on the oxyntic, or acid-producing, gastric mucosa. The clinical

importance of the trophic effect of gastrin was first recognized with the description of gastric

neoplasms known as           carcinoids   occurring in patients with       atrophic oxyntic gastritis

(inflammation    of    the     acid   producing   mucosa     of   the      stomach   with   resultant



                                            Page 44 of 160
   Case 3:18-cv-01063-JWD-EWD                Document 99-4       04/27/22        Page 46 of 236




degeneration/shrinkage of the tissue which leads to reduced acid secretion finally leading to

achlorhydria (complete lack of stomach hydrochloric acid) and micronutrient deficiencies).110

This led to the development of the so-          gastrin hypothesis

of acid secretion leads to hypergastrinemia stimulating ECL cell hyperplasia subsequently

leading to neoplasia.111

In 1986, several researchers with the Hässle Research Laboratory and AB Hässle, along with co-

                                                Plasma Gastrin and Gastric Enterochromaffin-like

Cell Activation and Proliferation - Studies With Omeprazole and Ranitidine in Intact and

Antrectomized Rats

 The results of the present study favor the view that the diffuse and focal ECL cell hyperplasia

and focal neoplasia (ECL cell carcinoids) observed in the rat stomach after 2 yr (sic) of

treatment with omeprazole are the result of sustained pronounced hypergastrinemia induced in

turn by long-lasting inhibition of acid secretion. 112

                                                                     113
                                                                           by Merck Sharp & Dohme

Research Laboratories, it was reported that,

        The data submitted to date describe very clearly the relationship between
       pronounced inhibition of acid secretion and elevation of serum gastrin levels.
       These studies have also demonstrated that maintenance of high serum gastrin
       concentrations induces a hyperplasia of enterochromaffin-like cells (ECL cells)
       in the gastric mucosa (Figure 1). 114 (Emphasis added)

        That omeprazole must induce its effect on ECL cells through production of
       hypergastrinemia has also been demonstrated by surgical removal of the
       antrum. In this antrectomized model, administration of doses of omeprazole
       which were clearly capable of producing ECL cell hyperplasia produced only


                                          Page 45 of 160
   Case 3:18-cv-01063-JWD-EWD                  Document 99-4         04/27/22        Page 47 of 236




           very slight changes in this cell population. This subtle residual effect is
           attributable to incomplete surgical removal of G-cells in the antrum 115
           (Emphasis added)

And,

            These studies submitted earlier suggested a plausible hypothesis for production
           of gastric carcinoids after omeprazole administration. It has been postulated that
           carcinoid tumors are secondary to ECL cell hyperplasia produced by
           hypergastrinemia which in turn is a direct result of inhibition of acid secretion by
           omeprazole. This sustained, marked hypergastrinemia and stimulation of ECL
           cells could be expected to result in focal ECL cell hyperplasia, subsequent
           micronodule formation and ultimately expressed as carcinoid tumors. These
           studies also suggest that carcinoid formation is unique to the rat. 116

While it is true that the rat is particularly prone to develop ECL cell neoplasms due to eating

habits (Fig.4), but the relationship between gastrin and ECL cell proliferation is the same in other

species with a more infrequent food intake including man. Accordingly, ECL cell neoplasms

have been shown secondary to long-term hypergastrinemia in every species examined adequately

(Fig 5).




                                             Page 46 of 160
  Case 3:18-cv-01063-JWD-EWD                Document 99-4           04/27/22         Page 48 of 236




                   Fig. 5. (Modified from Waldum et al. Drug Safety, 2002;1:29-33)




                                                             Minutes     Merck/Hässle/FDA Meeting

to Discuss Losec Resubmission

       Dr. Gallo-Torres asked if we knew of a report in the literature in which
      carcinoids were reported to occur in animals with no increase in gastrin levels.
      Both the MSDRL117 and Haessle representatives stated that they did not think
      such a report existed. No such report has turned up in literature searches
      conducted independently by MSDRL and Haessle. 29



                                         Page 47 of 160
   Case 3:18-cv-01063-JWD-EWD                     Document 99-4            04/27/22       Page 49 of 236




It is correct that hypergastrinemia, more likely than not, is essential to, or is a significant

contributing factor to, the development of ECL cell neoplasia. However, apparently spontaneous

mutations may induce highly malignant ECL cell carcinoids without accompanying

hypergastrinemia in man.118 It should also be mentioned that per

induce ECL cell carcinoids119 due to hypergastrinemia without affecting gastric acidity.120

It is my expert opinion, which I hold to a reasonable degree of medical certainty, that there is a

causal connection between hypergastrinemia and ECL cell carcinogenesis. 121,122,123,124

XIV. Causes of Gastric Cancer

Gastric cancer was early recognized to be associated to gastric hypoacidity and a decade later to

gastritis (Table III).

                                                                        Time
                                   Condition
                                   Hypoacidity                         Forties

                                    Gastritis                          Fifties

                               Helicobacter pylori                  Early nineties

                                     Gastrin                          Nineties

                                                    Table III.
Conditions acknowledged to predispose to gastric cancer at different points of time; slightly changed from Waldum
 HL, Mjønes P. Towards understanding of gastric cancer based upon physiological role of gastrin and ECL cells.
                Cancers (Basel).125(Gastrin is the common factor for the three first conditions).


The dominating cause of gastric cancer is H. pylori gastritis 89 resulting in oxyntic atrophy90 and

thus hypergastrinemia. In addition, autoimmune gastritis, another cause of oxyntic atrophy,

predisposes to gastric cancer.126,127,128,129 Congenital missense of one of the genes coding for the

proton pump also leads to anacidity, hypergastrinemia and gastric cancer.130,131 Moreover, two

epidemiological studies described an increased incidence of gastric carcinoma in persons having


                                                 Page 48 of 160
   Case 3:18-cv-01063-JWD-EWD                 Document 99-4           04/27/22      Page 50 of 236




had hypergastrinemia many years before.132,133 Accordingly, gastrin obviously plays a central

role in gastric carcinogenesis.134,135 Therefore, every condition or treatment resulting in long-

term hypergastrinemia would be expected to have a carcinogenic effect on the stomach. It was

previously claimed that hypergastrinemia was dangerous only at very high values as found in

patients with autoimmune gastritis and that values up to about 200 pmol/L as found in patients

during PPI treatment, was of little concern.136 However, gastrin is a peptide hormone interacting

with a membrane receptor. Therefore, with values above the level at which all the receptors have

a bound ligand, there will be no additional effect.88 This general principle seems not to have been

realized by all.137 In fact gastrin stimulation of histamine release may be shown at a

concentration as low as 2 pmol/L138, and maximal functional and trophic effects of gastrin are

reached at a concentration of about 300 pmol/L both in rodents 60,139 and man.88 An important

factor that also has to be taken into consideration is that upper normal fasting values have been

too high since H. pylori infected persons were not excluded from the normal materials.140

Finally, when PPIs are dosed once daily in the morning, fasting gastrin may be almost normal

whereas it is the 24-h gastrin level that matters most.40,141 Therefore, fasting gastrin

underestimates the gastrin influence on the stomach. Moreover, curiously the effect on the ECL

cell has been claimed to be as a result of the gastritis and not gastrin142 (though no explanation is

given as to why inflammation should have a specific function on the ECL cell compared with

other cells). It should also be stressed that it does not exist a gastrin concentration threshold for

the trophic effect on the ECL cell.143 In recent years there have been many epidemiological

studies describing increased risk of gastric cancer in patients having been treated with PPIs for

long time.144,145,146,147,148,149,150,151,152,153,154,155,156,157,158 It should be noted that some authors

attributed the positive findings in several studies to confounding by indication, although others



                                            Page 49 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4          04/27/22   Page 51 of 236




bias. I understand that there will be experts in epidemiology who can discuss this in further

detail. However, I will add that in two instances145,159, authors who initially attributed the

positive association to confounding and/or immortal time bias later published studies reporting a

positive association between PPIs and gastric cancer.152,158,160

Of course, although hypergastrinemia is the dominating mechanism for development of gastric

cancer, there are other causes and mechanisms leading to gastric cancer like hereditary lack of E-

cadherin due to missense mutation of the coding gene CDH1.161 Interestingly, we could not

detect E-cadherin on ECL cells either162 which could explain why this cell is prone to develop

into malignancy. The Epstein Barr virus infection can also lead to gastric cancer. In these

cancers, the Epstein Barr virus is found within the cancer cells.163 In a retrospective study of

resected gastric tissue, the Epstein Barr type of gastric cancer was found in 1 of 20 (5%) in a

tumour displaying lymphoepithelial growth.164 My close colleagues published in 2016 that

deficiency of the plasminogen activator inhibitor (PAI-1) increased the trophic effects of

hypergastrinemia in the oxyntic mucosa and thus possibly playing a role in carcinogenesis. 165 To

my knowledge, this concept has not been developed further.

Concerning the etiology of gastric cancer, the role of GERD should also be mentioned. In this

context the entity of gastric cardiac cancers is defined as those cancers located between 3 cm

below and 2 cm above the gastroesophageal junction line is central.165a

The etiology of these cancers has been thought to be H. pylori and gastroesophageal reflux.

Considering reflux, neither drugs inhibiting acid secretion nor antireflux surgery has been shown

to protect against adenocarcinoma of the esophagus and cardia.165b



                                          Page 50 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22     Page 52 of 236




Gastroesophageal reflux is associated with esophageal cancer including those cancers due to

Barrett's esophagus, but otherwise reflux disease seldom leads to premature death.165c

However, reflux disease may predispose to polyps mainly localized to the junction itself. These

polyps are mainly benign.

Thus, reflux disease seems not to play any direct role in carcinogenesis of the stomach below the

cardia.

XV. Gastric Polyps and Gastric Cancer

Gastric polyps are lesions protruding into the lumen and are increasingly found at gastroscopy, in

Western populations in more than 6% of patients.166,167 Based upon their histomorphology gastric

polyps may be divided into hyperplastic polyps, adenomatous polyps and fundic gland polyps.168

Some types of polyps may also become malignant. PPI treatment is an important cause of the

most prevalent type of gastric polyp, the fundic gland polyp,166 which, however, seldom develop

into malignancy when not being a part of an inherited polyposis syndrome.

The hyperplastic polyps are most often related to gastritis,169 and H. pylori infection plays a role

in their pathogenesis as they may regress after H. pylori eradication,170 most likely as a result of

reducing hypergastrinemia.171 The description of ECL cell hyperplasia and NETs within gastric

hyperplastic polyps172 and an association between argyrophilic cell (a marker of neuroendocrine

cells) hyperplasia and hyperplastic polyps was reported in the early eighties.173 This gives us an

indication that there is a role for the ECL cells and, thus, gastrin in the pathogenesis of

hyperplastic polyps being secondary to the trophic effects of ECL cell signal substances.

Hyperplastic polyps may become dysplastic and malignant,174 and there are reports of diffuse

carcinomas, including the signet ring subtype, in hyperplastic polyps.175,176 The importance of


                                          Page 51 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22      Page 53 of 236




gastrin in the pathogenesis of hyperplastic polyps and secondary malignancy is exemplified by

the description of a case with marked hypergastrinemia secondary to H. pylori gastritis, long-

term use of PPIs and with ECL cell micro-nests located at the base.177 Similarly, a hyperplastic

polyp occurring in a patient with autoimmune gastritis became malignant during an observation

time of 9 years.178 Adenomatous polyps are not as prevalent as the hyperplastic form, but they

have a malignant potential also and H. pylori gastritis is involved in the pathogenesis.168

XVI. Gastric Cancer

Gastric cancer was previously very prevalent, but there has been a continuous decline in

incidence during the last part of the last century.179 However, gastric cancer is still an important

type of cancer death due to high mortality.180 Cancers localized to the cardiac region have

shown an increase in incidence in contrast to the rest of the stomach.181 Adenocarcinomas

localized to esophagogastric junction have similarities with gastric adenocarcinomas in general,

but the prognosis is worse, possibility due to more frequent spread to nearby lymph nodes.182

The role of H. pylori in the carcinogenesis in the cardiac region has been controversial, but in

Japan at least H. pylori was the dominating cause also for these cancers. 183 Nevertheless, the

role, if any, of PPIs in cardiac carcinogenesis will not be covered in this report, particularly for

large interest in the subject although they represented only 2.8% of resected gastric carcinomas

in Japan.184

Low gastric acidity185,186 and gastritis187,188 were early recognized as predisposing factors which

was confirmed and explained by the description of H. pylori as the dominating cause of

gastritis189 and gastric cancer.89 (Table III) The mechanism for the carcinogenic effect by H.

pylori was intensively searched, but without success. In this context it should be added that a

bacterial infection has never been described to lead to cancer. Taking into consideration that H.

                                          Page 52 of 160
   Case 3:18-cv-01063-JWD-EWD                Document 99-4         04/27/22      Page 54 of 236




pylori gastritis when affecting the oxyntic mucosa leads to hypergastrinemia190, we claimed that

the carcinogenic effect of H. pylori could be due to hypergastrinemia as early as 1993 191, a

concept that we have repeated many times later.192 The descriptions that H. pylori infection only

predisposes to gastric cancer after having induced atrophy of the oxyntic mucosa90, that H.

pylori eradication does not eliminate the cancer risks in patients with oxyntic atrophy due to H.

pylori gastritis193 as well as the increased occurrence of gastric cancer during a relatively short

period after H. pylori eradication in patients treated with PPI148,149 are all compatible with the

concept that H. pylori causes gastric cancer via hypergastrinemia. Similarly, hypergastrinemia in

rodents induces gastric NETs/cancer in rats27, mice194, Mastomys195, Mongolian gerbils196 and

Japanese cotton rats197,198 Transgenic mice with hypergastrinemia (INS-GAS mice) are used for

studying gastric carcinogenesis199, and in this model, H. pylori infection increased the prevalence

of gastric cancer.200 To conclude this part, there is no doubt that hypergastrinemia leads to gastric

malignant tumours in rodents and in man. Moreover, it is evident that hypergastrinemia also

drives gastric carcinogenesis due to H. pylori134,192

The central role of hormones, as well as local endocrine cells, in cancer development has become

apparent. Moreover, the classification of tumors should focus not only on the organ of origin but

also on the cell of origin. All cells with the ability to divide may give rise to tumors. Hormones

often stimulate the proliferation of certain cell types, leading to an increased mass of that cell

type. It is well-known, and has been generally accepted since the late 1970s, that the trophic

hormone, gastrin, stimulates the ECL cell resulting in both increased size and proliferation of the

ECL cells11,27,77,125,201,202,203,204,205,206 This target cell of gastrin, the ECL cell, develops into

neoplasia when exposed to long-term hypergastrinemia in all species examined adequately.125




                                           Page 53 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22      Page 55 of 236




a growth-promoting effect on nude mice transplanted neoplastic lesions and oxyntic gastric cell

lines.207,208,209

Gastric cancer frequently expresses the gastrin receptor genes21,210,211,212, supporting its

pathogenesis from ECL cells, as previously mentioned, the only cell with an undisputed gastrin

receptor.5,36

Hur et al., in 2005, published the results of their study looking at 279 patients with histologically

proven adenocarcinoma of the stomach                       the expression rates of gastrin and the

gastrin receptor are high (about 50%) in gastric carcinoma tissues, and that the expressions of

gastrin and gastrin receptor are associated 211 They studied the expression of gastrin and its

receptor by immunohistochemistry, and immunohistochemistry has been known to be

problematic in specificity in detection receptors, possibly due to homology in structure between

receptors.

Ito et al., in 2008, using antibodies against the gastrin-gastrin receptor system and detected such

expression in 5 gastric carcinoma cell lines and 48 human gastric tumor tissues.213 All gastric

carcinoma cell lines expressed the gastrin receptor and, consistent with Hur et al., 65% of the

gastric tumors expressed the gastrin receptor.214 This is consistent with findings from our team,

published in 2018 describing gastrin receptor on gastric cancer cells.215

The expression of gastrin and its receptor in human adenocarcinomas was also reported from a

Danish group examining gastrin peptides in extract of cancer tissue and gastric cancer cells by

immunohistochemistry as well as gastrin and gastrin receptor gene expression by real-time

PCR.216 The presence of gastrin and         gastrin-mRNA in tissue extracts could have been

influenced by possible contamination of antral tissue, and the expression of gastrin expression in


                                          Page 54 of 160
   Case 3:18-cv-01063-JWD-EWD                  Document 99-4       04/27/22     Page 56 of 236




the cancer cells needs confirmation by in-situ hybridization. It should also be added that there is

a publication describing endocytosis of gastrin in cancer cells with the gastrin receptor.217

Furthermore, a gastrin receptor antagonist, or blocker, (YF476/netazepide) prevents

carcinogenesis in several models.198,218,219,220,221,222

Omeprazole, and esomeprazole, through their inhibition of gastric acid secretion and resultant

hypergastrinemia, have been shown to induce proliferation and increased density of the ECL

cells.223,224,225,226,227                                                                       -Depth

Review Meeting Minutes from one C.A. Hildebrand of MSDRL, dated December 30, 1986. 228 I

                                    Copies of these minutes should not be sent to Astra

Within these minutes, Dr. Hildebrand wrote,

          The FDA has reviewed the data from preclinical studies and they agree with
         Astra s hypothesis that hypergastrinemia is the cause of increased ECL cell
         density, ECL proliferation, and the formation of gastric carcinoids in rats. The
         FDA has agreed that the ECL cell hyperplasia and gastric carcinoid tumors
         were the result of the sustained high levels of gastrin produced by the
         exaggerated pharmacologic effect of PPIs and that additional preclinical studies
         beyond those completed or planned are not needed to support the NDA. The
         effect of LOSEC on serum gastrin levels and on the gastric mucosa of humans
         remains an issue. 229 (Underlining in the original).
Furthermore, Tielemans et al. reported in 1989 that, in a study they conducted on rats with

                                           the omeprazole-evoked ECL cell hyperplasia is a result of

accelerated self-replication. The positive correlation between the plasma gastrin concentration

and the ECL cell labeling index is compatible with a causal relationship between circulating

gastrin levels and increased ECL cell density. 223

Although the density of a target cell exposed to continuous hormonal overstimulation reaches a

maximum230, some target cells show increased proliferation, leading to local accumulation of

                                             Page 55 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4          04/27/22     Page 57 of 236




cells in clusters, representing dysplasia and the start of neoplasia. 231 With normalization of the

hormone level such histological nests, or even macroscopic tumors at early phases, may

apparently disappear.13

This apparent reversal of dysplastic or even neoplastic tissue has been reported to occur with the

use of omeprazole and esomeprazole dating as far back as the early 1980s and reported by

AstraZeneca to the FDA in 2000.232 It is to be noted that gastric carcinoids due to atrophic

gastritis, a histopathologic disorder characterized by chronic inflammation of the gastric mucosa

with loss of the gastric glandular cells, may disappear when the functional hypergastrinemia is

removed by the treatment with the gastrin receptor blocker YF476 233 or antrectomy.234

However, these ECL cell-derived carcinoids have the propensity to become gastrin independent,

giving rise to highly malignant tumours as seen in gastric carcinomas in patients with pernicious

anemia205 and the highly malignant ECL cell-derived carcinoma which developed after long-

term PPI treatment that we described, and published, in 2012.235 Therefore, as we unequivocally

stated in another peer-                                           It may therefore be concluded that

PPI-induced hypoacidity with secondary hypergastrinemia will in long-term lead to ECL cell

neoplasia as seen in every other condition with hypergastrinemia. 13

This finding has been confirmed in the many epidemiological studies published in the past four

years, all of which could just as easily have been done any time in the past 10 - 15 years.

                                                 eversibility of ECL-cell and G-cell Hyperplasia

After 10 Weeks Omeprazole Treatment in Female Rat             and signed by Håkan Larsson, AB

Hässle Gastrointestinal Research, the investigators noted that,




                                          Page 56 of 160
  Case 3:18-cv-01063-JWD-EWD              Document 99-4           04/27/22   Page 58 of 236




        After 10 weeks                                               p.o.) increases were
       found in plasma and antral tissue gastrin levels and in the oxyntic mucosal
       histidine decarboxylase (HOC) activity and histamine level. In parallel, increases
       in G-cell (~2x) and ECL-cell (~3-4x) densities were found in antral and oxyntic
       mucosa, respectively. 236

Then, following cessation of treatment with omeprazole, they reported,

        Within 19 days after cessation of treatment plasma gastrin and oxyntic mucosal
       HDC-activity as well as antral G-cell and D-cell densities were back to control
       levels. Thirty-five to 70 days after stopping treatment stomach weight was down
       to control level. Antral gastrin levels were normalized within 70 days and oxyntic
       mucosal ECL cell density, and the histamine concentration were completely
       normalized after 140 days (20 weeks). 237

                                            This study indicates that omeprazole treatment up to

10 weeks does not induce irreversible changes in ECL cells or G cells.

exclude the occurrence of mutations of the ECL cells during the hypergastrinemia period.

In a 1988 publicatio         Omeprazole: Its Influence on Gastric Acid Secretion, Gastrin and

ECL Cells 238, published in Toxicologic Pathology and presented at the Sixth International

Symposium of the Society                                                             Toxicologic

                  -3, 1987, in Philadelphia, Pennsylvania, Håkan Larsson and other researchers

from both AB Hässle and the University of Lund, Sweden reported,

        Control plasma gastrin levels were reached within a few days of stopping long-
       term treatment, and the ECL-cell density was back to normal 20 weeks after
       discontinuing 10 weeks of treatment with high-dose omeprazole. We conclude
       from these studies that the ECL-cell hyperplasia seen in rats after long-term
       treatment with gastric acid secretion inhibitors is reversible and secondary to the
       hypergastrinemia, and is not caused by the drugs per se.


                                        Page 57 of 160
   Case 3:18-cv-01063-JWD-EWD                Document 99-4        04/27/22      Page 59 of 236




What about the presence of neuroendocrine tumors seen after long periods of treatment? There is

no correlation between what is seen at 10 weeks versus 1     2 years.




(or esomeprazole) must be stopped. Therefore, these studies would apply to those patients who

cannot stop using the drugs for medical reasons, personal reasons or because of a severe rebound

phenomenon (more on this below).

However, it is to be noted that, also in 2012, Brunner et al reported that no ECL cell tumours

were observed in a long-term (up to 15 years) follow-up study of patients treated with PPIs due

to severe peptic disease or gastro-esophageal reflux disease.239 During this study H. pylori

infection was treated with antibiotics resulting in a marked reduction of H. pylori positive

patients during the observation, which would be expected to reduce the severity of the peptic

ulcer disease. No standard dose of PPI was used but the dose was adjusted according to

symptoms. Thus, pantoprazole was given in doses from 20 to 160 mg daily. Taking into

consideration the steep concentration-response curve as well as the variation of the

bioavailability of PPIs240 it is reason to suspect that some of the 36 patients followed for 15 years

were not treated with doses giving profound acid inhibition.241 The great variation in serum

gastrin reported by Brunner et al also suggests that some patients were markedly hypo-acidic in

their stomach whereas others had normal gastric acidity. Nevertheless, this small study by

Brunner et al does suggest that most patients will not develop any ECL-derived tumours, at least

during the first decade of PPI treatment.




                                            Page 58 of 160
   Case 3:18-cv-01063-JWD-EWD                         Document 99-4   04/27/22   Page 60 of 236




XVII. Chromogranin A

Chromogranin A (CgA) is a protein localized to the secretory granules of neuroendocrine

cells.242,243 When a tumor develops in an endocrine tissue, it becomes the main source of

circulating CgA.244,245 High CgA levels have been demonstrated in the serum or plasma of

patients with different types of endocrine tumors including, but not limited to, enterochromaffin

cell tumors.205,246,247,248,249,250,251,252,253, 254,255

Enterochromaffin-like cell hyperplasia secondary to hypergastrinemia leads to a CgA increase in

blood.256 CgA is released from the cytoplasmic chromaffin granules into the blood. CgA levels

may rise as the neoplastic cell mass increases. However, as the malignancy increases, the CgA

level may, in fact, drop. Generally, CgA in blood is a marker of the total neuroendocrine mass,

thus reflecting hyperplasia of, as well as neoplasia from, such cells

In 2012, my group published a case report regarding a gastric neuroendocrine carcinoma in a 49-

year-old man using PPI for 15 years due to gastroesophageal reflux disease.235 Tumor biopsies

revealed a poorly differentiated neuroendocrine carcinoma. Blood tests showed pathologically

increased fasting serum CgA and gastrin, 32 nmol/l (normal <6 nmol/l) and 149 pmol/l (normal

<40 pmol/l), respectively. Immunolabeling with monoclonal antibody against CgA disclosed

linear enterochromaffin-like (ECL) cell hyperplasia indicating long-term hypergastrinemia. By

use of electron microscopy immunogold labeling, CgA was detected in secretory granules of

tumor cells.




                                                    Page 59 of 160
   Case 3:18-cv-01063-JWD-EWD                 Document 99-4          04/27/22      Page 61 of 236




XVIII. Carcinogenesis in General

In this section, I will focus on the cell of origin of tumors, particularly that differentiated cells are

able to divide and that not only stem cells may develop into tumors. Moreover, since each cell

division by chance implies a small risk of mutation, every stimulation of proliferation is

accompanied by an increased mutation risk. Knowledge of the regulation of proliferation of the

cell of origin will therefore indicate the mechanism of the tumorigenesis. Furthermore, signal

molecules including hormones (estrogen, testosterone, gastrin) thus become important in

tumorigenesis. Finally, understanding that differentiated cells with slow proliferation undergo

tumour development may also explain the phenomenon of so-called dormant tumor cells.

The dominating role of gastrin in gastric carcinogenesis 134 is an example of the important role of

hormones in carcinogenesis. Hormones play a major role in the etiology of several of the

commonest cancers worldwide including prostate cancer in men along with cancers of the ovary,

endometrium, and breast in women.257
                                                                            258



Several lines of evidence support a multistep process of tumorigenesis involving genetic

alterations which drive the progressive transformation of normal human cells into malignant

cells.259,260,261 Tumorigenesis involves many mutations during this process, preferentially in

genes regulating growth control and resulting in increased stimulation (oncogenes 262; genes that

have the potential to cause cancer) or removal of inhibition (tumour suppressor genes).263

Carcinogenesis is a continuous process which affects cellular growth control 259 and has been

reported to be initiated by a factor (initiator) inducing a mutation followed by other factors

(promoters) stimulating the growth of the mutated cell.264



                                            Page 60 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22      Page 62 of 236




This may be demonstrated by the fact that a hyperplastic lesion or a benign tumour can

predispose to a malignant neoplasm.259 Clinically and histopathologically the transformation

from simple hyperplasia, via an adenoma to a carcinoma, is perhaps most clearly observed in the

epithelium of the colorectal mucosa.265

However, with cell divisions comes the risk of mutations with a certain frequency.259 Mutagens,

which may be physical, chemical, or biological, can cause irreversible changes in the cellular

genetic material known as deoxyribonucleic acid (DNA), which may be inheritable. Whether a

mutation induced by a mutagen gives rise to a clinically overt tumour depends on the type of

mutation and on the replication of the mutated cell.

The role of hormones in the regulation of growth and development has been known for a long

time.259 By stimulating mitosis, cellular division, hormones increase the risk of mutation solely

by increasing the number of cell divisions.266 A rapidly dividing cell has a higher risk of

mutating than a quiescent cell.267 Hormones are both initiators and promoters of carcinogenesis;

through the stimulation of cellular division they are initiators and by the subsequent stimulation

of mutated cells still expressing the hormone receptor, they are promoters. 259,268 Already in 2000

Henderson and Feigelson presented such a view,269 and the occurrence of cancer of the vulva

and vagina in girls born of mothers having been treated with estrogen 270 indisputably

demonstrates that a hormone is a complete carcinogen, at least in fetal life.

Only cells able to divide can give rise to neoplasia.269 Cancers or malignant neoplasms are

diseases where cells no longer respect their border for normal distribution but grow into

neighboring structures (invasion) and/or invade other organs via transport in the blood or

lymphatics or via natural cavities (metastasis).



                                          Page 61 of 160
   Case 3:18-cv-01063-JWD-EWD             Document 99-4         04/27/22     Page 63 of 236




The development of cancer initiates when a single mutated cell begins to proliferate abnormally.

The most important issue in cancer pathology is the distinction between benign and malignant

tumors.271 Benign tumors develop when the number set point of a cell type is increased. With

time, new mutations occur, and the tumor cell is gradually transformed into a more malignant

stage. Additional mutations followed by selection for more rapidly growing cells within the

population then result in progression of the tumor to increasingly rapid growth and malignancy.

Thus, benign tumors imply an increased risk of developing into cancer. (Fig. 6)

Most often, in cancer cells there is an accumulation of mutations, but sometimes a mutation

affecting a gene results in a cancer cell with few mutations. 5 However, even if it is undisputed

that there are genetic changes in cancer cells, only a minor proportion of cancers occur due to

congenital genetic disorders.5,272




                                         Page 62 of 160
   Case 3:18-cv-01063-JWD-EWD                Document 99-4             04/27/22   Page 64 of 236




                                 Fig. 6. Stages of tumor development. 271




Gastrin is the main regulator of ECL cell proliferation123 and induces ECL cell hyperplasia, as

reported in 1986 by Dr. Nilo Havu of AB Hässle.27 As previously described, the release of

histamine by ECL cells, under stimulation by gastrin from the G cells, results in the secretion of

gastric acid by the parietal cells. In addition, histamine has an angiogenic effect 273, the

physiological process through which new blood vessels form from pre-existing vessels which

could be of importance in tumorigenesis. Tumors require nutrients and oxygen much like normal

cells and tissues, in addition to an ability to evacuate metabolic wastes and carbon dioxide.274

                                           Page 63 of 160
   Case 3:18-cv-01063-JWD-EWD                Document 99-4            04/27/22       Page 65 of 236




Histamine also influences capillary permeability and promotes the passage of cells from the

tissue into the blood stream and, thus, facilitates metastasis.123

       asic fibroblast growth factor              produced in the ECL cell275, has an angiogenic

effect.273 Thus, substances normally produced in the ECL cell facilitate both tumor growth and

metastases.123 This is a general phenomenon of neuroendocrine cells explaining the apparent

discrepancy between the low degree of cellular atypia and the clinically malignant behavior of

such tumors. In other words, these cells may be more likely to develop tumors, including

malignant ones, due to their normal production of paracrine factors, proteins synthesized by one

cell which diffuses over small distances to induce changes in neighboring cells. 276 This enables

tumors to arise from such cells after fewer mutations and with less deviation from the normal cell

than tumors from cells normally lacking the production of such tumorigenic factors.123

Gastrin immunoassays were developed around 1970277,278 and, thereafter, it was soon shown that

patients with reduced gastric acidity had markedly elevated gastrin values.279 Thereafter, small

tumours in the oxyntic mucosa of patients with atrophic gastritis and pernicious anaemia were

described as gastric carcinoids (now called gastric NETs      more below).91

The fundamental role of gastrin in the pathogenesis of gastric NETs was realized when similar

tumours also occurred in patients with gastrinoma.91 As a result, in 1988, Bordi published

Carcinoid (ECL cell) tumor of the oxyntic mucosa of the stomach, a hormone dependent

neoplasm? suggesting that these tumours were hormonally induced. 280 However, Solcia et al.,

concluded that      in man the gastrin alone is able to promote the proliferation of ECL cells but
                                                               77
is per se apparently unable to induce ECL transformation             This is, technically, true; gastrin is

not a mutagen. However, gastrin does induce proliferation of the ECL cell, and it is generally



                                           Page 64 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22      Page 66 of 236




accepted that increased rapid cellular proliferation increases the potential for a mutation to occur,

leading to a neoplasm.

Gastric NETs (carcinoids) are generally of ECL cell origin. Nevertheless, somatostatin

expression has been reported in most tumour cells of highly malignant gastric endocrine

carcinoma281, and we have described a D cell gastric carcinoma secondary to hypogastrinemia

due to antral resection according to Billroth II.282 We have also described two ghrelinomas

among 63 gastric neuroendocrine tumours.283

The gastric ECL cell NETs are classified in three groups118:


       Gastric carcinoid type 1, due to hypergastrinemia secondary to atrophic gastritis
       Gastric carcinoids type 2 due to hypergastrinemia secondary to gastrinoma and,
       gastric carcinoids type 3 in patients with normal serum gastrin.

Thus, in types I and I1 hypergastrinemia is present, which is essential in the neoplastic

transformation.206 Treatment with PPIs is not included in this classification but like in patients

with gastrinoma of the sporadic type, gastrin is the only pathophysiological factor in both these

situations. However, also in oxyntic atrophic gastritis hypergastrinemia and not the inflammation

is the dominating cause of ECL cell tumours, and as I see it, type 1 and 2 should be merged.134

In addition, hypergastrinemia is now also associated with an increased risk of gastric

adenocarcinomas133, as discussed further below.

Gastric carcinoids type 1 and 2 have a good overall prognosis with a 96 100% 5-year survival.284

However, metastatic disease and highly malignant transformation have been reported. 205 The

type 3 gastric carcinoids have a poorer prognosis with 50% 5-year survival.285 PPIs are potent

inhibitors of gastric acid secretion. Patients treated with PPIs develop secondary


                                          Page 65 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4        04/27/22      Page 67 of 236




hypergastrinemia and ECL cell hyperplasia. It is no longer realistically disputed whether PPI

treatment will lead to ECL cell-derived tumours. NETs (carcinoid tumors) seen in rats are a

direct consequence of the trophic effect of marked and sustained elevations of serum gastrin due

to profound and prolonged inhibition of acid secretion.

A very important finding concerning the role lack of gastric acid and hypergastrinemia came

from the description of a Spanish family where two cousins had 10 children and 5 developed

tumours in their stomachs, localized to the oxyntic mucosa. Four of the tumours were classified

as gastric NETs diagnosed while the patients were in their twenties and the fifth tumour

classified as adenocarcinoma, diagnosed in the              thirties. The affected children were

anacidic due to a missense of one of the genes of the proton pump (ATP4A) and had, therefore,

been exposed to a long-term hypergastrinemia.286 Later we could reclassify the tumour of the

oldest child from an adenocarcinoma to a neuroendocrine carcinoma. 287 This family shows,

without a doubt, that long-term hypoacidity with secondary hypergastrinemia induces tumours of

all degrees of malignancy.

       A. Adenocarcinomas

Gastric cancers have generally been classified as adenocarcinomas and thus being of exocrine

cell origin. They have been subclassified into the intestinal type, showing a glandular growth

pattern, and those lacking pattern as being of the diffuse type.288 Nevertheless, also the diffuse

cancers were classified as adenocarcinomas since the cancer cells were thought to contain mucin

due to PAS positivity, a substance believed to selectively bind to mucin, a substance representing

exocrine function. However, we have not been able to confirm that the PAS positive material is

mucin. This was particularly shown in signet ring cell carcinomas (a subgroup of

adenocarcinomas of the diffuse type discussed below) where the cancer cells are stuffed with

                                         Page 66 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22      Page 68 of 236




PAS positive material. By immunohistochemistry and in-situ hybridization we did not detect

positivity for mucin, but instead neuroendocrine markers compatible with ECL cell origin.289,290

Generally, the distinction between gastric adenocarcinomas and neuroendocrine carcinomas was

realized to be difficult clinically around 198030,291 by the great Japanese neuroendocrine expert,

Jun Soga, who reclassified the cancers in Mastomys from adenocarcinomas to neuroendocrine

carcinomas292 and by the reclassification of the rodent tumours after long-term dosing of the

insurmountable histamine-2 antagonist, loxtidine.194,293 The presence of neuroendocrine tumour

cells in adenocarcinomas has been a problem in cancer classification for a long time.21,294

However, it is more likely than not that the ECL cell is the cell of origin for gastric carcinomas

of the diffuse type.294

I will add that when we published our first paper on the occurrence of neuroendocrine/ECL cell

markers in gastric carcinomas in man295 it was initially rejected due to very negative referees

coming up with irrelevant criticism. From what was written, I recognized the two referees as

being closely associated with Astra and I, therefore, wrote a letter to the Editor indicating that it

was a pity that scientists with a close connection to pharmaceutical industry could block the

publishing of a scientific study with new important findings. The Editor then accepted the study.

. However, by one reason or the other, the five first volumes (1989-

                                                                                            ust also

confess that I made an error as Editor of the supplement produced after the meeting in

Trondheim: Histamine and the Stomach, in publishing the same manuscript there. This was done

to cover completely the presentations at the meeting, but I should, of course, have modified the

manuscript to avoid double publication. Nevertheless, the access to the study which was reduced



                                          Page 67 of 160
   Case 3:18-cv-01063-JWD-EWD                Document 99-4          04/27/22      Page 69 of 236




was improved.

This paper was met with heavy criticism from Creutzfeldt and Solcia claiming that only histamine

immunohistochemistry and electron-microscopy could identify a cell as an ECL cell and that the cells we

had described could be EC cells.296 In the response I published that the cancer cells also were

serotonin negative by immune histochemistry and therefore not EC cells.297 We published in

1991 that many gastric carcinomas of diffuse type based upon immunohistochemistry were of

neuroendocrine and more precisely ECL cell origin.21 Later we used histidine decarboxylase

(HDC)     immunoreactivity      as   maker    for   histamine/ECL      cell 289   and   chromogranin

immunoelectron-microscopy to identify secretory granules 298, and detected HDC positivity as

well as chromogranin A secretory granules in gastric cancer cells, thus fulfilling the requirements

for accepting an ECL cell put forward by Creutzfeldt and Solcia. Creutzfeldt wrote in a review

on omeprazole safety some years after the dispute in European Journal of Gastroenterology and

Hepatology that our findings of neuroendocrine/ECL cell differentiation markers in

adenocarcinomas of diffuse type were pure speculations. 299 However, there are descriptions of

neuroendocrine carcinomas composing a higher proportion of gastric adenocarcinomas than

realized252,300 and such findings have particularly been reported of the signet ring subgroup of

carcinomas of diffuse type289,301,302 The difficulties in distinguishing between adenocarcinomas

and neuroendocrine carcinomas are of an old date291,294. Therefore, it is my expert opinion, held

to a reasonable degree of medical certainty that the ECL cell gives rise to oxyntic gastric tumours

classified as NETs, neuroendocrine cancers and adenocarcinomas, especially those of diffuse

type.




                                           Page 68 of 160
   Case 3:18-cv-01063-JWD-EWD              Document 99-4         04/27/22     Page 70 of 236




H. pylori gastritis predisposes equally to gastric cancer of intestinal and diffuse types.303

Whereas the ECL cell appears to be the cell of origin for the diffuse type of gastric cancer, the

cell of origin for the intestinal type is less clear. However, gastrin stimulates ECL function

(release of histamine304, Reg-protein305 as well as basic fibroblast growth factor (bFGF).306 A

general trophic effect of gastrin on the oxyntic mucosa is undisputed109,307 but it is not known

whether this effect is due to a direct effect upon a gastrin receptor on the stem cell or due to an

indirect effect by signal substances from the ECL cell.5 Long-term hypergastrinemia leads to

ECL cell NETs13,126 , which are cancers of a lower malignancy205 discussed further below. A

progression from NETs to neuroendocrine carcinomas was also supported by a recent genetic

analysis.308   Moreover, autoimmune oxyntic atrophic gastritis, which is accompanied by a

marked hypergastrinemia, predisposes to both ECL NETs and gastric cancer (adeno)

carcinoma.126,127,309

When examining gastric carcinomas from patients with autoimmune atrophic gastritis with

immunohistochemistry applying signal amplification, we could show that nearly all these

tumours expressed neuroendocrine markers in their cancer cells indicating ECL cell origin.128

Furthermore, we have by immunoelectron microscopy shown neuroendocrine granules in gastric

cancer cells from diffuse gastric cancers298, expression of neuroendocrine and specific ECL cell

markers in cancer cells as well as gastrin receptor by immunohistochemistry and in-situ

hybridization, but not specific mucin expression, all compatible with ECL cell origin of many of

the carcinomas.215,251,252,290However, the arguments in favor of the ECL cell being the cell of

origin are particularly strong for the diffuse type of cancers, whereas the intestinal type of

cancers can originate from the stem cell.310 Nevertheless, it is more likely than not that the ECL




                                         Page 69 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22     Page 71 of 236




cell, indirectly via release of its signal substances, plays an important role in the development of

carcinomas of the intestinal type.

Gastrin, via stimulation of ECL cell proliferation or via ECL cell release of signal substances,

plays a central role in gastric carcinogenesis since hypergastrinemia predisposes to gastric

carcinoma of diffuse type and, more likely than not, the intestinal type. Moreover, there is need

for an improved classification and examination of gastric cancers to improve understanding and

treatment.5

As mentioned, while the overall incidence of gastric adenocarcinoma is declining in the Western

world, adenocarcinomas of diffuse type according to Laurén288 have been increasing over the last

decades311 and, in the U.S., there is an overall increase in gastric cancer in the younger age

groups (<50 years of age).312,313,314,315 Causes of this increased prevalence include increasing

prevalence of autoimmune gastritis and long-term use of PPIs, both of which cause

hypergastrinemia.133,152,316,317,318 In patients with hypergastrinemia, gastric adenocarcinomas are

overrepresented in the corpus of the stomach319, and the risk of gastric adenocarcinoma, more

likely than not, progressively increases with the degree of oxyntic mucosal gastritis.320

In 2015 I co-authored a study looking at hypergastrinemia, adenocarcinomas in the gastric

corpus and its effect on patient survival.319 Patients with non-cardia gastric adenocarcinomas

diagnosed from 1992 to 2002 at St. Olavs Hospital, Trondheim, Norway were consecutively

included in a prospective manner (n = 80). Tissue samples were collected by upper endoscopy

and/or surgery for histological examination and sub-classification of adenocarcinomas according

to Laurén288 into diffuse, intestinal, or mixed type. Median time from diagnosis to review of

medical journals was 16.5 years. The use of proton pump inhibitors before and at the time of



                                          Page 70 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22     Page 72 of 236




surgery was recorded as it could influence serum gastrin levels. The study was approved by the

Regional Committee for Medical and Health Research Ethics of Central Norway.

This was a population-based nested case-control study within the Nord-Trøndelag Health Study

(HUNT). Among the 78,962 unique participants in the cohort, 181 (0.2%) individuals developed

gastric adenocarcinoma during follow-up and 359 participants were selected as controls. Median

time from baseline to diagnosis was 5.7 years for all cases with a range of 3.0 years to 9.1 years.

The tumor location was proximal in 81 (45%), distal in 70 (39%), indefinite in 27 (15%) and

unknown in 3 (2%). The tumor histology was diffuse in 63 (35%), intestinal in 74 (41%), mixed

in 15 (8%), indeterminate in 22 (12%) and unknown (no biopsy) in 7 (4%). The median serum

gastrin concentration was higher in cases than controls (58 pmol/L vs 48 pmol/L) and

hypergastrinemia was more prevalent among cases than controls (47% vs 33%). It should be

noted that more cases than controls were ever smokers, but there were only minor differences

between the cases and controls in the other possible confounding factors.

We noted that hypergastrinemia was associated with an increased risk of gastric adenocarcinoma

overall with an Odds Ratio (OR) 2.2 and a 95% confidence interval (CI) of 1.4-3.4. We found

that the association was stronger in patients with a proximal tumor location (OR 6.1, 95% CI 2.7-

13.8), but weaker and statistically nonsignificant in patients with distal tumor location (OR 1.7,

95% CI 0.9-3.4). The risk of proximal tumor location associated with hypergastrinemia was

seemingly higher among women (OR 14.3, 95% CI 3.6-57.5) than men (OR 3.6, 95% CI 1.4-

9.6). There was no effect modification by age or body mass index.

Ours was the first study to demonstrate a marked association between hypergastrinemia and

subsequent development of gastric adenocarcinoma in the gastrin-responsive, proximal stomach

in a larger general population. However, Murphy et al., from the Division of Cancer

                                         Page 71 of 160
   Case 3:18-cv-01063-JWD-EWD              Document 99-4          04/27/22   Page 73 of 236




Epidemiology and Genetics of the U.S. National Cancer Institute, the Department of Chronic

Disease Prevention, National Institute for Health and Welfare of Finland along with the

Department of Clinical Biochemistry, Rigshospitalet, University of Copenhagen, have previously

found that hypergastrinemia was associated with an increased risk of noncardia gastric

adenocarcinoma in a study among smokers.132 They found that participants with higher serum

concentrations of gastrin at baseline had an increased risk of gastric non-cardia adenocarcinoma

and gastric carcinoid tumours.

We have previously reported that gastric adenocarcinoma patients with hypergastrinemia at the

time of diagnosis more often had carcinomas located in the corpus or fundus of the stomach.319

In that study, 80 patients with non-cardia gastric adenocarcinomas diagnosed from 1992 to 2002

at St. Olavs Hospital, Trondheim, Norway were consecutively included in a prospective manner.

Tissue samples were collected by upper endoscopy and/or surgery for histological examination

and sub-classification of adenocarcinomas according to Laurén288 into diffuse, intestinal, or

mixed type. Chromogranin A (CgA) immunolabelling of tumour tissue was done as previously

described.321 The median time from diagnosis to review of medical journals was 16.5 years. We

recorded the use of PPIs before and at the time of surgery as they could influence serum gastrin

levels.

We found the distribution between the histological subtypes did not differ between patients with

tumour in the antrum noting that 58.6% had the intestinal type and 41.4% had the diffuse type

while, in the corpus 48.7% had the intestinal type and 41.0% had the diffuse type but that 81.8%

of the tumors in patients with hypergastrinemia were in the corpus. while just 36.2% of the

cancers in the normogastrinemic patients were in the corpus.319



                                         Page 72 of 160
   Case 3:18-cv-01063-JWD-EWD                      Document 99-4   04/27/22   Page 74 of 236




Numerous animal studies have demonstrated that gastric neoplasia in the corpus develops in

models of hypergastrinemia with either reduced, unaltered or increased gastric acidity, strongly

suggesting that hypergastrinemia is a causative factor in gastric carcinogenesis and not an

epiphenomenon.27,75,192,198,199,322, 323,324,325

Therefore, because of the human and animal evidence, I can state with a reasonable degree of

medical certainty that hypergastrinemia mediates development of gastric adenocarcinoma in the

proximal stomach, where mucosal proliferation is stimulated by gastrin.

The distal stomach is comprised of the antrum and pylorus, where the stomach attaches to the

duodenum. The glands in the antrum contain mucin-producing cells as well aa the gastrin

producing G cells. Relatively recently, it has also been shown that oxyntic glands may be found

scattered in the antrum mucosa which also makes it possible that gastrin can predispose to

tumour development also at least in the oral part of the antrum where most of the oxyntic glands

were found. 35

The ECL cell, its anatomic location, its relationship to gastrin and carcinogenesis is described

above. Goetze et al., in 2013 established                                      -amidated gastrins

and their receptor are detectable in 80% of human gastric adenocarcinomas.210 They concluded

that their results support the contention that locally expressed gastrin may be involved in the

tumorigenesis of gastric adenocarcinomas. However, the production of gastrin in the carcinomas

arising in the acid-producing mucosa has not been reported by others.

B. Neuroendocrine Tumors (NETS)

As discussed, it has been established that hypergastrinemia promotes carcinogenesis in the

gastric corpus326 in the gastric oxyntic mucosa and that a proportion of carcinomas of the diffuse


                                               Page 73 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22   Page 75 of 236




type are ECL cell derived.327 Carcinomas developing in the gastric corpus in patients with

hypergastrinemia often have neuroendocrine differentiation128 and these tumours may have a

different biological behavior than other gastric carcinomas.319

Neuroendocrine differentiated tumor cells in malignant tumors of the gastrointestinal tract have

been known for many decades.294 Gastric neuroendocrine tumors (NETs) are neoplasms which

develop mainly from ECL cells.

However, as I and others published in 1998252, distinguishing between neuroendocrine

carcinoma and adenocarcinoma may be difficult. In a prospective study involving 40 patients

diagnosed with gastric carcinomas we were able to conclude that approximately 10% of the

tumors were neuroendocrine malignant tumors based on examination of general neuroendocrine

markers such as chromogranin A (by immunohistochemistry, Northern blot analysis, and tissue

concentration), neuron specific enolase (immunohistochemistry) as well as electron microscopy.

In agreement with a previous study which we published in 1991,327 among these tumors, the

ECL cell was the most preponderant cell of origin, and it was recognized in 1998 that an

important part of the neuroendocrine carcinomas in the stomach may be derived from the ECL

cell.252

In 2003 I was invited to be a member of the working group on Predictive Value of Rodent for

Stomach and Gastric Neuroendocrine Tumors in Evaluating Carcinogenic Risks to Humans held

by the International Agency for Research on Cancer (IRAC) of the World Health Organization

(WHO). The meeting was in Lyon, France. 2 November to 1 December 1999 and, as a result,

IARC Technical Publication #39 was published in 2003

                             , titled Predictive Value of Rodent for Stomach and Gastric

Neuroendocrine Tumors in Evaluating Carcinogenic Risks to Humans .328

                                          Page 74 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4       04/27/22     Page 76 of 236




I was invited to render an expert opinion regarding omeprazole and its relationship to its

carcinogenic risks to humans. It was the expert opinion of myself, and my coauthors, that

                      other proton pump inhibitors in clinical use can induce hypoacidity leading

to hypergastrinemia, ECL cell hyperplasia, and ECL cell carcinoids in experimental animals and

man. ECL cell tumors developing secondary to hypergastrinemia have the ability to become

increasingly malignant

It is my understanding that there will be expert opinions provided regarding PPIs and gastric

cancer epidemiology. However, there are several observations I would like to comment upon in

this regard.

The incidence of gastric NETs has increased in a manner consistent with the marketing of PPIs.

A 2003 comprehensive survey by Modlin et al., on neuroendocrine epidemiology based on data

extracted from the Surveillance, Epidemiology, and End Results (SEER) program of the National

Cancer Institute demonstrated an increasing incidence of NETs.329 This increased incidence has

been reported by others.85,330,331,332

                        The authors evaluated 10,878 carcinoid tumors that were identified by the

Surveillance, Epidemiology, and End Results (SEER) Program of the National Cancer Institute

(NCI) from 1973 to 1999 in addition to 2,837 carcinoid tumors that were registered previously

by two earlier NCI programs. 329

It is noted that the SEER succeeded two earlier National Cancer Institute programs - the End

Results Group (ERG) and the Third National Cancer Survey (TNCS) programs           which existed

between 1950 and 1971.333 The ERG was a hospital-based program that was set up to report




                                          Page 75 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4        04/27/22      Page 77 of 236




survival, whereas the TNCS was a population-based incidence reporting system that was used

over a 3-year period.334

Modlin et al., noted that the greatest incidence of carcinoids included the gastrointestinal tract

with a 67.5% incidence; of these gastrointestinal carcinoids, 8.7% were in the stomach. 335

Gastric carcinoid tumors, as a percentage of total carcinoid tumors, increased from 2.25% in the

ERG series to 5.85% in the most recent SEER subset (1992 1999).336

Of specific interest to Prilosec being marketed in the U.S. in 1989, the following figures from

                                                    f 13,715 Carcinoid Tumors by Site, revealed

that the percentage of stomach carcinoids in ERG between 1950-1969 was 2.25%; in TNCS

between 1969 and 1971 the incidence was 1.96. In the early SEER analysis, 1973            1991, the

incidence increased to 3.55% but i                              1999), which would have included

the years when Prilosec was marketed, the incidence increased to 5.85%. 337

In Table 5 from the 2003 Modlin et al., study, Distribution of 9,421 Gastrointestinal Carcinoid



1969, 2.41 in TNCS between 1969 and 1971, 5.76% in Early SEER, between 1973 and 1991,

and 8.66% in the Late SEER analysis which included the years 1992 to 1999. Again, these years

coincided with the marketing of Prilosec and other PPIs.

It is to be noted that Modlin et al., questioned whether the increased incidence represented,

          a true increase or a change in reporting (the 501 gastric carcinoid tumors
     recorded in the SEER registry significantly overshadow the 61 tumors accrued
     prior to 1973) or whether it is the result of increased awareness and the
     employment     of     modern   diagnostic   modalities,   such   as   endoscopy    and
     immunohistochemistry, remains unclear


                                          Page 76 of 160
  Case 3:18-cv-01063-JWD-EWD                Document 99-4        04/27/22          Page 78 of 236




While Modlin et al., in 2003338             G]astric carcinoid tumors have not been identified

specifically in association with long-term acid-inhibitory therapy, although ECL cell hyperplasia

has been observed in such individuals

after long-term use of a proton pump inhibitor, another biologically plausible explanation.13

Referencing two of our papers67,339, Denis M. McCarthy, MD, in 2020, wrote within his review

              Proton Pump Inhibitor Use, Hypergastrinemia, and Gastric Carcinoids                  What Is

the Relationship?           H]ypergastrinemia leads to proliferation and hyperfunction of ECL-

cells in man and animals.                                   ublished in the journal International

Journal of Molecular Science in a Special Issue on proton pump inhibitors, an issue for which I

served as Guest Editor.95

McCarthy notes, in 2020, that [T]here are now eleven cases reported in whom gastric carcinoid

(g-NET) tumors developed while the patient was using a PPI, and in whom evidence of
                                                                 13,81,87,325,340,341,342,343
ZES/MEN-1 or gastric oxyntic mucosal atrophy was lacking                                        More likely

than not, the exact incidence rate of PPI-induced NETs is underestimated.95




I agree with Dr. McCarthy when he states,

        However, what emerges, from reading these case reports in detail, is a
       convincing pattern of evidence that hypergastrinemia caused by PPIs stimulated
       ECL-cell hyperplasia, similar to that seen in animals, and at least in a
       subpopulation of humans, the hyperplasia progressed to tumors of various kinds,
       especially type-1 gastric carcinoids (although the original classification did not
       include PPI use as a cause of type-1 lesions).




                                         Page 77 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22    Page 79 of 236




However, it my expert opinion held to a reasonable degree of medical certainty that this is more

like Type-2 carcinoids.

Maggard et al., published in 2004 their analysis of the SEER national cancer registry looking at

all patients diagnosed with carcinoid tumors between the years 1973 and 1997.330 Overall

incidence rates and rates by site of origin of the tumor were determined by dividing the

             the number of cancer cases reported in the SEER database, by the total number of

people in those geographic areas as reported by the Census Bureau (denominator). The overall

incidence rates were then age-adjusted to the standard 2000 population.344

Maggard et al., determined the distribution of carcinoids throughout the body for the years 1973

to 1997 and the trends over time for each location of gastrointestinal carcinoid tumors was also

analyzed by dividing the study period into 3 groups based on year of diagnosis: 1973 to 1979,

1980 to 1989, and 1990 to 1997.345

The overall incidence of carcinoid tumors was an aged adjusted 38.4 per one million individuals

in the year 1997 and the incidence rate for 1973 was only 8.5 (per million). The estimated annual

percent change (EAPC), which is often used to measure trends in disease and mortality rates,

was +6.3%.

Dasari et al., in 2017 published the                      retrospective, population-based study

using nationally representative data from the Surveillance, Epidemiology, and End Results

(SEER) program 85 They found an age-adjusted incidence rate for all NETs which increased

6.4-fold between 1973 and 2012, mostly for early-stage tumors.

However, the increase in stomach NETs during this period increased by 15-fold.




                                         Page 78 of 160
   Case 3:18-cv-01063-JWD-EWD                Document 99-4          04/27/22      Page 80 of 236




This trend of an increase in the incidence of NETS has also been noted in the U.K. over a similar

time as reported by Ellis et al., in 2010.346 These researchers noted that a,



       particularly important following recent suggestions of a possible link between
       gastric NETs and the increasingly widespread use of potent drugs to suppress
                                 347,348
       gastric acid secretion

Ellis et al., reported that, in their study, the largest relative increase in incidence was for NETs of

the stomach.346 While it was observed that very few cases of gastric NETs were recorded prior to

the early 1990s, with the authors reported an incidence of <0.02 cases per 100,000 per year, from

1995 onwards the incidence increased 23-fold in men and 47-fold in women. They noted that the

trends they documented          superficially appear to parallel trends seen in the prescription of

PPI therapy in England                                         NHS Prescription Services.

However, the authors do note that,

         Furthermore, although the large increases in the incidence of such tumors in this
       current analysis are compatible with a link between PPIs and gastric NETs, the
       nature of the data used does not allow us to examine this question directly, and
       any relationship remains speculative.

While the increased use of diagnostic modalities, including upper GI endoscopy, could partly

explain this increased incidence, the increasing using of PPIs remains another biologically

plausible explanation substantially contributing to the increased incidence.

In 2005, Hodgson et al., published the results of their analysis of the Florida Cancer Data System

(FCDS) and the Surveillance, Epidemiology, and End Results (SEER) databases which were

both examined from 1981 through 2000 for the number of cases of gastric carcinoids. The



                                           Page 79 of 160
   Case 3:18-cv-01063-JWD-EWD                     Document 99-4           04/27/22        Page 81 of 236




authors stated that this series was, at that time, the largest single gastric carcinoid cohort

reported.

Their analysis documented a statistically significant eight- or ninefold increase in the incidence

of gastric carcinoids in two large databases.




Fig. 7. Annual gastric carcinoid incidence (1981 2001) based on the Florida Cancer Data System (FCDS: solid line,
   square) and the Surveillance, Epidemiology, and End Results (SEER) program (dashed line, triangle) data set.
             Incidence rates are per 100,000 and age-adjusted to the U.S. standard (5-year groups).349




Hodgson et al., noted that the rates for gastric carcinoids,

             had increased from less than 0.03 (per 100,000 age-adjusted to the 2000 U.S.
        standard population) to 0.18 in the year 2000. The estimated annual percentage
        change (EAPC) in incidence is 8.17 (p<0.05). The SEER data are concordant
        with the FCDS data, with an annual percentage change of 9.17 (95% confidence
        interval [CI], 6.83 11.55; p < 0.05) .350




                                               Page 80 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22     Page 82 of 236




This is despite an observed decrease in overall gastric cancer noted during this same period

(from 8.64 to 7.05 cases per 100,000 in FCDS and from 11.14 to 8.06 cases per 100,000 in

SEER), a trend from the past decades.

These researchers stated that the

introduction and widespread use of proton pump inhibitors since the late 1980s

do note the potential for other explanations              include improved detection with wider

application of upper endoscopy

However, as described above, it is my opinion, which I hold to a reasonable degree of scientific

certainty, that it is more probable than not that there is a convincing pattern of evidence showing

that the proton pump inhibitors are a significant contributing factor to the marked increase in the

incidence of gastric NETs which has occurred since the introduction of PPIs to the marketplace.




                                         Page 81 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4       04/27/22     Page 83 of 236




        C. Signet Ring Cell Carcinomas

Signet ring cell carcinomas of the stomach arise in a gastric mucosa not affected by intestinal

metaplasia351 The prevalent theory to date has been that these carcinomas, like other gastric

carcinomas, originate from stem cells in the glandular neck region 352. There are reports

indicating that signet ring cell carcinomas are prevalent in the fundic region of the stomach.353

Most of these carcinomas, therefore, originate from oxyntic mucosa where the ECL cell is the

most prevalent neuroendocrine cell and its proliferation, as discussed above, is regulated by

gastrin33,354

As described above, Laurén described two histological main types of gastric carcinoma: diffuse

and intestinal-type.288 Human gastric carcinomas of the diffuse type, particularly the signet-ring

subtype, show ECL cell differentiation, suggesting involvement of gastrin in the

carcinogenesis.37 Our finding of neuroendocrine differentiation in gastric carcinomas of signet-

ring subtype has been supported by others.301, 355




                                          Page 82 of 160
   Case 3:18-cv-01063-JWD-EWD                       Document 99-4             04/27/22        Page 84 of 236




Fig.8. Neuroendocrine cells being able to proliferate give rise to tumours of different degrees of malignancy. During
 this process, the tumour cells lose their characteristics like secretory granules making it more and more difficult to
                                                recognize their origin.123

As with gastric neuroendocrine cancer, discussed above, the incidence of signet ring cell

carcinoma is also rising, accounting now for 35% to 45% of gastric adenocarcinomas. 356,357 In

2004 Henson et al. used data from the SEER program to analyze the trends of intestinal and

diffuse gastric carcinomas from 1973 through 2000.311 Their data indicate that the overall decline

in gastric cancer in the United States applies to the intestinal type, while the diffuse type has

progressively increased since 1973. (Fig. 9)




                                                  Page 83 of 160
   Case 3:18-cv-01063-JWD-EWD                     Document 99-4             04/27/22        Page 85 of 236




        Fig. 9. Trends of the intestinal and diffuse types in the United States from 1973 through 2000.358




During this period the signet ring cell carcinoma incidence has increased on average 6.5% per

year (P < 001), representing a 998% increase from 1973 to 2000. (Fig. 9) It is important to note

that in figure 9 one can see that the incidence of signet ring cell carcinomas began to steadily

increase at the end of the 1980s and beginning of the 1990s, consistent with the marketing of

Prilosec in 1989 and Nexium in 2002.

Once again, one must question whether the increase in incidence shown by Henson et al.,

represents an actual increase in new cases or evidence of new definitional terminology or

enhanced diagnostic abilities. However, it is my expert opinion, held to a reasonable degree of

scientific certainty, that a biologically plausible explanation is the marked increase in use of PPIs

with associated hypergastrinemia stimulating ECL cells. On the other hand, linitis plastica

subtype seems to decrease. However, typically also this subtype occurs mainly in the oxyntic


                                               Page 84 of 160
   Case 3:18-cv-01063-JWD-EWD                       Document 99-4             04/27/22        Page 86 of 236




area359, in other words at locations of the ECL cell which, by the release of bFGF, could have

induced the fibrosis.360




Fig. 10. Incidence of signet ring cell type, diffuse carcinoma, and linitis plastica from 1973 through 2000 showing a
 progressive increase in the signet ring cell type compared with the diffuse carcinoma and linitis plastica types. 311



XIX. Rebound Acid Hypersecretion
Rebound acid hypersecretion may be defined as increased acid secretion seen after a period of

acid suppression.361 It was first described in rats in 1988 after treatment with omeprazole.362 In

1996 our team in Trondheim, Norway reported that a 3-month treatment period with omeprazole

in patients with reflux oesophagitis resulted in a marked rebound acid hypersecretion.363 This

observation has been confirmed in subsequent studies.363,364,365,366,367,368,369 It has also been

observed after treatment with histamine-2 (H-2) blockers.370,371,372 The rebound acid

hypersecretion observed after short-term administration of H2-blockers370 lasts only a few days371

and is, more likely than not, also related to a short-lasting increase in ECL cell activity. It has

also been found that patients receiving omeprazole for 90 days have increased mucosal histamine


                                                 Page 85 of 160
   Case 3:18-cv-01063-JWD-EWD              Document 99-4         04/27/22     Page 87 of 236




concentration and reduced effect of a H2-blocker caused by increased histamine release from

ECL cells.364

We reported that it was likely that both an increase in ECL cell activity and ECL cell mass are

involved in the mechanism of rebound acid hypersecretion seen after long-term proton pump

inhibition, an opinion which I hold today. In 2005, we found that the hypersecretion seems to last

more than 8 weeks, but less than 26 weeks.373 One would expect hypersecretion to persist as long

as there is an increased ECL cell mass.

A bit of review: PPIs inhibit gastric acid secretion by binding to active proton pumps on the

parietal cells. This prevents acid secretion and leads to hypoacidity, a higher pH level. Negative

feedback of gastrin release on antral G-cells is inhibited leading to hypergastrinemia. Again, this

hypergastrinemia                                            acidic or oxyntic mucosa resulting in

proliferation and hyperplasia of the ECL cells.

As previously discussed in more detail, PPIs block the final step in acid secretion, resulting in a

profound and persisting gastric hypoacidity with concomitant hypergastrinemia. The

hypergastrinemia results in a continuous stimulation of ECL cells resulting in proliferation and

an increase in the ECL cell mass, which will persist longer than the effect of the PPI when the

drug is discontinued. 374

Rebound acid hypersecretion after a sufficient period of PPI treatment will therefore occur from

the second week (the duration of proton-pump inhibition) until normalization of the ECL cell

mass, i.e., 2 3 months after stopping treatment. Symptoms of rebound acid hypersecretion may

include heartburn, regurgitation, or dyspepsia.




                                          Page 86 of 160
   Case 3:18-cv-01063-JWD-EWD              Document 99-4        04/27/22      Page 88 of 236




As discussed above, measuring serum CgA has been suggested to be useful when evaluating

ECL cell hyperplasia in patients using acid inhibitors.250,256,375,376,377,378 In rats dosed with

omeprazole, the circulating level of pancreastatin, which is a fragment of CgA, was found to

reflect both the size of the ECL cell population as well as the activity of the ECL cells,379 and,

more likely than not, this is also true for serum CgA concentrations in man.375 Furthermore, it is

my expert opinion that the fall in CgA seen after 4 and 8 weeks preceding the fall in

pentagastrin-stimulated acid secretion is related to a reduction in ECL cell activity as well as

ECL cell mass.

While the resumption of symptoms after discontinuation of PPI therapy might simply indicate

that the pretreatment symptoms had returned, two randomized, controlled trials have shown that

even healthy volunteers developed dyspepsia upon discontinuation.

Reimer et al., in 2009 demonstrated that dyspepsia, occurred even in previously healthy people,

likely caused by rebound acid hypersecretion following discontinuation of PPIs. 367 In a

randomized, double-blind, placebo-controlled trial of 120 healthy volunteers, participants were

randomized to 12 weeks of placebo or eight weeks of 40mg of esomeprazole each day, followed

by four weeks of a placebo. In the follow-up weeks after stopping treatment, almost three times

as many subjects who had received esomeprazole for eight weeks experienced relevant acid-

related symptoms compared to those who had received a placebo. In addition, in the subgroup of

26 PPI-treated subjects who had acid-related symptoms during weeks 9 - 12, use of antacids as

                                 rted by 14 of 26 (52%) compared with only 1 of 9 (11%) of the

subjects in the placebo group, who reported symptoms (difference 41%; 95% CI, 36.8 77.8%; P

= .05).380




                                         Page 87 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4       04/27/22      Page 89 of 236




There was a significant increase in gastrin levels for the esomeprazole group after treatment

started and found to have a strong correlation with acid-related symptoms in weeks eight and 10

for this group. Chromogranin A (CgA) levels, reflective of ECL cell hyperplasia, rose for the

esomeprazole group shortly after therapy began and remained elevated compared with baseline

through the end of the study at week 12.

                                            results reveal for the first time that profound acid

inhibition with a PPI for 8 weeks induces acid-related symptoms in a significant proportion of

subjects after withdrawal of therapy. Even though P-gastrin and P-CgA are only indirect

measures of acid secretory capacity, we believe that these results support the hypothesis that
                                                                  381
RAHS (rebound acid hypersecretion) is clinically relevant               Although Reimer et al.,

misinterpret the value of P-gastrin and P-CgA, I agree with their hypothesis that rebound acid

hypersecretion is clinically relevant.

The randomized, double-blind, placebo-controlled study by Niklasson et al also confirmed the

presence of rebound acid hypersecretion in otherwise healthy subjects exposed to PPIs. 366

Niklasson et al., looked at a total of 48 healthy H. pylori-negative volunteers randomized in a

double-blinded manner to treatment with either pantoprazole 40 mg or placebo once daily for 28

days. In addition to registering dyspeptic symptoms daily 2 weeks before, during, and 6 weeks

after treatment, these researchers also looked at plasma levels of gastrin and serum levels of Cg-

A levels were measured before, during, and after treatment.

Eleven of the 25 volunteers (44%) taking the PPI developed dyspepsia compared with but 2 out

of 23 (9%) in the placebo group. CgA and gastrin levels were significantly higher in the PPI-

treated group than in the placebo group by the last week of treatment. This study demonstrated



                                           Page 88 of 160
  Case 3:18-cv-01063-JWD-EWD                Document 99-4         04/27/22     Page 90 of 236




that significant rebound symptoms could develop with treatment periods as short as four weeks

and the authors concluded that rebound acid hypersecretion may have clinical relevance.

In 2103, Lødrup, Reimer, and Bytzer published a systematic review of symptoms of rebound

acid hypersecretion following proton pump inhibitor treatment.369 Interestingly, two of the

authors (Reimar and Bytzer) were coauthors of the randomized controlled trial discussed

above.367 While                                       we believe that these results support the

hypothesis that RAHS (rebound acid hypersecretion) is clinically relevant , their conclusion

was more ambiguous within this systematic review which included 5 studies.366,367,383,385,386.

                                                                                      -like
       symptoms posttreatment in asymptomatic volunteers, but the significance of
       this in patient populations is not clear. The studies in patients with reflux
       disease found no evidence of symptomatic RAHS, but these studies were
       hampered by severe methodological weaknesses. (Emphasis added)

And,

       [B]ased on three of the five studies included in this review there is insufficient
       evidence to conclude that gastric acid rebound hypersecretion following PPI
       therapy induces dyspeptic symptoms in patients, but these studies were
       hampered by serious methodological weaknesses precluding a definitive
       answer. On the other hand, well-designed studies in asymptomatic volunteers
       demonstrated onset of dyspeptic symptoms in a significant proportion of
       subjects following PPI therapy, but the clinical significance of this is not clear
       (Emphasis added)

                                                                                              367
                   well-designed studies in asymptomatic volunteers                                 and

Niklasson387                                                                  we believe that these

results support the hypothesis that RAHS (rebound acid hypersecretion) is clinically relevant



                                          Page 89 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22      Page 91 of 236




                            We conclude that rebound acid hypersecretion may have clinical

relevance

I agree with these published, peer reviewed opinions in the original publications of these RCTs.

It is my expert opinion, held to a reasonable degree of medical certainty, that the development of

rebound acid hypersecretion following discontinuation of proton pump inhibitor therapy does

have clinical relevance in a significant percentage of patients taking these drugs.

In a 2021 randomized, open-label study388 of patients abruptly discontinuing PPIs versus patients

tapering off the drugs, Henricks et al., documented that the abrupt group initially showed a more

rapid return to PPI use and had significantly more symptoms than the taper group beginning at

week 14 after discontinuation of PPI.

They concluded that,

         [T]his may be due to PPI-induced hypergastrinemia with gastric
       hyperplasia/metaplasia. Discontinuation of PPIs causes rebound acid
       hypersecretion (RAHS) with gastric acid levels rising above pre-
       treatment levels and an increase in acid related symptoms, including
       dyspepsia, heartburn, and acidic regurgitation [Referencing
       et al., Overuse of proton pump inhibitors 389 and Haastrup et al., Side
       effects of long-term proton pump inhibitor use: a review .390]. RAHS
       occurs within 14 days of discontinuation of PPI and the duration it lasts
       typically corresponds to the duration of PPI use. [Referencing
                        ]

I agree with this analysis; the duration of rebound hypersecretion, seen in some patients,

corresponds with the duration of PPI use and its resultant effect on the ECL cell mass.

And Henricks et al., also wrote that,


                                          Page 90 of 160
   Case 3:18-cv-01063-JWD-EWD             Document 99-4          04/27/22    Page 92 of 236




        There may be some people who are more sensitive to the effect of increased
       symptoms on stopping PPIs as only 44% of previously asymptomatic patients
       given PPI for four weeks developed high gastrin levels and symptoms on
       discontinuation. Even so, almost half of our patients were unable to stop PPI
       due to symptom recurrence and some resumed PPI use as late as 11 months
       388



I agree with this opinion.

In August of 2011 the FDA conducted an evaluation of the medical literature for rebound acid

hypersecretion-related adverse events following discontinuation of PPIs in 2014 in response to

the Citizen Petition requesting rebound acid hypersecretion be added to the product label as a

boxed warning.393 A search of the FDA Adverse Event Reporting System (FAERS) database was

                                                       FDA concluded that although the studies

showed RAHS can occur following PPI discontinuation, there was insufficient data to warrant

the addition of a boxed warning given the lack of strong evidence directly associating RAHS with

clinically significant symptom

However, a search of the FAERS database was later conducted through September 13, 2018 and

   identified 18 possible cases of adverse events associated with RAHS following

discontinuation of a PPI. Fifteen of these cases were associated with a serious outcome, of which

two resulted in hospitalization. All cases reported the occurrence of new or worsening signs and
                                                                  394
symptoms of acid hypersecretion following cessation of PPI use

The FDA noted that no objective evidence confirming the presence of RAHS following PPI

discontinuation was included with the reports. The FDA did note that three cases reported the

cessation of signs and symptoms of RAHS following reinitation of PPI therapy, of which two




                                         Page 91 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22     Page 93 of 236




subsequently discontinued PPI therapy again and noted recurrence of the adverse event, a form

of dechallenge and rechallenge.

It is important to note that the FDA ruled against the petition for a black box warning, the highest

form of warning in a product insert, but did NOT rule that rebound acid hypersecretion did not

occur.

          FDA concluded that RAHS can occur after cessation of several weeks of PPI
         therapy, based on studies evaluating gastric pH, gastrin, or chromogranin A
         levels. 395 (Emphasis added)

We showed in the late eighties that maximal histamine-stimulated gastric acid secretion was

higher than maximal gastrin-stimulated60 and that gastrin-stimulated histamine release depended

on the ECL cell mass.397 Therefore, after a period with hypergastrinemia the ECL cell mass will

be increased, and the gastrin-induced stimulation of acid secretion will accordingly be increased.

It is well-known that patients with gastrinoma may have reflux symptoms due to increased acid

secretion.398 Some of the studies on rebound acid hypersecretion after PPIs have used too short a

period with PPI383 or too low dose.385 There is, thus, no doubt that PPI treatment will induce

rebound acid hypersecretion in a proportion of patients using PPI and particularly in those

without oxyntic gastritis.




                                          Page 92 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4           04/27/22      Page 94 of 236




XX. SOPRAN and LOTUS Studies

                                                                    Safety of Omeprazole in Peptic
                                                             401
Reflux Esophagitis: A Nordic Open Study                                        Long-Term Usage of
                                                                         402
Esomeprazole vs. Surgery for Treatment of Chronic                              in addition to a review

           Long-Term Safety of Proton Pump Inhibitor Therapy Assessed Under Controlled,

Randomised Clinical Trial Conditions: Data from the SOPRAN and LOTUS Studies

(Attwood)403 published by several employees of AstraZeneca amongst others including

consultants to AstraZeneca.

I note that the authors of this review article include Dr. Stephen E. Attwood, a consultant speaker

for AstraZeneca; Dr. Christian Ell, receives grants for research from several biomedical

companies including AstraZeneca; Dr. Jean-Paul Galmiche, a consultant for AstraZeneca; Dr.

Roberto Fiocca who        received travel and related expenses for attending study-associated

meetings and his institution received a grant from Astra- Zeneca for central histological

analyses         Birgitta Hasselgren, an employee of AstraZeneca; Dr. Göran Långström, an

employee of AstraZeneca; Dr. Marianne Jahreskog, an employee of AstraZeneca; Dr. Stefan

Eklund, an employee of AstraZeneca; Dr. Tore Lind, an employee of AstraZeneca and Professor

                                                                                   Lars Lundell is a

member of the steering committee for LOTUS and has no other conflicts to declare 404 which is

interesting to note, for in another paper published in the same journal in the same year,

Systematic Review: The Effects of Long-Term Proton Pump Inhibitor Use on Serum Gastrin

Levels and Gastric Histology                                         has served as a consultant for
               405
AstraZeneca




                                         Page 93 of 160
   Case 3:18-cv-01063-JWD-EWD                Document 99-4        04/27/22     Page 95 of 236




Drs. Attwood, Lundell and Lind, the consultant speaker, consultant, and employee of

Ast            took the lead in determining the study concept and design, analysing and

interpreting the data, as well as drafting and critically reviewing the manuscript for important

clinical and intellectual content

Dr. Göran Långström, an employee of Ast                      performed the statistical analysis and

critically reviewed the manuscript drafts

Drs. Jan Hatlebakk, Christian Ell, Jean-                                          had a major role

in determining the study concept and design, analysing and interpreting the data, as well as

drafting and critically reviewing the manuscript for important clinical and intellectual content

Drs. Stefan Eklund, Birgitta Hasselgren and Marianne Jahreskog, each an employee of

                  had a major role in analysing and interpreting the data, as well as drafting and

critically reviewing the manuscript for important clinical and intellectual content

The SOPRAN study was funded in total by AstraZeneca.

In addition, I had the opportunity to review the deposition testimony regarding the Attwood

review article by Timothy Sullivan, MD, an AstraZeneca employee who, on April 5, 2021, and




On May 13, 2021, Dr. Sullivan was asked a se

referring the SOPRAN and LOTUS studies by defense counsel, Julie B. du Pont, Esquire with

the law firm of Arnold & Porter.406

actual published SOPRAN and LOTUS studies but, instead, the review article by Attwood et

al.403

                                            Page 94 of 160
Case 3:18-cv-01063-JWD-EWD             Document 99-4        04/27/22   Page 96 of 236




   10 Q Okay. Your reference sheet refers to the LOTUS
   11    and SOPRAN studies. Do you see that,
   12    Dr. Sullivan?
   13 A Just one second, please.
   14 Q Okay.
   15 A Yes, I see that.
   16 Q And are you familiar with the safety results of
   17    those studies?
   18 A Yes.
   19           MS. du PONT: And if we can pull up
   20        and mark Defense Exhibit 16, which is an
   21        article entitled "Long-term safety of
   22        proton pump inhibitor therapy assessed
   23        under controlled, randomised clinical
   24        trail (sic) conditions: data from the SOPRAN and
   25        LOTUS studies," take a look at the
                    329
   1         abstract.
   2        (Defendants' Exhibit 16 marked for
   3     identification.)
   4 BY MS. du PONT:
   5 Q What does this article say about the length of
   6     the LOTUS and SOPRAN studies?
   7 A Okay. Just one second while I refamiliarize
   8     myself.
   9 Q Sure.
   10 A Well, referring again to the highlighted
   11    sections, basically this is describing that both


                                     Page 95 of 160
  Case 3:18-cv-01063-JWD-EWD                Document 99-4         04/27/22     Page 97 of 236




       12    of these studies were longer term in nature, one
       13    of them with a duration of 5 years, the other
       14    with a duration of 12 years.
       15 Q And how many patients were involved in those
       16    studies?
       17 A So if you combine the subjects from the two
       18    studies together, the total number would be over
       19    800.

If we, in fact, look at the Abstract of the Attwood review article we can see that, under the




        Safety data were collected from patients during the 12-year period of the
       SOPRAN study (n = 298) and the 5-year period of the LOTUS study (n = 514)



        So, if you combine the subjects from the two studies together, the total number
       would be over 800

And, when I look at the Attwoo




        In the SOPRAN study, 155 patients (median age: 50 years; 77% men) were
       randomised to open ARS, of whom 11 (7%) withdrew before surgery, leaving 144
       patients in the open ARS group; 155 patients (median age: 54 years; 75% men)
       were randomised to omeprazole therapy, of whom 1 (0.6%) withdrew before
       treatment, leaving 154 patients in the omeprazole group

I believe it to be enlightening to look at the actual publication of the SOPRAN study now,

Comparison of Outcomes Twelve Years After Antireflux Surgery or Omeprazole Maintenance
                                                    401
Therapy for Reflux Esophagitis                            Several of the authors of this study were



                                        Page 96 of 160
   Case 3:18-cv-01063-JWD-EWD              Document 99-4          04/27/22    Page 98 of 236




also described as AstraZeneca employees including Dr. Tore Lind, a coauthor of the Attwood

review article.




information:

         This open, parallel group study included 310 patients with esophagitis enrolled from
       outpatient clinics in Nordic countries. Of the 155 patients randomly assigned to each arm
       of the study, 154 received omeprazole (1 withdrew before therapy began), and 144
       received surgery (11 withdrew before surgery).             is added)

This language is similar to that published in the Attwood review article.

However, within the actual SOPRAN study 2009 publication, I note on page 1293, under the




         This Nordic multicenter study (the SOPRAN study) was an extended follow-up (from
       year 5 up to 12 years) of patients previously studied for 5 years in Study I-635

And, also on page 1293 they write, in the original publication,

         At the start of the SOPRAN study, 119 of these OME (omeprazole) patients and
       100 of the surgical patients consented to continue for further follow-up. When the
       study was prolonged after 5 and 10 years, respectively, a significant number of
       patients were lost to follow-up. This was mainly due to logistic and other
       technical reasons at the time of prolongation of the study protocol. At the time of
       the SOPRAN study completion, 53 (37%) patients who had surgery and 71
       (46%) who had medical treatment remained available for follow-up.
       added)

Therefore, in the original SOPRAN study, any evaluation regarding safety, including gastric

cancer, is based upon the 53 patients who had surgery and 71 patients who received omeprazole




                                         Page 97 of 160
   Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22     Page 99 of 236




not the 154 patients receiving omeprazole as described in the Attwood review article and relied




It is important to understand that the dropouts from both arms of the original SOPRAN study

provide no information regarding efficacy and, more importantly, safety within this small, open

                                                      -out patients developed gastric cancer. The

patients were lost for follow-up and that is a critical factor in any safety study. In fact, I agree

with the original SOPRAN authors when they write, on page 1297 of their paper,



       to keep a sufficient number of patients in the trial, because diminishing numbers
       have a negative impact on the robustness of the long-term results. This did not
       allow us to address the primary objective according to the study protocol, but
       instead we had to focus on secondary analyses, which by necessity have to be of
       a more exploratory nature. (Emphasis added)

The original LOTUS study401 is the second study discussed by Atwood et al., in their review



reported that they are employees of AstraZeneca. The remaining authors are either consultants to

AstraZeneca (and other biomedical companies) or have received research funding from

AstraZeneca. The study was funded in total by AstraZeneca.

LOTUS, published in 2011, was a small, open label, exploratory trial randomized, parallel-

group, multicenter study.402                                  To evaluate optimized esomeprazole

therapy vs standardized laparoscopic antireflux surgery (LARS) in patients with GERD

                                                                              it is not.




                                          Page 98 of 160
  Case 3:18-cv-01063-JWD-EWD             Document 99-4        04/27/22     Page 100 of 236



                                                                                               411
                                                                   -

                                                :

         On the other hand, the largest methodologic problem that we encountered was
       to keep a sufficient number of patients in the trial, because diminishing numbers
       have a negative impact on the robustness of the long-term results. This did not
       allow us to address the primary objective according to the study protocol, but
       instead we had to focus on secondary analyses, which by necessity have to be of
       a more exploratory nature 401 (Emphasis added)

            was not designed as a superiority or equivalence trial but, rather, was an
                                                                                         402
exploratory study to estimate the efficacy of LARS and PPI treatment in PPI responders

A superiority trial is designed to detect a difference between treatments; an equivalence trial

attempts to show that two treatments are not too different, in a clinical manner, in

characteristics.414 Neither LOTUS nor SOPRAN was a superiority trial designed to show that



designed to show that omeprazole or esomeprazole was equivalent to gastric surgery.

An exploratory clinical trial is neither a superiority nor an equivalence trial but, rather, one

                                                                                      to explore
                 415
new hypotheses

        Endpoints essential to establish effectiveness for approval are called primary
       endpoints. Secondary endpoints may be used to support the primary endpoint(s)
       and/or demonstrate additional effects. The third category in the hierarchy
       includes all other endpoints, which are referred to as exploratory. Exploratory
       endpoints may include clinically important events that are expected to occur too
       infrequently to show a treatment effect or endpoints that for other reasons are
       thought to be less likely to show an effect but are included to explore new


                                        Page 99 of 160
  Case 3:18-cv-01063-JWD-EWD                Document 99-4       04/27/22      Page 101 of 236




       hypotheses. Each category in the hierarchy may contain a single endpoint or a
       family of endpoints 416 (Emphasis added)

In the LOTUS study,

        Secondary variables were presented descriptively and analyzed only for the
       intention-to-treat population, without any analysis of missing data. There were
       no adjustments for multiple comparisons because of the exploratory character of
       the study 402

Randomized clinical trials can be analyzed using the so-               -to-

compares the groups within the study as they were initially randomized regardless of any

subsequent non-adherence.418         -                          -to-             is may include

                                         -up data is missing.

The epidemiologist, Kenneth Rothman, DSc, in discussing the intent-to-treat analysis, states,

        Non-adherence results in underestimation of any treatment effect. This bias is
       usually considered acceptable because it is outweighed by the advantages
       achieved by random assignment. Underestimation of effects, however, is not
       acceptable in a safety trial aimed at uncovering adverse effects of the
       treatment.419 (Emphasis added)

I agree with D

In 2007, Health Canada, the Canadian version of the U.S. FDA and the European Medicines

Agency (EMA) became concerned regarding the number of cardiac events which were observed

in both SOPRAN and LOTUS.

On 11 June 2007, George A. Kummeth, Global Director of Regulatory Affairs for AstraZeneca

sent a letter to Joyce Korvick, MD, MPH, Acting Director, Food and Drug Administration,

Center for Drug Evaluation and Research, Division of Gastroenterology Products regarding a


                                          Page 100 of 160
     Case 3:18-cv-01063-JWD-EWD            Document 99-4        04/27/22     Page 102 of 236




June 6, 2007, tele                                                    to discuss the SOPRAN and

                                                                   . 420

In this letter to the FDA George Kummeth provided the FDA with a copy of the DRAFT Dear

Health Care Professional notification that had been sent to Health Canada; a draft letter which is

quite illuminating.

                                                                                 Observed cardiac

events in long-term studies comparing LOSEC® (omeprazole) and NEXIUM®

(esomeprazole) to esophageal anti-reflux surgery

admissions regarding both SOPRAN and LOTUS. (Emphasis in the original)

1.       AstraZeneca Canada, after consultation with Health Canada, would like to bring to

your attention reported but unconfirmed information regarding observed cardiac events in two

small, open label, randomised, long-term (up to 14 years and 7 months and 5 years and 4

months) clinical trials with omeprazole and esomeprazole, respectively

Compare this




In the LOTUS publication the authors describe LOTUS as,

         This large, multicenter randomized trial demonstrated that with modern forms of
        antireflux therapy, either by drug induced acid suppression or after LARS, most
        patients remain in remission for at least 5 years.402 (Emphasis added)




                                         Page 101 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4        04/27/22      Page 103 of 236




In the Attwood review article, the authors, again, many of them AstraZeneca employees and/or

consultants, wrote,

        Long-term PPI safety has been explored in at least one large study, (Ref.) but we are not
       aware of any studies as large as SOPRAN and LOTUS that have been conducted in a
       randomised setting 403

In the published medical literature, available to the entire medical and scientific community,



agencies, specifically Health Canada and the FDA, the studies are accurately described as what

they are: small, open-label, exploratory studies.

I believe that it is important to note that the letter from George A. Kummeth, Global Director of

Regulatory Affairs, AstraZeneca to Joyce Korvick, MD, MPH, Acting Director, Food and Drug

Administration420 is dated June 11, 2007, while the Attwood et al., review article of LOTUS was

published in 2015.403

I find it hard to believe that the employees of AstraZeneca who were co-authors of the review

paper in 2015 were unaware of the issues described in the draft Dear Health Care Provider letter

developed for Heath Canada and shared with the FDA. Yet, in the publication to the medical




In addition, as described within the draft Dear Health Care Provider, if the designs of these small

open-label RCTs were inadequate to observe cardiac adverse events and, by logical extension,

gastric adverse events, such a weakness should have been in the published review article.




                                         Page 102 of 160
  Case 3:18-cv-01063-JWD-EWD                Document 99-4       04/27/22       Page 104 of 236




As discussed above, of the 154 patients who came over to the SOPRAN omeprazole group from

                      -     and, at the start of SOPRAN just 119 of these omeprazole patients

consented to continue for further follow-up.401 Furthermore,

        When the study was prolonged after 5 and 10 years, respectively, a significant
       number of patients were lost to follow-up. This was mainly due to logistic and
       other technical reasons at the time of prolongation of the study protocol. At the
       time of the SOPRAN study completion, 53 (37%) patients who had surgery and
       71 (46%) who had medical treatment remained available for follow-up 426
       (Emphasis added)

Therefore, just 71 patients exposed to omeprazole during the SOPRAN study were available for

study to determine any safety issues, including gastric cancer. This is, obviously, far too small a

sample size; it has little to no power to see cases of gastric cancer. This weakness is also not

discussed within the Attwood et al., review article.

A similar pattern is observed in LOTUS. The original 554 patients with well-established chronic

GERD (266 randomized to esomeprazole) which entered the study was, after 5-years, reduced to

but 192 patients in the esomeprazole group and 180 in the surgical group.402




(LOTUS figure 1)428 report the following:




                                         Page 103 of 160
  Case 3:18-cv-01063-JWD-EWD                Document 99-4        04/27/22     Page 105 of 236




ultimate analysis, dropouts for which there is no information regarding adverse events, including

gastric cancer.

The 2007/06/08 draft Dear Health Care Provider letter to the FDA and Health Canada also

discusses the drop-outs and makes the following admission:

           A high percentage of patients dropped out of the studies before completion, with
          more dropouts in the surgery arms compared to the PPI arms. No information is
                                                                                        420
          available regarding safety outcomes for patients who dropped out
          (Emphasis added)

In addition, the draft Dear Health Care Provider letter contains the following language in this

regard:

           Neither trial was designed to assess long-term cardiac safety outcomes. The
          omeprazole study started over 14 years ago and was prolonged twice primarily to
          follow the development of atrophic gastritis in Helicobacter pylori (Hp) infected
          patients. However, fewer patients agreed to continuation in the surgery arm than
          in the omeprazole arm. Further, in both studies there were more dropouts in the
          surgery arms compared to the PPI arms. For example, in the omeprazole study
          only 33 percent of surgical patients completed the study compared to 46 percent
          of omeprazole patients. By design, patients who dropped out from these studies
          were not followed for safety outcomes. The high number of drop outs overall as
          well as the higher dropout rate in the surgical vs. the PPI arms may have
          introduced a bias, resulting in fewer events in surgically treated patients than
          would normally be expected. AstraZeneca will continue to evaluate the data from
          the two studies 430 (Emphasis added)




                                          Page 104 of 160
  Case 3:18-cv-01063-JWD-EWD                Document 99-4        04/27/22    Page 106 of 236




First, neither trial was designed to assess long-

inappropriate to rely on such a small, exploratory study which was not designed to look for either

cardiac or gastric safety issues and any such reliance is misplaced.

Furthermore, as discussed, a large percentage of patients in both treatment arms dropped out of

the study; 54% of those in the omeprazole group dropped out and were not evaluated for safety

issues, e.g., gastric cancer. This high dropout rate had the potential to introduce bias, again




I have also been provided with a June 8, 2007, version 2 of a REACTIVE Q&A and TALKING

POINTS confidential mem



be used in response to questions.431




           Following a notification from AstraZeneca, Canadian regulatory authorities
       (Health Canada) have required AstraZeneca to post an information letter to
       Health Care Professionals on the Health Canada web site.

           The reason for this requirement is observed differences in cardiac event rates
       reported in two small, long-term, clinical studies in GERD patients, evaluating
       anti-reflux surgery and either Losec (omeprazole) or Nexium (esomeprazole)
       treatment

           The studies were not designed as cardiac outcome studies and therefore they
       each have substantial limitations regarding interpretation of patient /physician
       reported safety data.




                                          Page 105 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22     Page 107 of 236




Here I would argue, again, that these studies were also not designed as gastric outcome studies

and, therefore, they each have substantial limitations regarding interpretation of patient/physician

reported safety data regarding gastric outcomes also.

             A high percentage of patients dropped out of the studies before completion,
       with more dropouts in the surgery arms compared to the PPI arms. No
       information is available regarding safety outcomes for patients who dropped
       out.

Again, we have no data regarding how many of the omeprazole or esomeprazole dropouts

developed gastric cancer for which the PPIs were the causative factor or a significant

contributing factor. These studies offer us no comfort in that regard.

              Extensive post-marketing safety data for omeprazole/esomeprazole (1,3 bn
       patient treatments) has not revealed any signal of cardiac effect associated with
       either omeprazole or esomeprazole treatment.

Unlike data regarding the cardiac safety outcomes, we DO have extensive data regarding post-

marketing gastric cancer cases through the publication of multiple epidemiological studies and

meta-analyses, especially since October 31, 2017.




events in omeprazole and esomeprazole (SOPRAN & LOTUS

following:




        The studies were not designed as cardiac outcomes studies, hence the design of
       both trials have (sic) inherent weaknesses for evaluating long-term cardiac
       safety




                                         Page 106 of 160
  Case 3:18-cv-01063-JWD-EWD                Document 99-4        04/27/22     Page 108 of 236




Inasmuch as neither study was designed as a gastric outcomes study, the design of both trials has

inherent weaknesses also for evaluating long-term gastric safety and cannot be used for that

reason.




           The interpretation of the data is complicated by the fact that many patients left
          the study early and that the studies were not designed to evaluate cardiac events.
          It should be noted that the number of patients leaving the studies before final
          evaluation was high. In the SOPRAN (n=310) study 61 percent (n=94) left from
          the surgical arm and 43 percent (n=67) from medical arm. In the study 31
          percent (n=85) left from the surgical arm, and 22 percent (n=59) from the
          medical arm. The trial was not designed to evaluate patients who left the study.
          This makes it difficult to interpret the differences seen since we are lacking
          information on possible cardiac events in those patients. (Emphasis added)


Similarly, we are lacking information on possible gastric events in those patients.

3. Under p

           Do PPIs cause cardiac events in general?

          We have recently searched the WHO and FDA databases, and there is no
          indication of any cardiac effect associated with omeprazole or esomeprazole
          treatment.

However, as discussed in detail above, we have extensive evidence from different studies,

including animal and human studies, providing biological mechanisms by which PPIs cause, or

significantly contribute to the causation, of gastric cancer in addition to multiple positive

epidemiological studies.




                                          Page 107 of 160
  Case 3:18-cv-01063-JWD-EWD                 Document 99-4        04/27/22      Page 109 of 236




                                                                      Based on the PPI mechanism

of action of Losec and Nexium, can you explain why you get these differences in cardiac events

AstraZeneca writes,

            The designs were not designed as outcomes studies for the purpose of safety
           evaluations.

SOPRAN and LOTUS were not designed as outcomes studies for the purpose of safety

evaluations and any attempt to so utilize them as such is inappropriate.

As such, I was surprised to be provided with a 13 September 2006 email from one Anna

Reveman to several individuals including Dr. Tore Lind whom we recognize as one of the

authors of not only the SOPRAN and LOTUS studies but also the so-called Attwood review

article.

                                         SOPRAN Top line result                             l states,

            At the Clinical Interpretation Meeting of SOPRAN it was agreed thet (sic) the
           top line result of the study is: No malignant or dysplastic changes in the gastric
           mucosa were observed during continuous maintenance treatment with
           omeprazole for up to 13 years

Based upon what we know regarding the design of this study, the high dropout rate, the inability

to ascertain the safety outcomes of those who dropped out, the inability to ascertain gastric safety

outcomes and all the other limitations discussed above and found within the draft Dear Health

Care Provider letter and the confidential REACTIVE Q&A and TALKING POINTS memo, I

find this email to be absolutely appalling. To share this conclusion with, presumably, the medical

and scientific world, while having the truth available, is incomprehensible. These studies just had

far too few participants completing the study to ascertain malignancies.


                                           Page 108 of 160
  Case 3:18-cv-01063-JWD-EWD                 Document 99-4       04/27/22    Page 110 of 236




In August 2015, two colleagues and I published                                       p Inhibitors,
                                                        226
                                                              to the Attwood review article which

was published in the journal, Alimentary Pharmacology and Therapeutics, the same journal

which published the Attwood review article in April 2015.

In our Letter to the Editor, we noted that fasting gastrin doubled in both studies and CgA doubled

in the LOTUS study. Yet Attwood et al., reported that no difference in gastric neoplasia

(including cysts and polyps) was detected.

We shared then that we were not surprised for several reasons: carcinogenesis takes time and

cancer occurs particularly in older people. PPIs have a rather steep concentration    effect curve

(Gut 1984; 25: 957-964.) and most patients in the two studies used a rather low dose. We noted

that women develop higher gastrin values during PPI treatment, (Dig Liver Dis 2014; 46: 125-

130 ) but in the LOTUS study, 75% of PPI-treated patients were males. And, finally, since the

studies were not able to detect evidence of a PPI-induced increase in fundic gland polyps,

providing a reference, the quality of the endoscopies and the ability to detect carcinoids in the

SOPRAN and LOTUS studies was questionable.

We also wrote,

         Curiously, Attwood403 used our paper13 as an argument against a role of PPI in
       the development of ECL cell carcinoids. The ECL is the target cell of circulating
       gastrin and plays an important role in gastric carcinogenesis.37 Helicobacter
       pylori is accepted as the main cause of gastritis, and an important cause of
       gastric cancer, and recently we described that gastrin could be the pathogenetic
       factor.192 In conclusion, PPIs seem rather safe with respect to neoplasia in older
       people, but the risk associated with lifelong treatment of young patients cannot be
       neglected


                                        Page 109 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4        04/27/22     Page 111 of 236




XXI. Determination of Causation: The Bradford Hill Viewpoints

I note that Drs. Cheung and Leung, two of the authors of the 2018 epidemiological study

discussed above148               Response to Letter to the Editor by Moayyedi et al.,435 also in

2018, following the publication of a Letter to the Editor by Moayyedi et al., regarding the

Cheung et al., study.436

In their Letter, Cheung and Leung wrote,

        Although the association detected by an observational study may not mean
       causation, the possibility of causality can be strengthened by fulfilling the
       Bradford Hill criteria. In our study, these include strength (HR: 2.43), specificity
       (stomach is the only organ that PPIs may impose a cancer risk), temporality (all
       GC cases developed after triple therapy), biological gradient (dose and duration
       response relationship shown), plausibility (worsening of preneoplastic gastric
       changes and bacterial overgrowth under acid suppression), experiment (as
       illustrated in animal model studies) and analogy (achlorhydria due to




              nine different viewpoints from all of which we should study association before we

cry causation. 437

        None of my nine viewpoints can bring indisputable evidence for or against the
       cause-and-effect hypothesis and none can be required as a sine qua non. What
       they can do, with greater or less strength, is to help us to make up our minds on
       the fundamental question - is there any other way of explaining the set of facts
       before us, is there any other answer equally, or more, likely than cause and
       effect? What I do not believe - and this has been suggested - is that we can
       usefully lay down some hard-and-fast rules of evidence that must be obeyed
       before we accept cause and effect. None of my nine viewpoints can bring



                                        Page 110 of 160
  Case 3:18-cv-01063-JWD-EWD                 Document 99-4          04/27/22     Page 112 of 236




          indisputable evidence for or against the cause-and-effect hypothesis and none can
          be required as a sine qua non.

I would state that temporality must be established before causation can be established. In this

litigation, the PPIs must be shown to have been started well before the development of gastric

cancer.

The full nine Hill viewpoints include, (A) strength (strength of association), (B) consistency, (C)

specificity, (D) temporality, (E) biological gradient (dose-response curve), (F) coherence, (G)

plausibility, (H) experiment and (I) analogy.

Cheung and Leung, in their Response Letter to the Editor435, noted that, within their study, the

viewpoint of strength was met because their study had a hazard ratio (HR) of 2.43.

I believe that, on balance, the totality of epidemiological studies published regarding PPIs and




          A. Strength of Association

First upon                list                                  strength of the association

                 we must, nevertheless, look at the obverse of the coin. We must not be too ready to

dismiss a cause-and-effect hypothesis merely on the grounds that the observed association

appears to be slight. There are many occasions in medicine when this is in truth so. 437

It is to be noted that several of the studies included has a confidence interval which included 1.0,

                                                                                              Expert

Report to discuss the epidemiology in detail, and I will leave to the epidemiologists to discuss

the value, or lack of value, of a non-statistically significant result.




                                           Page 111 of 160
Case 3:18-cv-01063-JWD-EWD              Document 99-4        04/27/22     Page 113 of 236




 Garcia-Rodriguez145 (2006 case-control study)
    o Gastric cardia adenocarcinoma:
             Current use (all durations):      aOR: 1.06 (0.57 2.00)
             Current < 1 year:                 aOR: 1.42 (0.72 2.81)
             Current 1 3 years:                aOR: 0.72 (0.22 2.42)
             Current > 3 years:                N/A

    o Gastric Non-cardia adenocarcinoma
             Current use (all durations):         aOR: 1.75 (1.10 2.79)
             Current < 1 year:                    aOR: 1.67 (0.96 2.90)
             Current 1 3 years:                   aOR: 1.61 (0.71 3.61)
             Current > 3 years:                   aOR: 2.95 (0.97 8.97)

 Crane et al. 440 (2007 case control study)
    o OR: 5.0 (1.1 23.0)

 Tamim et al.146 (2008 case-control study)
   o aOR: 1.46 (1.2 - 1.74)

 Poulsen et al.144 (2009 cohort study)
    o Incidence rate ratio: 1.30 (0.7 - 2.30)

 Ahn et al.147 (2013 Systematic Review/Meta-analysis)
   o Garcia- Rodriquez
   o Tamim
   o Poulsen
   o Duan441
                 (Not included in my analysis for this study looked at a combination of
                 H2RAs, PPIs, antispasmodics and antidiarrhea medications)
   o Pooled risk ratio: 1.39 (1.19 -1.64)

 Tran-Duy et al.442 (2016 Systematic Review/Meta-analysis)
    o Poulsen et al.
    o Garcia-Rodriguez et al.
    o Crane et al.
    o Tamim et al.
    o Pooled risk ratio: 1.43 (1.23 1.66)

 Chien et al.443 (2016 case-control study)
    o aOR: 1.34 (1.22-1.48)
                Cardia cancer:             aOR: 1.34 (0.99 - 1.80)
                                           aOR: 1.30


                                      Page 112 of 160
Case 3:18-cv-01063-JWD-EWD                Document 99-4        04/27/22   Page 114 of 236




 Brusselaers et al. (2017 cohort study)
    o Gastric cancer:                        SIR: 3.38 (3.23 - 3.53)
    o Gastric adenocarcinoma:                SIR: 3:38 (3.23 3.53)
    o Cardia cancer:                         SIR: 3.55 (3.27 3.86)
    o Non-cardia cancer:                     SIR: 3.33 (3.17 3.50)

 Wennerström et al.444 (2017 case-control study)
   o Cardia cancer:                     HR: 3.56 (2.83        4.46)
   o Non-cardia cancer:                 HR: 4.84 (3.64        6.43)
   o Proximal site:                     HR: 3.73 (2.48        5.63)
   o Distal site:                       HR: 6.54 (4.07        10.5)
   o Unspecified site:                  HR: 4.25 (3.30        5.47)

 Cheung et al.148 (2018 case-control study)
    o All gastric cancer:                aHR: 2.44 (1.40 - 4.20)
    o                                    aHR: 5.04 (1.23 - 20.61)
    o                                    aHR: 6.65 (1.60 - 27.26)
    o                                    aHR: 8.34 (2.00 - 34.41)

 Niikura et al. 149 (2018 cohort study)
    o aHR: 3.61 (1.49 - 8.77)

 Islam et al.445 (2018 Systematic Review/Meta-analysis)
     o Garcia-Rodriguez
     o Tamim
     o Pooled OR: 1.78 (1.1 - 2.25)

 Peng et al. 153 (2019 case control study))
    o aOR: 2.48 (1.9 - 3.20)
    o Proximal cancer: aOR: 2.58 (1.3 4.83)
    o Distal cancer:        aOR 3.33 (1.9 7.45

 Brusselaers et al.160 (2019 cohort study)
    o SIR: 2.97 (2.83 3.10)

 Lai et al. 154 (2019 case-control)
    o                        OR: 1.59 (1.2 - 2.05)
    o > 6 months use: OR: 2.00 (1.36 - 2.95)

 Jiang et al. 156 (2019 Systematic Review/Meta-analysis)
    o Poulsen
    o Brusselaers (2017)
    o Cheung
                                      Page 113 of 160
Case 3:18-cv-01063-JWD-EWD                Document 99-4      04/27/22      Page 115 of 236




    o   Tamim
    o   Garcia-Rodriguez
    o   Crane
    o   Niikura
    o   Pooled OR: 2.50 (1.7 - 3.85)

 Lee et al.446 (2020 case-control)
    o OR: 2.95 (1.23 7.90)

 Liu et al. 447 (2020 case-control and cohort studies)
    o Scotland (PCCIU database)
                  1 year     aOR: 1.49 (1.24 1.80)
                  2 years    aOR: 1.13 (0.91, 1.40)
                  3 years    aOR: 1.03 (0.80, 1.33)
                  4 years    aOR: 0.89 (0.65, 1.22)
                  5 years    aOR: 0.82 (0.55 - 1.22)

    o UK (UK Biobank)
           aHR: 1.28 (0.86            1.90)

 Ng et al.155 (2021 cohort study)
    o HR: 3.55 (1.4 - 8.66)

 Abrahami et al.158 (2021 cohort study)
    o HR: 1.45 (1.06 1.98)

 Seo et al. 151 (2021 cohort study)
    o HR: 2.37 (1.56 to 3.68)

 Salvo et al.151 (2021 Umbrella Meta-analysis)
                   Umbrella reviews synthesise systematic reviews and meta-analyses on
                  similar research questions and have become increasingly influential for highly
                                                                 -Poli and Radua.448
    o Islam et al.
    o Jiang et al.
    o Tran-Duy et al.
                  Pooled risk ratio: 2.50 (1.74 3.85)

 Segna et al.449 (2021 Systematic Review/Meta-analysis)
    o Garcia-Rodriguez
    o Tamim
    o Poulsen
    o Brusselaers (2017 and 2019)

                                        Page 114 of 160
  Case 3:18-cv-01063-JWD-EWD                   Document 99-4          04/27/22       Page 116 of 236




       o   Cheung
       o   Niikura
       o   Lai
       o   Peng
       o   Chien
       o   Lee
       o   Crane
       o   Wennerström
       o   Liu (Scotland)
       o Liu (UK)
               Pooled risk ratio:                         1.94 (1.47 - 2.56)
                     Cardia cancer:                       1.77 (0.72 - 4.36)
                     Non-cardia cancer:                   2.20 (1.44 - 3.36)

   Zeng et al.450 (2021 Systematic Review/Meta-analysis)
      o Poulsen
      o Cheung
      o Niikura
      o Brusselaers (2019)
      o Liu (UK Biobank)
      o Ng
      o Seo
      o Abrahami
      o Shin
      o Garcia-Rodriguez
      o Tamim
      o Lee
      o Liu (PCCIU)
       o Pooled RR:             1.81 (1.30 - 2.50)
               Pooled RR of just cohort studies excluding Brusselaers: 1.99 (1.39 2.87)
_____________________________________________________________________________
 OR: Odds Ratio; aOR: adjusted Odds Ratio; HR: Hazard Ratio; aHR: adjusted Hazzard Ratio; SIR: Standardized
                                    Incidence Ratio; RR: Relative Risk

I reproduce below a forest plot from the Zeng et al., systematic review/meta-analysis (Fig. 1A

within the study) for it (1) is the most recently published analysis and (2) took affirmative steps

to decrease the heterogeneity amongst the analyzed studies.

In their figure 1A (below), Zeng reveal the RR of 2.19 (1.53           3.13) of the cohort studies along

with the RR of 1.81 (1.30     2.50) seen in the case-control studies.

                                            Page 115 of 160
  Case 3:18-cv-01063-JWD-EWD             Document 99-4          04/27/22   Page 117 of 236




In their figure 1B (below), Zeng et al., show the overall risk of gastric cancer for PPI users

compared with the non-users after reducing heterogeneity by excluding nested case-control and

the Swedish cohort studies. The RR is now 1.99 (1.39   2.87).




                                       Page 116 of 160
  Case 3:18-cv-01063-JWD-EWD                 Document 99-4         04/27/22       Page 118 of 236




I would like to point out that I have also reviewed three randomized controlled trials that,

ostensibly, did not find an association between PPI use and gastric cancer.

                            Laparoscopic Antireflux Surgery vs Esomeprazole Treatment For
                                                                                                       402
Chronic GERD: The LOTUS Randomized Clinical Trial

LOTUS was a 5-year exploratory, randomized, open, parallel-group trial in which a total of 192

patients completed the study while 74 patients discontinued the study.452 It is important to note

                                         as a superiority or equivalence trial but, rather, was an

exploratory study to estimate the efficacy of LARS (standardized laparoscopic antireflux

surgery) and PPI treatment in PPI responders. 453 LOTUS was not designed to observe gastric

cancer events and, in fact, no number of gastric cancer cases observed in the 192 patients who

completed the study or in the 74 patients who discontinued the study for various reasons were

described. LOTUS affords to us no comfort regarding the use of PPIs and gastric cancer.

      Comparison of Outcomes Twelve Years After Antireflux Surgery or Omeprazole
                                                                    401
Maintenance Therapy for Reflux Esophagitis                                , was also discussed in detail

above. As with LOTUS, this small, open-label study was not designed to find cases of gastric

cancer and the large number of dropouts here, as with LOTUS, offer to us no comfort regarding

the safety of PPIs and gastric cancer.

                                         Safety of Proton Pump Inhibitors Based on a Large, Multi-
                                                                                             455
Year, Randomized Trial of Patients Receiving Rivaroxaban or Aspirin                                In this

RCT, participants with stable cardiovascular disease and peripheral artery disease were randomly

assigned to groups given pantoprazole (40 mg daily, n = 8,791) or placebo (n = 8,807).

Participants were also randomly assigned to groups that received rivaroxaban (a blood thinner)

with aspirin (100 mg once daily), rivaroxaban, or aspirin alone.

                                            Page 117 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4        04/27/22      Page 119 of 236




While the study looked at 17,598 participants, the patients were followed for a median of just

3.01 years. It is impor

follow up but, instead means that 50% of the participants (8,799) were followed for less than

3.01 years and 50% (8,799) were followed for more than 3.01 years. The range of follow-up was

2 days (!!) to 5 years. However, it also needs to be pointed out that the authors, themselves, note

that the 5-                was achieved in only a small proportion of patients. 456 (Emphasis

added). Once again, we readers are not provided with the data to review. How many patients



or 1,320? Ten percent or 879? Five percent or 440? One percent or 88 patients? We are left to

speculate about this important fact.

A description of just how many participants in the study were followed for but a few days, or

even weeks, is not found within the study itself or the supplementary materials. This greatly

impacts how much weight can be applied to this study when considering the development of

gastric cancer.

As a result of no actual data is provided within this study regarding the number of gastric

cancers, if any, which developed in those unknown number of patients on pantoprazole versus

placebo for more than three years, I give this study no weight toward the ultimate question of

PPIs and gastric cancer and I did not include this study in my overall analysis of the strength of

association between various epidemiological studies looking at the use of PPIs and gastric

cancer. If provided with the hard data from the study regarding actual long-term exposure and

the number of gastric cancers I would be willing to modify my opinion.




                                         Page 118 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4        04/27/22    Page 120 of 236




It is my opinion, which I hold to a reasonable degree of medical certainty, that the viewpoint of

strength of association is easily met by the majority of published observational epidemiological

studies and, especially, the systematic review/meta-analyses.

       B. Consistency

                                                          viewpoint.437 He wrote,

        Has it been repeatedly observed by different persons, in different places,

       circumstances and times? Has it been repeatedly observed by different persons,

       in different places, circumstances and times? This requirement may be of special

       importance for those rare hazards singled out in the Section's terms of reference.

       With many alert minds at work in industry today many an environmental

       association may be thrown up. Some of them on the customary tests of statistical

       significance will appear to be unlikely to be due to chance. Nevertheless whether

       chance is the explanation or whether a true hazard has been revealed may

       sometimes be answered only by a repetition of the circumstances and the

                       (Emphasis added.)

From the below list of studies above, one notes that many different types of epidemiological

studies (cohort, case-control, systematic review/meta-analysis and umbrella meta-analysis

finding a statistically significant association between PPI use and gastric cancer were conducted

between 2006 and 2021 and in nine different countries involving participants of varying races.


       Garcia-Rodriquez et al., a case control study performed in the United Kingdom in 2006

       finding an association with gastric non-cardia adenocarcinoma145

       Crane et al., a case-control study performed in the United States in 2007440

                                        Page 119 of 160
  Case 3:18-cv-01063-JWD-EWD              Document 99-4         04/27/22     Page 121 of 236




       Tamim et al., a case-control study performed in Canada in 2008146

       Ahn et al., a systematic review/meta-analysis performed in 2013147

       Tran-Duy et al., a systematic review/meta-analysis performed in 2016422

       Chien et al., a case-control study performed in Taiwan in 2016443

       Brusselaers et al., a cohort study performed in Sweden in 2017152

       Wennerström et al., a case-control study performed in Denmark in 2017444

        Cheung et al., a case-control study performed in Hong Kong in 2018148

       Niikura et al., a cohort study performed in Japan in 2018149

       Islam et al., a systematic review/meta-analysis performed in 2018445

       Peng et al., a case-control study performed in Taiwan in 2019153

       Brusselaers et al., a cohort study performed in Sweden in 2019160

       Lai et al., a case-control study performed in Taiwan in 2019154

       Jiang et al, a systematic review/meta-analysis performed in 2019158

       Lee et al., a case-control study performed in the United States in 2020446

       Ng et al., a cohort study performed in Hong Kong in 2021155

       Abrahami et al., a cohort study performed in the United Kingdom in 2021158

       Seo et al., a cohort study performed in South Korea in 2021148

       Salvo et al., an umbrella meta-analysis performed in 2021151

       Segna et al., a systematic review/meta-analysis performed in 2021449

       Zeng et al., a systematic review/meta-analysis performed in 2021450

Although not all studies found a statistically significant association between PPI use and gastric

cancer, most studies, especially the systematic reviews and meta-analyses (and umbrella meta-

analysis) were positive in their findings and consistent in finding an association. Thus, it is my
                                        Page 120 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4          04/27/22     Page 122 of 236




expert opinion, held to a reasonable degree of medical certainty that the viewpoint of

                                          a causal association.

I should also like to poi




       C. Specificity:

Bradford

      If, as here, the association is limited to specific workers and to particular sites and
     types of disease and there is no association between the work and other modes of
     dying, then clearly that is a strong argument in favour of causation. We must not,
     however, over-emphasize the importance of the characteristic. Even in my present
     example there is a cause and effect relationship with two different sites of cancer
     the lung and the nose. 437



smoking, as an example, is causally associated with multiple anatomic locations, not only the

lung and nose. However, while there are several published epidemiological studies linking PPIs

with esophageal, pancreatic, and liver cancer, the vast majority of publications are specific to

gastric cancer and specific gastric anatomic locations.

Therefore, it is my expert opinion, held to a reasonable degree of medical certainty that the

              specificity            provides further support to a causal association.




                                         Page 121 of 160
  Case 3:18-cv-01063-JWD-EWD                Document 99-4          04/27/22      Page 123 of 236




        D. Temporality:

                 fourth viewpoint is the temporal relationship of the association:

           which is the cart and which the horse? This is a question which might be
        particularly relevant with diseases of slow development. Does a particular diet
        lead to disease or do the early stages of the disease lead to those peculiar dietetic
        habits? 467

Here, again, I disagree with Bradford Hill regarding none of his viewpoints can be required as a

sine qua non for I would unequivocally state that the exposure to the PPI must precede the

development of gastric cancer.

This is recognized by all authors of the listed studies, each indicating t



protopathic bias: basically, did the gastric cancer develop and cause symptoms, including

dyspepsia, resulting in the use of a PPI? Fortunately, while there is some debate regarding what

the appropriate lag time is to utilize in a case such as this, we have a peer-reviewed, published

paper to assist us.

                                    Application of Lag-Time Into Exposure Definitions to Control

For Protopathic Bias 468                                 to introduce a procedure to identify the best

lag-time to be applied in studies where control for protopathic bias is required.

These authors, who published the results of their case-control epidemiological study evaluating

PPIs and gastric cancer in 2008146, used the data from that study and found a trend of decreasing

odds ratios with the application of an increasing lag-time. Applying the two methods they

developed for the different lag-times revealed that the odds ratios stabilized at around 6 months.

                             For    the   purpose   of     controlling   for   protopathic   bias   in

                                          Page 122 of 160
  Case 3:18-cv-01063-JWD-EWD                Document 99-4         04/27/22        Page 124 of 236




pharmacoepidemiological studies, we have provided a method to assess the most appropriate

lag-time that should be applied for the assessment of drug exposure                 most appropriate

lag-time          -months.

The lag-time established in this study was utilized by Cheung et al., 148 who stated within their

own study,

           We used 6 months as the priori cut-off because previous study that specifically
       addressed the issue of protopathic bias showed that this was the most appropriate
       lag-time to be applied for the assessment of PPIs exposure on gastric cancer risk
       in pharmaco-epidemiological studies , referencing Tamim et al.

Inasmuch as this need for a lag-time is recognized, and accounted for in the epidemiological

studies, it is my expert opinion, held to a reasonable degree of medical certainty that Bradford

                                         providing critical support to a casual association.

       E. Biological Gradient (Dose Response)

                                                                              -                Fifthly, if

the association is one which can reveal a biological gradient, or dose-response curve, then we

should look most carefully for such evidence.

Furthermore, Hill wrote,

           For instance, the fact that the death rate from cancer of the lung rises linearly
       with the number of cigarettes smoked daily, adds a very great deal to the simpler
       evidence that cigarette smokers have a higher death rate than non-smokers. That
       comparison would be weakened, though not necessarily destroyed, if it depended
       upon, say, a much heavier death rate in light smokers and a lower rate in heavier
       smokers. We should then need to envisage some much more complex relationship



                                          Page 123 of 160
  Case 3:18-cv-01063-JWD-EWD                   Document 99-4           04/27/22      Page 125 of 236




        to satisfy the cause-and-effect hypothesis. The clear dose-response curve admits
        of a simple explanation and obviously puts the case in a clearer light.

I have reviewed the above studies for evidence of a biological gradient and place my

observations in the below table.

                     Number
        Study        of Cases               Biological Gradient                        Observation
     Garcia-                              Gastric cardia adenocarcinoma           By itself, I am putting no
   Rodriguez145                                                                   weight on this study in
     (2006)             14         Current Use                   1.06             regard to a biological
                                   (All durations)           (0.57 2.00)          gradient for the number of
                                                                                  participants are just too
                        11         Current < 1 year              1.42             small for meaningful data.
                                                             (0.72 2.81)

                        3          Current 1-3 years             0.72
                                                             (0.22 2.42)

                        0          Current > 3 years            N/A

                                   Gastric non-cardia adenocarcinoma

                        29         Current Use                  2.31
                                   (All durations)          (1.55 3.44)

                        17         Current < 1 year              1.67
                                                             (0.96 2.90)

                        8          Current 1-3 years            1.61
                                                             (0.71-3.61)

                        4          Current > 3 years             2.95
                                                             (0.97 8.97)
  Crane et al. 440                                                                    No data provided
     (2007)
  Tamim et al.146                                Defined Daily Dose               This study does not
     (2008)                                                                       support an increase in the
                                   # tablets                    aOR               biological gradient.
                        65         Q1 (0 41)                     1.66
                                                             (1.24-2.23)

                        53         Q2 (42 119)                   1.37
                                                             (1.00-1.88)

                        68         Q3 (120 479)                  1.57
                                                             (1.17-2.10)

                        48         Q4 (>580)                    1.20
                                                             (0.85-1.70)


                                             Page 124 of 160
Case 3:18-cv-01063-JWD-EWD                     Document 99-4               04/27/22      Page 126 of 236



Poulsen et al.144                   Years of follow-up                                In this study, the patients
    (2009)               10                                                           with the longest follow-up
                                    <1                             2.3                and most prescriptions
                                    (                          (1.2-4.3)              exhibited the highest risk
                          3                                                           ratios. However, again,
                                    1                              0.8                the numbers are too small
                                    (                          (0.2-2.4)              to make a definitive
                          4                                                           determination and, by
                                    2    4                         0.5                itself, I would describe the
                                    (                          (0.2 1.4)
                          7                                                           increased dose-response.
                                    5+                             2.3 (
                                    (                          (1.2 4.3)

                                    No. of prescriptions
                          8
                                    2    4                         0.8        (
                                    (                           (0.4 1.6)
                          9
                                    5    14                        1.6
                                    (                          (0.8 3.3)
                          7
                                    15+                             2.1
                                    (                           (1.0 4.7)
   Ahn et al.147        5,980       No data from studies reviewed provided              Does not support, nor
(2013 Systematic        gastric                                                         exclude, a biological
  Review/Meta-       cancer cases                                                             gradient.
    analysis )
Tran-Duy et al.422     87,324                                                         Here, the advantage of a
(2016 Systematic       patients                                                       meta-analysis, with its
  Review/Meta-                      Pooled Effect from Fixed-Effect Model*            combination of data from
    analysis )                                                                        individual       studies,
                                                   1.42 (0.98-2.07)                   specifically     Garcia-
                                                                                      Rodriguez and Poulsen is
                                    Pooled Effects from Random-Effects Model*         apparent.

                                                   1.31 (0.79-2.19)                   Tran-Duy et al., unlike
                                                                                                            two
                                                                                      popular statistical models
                                                                                      for meta-analysis, the
                                    Pooled Effect from Fixed-Effect Model             fixed-effect model and the
                                                                                      random-effects model. 471
                                                   2.45 (1.41-4.25)                   Any further description of
                                                                                      these statistical methods
                                    Pooled Effects from Random-Effects Model          are beyond the scope of
                                                                                      this paper.
                                                   2.45 (1.41-4.25)
                                                                                      The pooled effect from
                                                                                      both the fixed effect
                                                                                      method and the random
                                                                                      effects method reveals an
                                                                                      adjusted odds ratio of
                                                                                      2.45, consistent with a
                                                                                      statistically  significant
                                                                                      145% increased risk of
                                                                                      gastric cancer versus a

                                              Page 125 of 160
Case 3:18-cv-01063-JWD-EWD               Document 99-4                  04/27/22      Page 127 of 236



                                                                                   non-statistically
                                                                                   significant increase of
                                                                                   42% and 31% increased

                                                                                   usage.
Chien et al.443    7,681                      No data available
   (2016)
Brusselaers et               Duration                            SIR               The study by Brusselaers
    al.152                                                                         et al., does not support an
   (2017)          1,552     <1.0 year                          12.82          1   increase in the dose-
                             (12.19 to 13.47)                                      response.

                   2,193     1.0 2.9 years                      2.19 1             The authors note this and
                             (                            (1.98 to 2.42)                     The seemingly
                                                                                   decreasing risk estimates
                   1,098     3.0 4.9 years                     1.10                with a longer duration of
                             (                            (0.91 to 1.31)           use      are     probably
                                                                                   because PPI is beneficial
                    153                                          0.61      0       for most individuals
                             (0.52 to 0.72)                                        with known risk factors
                                                                                   for cancer (eg, peptic
                                                                                   ulcers, H. pylori), yet
                                                                                   further research seems
                                                                                   needed for those on
                                                                                   maintenance        therapy
                                                                                   without gastro-intestinal
                                                                                   indications (eg, aspirin
                                                                                   and NSAIDs users).
                                                                                   (Emphasis added)
Wennerström et      1,346    Cardia                               Non-cardia       This study supports the
    al.444         gastric                                                         existence of a biological
   (2017)          cancers   1-4 Prescriptions     3 + Years After Exposure        gradient/dose-response
                                                                                   with a clear increase in
                                  1.91                          3.09               risk observed.
                              (1.64 2.22)                   (2.59 3.70)

                             5-14 Prescriptions 3+ Years After Exposure

                                  3.32                          9.69
                              (2.72 4.05)                    (7.69 12.2)

                             15+ Prescriptions      3+ Years After Exposure

                                  3.56                    4.84
                             (2.83 4.46)               (3.64 6.43)
Cheung et al.148              After Propensity Score Adjustment With               The increased risk with
   (2018)                                    Trimming                              increased      time     was
                                                                                   consistent      after    the
                    112                                                            authors     utilized    pro-
                                                (1.23 - 20.61)                     pensity score adjustment
                                                                                   highly supportive of an
                     88                                     6.65                   increased         biological
                                                (1.6 - 27.26)                      gradient or dose-response.

                     69
                                                (2.0 - 34.41)

                                        Page 126 of 160
Case 3:18-cv-01063-JWD-EWD                      Document 99-4           04/27/22       Page 128 of 236




                                  After Propensity Score Adjustment Without
                                             Trimming (eTable 4)

                        128                       1 year use: 3.83
                                                  (1.14 12.83)

                        104                       2 years use: 4.41
                                                  (1.28 15.23)

                        85                        3 years use: 5.46
                                                   (1.52 19.57)

Niikura et al. 149      24                                                          As shown in Figure 1 A,
    (2018)                                                                          in the Niikura study, the
                                                                                    incidence      of    gastric
                                                                                    cancer     increased    the
                                                                                    longer PPIs were used
                                                                                    until the data plateaued
                                                                                    off at year 7, supporting a
                                                                                    biological gradient/dose-
                                                                                    response




 Islam et al.445                                 No data provided
     (2018)
 Peng et al. 153                                 No data provided
     (2019)
Brusselaers et al.     1,074      First year:                            7.22 (     While this study, per se,
       160
                                  6                                   (6.79 7.66)   does not support an
                                                                                    increasing        biological
                        417       Years 1   3:                           1.48       gradient/dose-response,
                                  (1.34                               (1.34 1.63)   the authors, themselves,
                                                                                                  By assessing
                        273       Years 3 5:                              1.24      the risk of cancer per time
                                  (1.09 1.39) 1.24                    (1.09 1.39)   period since initiation of
                                                                                    treatment, this study also
                        165       > 5 years:                             1.31       shows that the risk does
                                  (1.12 1.53) 1.31                    (1.12 1.53)   not decrease over time
                                                                                    since initiation of PPI
                                                                                    treatment, which would be
                                                                                    expected if the treatment
                                                                                    was initiated because of
                                                                                    cancer-related symptoms,
                                                                                    or if treatment of risk
                                                                                    factors for cancer was
                                                                                    entirely successful.
  Lai et al. 154     649 cancer
    (2019)             cases                                                                     of PPI usage
                                                          1.59                      Lai    demonstrated      an
                                                     (1.24 to 2.05)                 increased in the biological
                                                                                    gradient/dose-response.
                                                      >6 months


                                            Page 127 of 160
Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22       Page 129 of 236




                                                   2.00
                                             (1.36 to 2.95)
Jiang et al. 156   943,070          Systematic Review/Meta-analysis        In this Systematic Review
    (2019)          total                   Pooled OR 2.50                 /Meta-analysis      titled,
                   patients                    (1.7 - 3.85)                 Relationship     between
                                                                           long-term use of proton
                                                                           pump inhibitors and risk
                                                                           of gastric cancer: A
                                                                           systematic analysis
                                                                           et al., noted,

                                                                            The       pooled      OR
                                                                           suggested that the long-
                                                                           term use of PPIs increases
                                                                           the risk of gastric cancer.
                                                                           The results of subgroup
                                                                           analysis indicated that
                                                                           the risk of gastric cancer
                                                                           development increased
                                                                           with prolonged pres-
                                                                           cription     time,     and
                                                                           patients who had taken
                                                                           PPIs for more than 36
                                                                           months were at the
                                                                           highest      risk
                                                                           supporting an increased
                                                                           biological gradient/dose-
                                                                           response.

                                                                           As a result, I place a lot of
                                                                           weight on the findings of
                                                                           this systematic review
                                                                           /meta-analysis.

 Lee et al.446                Years                         Odds Ratio      In     examining     PPI
   (2020)            32                                                    intensity of use, elevated
                              2 - 3.9                           1.21       cancer      risks    were
                                                            (0.70 2.09)    primarily restricted to
                     32                                                    those with 10 years of
                              4   5.9                           1.06       PPI use. The exception
                                                            (0.62 1.81)    was for gastric cancer
                     31                                                    where there was an
                              6   7.9                           0.86       increase in risk at the
                                                            (0.49 1.52)    dose and duration of use
                     20                                                    (OR: 2.95, 95% CI:
                              8   9.9                           0.86       1.23 7.90).
                                                             (0.46 1.59)
                     49                                                    This finding was seen in
                                                                1.30       those long-term patients
                                                             (0.82 2.04

                                                                           While this study supports
                                                                           and increased risk with
                                                                           long-term use (with the


                                        Page 128 of 160
 Case 3:18-cv-01063-JWD-EWD                    Document 99-4             04/27/22        Page 130 of 236



                                                                                      highest number of cases),
                                                                                      the negative finding with
                                                                                      shorter use makes its
                                                                                      difficult to place as much
                                                                                      weight on this study.
   Liu et al.447                      Primary Care Clinical Informatics Unit          This study does not
     (2020)                                          Study                            support      a    biological
                                                                                      gradient/dose-response
                                      PPI main analysis - PPI user vs. non-user       between the use of PPIs
                                                                                      and gastric cancer.
                        329       Removing 1 year                         1.49
                                                                      (1.24 1.80)

                        212       Removing 2 years                        1.13
                                                                      (0.91 - 1.40)

                        137       Removing 3 years                        1.03
                                                                      (0.80 - 1.33)

                         87       Removing 4 years                        0.89
                                                                       (0.65, 1.22)

                         55       Removing 5 years                         0.82
                                                                      (0.55 1.22)

                                                   UK Biobank Study

                        206       Main Analysis:                           1.28
                                  1.28                                 (0.86 -1.90)

                        170       Starting follow-up at 2 y:              1.15
                                  1.15                                (0.73 - 1.82)

                        122       Starting follow-up at 3 y:               1.12 (0.
                                  1.12                                 (0.65, 1.92)

   Ng et al. 155       3,552      Short duration of Use                               In this unique study where
    (2021)                            (14 364 days)                     1.75          PPIs        were      used
                                  0                                (0.94 to 3.26)     prophetically, instead of
                       6,793      Long duration of Use                                for treatment of GI
                                                 )                      2.06 1        symptoms, the authors
                                  .                                (1.01 to 4.18)     noted an increased risk of
                                                                                      gastric cancer in those
                                                                                      patients using the PPI for

Abrahami et al. 158                             Cumulative duration                              1.45
     (2021)                                                                           This study supports a
                      3,830,738   < 2 years                               1.33        biological gradient/dose
                        person    0                                   (0.96 to 1.83   response and the authors,
                         years                                                                              The
                                                                                      HRs increased with
                      518,719     2    3.9 years                        1.88 1        cumulative       duration,
                       person     .                                (1.33 to 2.65)     cumulative omeprazole
                        years                                                         equivalents and time
                                                                                      since           treatment
                      538,314                                              2.40       initiation

                                              Page 129 of 160
Case 3:18-cv-01063-JWD-EWD                  Document 99-4              04/27/22      Page 131 of 236



                    person     1                                (1.68 to 3.45)
                     years
                                   Cumulative omeprazole dose equivalents

                   3,933,687   <14,600 mg                             1.33
                     Person    0                                (0.97 to 1.83)
                      years

                   502,892     14,600 28,199 mg                       2.05
                    person     .4                               (1.46 to 2.89)
                     years

                   451,182                                            2.34
                    person     (1.6                             (1.62 to 3.37)
                     years
                                           Time Since PPI Initiation

                   892,171     < 2 years                             1.25 (0
                    person     6                                (0.69 to 2.28)
                     years

                   1,404,884   2 - 3.9 years                         1.32
                     person    (0.79 to 2.19)                   (0.79 to 2.19)
                      years

                                                                    1.82
                               (1.09 to 3.02 1.82               (1.09 to 3.02)

 Seo et al. 150                       Propensity Score Matching Analysis          This is another study
   (2021)                                 Matching Ratio/Lag Period               which      supports     a
                                                                                  biological gradient/dose
                    10,093     1:1 matching/2 years                  2.90         response. These authors
                               (1.78 to 4.94) 2.9               (1.78 to 4.94)    state, The incidence of
                                                                                  gastric cancer showed
                    11,741     1:4 matching/1 year                    2.30        an increasing trend
                               (1.65 to 3.22) 2.3               (1.65 to 3.22)    parallel to the duration
                                                                                  of PPI use. Even after H.
                    10,093     1:4 matching/2 years                  3.11         pylori eradication,
                               (2.05 to 4.77) 3.11              (2.05 to 4.77)    PPI use for more than 6
                                                                                  months was significantly
                               Propensity Score Stratification Analysis Lag       associated    with     an
                                                 Period                           increased incidence of
                                                                                  gastric cancer.
                   101,438     1 year                                2.47
                               (1.98 to 3.08] 2.47              (1.98 to 3.08)

                    82,468     2 years                               3.05
                               (2.34 to 3.97) 3.05              (2.34 to 3.97)
Salvo et al. 151   943,070                            Meta-                                      -analysis of
   (2021)                                                                         42 meta-
                               < 12 Months Use                         1.76       authors      report      an
                                                                                  increasing risk of gastric
                               12     36 Months Use                    1.42       cancer between those
                                                                                  patients using PPIs for
                               > 36 Months Use                         2.45       less than 1 year versus
                                                                                  those using PPIs for more

                                           Page 130 of 160
  Case 3:18-cv-01063-JWD-EWD                     Document 99-4            04/27/22        Page 132 of 236



                                                                                       than      3     years    thus
                                                                                       supporting an increasing
                                                                                       biological gradient/dose-
                                                                                       response.
   Segna et al.449   1,662,881            Systematic review / Meta-analysis            Three out of 13 studies
      (2021)                                                                           could be meta-analysed
                                    <1 year:                              2.29 2.      for the duration of PPI
                                    1                                 (2.13 to 2.47)   intake. There was no trend
                                                                                       for a duration-dependent
                                    1 3 years:                            1.46 95      effect of PPI use. This
                                    %                                  (0.53 4.01)     meta-analysis supports a
                                                                                       biological gradient/dose
                                    >3 years:                             2.08         response in that the risk of
                                    95% CI:                            (0.56 7.77)     gastric cancer with 3 years
                                                                                       use is greater than that of
                                                                                       less than 1 year use but
                                                                                       the findings are not
                                                                                       statistically significant.
   Zeng et al.450     1,638,328           Systematic review / Meta-analysis            These researchers found a
                     participants                                                      2.7-fold increase in the
                                    > 1 year                               1.67        relative       risk     when
                                    1.                                (1.17 to 2.36)   comparing users of PPIs
                                                                                       greater than 1-year versus
                                    > 3 years                              4.50        those with greater than 3-
                                    95% CI                           (1.66 to 12.25)   years of use along with
                                                                                       nearly a 2-fold increase in
                                     Subgroup analysis and meta-regression for         risk when the follow-up is
                                     cohort studies after excluding the Swedish
                                                      cohort.479                       supporting an increased
                                                                                       biological gradient/dose-
                                                    Follow-up time                     response.

                                    < 5 years                               1.54
                                    (1.01, 2.35) 1.54                   (1.01, 2.35)

                                                                            2.87
                                    (1.91, 4.33) 2.87                   (1.91, 4.33)



Overall, the studies are mixed with some studies finding an increased biological gradient/dose-

response, some not finding such a result and some studies not reporting the necessary data.

                                                                                  e data from several of the

strongest studies, e.g., Zeng, Abrahami



biological gradient/dose-response, adding to the overall strength of the causal relationship.




                                                Page 131 of 160
  Case 3:18-cv-01063-JWD-EWD                 Document 99-4        04/27/22      Page 133 of 236




       F. Plausibility




He noted that,

                                                                                         this
       is a feature I am convinced we cannot demand. What is biologically plausible



As discussed in detail above, it is my expert opinion, which I hold to a reasonable degree of

medical certainty that the association between hypergastrinemia, because of acid suppression by

the PPIs, results in ECL cell proliferation and the development of neoplasia.

I agree with Cheung et al.,435 when they stated that their study fulfilled the Bradford Hill criteria




           worsening of preneoplastic gastric changes and bacterial overgrowth under
       profound acid suppression

I agree with Brusselaers et al., 152 when they write,

         Already 30 years ago, animal studies showed that profound inhibition of gastric
       acid secretion in rodents induces gastric tumours, with secondary overstimulation
       (hypergastrinaemia) leading to enterochromaffin-like cell (ECL) hyperplasia as
       generally accepted mechanism of this carcinogenic effect.

I also agree with Abrahami et al.,158 when they state,

         A possible association between PPI use and gastric cancer is biologically
       plausible, as PPIs are known to cause hypergastrinaemia, which may induce
       hyperplasia




                                           Page 132 of 160
  Case 3:18-cv-01063-JWD-EWD                Document 99-4            04/27/22     Page 134 of 236




Furthermore, they write in their peer-reviewed published study,

       An association between PPI use and gastric cancer is biologically plausible and
       may be mediated by several different factors. PPIs are known to cause
       hypergastrinaemia (elevated secretion of gastrin from G-cells), as gastrin
       secretion is inhibited by acidity. (Ref.) Gastrin is considered a potent growth
       factor, which may induce hyperplasia. (Ref.) Second, long-term PPI use may lead
       to changes in the gut microbiome, including reduced microbial diversity. (Refs.)
       Changes to the gut microbiota have been shown to contribute to an increased risk
       of gastric cancer. (Ref.) Third, although disputed, chronic suppression of acid
       secretion by PPIs may be associated with atrophic gastritis (chronic inflammation
       of the stomach mucous membrane), (Refs.) which is one of the main precursors to
       gastric cancer (Ref.); although not all studies have reported this association.
       (Ref.) Taken together, these factors may contribute to gastric cancer
       development among PPI users.

Finally, I also agree with what was written in the 1986, in Merck Sharp & Dohme Research
                                                             113
Laboratories                                                       where it was reported,

         These studies submitted earlier suggested a plausible hypothesis for production
       of gastric carcinoids after omeprazole administration. It has been postulated that
       carcinoid tumors are secondary to ECL cell hyperplasia produced by
       hypergastrinemia which in turn is a direct result of inhibition of acid secretion by
       omeprazole. This sustained, marked hypergastrinemia and stimulation of ECL
       cells could be expected to result in focal ECL cell hyperplasia, subsequent
       micronodule formation and ultimately expressed as carcinoid tumors. These
       studies also suggest that carcinoid formation is unique to the rat. 116



expert opinion that the observed association is, in fact, causal.




                                          Page 133 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4             04/27/22   Page 135 of 236




       G. Coherence




        On the other hand the cause-and-effect interpretation of our data should not
       seriously conflict with the generally known facts of the natural history and
       biology of the disease

There is no conflict between the observation that acid suppression results in hypergastrinemia

which is associated with neoplasia.

Håkan Larsson, of the Department of GI Pharmacology, Hassle Research Laboratory, and others, in 1986

           Plasma Gastrin and Gastric Enterochromaffinlike Cell Activation and Proliferation Studies
                                                               112
with Omeprazole and Ranitidine in Intact and Antrectomized           stating,


        The results of the present study favor the view that the diffuse and focal ECL cell
       hyperplasia and focal neoplasia (ECL cell carcinoids) observed in the rat stomach
       after 2 yr (sic) of treatment with omeprazole are the result of sustained
       pronounced hypergastrinemia induced in turn by long-lasting inhibition of acid
       secretion. 481

                                                                                      113
                                                                                            by Merck

Sharp & Dohme Research Laboratories, it was reported that,

        The data submitted to date describe very clearly the relationship between
       pronounced inhibition of acid secretion and elevation of serum gastrin levels.
       These studies have also demonstrated that maintenance of high serum gastrin
       concentrations induces a hyperplasia of enterochromaffin-like cells (ECL cells) in
       the gastric mucosa (Figure 1) 114

As discussed above, a very important finding concerning the role of lack of gastric acid and

resultant hypergastrinemia came from the description of the Spanish family where two cousins

had 10 children and 5 developed tumours in the stomach localized to the oxyntic mucosa. Four

                                         Page 134 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22      Page 136 of 236




of the tumors were classified as gastric NETs diagnosed in the twenties and the fifth classified as

adenocarcinoma in the thirties. The affected children were anacidic due to a missense of one of

the genes of the proton pump (ATP4A) and had therefore been exposed to a long-term

hypergastrinemia.286 Later we could reclassify the tumour of the oldest child from an

adenocarcinoma to a neuroendocrine carcinoma.287 This family shows, without a doubt, that

long-term hypoacidity with secondary hypergastrinemia induces tumours of all degrees of

malignancy.

It is my expert opinion, again held to a reasonable degree of medical certainty, that the cause-

and-effect interpretation of this data is consistent with what is generally known regarding the

natural history and biology of acid suppression, hypergastrinemia, proliferation of ECL cells and

the development of neoplasia, fulfilling Bradford Hi

       H. Experiment




        Occasionally it is possible to appeal to experimental, or semi-experimental, evidence.

In this regard, in vitro, in vivo, animal, and human studies support a causal association.

While there is a voluminous amount of new evidence regarding the association of PPIs and

gastric cancer available since the publication of epidemiological studies in the mid-2000s, much

of the underlying evidence regarding the pathogenesis has been available for decades.

In October of 1986, Dr. David W. Blois, executive director of U.S. regulatory affairs for Merck

Research Laboratories, wrote to Dr. Kenneth M. Given whom I believe was, at that time,

Executive Director of Regulatory Affairs for Merck, regarding a telephone conservation he, Dr.

Blois, had with Dr. R. Lipicky of the FDA.482 In his memo, Dr. Blois wrote,

                                         Page 135 of 160
  Case 3:18-cv-01063-JWD-EWD                Document 99-4      04/27/22     Page 137 of 236




         Dr. Lipicky told us that all of the reviewers, including Dr. Glocklin agree that
       the information provided by Astra demonstrates that the ECL cell hyperplasia and
       gastric carcinoid tumors were the result of the sustained high levels of gastrin
       produced by the exaggerated pharmacologic effect of omeprazole.

The role of gastrin in the regulation of growth 69 of the ECL cell and the development of

ECLomas in the rat have been thoroughly studied.26 We established in a 2001 in vitro study that

the gastrin receptor, CCK-2, is located on the ECL cell.36 Thus, hypergastrinemia would be

expected to influence the ECL cell to increase its density, proliferation, and carcinoid tumors

(NETs) which, in fact, it does.483

The distinction between adenocarcinomas and gastric neuroendocrine tumors originating from

the ECL cell is difficult to determine in animals484 as well as man.291,294 We examined human

gastric carcinomas for neuroendocrine differentiation in 1991 and found that some of the

adenocarcinomas originated from the ECL cell.295

As we continued our studies, we were able to show that particularly gastric cancers of diffuse

type according to Lauren288 showed neuroendocrine/ECL cell markers in a high proportion252,

which increased when improving the sensitivity without reducing the specificity of the

immunohistochemical method.251 By this method, we could show that virtually all gastric

carcinomas in patients with anacidity showed ECL cell markers and accordingly were malignant

neuroendocrine tumors.128

Similarly, we followed a patient with pernicious anemia and showed how the ECL NET

transformed into a highly malignant ECL cell derived cancer.205 Particularly, the cancer cells in

the signet ring subgroup of gastric carcinomas of diffuse type, express neuroendocrine markers

abundantly289,290, findings also found by others.301,488


                                          Page 136 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4        04/27/22      Page 138 of 236




looking at PPIs and gastric cancer and the database reviews indicating that there is an increase in

the incidence of NETS in the U.S. and the U.K. corresponding with the marketing of PPIs.




association between PPIs and gastric cancer, an opinion I hold to a reasonable degree of medical

certainty.

        I. Analogy




         In some circumstances it would be fair to judge by analogy. With the effects of
        thalidomide and rubella before us we would surely be ready to accept slighter but
        similar evidence with another




Just above I reported on how we followed a patient with pernicious anemia and showed how the

ECL NET transformed into a highly malignant ECL cell derived cancer.

Previously, I described the story of the Spanish family where 5 offspring developed tumours in

their stomachs, localized to the oxyntic mucosa. Four of the tumours were classified as gastric

NETs diagnosed while the patients were in their twenties and the fifth tumour classified as

adenocarcinoma, diagnosed in the            thirties. The affected children were anacidic due to a

missense of one of the genes of the proton pump (ATP4A) and had, therefore, been exposed to a

long-term hypergastrinemia.286 Later we could reclassify the tumour of the oldest child from an

adenocarcinoma to a neuroendocrine carcinoma.287This family shows, without a doubt, that long-




                                         Page 137 of 160
  Case 3:18-cv-01063-JWD-EWD                 Document 99-4          04/27/22   Page 139 of 236




term hypoacidity with secondary hypergastrinemia induces tumours of all degrees of

malignancy.

                                              Proton Pump Inhibitor Use, Hypergastrinemia, and

Gastric Carcinoids    What Is the Relationship? 95 noted that,

        Human        clinical   conditions    causing    hypergastrinemia      include   the
       hyperchlorhydric state caused by gastrinoma in Zollinger-Ellison syndrome
       (ZES), with or without MEN-1, and the hypochlorhydric states of chronic atrophic
       gastritis (CAG) due to autoimmune gastritis/pernicious anemia or Helicobacter
       pylori infection, vagotomy with gastric resection (some retained antrum), and
       prolonged proton pump inhibitor therapy

Furthermore, the carcinogenic effect caused by H. pylori-induced gastritis is, more likely than

not, also due to the increased gastrin concentration in blood. The reduction in gastric acid

secretion secondary to H. pylori oxyntic gastritis results in hypoacidity and hypergastrinemia.




met in this regard, strengthening further the causal association.




between PPI and gastric cancer established by the wealth of the epidemiological studies available

to us now, is a causal association.




                                          Page 138 of 160
  Case 3:18-cv-01063-JWD-EWD                Document 99-4         04/27/22      Page 140 of 236




XXII. General Liability Conclusion

Based upon what is written above, I will conclude, to a reasonable degree of medical and

scientific certainty, more probable than not, the following:

The more efficient inhibition of gastric acid secretion, the lower gastric acidity, and the higher

blood gastrin.

Gastrin stimulates the ECL cell to release its signal substances (histamine, Reg protein, bFGF)

with histamine being central in stimulation of acid secretion while Reg protein stimulates

proliferation of the oxyntic mucosa in general and bFGF stimulates fibrosis.

Concomitant with the stimulation of release from the ECL cell, gastrin stimulates ECL cell

proliferation leading to hyperplasia, low grade malignancy (NETs) and high-grade malignancy

(neuroendocrine carcinomas and adenocarcinomas).

There is no threshold for the trophic effect of gastrin and maximal effect is reached around 300-

400 pmol/L. When PPIs are dosed once in the morning, fasting morning concentration of gastrin

taken before intake of drug is at the lowest during the 24-hour period. The 24-hour gastrin value




The carcinogenic effect by H. pylori gastritis is, more likely than not, due to the increased gastrin

concentration in blood. The reduction in gastric acid secretion secondary to H. pylori-induced

oxyntic gastritis results in hypoacidity and hypergastrinemia and, depending on the place of

actual gastrin concentration on the concentration-response curve, PPIs in combination with H.

pylori infection may have an additive or exponential effect on blood gastrin.

Long-term hypergastrinemia induces ECL cell derived malignant tumours in all species

examined properly.

                                          Page 139 of 160
  Case 3:18-cv-01063-JWD-EWD             Document 99-4        04/27/22     Page 141 of 236




Human gastric carcinomas of the diffuse type are most likely derived from the ECL cell. This is

true especially of the signet ring subtype where the amorphous material does not consist of

mucin, but instead express neuroendocrine markers.

The gastric carcinomas of intestinal type, also induced by H. pylori gastritis, most probably

originates from the stem cell secondary to continuous overstimulation by for instance Reg

protein continuously over-released by an increased ECL cell mass due to hypergastrinemia.

Rebound gastric acid hypersecretion secondary to PPI treatment is easily shown if the researcher

has sufficient knowledge of the regulation of gastric acid secretion (known for 30 years).

Rebound gastric hypersecretion makes it difficult for some patients on long-term PPI use to stop

their usage.




                                       Page 140 of 160
  Case 3:18-cv-01063-JWD-EWD              Document 99-4         04/27/22     Page 142 of 236




XXIII. Evaluation of the Cause of Gastric Cancer of Stanley Baudin

As mentioned earlier in this report, I have reviewed the germane medical records pertaining to

the patient, Stanley Baudin including the germane gastroenterology, surgical and pathological

records, along with the depositions of the surgeon and pathologist.

This patient was previously healthy without known familiar diseases including gastric cancer.

Due to heartburn, he underwent upper gastrointestinal endoscopy (gastroscopy) May 2002. A

hiatal hernia of 3-4 cm was found with two strips of erythema in the distal esophagus. H. pylori

was negative as assessed by the CLO (campylobacter pylori organisms)-test having a sensitivity

of about 80%. Moreover, later examinations confirmed H. pylori negativity by histological

examination.

He was started with the proton pump inhibitor, Nexium, at the dose of 40 mg until he came to a

new gastroscopy due to reflux symptoms as well as a control, September 2017, after 15 years of

taking a relatively high dose of this most potent PPI. At this endoscopy, a mild esophagitis with

                                                                                              4-5

cm hiatal hernia was detected, and it was noticed that it was virtually no gastro-esophageal valve

function remaining.

In the stomach there were multiple small polyps as well as three 1-cm gastric polyps in

intrathoracic stomach (the hiatal hernia). The polyps were removed by snare, but unfortunately

they had to terminate the examination before retrieval of the polyps. Thus, only one biopsy from

one of the polyps was available for pathological examination. This showed carcinoma, and he

was sent to surgery where his distal esophagus, proximal stomach and greater omentum were

removed.



                                        Page 141 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4        04/27/22      Page 143 of 236




Two polyps were removed separately and histologic examination of them showed fundic gland

polyps without dysplasia and malignancy. In the stomach a focal residual intramucosal

adenocarcinoma was detected, most probably at the site of one previous removed polyps

localized to the hernia. The two among many similar polyps removed from the oxyntic mucosa

were fundic gland polyps. FISH Her2 was examined and found to be negative.

The histological material was also examined by Senior Consultant, PhD Patricia Mjønes, St.

Olavs Hospital, Trondheim, Norway. She agreed in the final diagnoses of fundic gland polyps

and intramucosal adenocarcinoma (high grade dysplasia). Of interest, in her description are the

findings of polyps consistent with hyperplastic polyps. Some of the slides showed gastric mucosa

without signs of chronic atrophic gastritis or H. pylori gastritis. Intestinal metaplasia was not

seen. Furthermore, lymphocytic infiltrates with intraepithelial lymphocytes were not seen. Of

importance is the finding of parietal cells in the area of the tumor which, accordingly, started in

the oxyntic mucosa. Moreover, she described that some of the cells in the intramucosal



                                                              The applicable pathology reports,

including that of Dr. Patricia Mjønes, who reviewed the pathology at my request, are attached to

this report as Exhibit A.

Gastrin in blood taken after the operation while taking Nexium 40 mg daily as before were 213

pg/mL (normal < 100 pg/ml).

XXIV. Specific Causation Conclusion

Stanley Baudin developed gastric carcinoma at the age of 53 years. He had no familial

disposition, he has not been infected with H. pylori, he has not had autoimmune atrophic


                                         Page 142 of 160
  Case 3:18-cv-01063-JWD-EWD               Document 99-4        04/27/22       Page 144 of 236




gastritis, and the histology of the tumor is not like what is seen with infection with Epstein Barr

virus. The tumor developed in the oxyntic mucosa (the presence of parietal cells in the tissue

surrounding the tumor indicates that it's not a cardiac cancer and, thus, not related to reflux

disease) where there was evidence of ECL cell hyperplasia secondary to hypergastrinemia (213

pg/mL) caused by intake of Nexium for 15 years. More likely than not, this carcinoma developed

from one of the three polyps detected in the hernia, quite parallel to the case we described some

years ago.489 Proton pump inhibitors may also induce hyperplastic polyps.168

Long-term use of proton pump inhibitors has increasingly been shown to induce and/or promote

the development of gastric cancer and, for the reasons set forth above, it is my opinion to a

                                                                                             -term

                                                                                               .

I have never testified in American litigation before.

I charge $600.00 U.S./hour for document review, deposition, and trial testimony.

Trondheim, Norway _         January 2022

______________________________
Helge Waldum, MD, PhD, Doctor d'Etat




                                         Page 143 of 160
    Case 3:18-cv-01063-JWD-EWD                    Document 99-4            04/27/22        Page 145 of 236




                                               REFERENCES



1
  Waldum HL, Straume BK, Burhol PG. Radioimmunoassay of group I pepsinogens (PGI) and the effect of food on
serum PGI. Scand J Gastroenterol. 1979;14(2):241-7.
2
   Burhol PG, Waldum HL. Radioimmunoassay of secretin in acidified plasma. Acta Hepatogastroenterol (Stuttg).
1978 Dec;25(6):474-81.
3
  Waldum HL, Burhol PG. Serum group I pepsinogens. Scand J Gastroenterol. 1981;16(4):449-51.
4
  Waldum HL, Burhol PG, Straume BK. Serum group I pepsinogens during prolonged infusion of pentagastrin and
secretin in man. Scand J Gastroenterol. 1979;14(6):761-8.
5
  Waldum H. Tumor Classification Should Be Based on Biology and Not Consensus: Re-Defining Tumors Based on
Biology May Accelerate Progress, An Experience of Gastric Cancer. Cancers (Basel). 2021 Jun 24;13(13):3159 at 2
of 12.
6
 Anatomy         of     the     Stomach.       National     Cancer      Institute   SEER       Training    Modules.
https://training.seer.cancer.gov/ugi/anatomy/stomach.html.
7
  Fujita T, Kobayashi S. Review: Structure and function of gut endocrine cells. Int Rev Cytol Suppl. 1977; (6):187-
233.
8
   Waldum HL. Clinical consequences of controversies in gastric physiology. Scand J Gastroenterol. 2020
Jun;55(6):752-758.
9
  Id.
10
   Solcia E, Rindi G, Buffa R, Fiocca R, Capella C. Gastric endocrine cells: types, function and growth. Regul Pept.
2000;93:31 35.
11
   Sundler F, Böttcher G, Ekblad E, Håkanson R. The neuroendocrine system of the gut. Acta Oncol. 1989;28:303
314.
12
   McGuigan JE. Gastric mucosal intracellular localization of gastrin by immunofluorescence. Gastroenterol. 1968;
55: 315-327
13
   Jianu CS, Fossmark R, Viset T, Qvigstad G, Sørdal O, Mårvik R, Waldum HL. Gastric carcinoids after long-term
use of a proton pump inhibitor. Aliment Pharmacol Ther. 2012 Oct;36(7):644-9. Epub 2012 Aug 5.
14
   Holzer P. Acid-sensing ion channels in gastrointestinal function. Neuropharmacology 2015; 94: 72-9.
15
    Egerod K, Engelstoft MS, Lund M, Grunddal K, Zhao M, Barir-Jensen D, Nygaard EB, Petersen N, Holst JJ,
Schwartz TW. Transcriptional and functional characterization of the G-protein-coupled receptoire of gastric
somatoistatin cells. Endocrinology 2015; 156: 3909-23
16
   Id
17
   Hersey SJ, Sachs G. Gastric acid secretion. Physiol Rev. 1995 Jan; 75(1):155-89.
18
   Lloyd KC, Wang J, Aurang K, et al. Activation of somatostatin receptor subtype 2 inhibits acid secretion in rats.
Am J Physiol 1995;268: G102 6.
19
    Martinze V, Curi AP, Torkian Bschaeffer JM, et al. High basal gastric acid secretion in somatostatin receptor
subtype 2 knockout mice. Gastroenterol 1998; 114:1125 32.
20
    Sandvik AK, Waldum HL. The effect of somatostatin on baseline and stimulated acid secretion and vascular
histamine release from the totally isolated vascularly perfused rat stomach. Regul Pept. 1988 Mar;20(3):233-9.
21
   Waldum HL, Haugen OA, Isaksen C, Mecsei R, Sandvik AK. Enterochromaffin-like tumour cells in the diffuse
but not the intestinal type of gastric carcinomas. Eur J Gastroenterol Hepatol 1991; 3: 245-249.
22
   Encyclopedia of Gastroenterology 2nd Edition. (Ernst Kuipers editor). Elsevier 2019.pp. 265-272.
23
   Thunberg, R. Localization of cells containing and forming histamine in the gastric mucosa of the rat. Exp. Cell.
Res. 47:108-115, 1967.
24
   Hakanson, R. and Owman, C.H. Argyrophilic reaction of histamine-containing epithelial cells in murine gastric
mucosa. Experientia 25:625-626, 1969.
25
   Hakanson, R., Bottcher, G., Ekblad, E., Panula, P., Simonsson, M., Dohlsten, M., Hallberg, T., and Sundler, F.
Histamine in endocrine cells of the stomach. A survey of several species using a panel of histamine antibodies.
Histochemistry 86:5-17, 1986.
26
   Cadiot G, Cattan D, Mignon M. Diagnosis and treatment of ECL cell tumors. Yale J Biol Med. 1998;71(3-4):311-
323.
27
    Havu, H. Enterochromaffin-like cell carcinoids of gastric mucosa in rats after life-long inhibition of gastric
secretion. Digestion 35 (suppl 1):42-55, 1986.

                                                Page 144 of 160
     Case 3:18-cv-01063-JWD-EWD                    Document 99-4             04/27/22        Page 146 of 236




28
   I am informed that Losec was the initial brand name of Prilosec and that after the launch of Losec there was
                                                                                                    ollowing the death
                                                                       See, Eder, K. 5 Notable Drug Name Changes.
Pharmacy Times. May 4, 2016. https://www.pharmacytimes.com/view/5-notable-drug-name-changes.
29
   Minutes - Merck/Haessle/FDA Meeting to Discuss Losec Resubmission. April 14, 1988. MRK-PPl-00087524 to
MRK-PPl-00087526 at MRK-PPI-00087525
30
   Wilamder E, El-Salhy M, Pitkänen P. Histopathology of gastric carcinoids: a survey of 42 cases. Histopathology
1984; 8: 183-93.
31
   Hakanson R, ed. Gastric endocrine cell typing at the light microscopic level. Amsterdam: Elsevier, 1991.
32
   Waldum, H.L.S., A. K; Brenna, E. Gastrin: Histamine-releasing activity. In Gastrin. JH Walsh (ed). New York,
Raven Press, 1993; pp. 259-271.
33
   Waldum, H.L., Sandvik, A.K., Brenna, E., Petersen, H. Gastrin-histamine sequence in the regulation of gastric
acid secretion. Gut 1991, 32, 698-701.
34
   Gustafsson BI, Bakke I, Hauso O, et al. Parietal cell activation by arborization of ECL cell cytoplasmic
projections is likely the mechanism for histamine induced secretion of hydrochloric acid. Scand J Gastroenterol
2011; 46: 531 7
35
   Choi E, Roland JT, Barlow BJ, O´Neal R, Rich AE, Nam KT, Shi C, Goldenring JR. Cell lineage distribution
atlas of the human stomach reveals heterogeneous gland populations in the gastric antrum. Gut 2014; 63: 1711
36
   Bakke I, Qvigstad G, Sandvik AK, Waldum HL. The CCK-2 receptor is located on the ECL cell, but not on the
parietal cell. Scand J Gastroenterol 2001; 36:1128 33.
37
   Waldum HL, Hauso Ø, Fossmark R. The regulation of gastric acid secretion - clinical perspectives. Acta Physiol
(Oxf). 2014 Feb;210(2):239-56
38
   Berstad, A. A modified hemoglobin substrate method for the estimation of pepsin in gastric juice. Scandinavian
journal of gastroenterology 1970, 5, 343-348.
39
   Zhu, H., Hart, C.A., Sales, D., Roberts, N.B. Bacterial killing in gastric juice--effect of pH and pepsin on
Escherichia coli and Helicobacter pylori. J Med Microbiol 2006, 55, 1265-1270
40
   Lind, T., Cederberg, C., Forssell, H., Olausson, M., Olbe, L. Relationship between reduction of gastric acid
secretion and plasma gastrin concentration during omeprazole treatment. Scandinavian journal of gastroenterology
1988, 23, 1259-1266
41
   Pavlov, Ivan P. The Work of the Digestive Glands, translated by W.H. Thompson. London: Griffin (1902).
42
   Edkins, J.S. The chemical mechanism of gastric secretion. The Journal of physiology 1906, 34, 133-144,
43
                  -Imidazolylyathyamin und die Organextracte Ester Teil. 1920, 178, 214-236.
44
    Hakanson, R., Owman, C. Concomitant histochemical demonstration of histamine and catecholamines in
enterochromaffin-like cells of gastric mucosa. Life sciences 1967, 6, 759-766,
45
   Bakke, I., Qvigstad, G., Sandvik, A.K., Waldum, H.L. The CCK-2 receptor is located on the ECL cell, but not on
the parietal cell. Scandinavian journal of gastroenterology 2001, 36, 1128-1133.
46
   Waldum, H.L., Sandvik, A.K., Brenna, E., Petersen, H. Gastrin-histamine sequence in the regulation of gastric
acid secretion. Gut 1991, 32, 698-701.
47
   Sandvik, A.K., Mårvik, R., Dimaline, R., Waldum, H.L. Carbachol stimulation of gastric acid secretion and its
effects on the parietal cell. British journal of pharmacology 1998, 124, 69-74
48
   Sandvik, A.K., Kleveland, P.M., Waldum, H.L. Muscarinic M2 stimulation releases histamine in the totally
isolated, vascularly perfused rat stomach. Scandinavian journal of gastroenterology 1988, 23, 1049-1056.
49
   Sachs, G., Chang, H.H., Rabon, E., Schackman, R., Lewin, M., Saccomani, G. A nonelectrogenic H+ pump in
plasma membranes of hog stomach. The Journal of biological chemistry 1976, 251, 7690-7698.
50
   Mishuk AU, Chen L, Gaillard P, Westrick S, Hansen RA, Qian J. National trends in prescription proton pump
inhibitor use and expenditure in the United States in 2002-2017. J Am Pharm Assoc (2003). 2020 Oct 22: S1544-
3191(20)30476-3.
51
    Hollingworth S, Duncan EL, Martin JH. Marked increase in proton pump inhibitors use in Australia.
Pharmacoepidemiol Drug Saf. 2010;19(10): 1019e1024.
52
   Chen TJ, Chou LF, Hwang SJ. Trends in prescribing proton pump inhibitors in Taiwan: 1997 - 2000. Int J Clin
Pharmacol Ther. 2003;41(5):207e212.
53
   Scarpignato C, Gatta L, Zullo A, Blandizzi C; SIF-AIGO-FIMMG Group; Italian Society of Pharmacology, the
Italian Association of Hospital Gastroenterologists, and the Italian Federation of General Practitioners. Effective and
safe proton pump inhibitor therapy in acid-related diseases - A position paper addressing benefits and potential
harms of acid suppression. BMC Med. 2016;14(1):179. Published 2016 Nov 9.

                                                 Page 145 of 160
     Case 3:18-cv-01063-JWD-EWD                     Document 99-4             04/27/22        Page 147 of 236




54
   Galmiche JP. Traitement de l'oesophagite de reflux par les inhibiteurs de pompe à protons: de l'efficacité à la
dépendance. Hépato-Gastro Oncol Digest. 1995; 2:215 9.
55
   Boath EH, Blenkinsopp A. The rise and rise of proton pump inhibitor drugs: patients' perspectives. Soc Sci Med.
1997 Nov;45(10):1571-9.
56
   Pottegård A, Broe A, Hallas J, de Muckadell OB, Lassen AT, Lødrup AB. Use of proton-pump inhibitors among
adults: a Danish nationwide drug utilization study. Therap Adv Gastroenterol. 2016 Sep;9(5):671-8.
57
   Kleveland PM, Waldum HL. The gastrin receptor assay. Scand J Gastroenterol Suppl. 1991;180:62-9.
58
   Kleveland PM, Waldum HL, Bjerve KS, Fjøsne HE. Bioassay of gastrin, using the totally isolated, vascularly
perfused rat stomach. A biomodel sensitive to gastrin in physiological concentrations. Scand J Gastroenterol 1986;
21: 945-50.
59
   Short GM, Doyle JW, Wolfe MM. Effect of Antibodies to Somatostatin on Acid Secretion and Gastrin Release by
the Isolated Perfused Rat Stomach, Gastroenterol, (1985) 88;4:984-988,
60
   Kleveland PM, Waldum HL, Larsson H. Gastric acid secretion in the totally isolated, vascularly perfused rat
stomach. A selective muscarinic-1 agent does, whereas gastrin does not, augment maximal histamine-stimulated
acid secretion. Scand J Gastroenterol. 1987 Aug;22(6):705-13.
61
   Waldum HL, Sandvik AK. Gastric functional and trophic receptors for CCK. In: Aspects of synaptic transmission:
acetylcholine, sigma receptors, CCK and eicosanoids, neurotoxins. T. Smith (ed) Taylor and Francis Ltd., London
1993: 157-172.
62
   Id
63
   Kopin AS, Lee YM, McBride EW, Miller IJ, Lu M, Lin HY, Kolakowski LE, Beinborn M. Expression cloning of
the canine parietal cell gastrin receptor. Proc Natl Acad Sci USA 1992; 89: 3605-3609.
64
   Sheng W, Malagola E, NienhüserH, Zhang Z, Kim W, Zamechek L, Sepulveda A, Hata M, Hayakawa Y, Zhao C-
M, Chen D, Wang C. Hypergastrinemia expands gastric ECL cells through CCK2R+ cells via ERK activation. Cell
Mol Gastroenterol Hepatol 2020; 10: 434-449
65
   Blaker M, de Weerth A, Tometten M, Schulz M, Höppner W, Arit D, Hoang-Vu C, Dralle H, Terpe H, Jonas L,
von Schrenck T. Expression of the cholecystokinin 2-receptor innormal human thyroid gland and medullary thyroid
carcinoma. Eur J Endocrinol 2002, 146: 89-96
66
   Vantini I, Cominacini L, Piubello W, Ghidini O, Fettovich G, Ederle A, Benini L, Coc-chetto R, Cavallini G,
LoCascio V, Sucuro LA. Effect of exogenous gastrointestinal peptides containing the C-terminal tetrapeptide of
gastrin on calcium, calcitonin and parathormone serum levels in man. Hepatogastroenterology 1981
67
   Waldum, H.L., Sordal, O.F., Mjones, P.G. The Enterochromaffin-like [ECL] Cell-Central in Gastric Physiology
and Pathology. International journal of molecular sciences 2019, 20
68
   Alumets, J., El Munshid, H.A., Håkanson, R., Hedenbro, J., Liedberg, G., Oscarson, J., Rehfeld, J.F., Sundler, F.,
Vallgren, S. Gastrin cell proliferation after chronic stimulation: effect of vagal denervation or gastric surgery in the
rat. The Journal of physiology 1980, 298, 557-569
69
   Tielemans, Y., Axelson, J., Sundler, F., Willems, G., Hakanson, R. Serum gastrin concentration affects the self-
replication rate of the enterochromaffin like cells in the rat stomach. Gut 1990, 31, 274-278
70
   Arnold, R., Koop, H., Schwarting, H., Tuch, K., Willemer, B. Effect of acid inhibition on gastric endocrine cells.
Scand J Gastroenterol. Supplement 1986, 125, 14-19
71
    Tartaglia, A., Vezzadini, C., Bianchini, S., Vezzadini, P. Gastrinoma of the stomach: a case report. Int J
Gastrointest Cancer 2005, 35, 211-216
72
   Merchant, S.H., VanderJagt, T., Lathrop, S., Amin, M.B. Sporadic duodenal bulb gastrin-cell tumors: association
with Helicobacter pylori gastritis and long-term use of proton pump inhibitors. The American journal of surgical
pathology 2006, 30, 1581-1587
73
   Håkanson, R., Tielemans, Y., Chen, D., Andersson, K., Mattsson, H., Sundler, F. Time-dependent changes in
enterochromaffin-like cell kinetics in stomach of hypergastrinemic rats. Gastroenterology 1993, 105, 15-21
74
   Id
75
   Poynter, D., Pick, C.R., Harcourt, R.A., Selway, S.A., Ainge, G., Harman, I.W., Spurling, N.W., Fluck, P.A.,
Cook, J.L. Association of long-lasting unsurmountable histamine H2 blockade and gastric carcinoid tumours in the
rat. Gut 1985, 26, 1284-1295.
76
   Lamberts, R., Creutzfeldt, W., Stockmann, F., Jacubaschke, U., Maas, S., Brunner, G. Long-term omeprazole
treatment in man: effects on gastric endocrine cell populations. Digestion 1988
77
   Solcia, E., Rindi, G., Silini, E., Villani, L. Enterochromaffin-like (ECL) cells and their growths: relationships to
gastrin, reduced acid secretion and gastritis. Baillieres Clin Gastroenterol 1993, 7, 149-165


                                                 Page 146 of 160
     Case 3:18-cv-01063-JWD-EWD                     Document 99-4              04/27/22        Page 148 of 236




78
   Procter Gamble Company/Astra Zeneca LP. Omeprazole magnesium tablets. NDA (New Drug Application) 2000;
21:229
79
    Haga, Y., Nakatsura, T., Shibata, Y., Sameshima, H., Nakamura, Y., Tanimura, M., Ogawa, M. Human gastric
carcinoid detected during long-term antiulcer therapy of H2 receptor antagonist and proton pump inhibitor.
Digestive diseases and sciences 1998, 43, 253-257
80
    Nandy, N., Hanson, J.A., Strickland, R.G., McCarthy, D.M. Solitary Gastric Carcinoid Tumor Associated with
Long-Term Use of Omeprazole: A Case Report and Review of the Literature. Digestive diseases and sciences 2016,
61, 708-712
81
    Cavalcoli, F., Zilli, A., Conte, D., Ciafardini, C., Massironi, S. Gastric neuroendocrine neoplasms and proton
pump inhibitors: fact or coincidence? Scandinavian journal of gastroenterology 2015, 50, 1397-1403
82
    Rais R, Trikalinos NA, Liu J, Chatterjee D. Enterochromaffin-like Cell Hyperplasia-Associated Gastric
Neuroendocrine Tumors May Arise in the Setting of Proton Pump Inhibitor Use: The Need for a New
Clinicopathologic Category. Arch Pathol Lab Med. 2021 Jul 20.
83
    Trinh, V.Q., Shi, C., Ma, C. Gastric neuroendocrine tumours from long-term proton pump inhibitor users are
indolent tumours with good prognosis. Histopathology 2020, 77, 865-876,
84
    Hodgson, N., Koniaris, L.G., Livingstone, A.S., Franceschi, D. Gastric carcinoids: a temporal increase with
proton pump introduction. Surg Endosc 2005, 19, 1610-1612
85
    Dasari, A., Shen, C., Halperin, D., Zhao, B., Zhou, S., Xu, Y., Shih, T., Yao, J.C. Trends in the Incidence,
Prevalence, and Survival Outcomes in Patients With Neuroendocrine Tumors in the United States. JAMA Oncol
2017, 3, 1335-1342
86
    Ellis L, Shale MJ, Coleman MP. Carcinoid tumors of the gastrointestinal tract: trends in incidence in England
since 1971. Am J Gastroenterol. 2010 Dec;105(12):2563-9.
87
    Lahner, E., Pilozzi, E., Esposito, G., Galli, G., Annibale, B. Gastric carcinoid in the absence of atrophic body
gastritis and with low Ki67 index: a clinical challenge. Scandinavian journal of gastroenterology 2014, 49, 506-510
88
    Sjoblom, S.M., Sipponen, P., Karonen, S.L., Jarvinen, H.J. Mucosal argyrophil endocrine cells in pernicious
anaemia and upper gastrointestinal carcinoid tumours. Journal of clinical pathology 1989, 42, 371-377.
89
    Parsonnet, J., Friedman, G.D., Vandersteen, D.P., Chang, Y., Vogelman, J.H., Orentreich, N., Sibley, R.K.
Helicobacter pylori infection and the risk of gastric carcinoma. NEJM 1991, 325, 1127-1131
90
   Uemura, N., Okamoto, S., Yamamoto, S., Matsumura, N., Yamaguchi, S., Yamakido, M., Taniyama, K., Sasaki,
N., Schlemper, R.J. Helicobacter pylori infection and the development of gastric cancer. NEJM 2001, 345, 784-789.
91
   Solcia, E., Capella, C., Fiocca, R., Rindi, G., Rosai, J. Gastric argyrophil carcinoidosis in patients with Zollinger-
Ellison syndrome due to type 1 multiple endocrine neoplasia. A newly recognized association. Am J Surg Patholo.
1990, 14, 503-513.
92
    Cadiot G, Vissuzaine C, Potet F, Mignon M. Fundic argyrophil carcinoid tumor in a patient with sporadic-type
Zollinger-Ellison syndrome. Dig Dis Sci. 1995 Jun;40(6):1275-8.
93
    Feurle, G.E. Argyrophil cell hyperplasia and a carcinoid tumour in the stomach of a patient with sporadic
Zollinger-Ellison syndrome. Gut 1994, 35, 275-277
94
   Bordi, C., Senatore, S., Missale, G. Gastric carcinoid following gastrojejunostomy. Am J Dig Dis 1976, 21, 667-
671
95
   McCarthy DM. Proton Pump Inhibitor Use, Hypergastrinemia, and Gastric Carcinoids-What Is the Relationship?
Int J Mol Sci. 2020 Jan 19;21(2):662.
96
   Waldum H, Mjønes P. Time to classify tumours according to cell of origin. Int J Mol Sci 2021, 22: 13386.
97
   Feldman, M. Inhibition of gastric acid secretion by selective and nonselective anticholinergics. Gastroenterology
1984, 86, 361-366.
98
   Black, J.W., Duncan, W.A., Durant, C.J., Ganellin, C.R., Parsons, E.M. Definition and antagonism of histamine H
2 -receptors. Nature 1972, 236, 385-390,
99
    Sachs, G., Wallmark, B. Biological basis of omeprazole therapy. Journal of gastroenterology and hepatology
1989, 4 Suppl 2, 7-18.
100
     Lind, T., Cederberg, C., Ekenved, G., Haglund, U., Olbe, L. Effect of omeprazole--a gastric proton pump
inhibitor--on pentagastrin stimulated acid secretion in man. Gut 1983, 24, 270-276, doi:10.1136/gut.24.4.270.
101
     Sharma, B.K., Walt, R.P., Pounder, R.E., Gomes, M.D., Wood, E.C., Logan, L.H. Optimal dose of oral
omeprazole for maximal 24 hour decrease of intragastric acidity. Gut 1984, 25, 957-964, doi:10.1136/gut.25.9.957.
102
     Wilder-Smith, C.H.S., C; Krech,T; Merki, H. S. Bactericidal factors in gastric juice. European journal of
gastroenterology & hepatology 1992, 4, 885-891.


                                                  Page 147 of 160
      Case 3:18-cv-01063-JWD-EWD                   Document 99-4             04/27/22        Page 149 of 236




103
    Martinsen, T.C., Taylor, D.M., Johnsen, R., Waldum, H.L. Gastric acidity protects mice against prion infection?
Scandinavian journal of gastroenterology 2002, 37, 497-500.
104
    Martinsen, T.C., Benestad, S.L., Moldal, T., Waldum, H.L. Inhibitors of gastric acid secretion increase the risk of
prion infection in mice. Scandinavian journal of gastroenterology 2011, 46, 1418-1422.
105
    Imhann, F., Bonder, M.J., Vich Vila, A., Fu, J., Mujagic, Z., Vork, L., Tigchelaar, E.F., Jankipersadsing, S.A.,
Cenit, M.C., Harmsen, H.J., et al. Proton pump inhibitors affect the gut microbiome. Gut 2016, 65, 740-748.
106
     Feng, J., Petersen, C.D., Coy, D.H., Jiang, J.K., Thomas, C.J., Pollak, M.R., Wank, S.A. Calcium-sensing
receptor is a physiologic multimodal chemosensor regulating gastric G-cell growth and gastrin secretion.
Proceedings of the National Academy of Sciences of the United States of America 2010, 107, 17791-17796
107
    Goo, T., Akiba, Y., Kaunitz, J.D. Mechanisms of intragastric pH sensing. Curr Gastroenterol Rep 2010, 12, 465-
470
108
    Walsh JH, Richardson CT, Fordtran JS. pH dependence of acid secretion and gastrin release in normal and ulcer
subjects. J Clin Invest. 1975 Mar;55(3):462-8.
109
    Zollinger, R. M., & Ellison, E. H. (1955). Primary peptic ulcerations of the jejunum associated with islet cell
tumors of the pancreas. Annals of surgery, 142(4), 709 728.
110
    Wilander E. Achylia, pernicious anaemia, ECL cells and gastric carcinoids. Virchows Arch [Pathol Anat] 1980;
387: 371-3.
111
    Håkanson R, Sundler F. Proposed mechanism of induction of gastric carcinoids: the gastrin hypothesis. Eur J
Clin Invest. 1990 Oct;20 Suppl 1: S65-71.
112
     Larsson H, Carlsson E, Mattsson H, Lundell L, Sundler F, Sundell G, et al. Plasma gastrin and gastric
enterochromaffinlike cell activation and proliferation. Gastroenterol. 1986; 90: 391-9.
113
    MRK-PPl-00079996 to MRK-PPl-00080050
114
    MRK-PPl-00080002
115
    Id
116
    MRK-PPl-00080003
117
118
    Rindi G, Luinetti O, Cornaggia M, Capella C, Solcia E. Three subtypes of gastric argyrophil carcinoid and the
gastric neuroendocrine carcinoma:a clinicopathologic study. Gastroenterology 1993; 104: 994-1006.
119
    Spencer AJ, Barbolt TA, Henry DC, Eason CT, Sauerschell RJ, Bonner FW. Gastric morphological changes
including carcinoid tumors in animals treated with a ptent hypolipemic, ciprofibrate. Toxicol Pathol 1989;17
120
    Martinsen TC, Nesjan N, Rønning K, Sandvik AK, Waldum HL. The peroxisome-proliferator ciprofibrate
induces hypergastrinemia without raising gastric pH. Carcinogenesis1996; 17: 2153-2155.
121
    Cui G, Waldum HL. Physiological and clinical significance of enterochromaffin-like cell activation in the
regulation of gastric acid secretion. World J Gastroenterol. 2007;13(4):493-496.
122
    Håkanson R, Chen D, Tielemans Y, Andersson K, Ryberg B, Sundler F, Mattsson H. ECL cells: biology and
pathobiology. Digestion 1994; 55 Suppl 3: 38-45.
123
    Waldum HL, Brenna E, Sandvik AK. Relationship of ECL cells and gastric neoplasia. Yale J Biol Med 1998; 71:
325-335.
124
    Cui G, Qvigstad G, Falkmer S, Sandvik AK, Kawase S, Waldum HL. Spontaneous ECLomas in cotton rats
(Sigmodon hispidus): tumours occurring in hypoacidic/hypergastrinaemic animals with normal parietal cells.
Carcinogenesis 2000; 21: 23-27.
125
    Waldum HL, Mjønes P. Towards understanding of gastric cancer based upon physiological role of gastrin and
ECL cells. Cancers (Basel). 2020 Nov 22;12(11):3477)
126
    Murphy, G., Dawsey, S.M., Engels, E.A., Ricker, W., Parsons, R., Etemadi, A., Lin, S.W., Abnet, C.C.,
Freedman, N.D. Cancer Risk After Pernicious Anemia in the US Elderly Population. Clin Gastroenterol Hepatol
2015, 13, 2282-2289.e2281-2284
127
    Lahner, E., Esposito, G., Pilozzi, E., Purchiaroni, F., Corleto, V.D., Di Giulio, E., Annibale, B. Occurrence of
gastric cancer and carcinoids in atrophic gastritis during prospective long-term follow up. Scand J Gastroenterol.
2015, 50, 856-865
128
    Qvigstad G, Qvigstad T, Westre B, Sandvik AK, Brenna E, Waldum HL. Neuroendocrine differentiation in
gastric adenocarcinomas associated with severe hypergastrinemia and/or pernicious anemia. APMIS. 2002
Feb;110(2):132-9.
129
    Zamcheck, N., Grable, E., Ley, A., Norman, L. Occurrence of gastric cancer among patients with pernicious
anemia at the Boston City Hospital. NEJM. 1955, 252, 1103-1110


                                                 Page 148 of 160
      Case 3:18-cv-01063-JWD-EWD                  Document 99-4            04/27/22        Page 150 of 236




130
    Calvete, O., Reyes, J., Zuniga, S., Paumard-Hernandez, B., Fernandez, V., Bujanda, L., Rodriguez-Pinilla, M.S.,
Palacios, J., Heine-Suner, D., Banka, S., et al. Exome sequencing identifies ATP4A gene as responsible of an
atypical familial type I gastric neuroendocrine tumour. Human molecular genetics 2015, 24, 2914-2922.
131
    Fossmark, R., Calvete, O., Mjones, P., Benitez, J., Waldum, H.L. ECL-cell carcinoids and carcinoma in patients
homozygous for an inactivating mutation in the gastric H(+) K(+) ATPase alpha subunit. APMIS. 2016, 124, 561-
566
132
    Murphy, G., Abnet, C.C., Choo-Wosoba, H., Vogtmann, E., Weinstein, S.J., Taylor, P.R., Mannisto, S., Albanes,
D., Dawsey, S.M., Rehfeld, J.F., et al. Serum gastrin and cholecystokinin are associated with subsequent
development of gastric cancer in a prospective cohort of Finnish smokers. Inter J Epidemiol. 2017, 46, 914-923
133
     Ness-Jensen, E., Bringeland, E.A., Mattsson, F., Mjønes, P., Lagergren, J., Grønbech, J.E., Waldum, H.L.,
Fossmark, R. Hypergastrinemia is associated with an increased risk of gastric adenocarcinoma with proximal
location: A prospective population-based nested case-control study. Int J Cancer 2021, 148, 1879-1886.
134
    Waldum HL, Sagatun L, Mjønes P. Gastrin and Gastric Cancer. Front Endocrinol (Lausanne). 2017 Jan 17; 8:1.
135
    Waldum, H.L.P., H., Brenna, E. Gastrin and Gastric cancer. Euro J Gastroenter Hepatolo 1992, 4, 801-811.
136
     Freston, J.W. Clinical significance of hypergastrinaemia: relevance to gastrin monitoring during omeprazole
therapy. Digestion 1992, 51 Suppl 1, 102-114.
137
     Tatsuguchi, A., Hoshino, S., Kawami, N., Gudis, K., Nomura, T., Shimizu, A., Iwakiri, K. Influence of
hypergastrinemia secondary to long-term proton pump inhibitor treatment on ECL cell tumorigenesis in human
gastric mucosa. Pathol Res Pract 2020, 216, 153113.
138
    Sandvik, A.K., Waldum, H.L. CCK-B (gastrin) receptor regulates gastric histamine release and acid secretion.
Am J Physiol. 1991, 260, G925-928
139
     Brenna, E., Waldum, H.L. Trophic effect of gastrin on the enterochromaffin like cells of the rat stomach:
establishment of a dose response relationship. Gut 1992, 33, 1303-1306.
140
    Rehfeld JF. Gastrin and the Moderate Hypergastrinemias. Int J Mol Sci. 2021 Jun 29;22(13):6977.
141
    Id
142
     Creutzfeldt, W., Lamberts, R. Inter-relationship between serum gastrin levels, gastric mucosal histology and
gastric endocrine cell growth. Digestion. 1992, 51 Suppl 1, 76-81
143
    Peghini PL, Annibale B, Azzoni C, Milione M, D Corletto V, Gibril F, Venzon DJ, Delle Fave G, Bordi C,
Jensen RT. Effect of chronic hypergastrinemia on human enterochromaffin-like cells: insight from patients with
sporadic gastrinomas. Gastroenterology 2002; 123: 68-85
144
    Poulsen, A.H., Christensen, S., McLaughlin, J.K., Thomsen, R.W., Sørensen, H.T., Olsen, J.H., Friis, S. Proton
pump inhibitors and risk of gastric cancer: a population-based cohort study. British journal of cancer 2009, 100,
1503-1507
145

adenocarcinoma: a nested case control study in the UK. Gut 2006; 55:1538 1544.
146
    Tamim H, Duranceau A, Chen LQ, Lelorier J. Association between use of acid-suppressive drugs and risk of
gastric cancer. A nested case-control study. Drug Saf. 2008;31(8):675-84.
147
     Ahn JS, Eom CS, Jeon CY, Park SM. Acid suppressive drugs and gastric cancer: A meta-analysis of
observational studies. World J Gastroenterol 2013; 19(16): 2560-2568
148
    Cheung, K.S., Chan, E.W., Wong, A.Y.S., Chen, L., Wong, I.C.K., Leung, W.K. Long-term proton pump
inhibitors and risk of gastric cancer development after treatment for Helicobacter pylori: a population-based study.
Gut 2018, 67, 28-35.
149
    Niikura, R., Hayakawa, Y., Hirata, Y., Yamada, A., Fujishiro, M., Koike, K. Long-term proton pump inhibitor
use is a risk factor of gastric cancer after treatment for Helicobacter pylori: a retrospective cohort analysis. Gut
2018, 67, 1908-1910.
150
    Seo SI, Park CH, You SC, Kim JY, Lee KJ, Kim J, Kim Y, Yoo JJ, Seo WW, Lee HS, Shin WG. Association
between proton pump inhibitor use and gastric cancer: a population-based cohort study using two different types of
nationwide databases in Korea. Gut. 2021 Nov;70(11):2066-2075.
151
    Salvo, E.M., Ferko, N.C., Cash, S.B., Gonzalez, A., Kahrilas, P.J. Umbrella review of 42 systematic reviews with
meta-analyses: the safety of proton pump inhibitors. Alimentary pharmacology & therapeutics 2021, 54, 129-143.
152
    Brusselaers, N., Wahlin, K., Engstrand, L., Lagergren, J. Maintenance therapy with proton pump inhibitors and
risk of gastric cancer: a nationwide population-based cohort study in Sweden. BMJ open 2017, 7, e017739.
153
    Peng, Y.C., Huang, L.R., Lin, C.L., Hsu, W.Y., Chang, C.S., Yeh, H.Z., Kao, C.H. Association between proton
pump inhibitors use and risk of gastric cancer in patients with GERD. Gut 2019, 68, 374-376.


                                                Page 149 of 160
      Case 3:18-cv-01063-JWD-EWD                    Document 99-4             04/27/22        Page 151 of 236




154
     Lai, S.W., Lai, H.C., Lin, C.L., Liao, K.F. Proton pump inhibitors and risk of gastric cancer in a case-control
study. Gut 2019, 68, 765-767.
155
     Ng AK, Ng PY, Ip A, Cheung KS, Siu CW. Association between proton pump inhibitors after percutaneous
coronary intervention and risk of gastric cancer. BMJ Open Gastroenterol. 2021 Aug;8(1):e000719.
156
    Jiang K, Jiang X, Wen Y, Liao L, Liu FB. Relationship between long-term use of proton pump inhibitors and risk
of gastric cancer: A systematic analysis. J Gastroenterol Hepatol. 2019 Nov;34(11):1898-1905.
157
     Zeng R, Cheng Y, Luo D, Wang J, Yang J, Jiang L, Zhuo Z, Guo K, Wu H, Leung FW, Sha W, Chen H.
Comprehensive analysis of proton pump inhibitors and risk of digestive tract cancers. Eur J Cancer. 2021 Oct;156:
190-201.
158
    Abrahami D, McDonald EG, Schnitzer ME, Barkun AN, Suissa S, Azoulay L. Proton pump inhibitors and risk of
gastric cancer: population-based cohort study. Gut. 2021 Jul 5: gutjnl-2021-325097.
159
     Suissa S, Suissa A. Proton-pump inhibitors and increased gastric cancer risk: time-related biases. Gut. 2018
Dec;67(12):2228-2229.
160
     Brusselaers N, Lagergren J, Engstrand L. Duration of use of proton pump inhibitors and the risk of gastric and
oesophageal cancer. Can Epidemiol 62 (2019) 101585.
161
    Luo, W., Fedda, F., Lynch, P., Tan, D. CDH1 Gene and Hereditary Diffuse Gastric Cancer Syndrome: Molecular
and Histological Alterations and Implications for Diagnosis And Treatment. Front Pharmacol 2018, 9, 1421,
162
     Waldum, H.L., Ringnes, E., Nordbo, H., Sordal, O., Nordrum, I.S., Hauso, O. The normal neuroendocrine cells
of the upper gastrointestinal tract lack E-cadherin. Scandinavian journal of gastroenterology 2014, 49, 974-978.
163
    Chen, J.N., He, D., Tang, F., Shao, C.K. Epstein-Barr virus-associated gastric carcinoma: a newly defined entity.
J Clin Gastroenterol. 2012, 46, 262-271
164
    Luqmani, Y.A., Linjawi, S.O., Shousha, S. Detection of Epstein-Barr virus in gastrectomy specimens. Oncol Rep
2001, 8, 995-999.
165
     Fossmark R, Rao S, Mjønes P, Munkvold B, Flatberg A, Varro A, Thommesen L, Nørsett KG. PAI-1 deficiency
increases the trophic effects of hypergastrinemia in the gastric corpus mucosa. Peptides 2016; 79:83-94.
165a
      Huang Q, Read M, Gold JS, Zou XP. Unraveling the identity of gastric cardiac cancer. J Dig Dis. 2020
Dec;21(12):674-686. doi: 10.1111/1751-2980.12945. Epub 2020 Oct 28.
165b
      Pierre Allemann and Pierre Fournier. Journal of Laparoendoscopic & Advanced Surgical Techniques. Aug 2020.
869-874.
165c
      Katzka DA, Kahrilas PJ. Advances in the diagnosis and management of gastroesophageal reflux disease. BMJ.
2020 Nov 23;371:m3786. doi: 10.1136/bmj.m3786.
165d
      Zeng SX, Liang YP, Wu XY, Tan SW, Liang Q, Wen ZF, Tao J. Gastroesophageal reflux is associated with an
increased risk of gastric cardiac polyps: a case-control study of 140 cases. Ann Palliat Med. 2021 Jul;10(7):7173-
7183. doi: 10.21037/apm-21-260. Epub 2021 Jun 21. PMID: 34154359.
166
     Vos, S., van der Post, R.S., Brosens, L.A.A. Gastric Epithelial Polyps: When to Ponder, When to Panic. Surg.
Pathol. Clin. 2020, 13, 431 452.
167
     Carmack, S.W., Genta, R.M., Schuler, C.M., Saboorian, M.H. The current spectrum of gastric polyps: A 1-year
national study of over 120,000 patients. Am. J. Gastroenterol. 2009, 104, 1524 1532.
168
    Waldum H, Fossmark R. Gastritis, Gastric Polyps and Gastric Cancer. Int J Mol Sci. 2021 Jun 18;22(12):6548.
169
     Borch, K., Skarsgård, J., Franzén, L., Mårdh, S., Rehfeld, J.F. Benign gastric polyps: morphological and
functional origin. Dig Dis Sciences. 2003, 48, 1292-1297,
170
     Suzuki, S., Ohkusa, T., Shimoi, K., Horiuchi, T., Fujiki, K., Takashimizu, I. Disappearance of multiple
hyperplastic polyps after the eradication of Helicobacter pylori. Gastrointest Endosc 1997, 46, 566-568.
171
     Ohkusa, T., Miwa, H., Hojo, M., Kumagai, J., Tanizawa, T., Asaoka, D., Terai, T., Ohkura, R., Sato, N.
Endoscopic, histological and serologic findings of gastric hyperplastic polyps after eradication of Helicobacter
pylori: comparison between responder and non-responder cases. Digestion 2003, 68, 57-62
172
     Chetty, R., Gill, P., Mugon, P., Shrimankar, J., Hughes, C. Gastric neuroendocrine cell hyperplasia and type 1
tumours occurring within gastric hyperplastic polyps. Virchows Arch 2012, 461, 483-487
173
     Bordi, C., Bertelè, A., Davighi, M.C., Pilato, F., Carfagna, G., Missale, G. Clinical and pathological associations
of argyrophil cell hyperplasias of the gastric mucosa. Appl Pathol 1984, 2, 282-291.
174
     Daibo, M., Itabashi, M., Hirota, T. Malignant transformation of gastric hyperplastic polyps. Am J Gastroenterol.
1987, 82, 1016-1025.
175
     Zea-Iriarte, W.L., Itsuno, M., Makiyama, K., Hara, K., Haraguchi, M., Ajioka, Y. Signet ring cell carcinoma in
hyperplastic polyp. Scand J Gastroenterol. 1995, 30, 604-608


                                                 Page 150 of 160
      Case 3:18-cv-01063-JWD-EWD                   Document 99-4             04/27/22        Page 152 of 236




176
    Carneiro, F., David, L., Seruca, R., Castedo, S., Nesland, J.M., Sobrinho-Simões, M. Hyperplastic polyposis and
diffuse carcinoma of the stomach. A study of a family. Cancer 1993, 72, 323-329.
177
    Carneiro, F., David, L., Seruca, R., Castedo, S., Nesland, J.M., Sobrinho-Simões, M. Hyperplastic polyposis and
diffuse carcinoma of the stomach. A study of a family. Cancer 1993, 72, 323-329.
178
    Yamanaka, K., Miyatani, H., Yoshida, Y., Ishii, T., Asabe, S., Takada, O., Nokubi, M., Mashima, H. Malignant
transformation of a gastric hyperplastic polyp in a context of Helicobacter pylori-negative autoimmune gastritis: a
case report. BMC Gastroenterol. 2016, 16, 130,
179
     Rawla P, Barsouk A. Epidemiology of gastric cancer: global trends, risk factors and prevention. Prz
Gastroenterol. 2019;14(1):26-38.
180
    Bray F, Ferlay J, Soerjomataram I, Siegel RL, Torre LA, Jemal A. Global cancer statistics 2018: GLOBOCAN
estimates of incidence and mortality worldwide for 36 cancers in 185 countries. CA Cancer J Clin. 2018
Nov;68(6):394-424.
181
    Abdi E, Latifi-Navid S, Zahn S, Yazdanbod A, Pourfarzi F. Risk factors predisposing to cardia gastric
adenocarcinoma: Insight and new perspectives. Cancer Med 2019; 8: 6114-6126.
182
     Imamura Y, Watanabe M, Oki E, Morita M, Baba H. Esophagogastric junction adenocarcinoma shares
characteristics with gastric adenocarcinoma: Litterature review and retrospective multicenter cohort study. Ann
Gastroenterol Surg 2020; 5: 46-59.
183
    Egi Y, Ito M, Tanaka S. Imagawa S, Takata S, Yoshihara M, Haruma K, Chayama K. Role of Helicobacter pylori
infection and chronic inflammation in gastric cancer in the cardia. Jpn J Clin Oncol 2007; 37: 365-9.
184
    Maeda H, Okabayashi T, Nishimori I, SugimotoT, Namikawa T, Dabanaka K, Tsujii S, Onishi S, Kobayashi M,
Hanazaki K. Clinicopathologic features of adenoicarcinoma at the gastric cardia: is it different from distal cancer the
stomach? J Am Coll Surg 2008; 206: 306-10.
185
    Comfort, M.W. Gastric acidity before and after development of gastric cancer: its etiologic, diagnostic and
prognostic significance. Annals of internal medicine 1951, 34, 1331-1348
186
    Grossman, M.I., Kirsner, J.B., Gillespie, I.E. Basal and histalog-stimulated gastric secretion in control subjects
and in patients with peptic ulcer or gastric cancer. Gastroenterology 1963, 45, 14-26.
187
    Morson, B.C. Intestinal metaplasia of the gastric mucosa. British J Cancer 1955, 9, 365-376.
188
    Siurala, M., Seppala, K. Atrophic gastritis as a possible precursor of gastric carcinoma and pernicious anemia.
Results of follow-up examinations. Acta medica Scandinavica 1960, 166, 455-474.
189
    Marshall, B.J., Warren, J.R. Unidentified curved bacilli in the stomach of patients with gastritis and peptic
ulceration. Lancet (London, England) 1984, 1, 1311-1315.
190
    Yuan, L., Zhao, J.B., Zhou, Y.L., Qi, Y.B., Guo, Q.Y., Zhang, H.H., Khan, M.N., Lan, L., Jia, C.H., Zhang, Y.R.,
et al. Type I and type II Helicobacter pylori infection status and their impact on gastrin and pepsinogen level in a
gastric cancer prevalent area. World J Gastroenterol, 2020, 26, 3673-3685
191
     Waldum, H.L., Sandvik, A., Brenna, E. Gastrin, the enterochromaffin-like cell, and gastric tumors.
Gastroenterology 1993, 105, 1264-1266
192
    Waldum, H.L., Hauso, O., Sordal, O.F., Fossmark, R. Gastrin May Mediate the Carcinogenic Effect of
Helicobacter pylori Infection of the Stomach. Dig Dis Sciences, 2015, 60, 1522-1527
193
    Take, S., Mizuno, M., Ishiki, K., Kusumoto, C., Imada, T., Hamada, F., Yoshida, T., Yokota, K., Mitsuhashi, T.,
Okada, H. Risk of gastric cancer in the second decade of follow-up after Helicobacter pylori eradication. J
Gastroenterol 2020, 55, 281-288
194
    Poynter, D., Selway, S.A., Papworth, S.A., Riches, S.R. Changes in the gastric mucosa of the mouse associated
with long lasting unsurmountable histamine H2 blockade. Gut 1986, 27, 1338-1346.
195
    Nilsson, O., Wängberg, B., Johansson, L., Modlin, I.M., Ahlman, H. Praomys (Mastomys) natalensis: a model
for gastric carcinoid formation. Yale J Bio Med 1992, 65, 741-751; Discussion 827-749.
196
    Cao, L., Mizoshita, T., Tsukamoto, T., Takenaka, Y., Toyoda, T., Cao, X., Ban, H., Nozaki, K., Tatematsu, M.
Development of carcinoid tumors of the glandular stomach and effects of eradication in Helicobacter pylori-infected
Mongolian gerbils. Asian Pac J Cancer Prev 2008, 9, 25-30.
197
    Waldum, H.L., Rørvik, H., Falkmer, S., Kawase, S. Neuroendocrine (ECL cell) differentiation of spontaneous
gastric carcinomas of cotton rats (Sigmodon hispidus). Lab Anim Sci 1999, 49, 241-247
198
    Martinsen, T.C., Kawase, S., Hakanson, R., Torp, S.H., Fossmark, R., Qvigstad, G., Sandvik, A.K., Waldum,
H.L. Spontaneous ECL cell carcinomas in cotton rats: natural course and prevention by a gastrin receptor antagonist.
Carcinogenesis 2003, 24, 1887-1896



                                                 Page 151 of 160
      Case 3:18-cv-01063-JWD-EWD                   Document 99-4             04/27/22        Page 153 of 236




199
    Wang, T.C., Dangler, C.A., Chen, D., Goldenring, J.R., Koh, T., Raychowdhury, R., Coffey, R.J., Ito, S., Varro,
A., Dockray, G.J., et al. Synergistic interaction between hypergastrinemia and Helicobacter infection in a mouse
model of gastric cancer. Gastroenterology 2000, 118, 36-47.
200
    Id
201
     Bordi C, Gabrielli M, Missale G. Pathologic changes of endocrine cells in chronic atrophic gastritis. An
ultrastructural study on peroral gastric biopsy specimens. Arch Pathol Lab Med. 1978 Mar;102(3):129-35.
202
    Hodges JR, Isaacson P, Wright R. Diffuse enterochromaffin-like (ECL) cell hyperplasia and multiple gastric
carcinoids: a complication of pernicious anaemia. Gut. 1981 Mar;22(3):237-41.
203
    Id
204
     Waldum HL, Sandvik AK, Syversen U, Brenna E. The enterochromaffin-like (ECL) cell. Physiological and
pathophysiological role. Acta Oncol. 1993;32(2):141-7
205
    Qvigstad G, Falkmer S, Westre B, Waldum HL. Clinical and histopathological tumour progression in ECL cell
carcinoids ("ECLomas"). APMIS. 1999 Dec;107(12):1085-92.
206
    Waldum HL, Sandvik AK, Idle JR. Gastrin is the most important factor in ECL tumorigenesis. Gastroenterology.
1998 May;114(5):1113-5.
207
     Sumiyoshi H, Yasui W, Ochiai A, Tahara E: Effects of gastrin on tumor growth and cyclic nucleotide
metabolism in xenotransplantable human gastric and colonic carcinomas in nude mice. Cancer Res 1984; 44: 4276
4280.
208
    Ochiai A, Yasui W, Tahara E: Growth-promoting effect of gastrin on human gastric carcinoma cell line TMK-1.
Jpn J Cancer Res1985; 76: 1064 1071.
209
    Lee L, Ramos-Alvarez I, Ito T, Jensen RT. Insights into Effects/Risks of Chronic Hypergastrinemia and Lifelong
PPI Treatment in Man Based on Studies of Patients with Zollinger-Ellison Syndrome. Int J Mol Sci. 2019 Oct
16;20(20):5128.
210
    Goetze, J.P., Eiland, S., Svendsen, L.B., Vainer, B., Hannibal, J., Rehfeld, J.F. Characterization of gastrins and
their receptor in solid human gastric adenocarcinomas. Scand. J. Gastroenterol. 2013, 48, 688 695.
211
    Hur K, Kwak MK, Lee HJ, Park DJ, Lee HK, Lee HS, Kim WH, Michaeli D, Yang HK. Expression of gastrin
and its receptor in human gastric cancer tissues. J Cancer Res Clin Oncol. 2006 Feb;132(2):85-91.
212
    Ito M, Tanaka S, Maeda M, Takamura A, Tatsugami M, Wada Y, Matsumoto Y, Yoshihara M, Haruma K,
Chayama K: Role of the Gastrin-Gastrin Receptor System in the Expansive Growth of Human Gastric Neoplasms.
Digestion 2008;78:163-170. doi: 10.1159/000181146.
213
    Id.
214
    Id.
215
     Mjønes P, Nordrum IS, Sørdal Ø, Sagatun L, Fossmark R, Sandvik A, Waldum HL. Expression of the
Cholecystokinin-B Receptor in Neoplastic Gastric Cells. Horm Cancer. 2018 Feb;9(1):40-54
216
    Goetze JP, Eiland S, Svendsen LB, Vainer B, Hannibal J, Rehfeld JF. Characterization of gastrins and their
receptor in solid human gastric adenocarcinomas. Scand J Gastroenterol. 2013 Jun;48(6):688-95.
217
     Tarasova NT, Wank SA, Hudson EA, Romanov VI, Czerwinski G, Resau JH, Michedja CJ. Endocytosis of
gastrin in cancer cells expressing gastrin/CCK-B receptor. Cell Tissue Res 1997; 287: 325-333
218
     Sordal O, Waldum H, Nordrum IS, Boyce M, Bergh K, Munkvold B, et al. The gastrin receptor antagonist
netazepide (YF476) prevents oxyntic mucosal inflammation induced by Helicobacter pylori infection in Mongolian
gerbils. Helicobacter 2013; 18:397 405.
219
    Kidd M, Siddique ZL, Drozdov I, Gustafsson BI, Camp RL, Black JW, et al. The CCK(2) receptor antagonist,
YF476, inhibits Mastomys ECL cell hyperplasia and gastric carcinoid tumor development. Regul Pept 2010;162:52
60.
220
    Takaishi S, Cui G, Frederick DM, Carlson JE, Houghton J, Varro A, Dockray GJ, Ge Z, Whary MT, Rogers AB,
Fox JG, Wang TC. Synergistic inhibitory effects of gastrin and histamine receptor antagonists on Helicobacter-
induced gastric cancer. Gastroenterology. 2005 Jun;128(7):1965-83.
221
    Kidd M, Modlin IM, Black JW, Boyce M, Culler M. A comparison of the effects of gastrin, somatostatin and
dopamine receptor ligands on rat gastric enterochromaffin-like cell secretion and proliferation. Regul Pept. 2007 Oct
4;143(1-3):109-17.
222
    Fossmark R, Martinsen TC, Bakkelund KE, Kawase S, Waldum HL. ECL-cell derived gastric cancer in male
cotton rats dosed with the H2-blocker loxtidine. Cancer Res. 2004 May 15;64(10):3687-93.
223
    Tielemans Y, Håkanson R, Sundler F, Willems G. Proliferation of enterochromaffinlike cells in omeprazole-
treated hypergastrinemic rats. Gastroenterology. 1989 Mar;96(3):723-9.


                                                 Page 152 of 160
      Case 3:18-cv-01063-JWD-EWD                   Document 99-4             04/27/22        Page 154 of 236




224
    Sundler F, Carlsson E, Håkanson R, Larsson H, Mattsson H. Inhibition of gastric acid secretion by omeprazole
and ranitidine. Effects on plasma gastrin and gastric histamine, histidine decarboxylase activity and ECL cell density
in normal and antrectomized rats. Scand J Gastroenterol Suppl. 1986; 118:39-46.
225
    Lee H, Håkanson R, Karlsson A, Mattsson H, Sundler F. Lansoprazole and omeprazole have similar effects on
plasma gastrin levels, enterochromaffin-like cells, gastrin cells and somatostatin cells in the rat stomach. Digestion.
1992;51(3):125-32.
226
    Waldum HL, Hauso Ø, Fossmark R. Letter: proton pump inhibitors, hypergastrinaemia and the risk of gastric
neoplasia. Aliment Pharmacol Ther. 2015 Aug;42(3):389.
227
      Brenna E, Håkanson R, Sundler F, Sandvik AK, Waldum HL. The effect of omeprazole-induced
hypergastrinemia on the oxyntic mucosa of mastomys. Scand J Gastroenterol. 1991 Jun;26(6):667-72.
228
                                    -Depth Review Meeting Minutes - November 25, 1986. MRK-PPl-00183145 to
MRK-PPl-00183155.
229
    Id at MRK-PPl-00183146
230
    Tielemans Y, Chen D, Sundler F, Håkanson R, Willems G. Reversibility of the cell kinetic changes induced by
omeprazole in the rat oxyntic mucosa. An autoradiographic study using tritiated thymidine. Scand J Gastroenterol.
1992; 27(2):155-60.
231
    Solcia E, Fiocca R, Villani L, Luinetti O, Capella C. Hyperplastic, dysplastic, and neoplastic enterochromaffin-
like cell proliferations of the gastric mucosa. Classification and histogenesis. Am J Surg Pathol. 1995; 19 Suppl
1:S1-7.
232
    Food and Drug Administration. FDA Background. Omeprazole Magnesium (Prilosec 1 TM) Astra Zeneca with
Proctor and Gamble. For the Joint Meeting of the Nonprescription Drugs Advisory Committee and the
Gastrointestinal Drugs Advisory Committee On October 20, 2000.
233
    Fossmark R, Sørdal Ø, Jianu C, Qvigstad G, Boyce M, Waldum H. YF476, a gastrin receptor antagonist, causes
regression of tumors and normalizes serum chromogranin A in patients with type 1 gastric carcinoids. 9th Annual
ENETS Conferance for the Diagnosis and Treatment of Neuroendocrine Tumor Disease; Copenhagen; Denmark
2012.
234
    Hirschowitz BI, Griffith J, Pellegrin D, Cummings OW. Rapid regression of enterochromaffin-like cell gastric
carcinoids in pernicious anemia after antrectomy. Gastroenterology 1992; 102: 1409 18.
235
     Jianu CS, Lange OJ, Viset T, et al. Gastric neuroendocrine carcinoma after long-term use of proton pump
inhibitor. Scand J Gastroenterol 2012; 47: 64 7.
236
     Larsson et al. Reversibility of ECL-cell and G-cell Hyperplasia After 10 Weeks' Omeprazole Treatment in
Female Rats. (1986) Project No. 826.01; Report No. 222-0076. AZ-KID-05553111 at 1(30).
237
    Id
238
    Larsson H, Håkanson R, Mattsson H, Ryberg B, Sundler F, Carlsson E. Omeprazole: its influence on gastric acid
secretion, gastrin and ECL cells. Toxicol Pathol. 1988;16(2):267-72.
239
    Brunner G, Athmann C, Schneider A. Long-term, open-label trial: safety and efficacy of continuous maintenance
treatment with pantoprazole for up to 15 years in severe acid-peptic disease. Aliment Pharmacol Ther 2012; 36: 34
7.
240
    Pounder RE, Sharma BK, Walt RP. Twenty-four hour intragastric acidity during treatment with oral omeprazole.
Scand J Gastroenterol Suppl 1986; 118: 108 17.
241
    Brunner G, Athmann C, Schneider A. Long-term, open-label trial: safety and efficacy of continuous maintenance
treatment with pantoprazole for up to 15 years in severe acid-peptic disease. Aliment Pharmacol Ther 2012; 36: 34
7.
242
     Deftos LJ. Chromogranin A: its role in endocrine function and as an endocrine and neuroendocrine tumor
marker. Endocr Rev. 1991 May;12(2):181-7
243
    Syversen U, Heide LS, Waldum HL. Kromogranin A i blod--en nyttig tumormarkør [Chromogranin A in blood--
a useful tumor marker]. Tidsskr Nor Laegeforen. 1997 Oct 30;117(26):3810-1. Norwegian.
244
    O'Connor DT, Deftos LJ: Secretion of chromogranin A by peptide-producing endocrine neoplasms. N Engl J
Med 314:: 1145,1986-1151,
245
    Eriksson B, Oberg K: Peptide hormones as tumor markers in neuroendocrine gastrointestinal tumors. Acta Oncol
30: 477,1991-483
246
     Deftos LJ. Chromogranin A: its role in endocrine function and as an endocrine and neuroendocrine tumor
marker. Endocr Rev. 1991 May;12(2):181-7



                                                 Page 153 of 160
      Case 3:18-cv-01063-JWD-EWD                   Document 99-4             04/27/22        Page 155 of 236




247
    Schürmann G, Raeth U, Wiedenmann B, Buhr H, Herfarth C. Serum chromogranin A in the diagnosis and
follow-up of neuroendocrine tumors of the gastroenteropancreatic tract. World J Surg. 1992 Jul-Aug;16(4):697-701;
discussion 701-2.
248
     Syversen U, Mignon M, Bonfils S, Kristensen A, Waldum HL. Chromogranin A and pancreastatin-like
immunoreactivity in serum of gastrinoma patients. Acta Oncol. 1993;32(2):161-5.
249
    Tomassetti P, Migliori M, Simoni P, Casadei R, De Iasio R, Corinaldesi R, Gullo L. Diagnostic value of plasma
chromogranin A in neuroendocrine tumours. Eur J Gastroenterol Hepatol. 2001 Jan;13(1):55-8.
250
    Waldum HL, Syversen U. Chromogranin A (CGA) and the enterochromaffin-like (ECL) cell. Adv Exp Med Biol.
2000; 482:361-7.
251
    Qvigstad G, Sandvik AK, Brenna E, Aase S, Waldum HL. Detection of chromogranin A in human gastric
adenocarcinomas using a sensitive immunohistochemical technique. Histochem J. 2000 Sep;32(9):551-6.
252
    Waldum HL, Aase S, Kvetnoi I, Brenna E, Sandvik AK, Syversen U, Johnsen G, Vatten L, Polak JM.
Neuroendocrine differentiation in human gastric carcinoma. Cancer. 1998 Aug 1;83(3):435-44.
253
    Waldum HL, Syversen U. Prospective study of the value of serum chromogranin A or serum gastrin levels in the
assessment of the presence, extent, or growth of gastrinomas. Cancer. 1999 Oct 1;86(7):1377-8.
254
    Qvigstad G, Sandvik AK, Brenna E, Aase S, Waldum HL. Detection of chromogranin A in human gastric
adenocarcinomas using a sensitive immunohistochemical technique. Histochem J. 2000 Sep;32(9):551-6.
255
    Waldum HL, Syversen U. Chromogranin A (CGA) and the enterochromaffin-like (ECL) cell. Adv Exp Med Biol.
2000; 482:361-7.
256
    Kleveland O, Syversen U, Slørdahl K, Waldum HL. Hypergastrinemia as a cause of chromogranin A increase in
blood in patients suspected to have neuroendocrine tumor. Digestion. 2001;64(2):71-4.
257
    Key TJ. Hormones and cancer in humans. Mutat Res. 1995 Dec;333(1-2):59-67.
258
      NIH National Cancer Institute. Cancer Causes and Prevention. Risk factors. Hormones.
https://www.cancer.gov/about-cancer/causes-prevention/risk/hormones. (Accessed on October 22, 2021)
259
    Waldum, H. L., Brenna, E., Sandvik, A. K., Syversen, U., & Falkmer, S. (1998). Hormones and carcinogenesis,
Endocrine-Related Cancer Endocr Relat Cancer, 5;1:45-48.
260
    Hanahan D, Weinberg RA. The hallmarks of cancer. Cell. 2000 Jan 7;100(1):57-70.
261
    Armitage P, Doll R. The age distribution of cancer and a multistage theory of carcinogenesis. Br J Cancer, (1954)
8:1-12.
262
    Weinberg RA. Cellular oncogenes. (1984) Trends in Biochem Sciences 9 131-133.
263
    Marshall CJ, Tumor suppressor genes. (1991). Cell 64 396-326.
264
    Berenblum I, Shubik P. A new quantitative approach to the study of the stages of chemical carcinogenesis in the
                                         -391.
265
    Cappell MS, Forde KA. Spatial clustering of multiple hyperplastic, adenomatous, and malignant colonic polyps
in individual patients. Dis Colon Rectum. 1989 Aug;32(8):641-52.
266
    Ames BN, Gold LS. Too many rodent carcinogens: mitogenesis increases mutagenesis. Science. 1990 Aug
31;249(4972):970-1.
267
    Ames BN, Gold LS. Chemical carcinogenesis: too many rodent carcinogens. Proc Natl Acad Sci U S A. 1990.
87(19):7772-7776.
268
    Schmidt FH. A new way to understand chemical carcinogenesis and cancer prevention. Res Rep Med Chem. Jan.
17, 2014. 4:23 33
269
    Henderson BE, Feigelson HS. Hormonal carcinogenesis. Carcinogenesis 2000; 21: 427-433
270
    Mangan CE, Guintoli RL, Sedlacek TV, Rocerto T, Rubin E, Burtnett M, Mikuta JJ. Six years´ experience with
screening of a diethylstilbestrol-exposed population. Am J Obstet Gynecol 1979; 134: 860-865
271
    Cooper GM. The Cell: A Molecular Approach. 2nd edition. Sunderland (MA): Sinauer Associates; 2000. The
Development and Causes of Cancer. Available from: https://www.ncbi.nlm.nih.gov/books/NBK9963/
272
    Samadder NJ, Baffy N, Giridhar KV, Couch FJ, Riegert-Johnson D. Review Hereditary Cancer Syndromes-A
Primer on Diagnosis and Management, Part 2: Gastrointestinal Cancer Syndromes. Mayo Clin Proc. 2019 Jun;
94(6):1099-1116.
273
    Fox, S.B., Gatter, K.C., and Harris, A.L. Tumour angiogenesis. J. Pathol. 179: 232-237, 1996.
274
    Hanahan D, Weinberg RA. Hallmarks of cancer: the next generation. Cell. 2011 Mar 4;144(5):646-74.
275
    Bordi, C., Falchetti, A, Buffa, R., Azzoni, C., D'Adda, T., Caruana, P., Rindi, G., and Brandi, M.L. Production of
basic fibroblast growth factor by gastrin carcinoid tumors and their putative cells of origin. Hum. Pathol. 25:175-
180, 1994.

                                                 Page 154 of 160
      Case 3:18-cv-01063-JWD-EWD                   Document 99-4             04/27/22        Page 156 of 236




276
    Gilbert SF. Developmental Biology. 6th edition. Sunderland (MA): Sinauer Associates; 2000. Paracrine Factors.
Available from: https://www.ncbi.nlm.nih.gov/books/NBK10071/
277
    McGuigan, J.E. Immunochemical studies with synthetic human gastrin. Gastroenterology 1968, 54, 1005 1011.
278
     Rehfeld, J.F. Gastrins in serum. A review of gastrin radioimmunoanalysis and the discovery of gastrin
heterogeneity in serum. Scand. J. Gastroenterol. 1973, 8, 577 583.
279
    Trudeau, W.L., McGuigan, J.E. Relations between serum gastrin levels and rates of gastric hydrochloric acid
secretion. N. Engl. J. Med. 1971, 284, 408 412.
280
    Bordi, C. Carcinoid (ECL cell) tumor of the oxyntic mucosa of the stomach, a hormone dependent neoplasm?
Prog. Surg. Pathol. 1988, 8, 177 195.
281
     Waisberg J, Luongo de Matos L, do Amaral Antonio Mader AM, Pezzolo S, Miristene E, Capelozzi VL,
Speranzini MB. Neuroendocrine gastric carcinoma expressing somatostatin: a highly malignant, rare tumor. World J
Gastroenterol 2006; 12: 3944-3947.
282
     Waldum HL, Haugen OA, Brenna E. Do neuroendocrine cells, particularly the D-cell, play a role in the
development of gastric stump cancer? Cancer Detect Prev. 1994;18(6):431-6.
283
    Tsolakis AV, Grimelius L, Stridsberg M, Falkmer SE, Waldum HL, Saras J, Janson ET. Obestatin/ghrelin cells in
normal mucosa and endocrine tumours of the stomach. Eur J Endocrinol. 2009 Jun;160(6):941-9.
284
    Modlin IM, Lye KD, Kidd M. Carcinoid tumors of the stomach. Surg Oncol 2003; 12: 153 72.
285
    Id.
286
    Calvete O, Reyes J, Zuniga S, Paumard-Hernandez B, Fernandez V, Bujanda L, Rodriguez-Pinilla MS, Palacios
J, Heine-Suner D, Banks S., et al. Exome sequencing identifies ATP4A gene as responsible of an atypical familial
type I gastric neuroendocrine tumour. Hum Mol Genet 2015; 24: 2914-2922
287
     Fossmark R, Calvete O, Mjønes P, Benitez J, Waldum HL. ECL-cell carcinoids and carcinoma in patients
homozygous for an inactivating mutation in the gastric H(+)K+) ATPase alpha subunit. APMIS Acta Pathol
Microbiol Scand 2016; 124:561-566
288
     Lauren P. The Two Histological Main Types of Gastric Carcinoma: Diffuse and So-Called Intestinal-Type
Carcinoma. An Attempt at a Histo-Clinical Classification. Acta Pathol Microbiol Scand. 1965;64:31-49.
289
    Bakkelund K, Fossmark R, Nordrum I, Waldum H. Signet ring cells in gastric carcinomas are derived from
neuroendocrine cells. J Histochem Cytochem. 2006 Jun;54(6):615-21.
290
    Sørdal, Ø., Qvigstad, G., Nordrum, I.S., Sandvik, A.K., Gustafsson, B.I., Waldum, H. The PAS positive material
in gastric cancer cells of signet ring type is not mucin. Experimental and molecular pathology 2014, 96, 274-278.
291
     Ali, M.H., Davidson, A., Azzopardi, J.G. Composite gastric carcinoid and adenocarcinoma. Histopathology
1984, 8, 529-536
292
     Soga, J., Tazawa, K., Aizawa, O., Wada, K., Tuto, T. Argentaffin cell adenocarcinoma of the stomach: an
atypical carcinoid? Cancer 1971, 28, 999-1003
293
    Poynter, D., Pick, C.R., Harcourt, R.A., Selway, S.A., Ainge, G., Harman, I.W., Spurling, N.W., Fluck, P.A.,
Cook, J.L. Association of long lasting unsurmountable histamine H2 blockade and gastric carcinoid tumours in the
rat. Gut 1985, 26, 1284-1295.
294
    Azzopardi, J.G., Pollock, D.J. Argentaffin and Argyrophil Cells In Gastric Carcinoma. J Path Bacteriol 1963, 86,
443-451.
295
    Waldum HL, Haugen OA, Isaksen C, Mecsei R, Sandvik AK. Enterochromaffin-like tumour cells in the diffuse
but not the intestinal type of gastric carcinomas. Eur J Gastroenterol Hepatol 1991; 3: 245-249.
296
    Creutzfeldt W, Solcia E. Are diffuse gastric carcinomas neuroendocrine tumours ECLomas? Eur J Gastroenterol
Hepatol. 1991; 3: 862-863
297
    Waldum, H. Are diffuse gastric carcinomas neuroendocrine tumours ECL-omas? (Reply). Eur J Gastroenterol
Hepatol. 1991, 3, 863-865.
298
    Martinsen TC, Skogaker NE, Fossmark R, Nordrum IS, Sandvik AK, Bendheim MØ, Bakkelund KE, Waldum
HL. Neuroendocrine cells in diffuse gastric carcinomas: an ultrastructural study with immunogold labeling of
chromogranin A. Appl Immunohistochem Mol Morphol. 2010 Jan;18(1):62-8.
299
    Creutzfeldt, W. Risk-benefit assessment of omeprazole in the treatment of gastrointestinal disorders. Drug Saf
1994, 10, 66-82.
300
    Staren, E.D., Lott, S., Saavedra, V.M., Jansson, D.S., Deziel, D.J., Saclarides, T.J., Manderino, G.L., Gould, V.E.
Neuroendocrine carcinomas of the stomach: a clinicopathologic evaluation. Surgery 1992, 112, 1039-1046;
discussion 1046-1037.



                                                 Page 155 of 160
      Case 3:18-cv-01063-JWD-EWD                  Document 99-4            04/27/22        Page 157 of 236




301
    Bartley, A.N., Rashid, A., Fournier, K.F., Abraham, S.C. Neuroendocrine and mucinous differentiation in signet
ring cell carcinoma of the stomach: evidence for a common cell of origin in composite tumors. Human pathology
2011, 42, 1420-1429
302
    Nunobe S, Taniguchi H, Katai H, Shimoda T. A rare case of poorly differentiated endocrine cell carcinoma of the
stomach with signet ring cell differentiation. Gastric Cancer. 2010 Jun;13(2):131-4.
303
    Hansson, L.R., Engstrand, L., Nyrén, O., Lindgren, A. Prevalence of Helicobacter pylori infection in subtypes of
gastric cancer. Gastroenterology 1995, 109, 885-888.
304
    Sandvik, A.K., Waldum, H.L., Kleveland, P.M., Schulze Sognen, B. Gastrin produces an immediate and dose-
dependent histamine release preceding acid secretion in the totally isolated, vascularly perfused rat stomach. Scand
J Gastroenterol. 1987, 22, 803-808.
305
    Kinoshita, Y., Ishihara, S., Kadowaki, Y., Fukui, H., Chiba, T. Reg protein is a unique growth factor of gastric
mucosal cells. J gastroenterol. 2004, 39, 507-513
306
    Bordi, C., Falchetti, A., Buffa, R., Azzoni, C., D'Adda, T., Caruana, P., Rindi, G., Brandi, M.L. Production of
basic fibroblast growth factor by gastric carcinoid tumors and their putative cells of origin. Human pathology 1994,
25, 175-180.
307
    Bakke, I., Qvigstad, G., Brenna, E., Sandvik, A.K., Waldum, H.L. Gastrin has a specific proliferative effect on
the rat enterochromaffin-like cell, but not on the parietal cell: a study by elutriation centrifugation. Acta
physiologica Scandinavica 2000, 169, 29-37.
308
    Pelosi, G., Bianchi, F., Dama, E., Metovic, J., Barella, M., Sonzogni, A., Albini, A., Papotti, M., Gong, Y.,
Vijayvergia, N. A Subset of Large Cell Neuroendocrine Carcinomas in the Gastroenteropancreatic Tract May
Evolve from Pre-existing Well-Differentiated Neuroendocrine Tumors. Endocrine pathology 2021, 32, 396-407.
309
    Sjöblom, S.M., Sipponen, P., Miettinen, M., Karonen, S.L., Jrvinen, H.J. Gastroscopic screening for gastric
carcinoids and carcinoma in pernicious anemia. Endoscopy 1988, 20, 52-56.
310
    Waldum HL, Fossmark R. Types of Gastric Carcinomas. Int J Mol Sci. 2018 Dec 18;19(12):4109.
311
    Henson DE, Dittus C, Younes M, Nguyen H, Albores- Saavedra J. Differential trends in the intestinal and diffuse
types of gastric carcinoma in the United States, 1973 2000: increase in the signet ring cell type. Arch Pathol Lab
Med 2004;128:765 70.
312
    Anderson WF, Camargo MC, Fraumeni JF Jr, Correa P, Rosenberg PS, Rabkin CS. Age-specific trends in
incidence of noncardia gastric cancer in US adults. JAMA 2010;303:1723 8.
313
    Anderson WF, Rabkin CS, Turner N, Fraumeni JF Jr, Rosenberg PS, Camargo MC. The changing face of
noncardia gastric cancer incidence among US non-hispanic whites. J Natl Cancer Inst. 2018;110: 608-615.
314
    Arnold M, Park JY, Camargo MC, Lunet N, Forman D, Soerjomataram I. Is gastric cancer becoming a rare
disease? A global assessment of predicted incidence trends to 2035. Gut. 2020;69: 823-829.
315
    Bergquist JR, Leiting JL, Habermann EB, et al. Early-onset gastric cancer is a distinct disease with worrisome
trends and oncogenic features. Surgery. 2019;166:547-555
316
    Strickland RG. The Sydney system: auto-immune gastritis. J Gastroenterol Hepatol. 1991;6:238-243.
317
    Rugge M, Genta RM, Di Mario F, et al. Gastric cancer as preventable disease. Clin Gastroenterol Hepatol. 2017;
15:1833-1843.
318
    Waldum HL. The increase in early-onset gastric carcinomas from 1995 is probably due to the introduction of
proton pump inhibitors. Surgery. 2020;168:568-569.
319
     Fossmark R, Sagatun L, Nordrum IS, Sandvik AK, Waldum HL. Hypergastrinemia is associated with
adenocarcinomas in the gastric corpus and shorter patient survival. APMIS. 2015; 123:509-514.
320
    Song H, Ekheden IG, Zheng Z, Ericsson J, Nyren O, Ye W. Incidence of gastric cancer among patients with
gastric precancerous lesions: observational cohort study in a low-risk Western population. BMJ. 2015;351:h3867.
321
    Sagatun L, Jianu CS, Fossmark R, Marvik R, Nordrum IS, Waldum HL. The gastric mucosa 25 years after
proximal gastric vagotomy. Scand J Gastroenterol 2014; 49:1173 80.
322
    Oettle AG. Spontaneous carcinoma of the glandular stomach in Rattus (mastomys) natalensis, an African rodent.
Br J Cancer. 1957;11: 415-433.
323
     Waldum HL, Sandvik AK, Brenna E. Gastrin, the enterochromaffinlike cell, and gastric tumors.
Gastroenterology. 1993; 105:1264-1266
324
    Honda S, Fujioka T, Tokieda M, Satoh R, Nishizono A, Nasu M. Development of Helicobacter pylori-induced
gastric carcinoma in Mongolian gerbils. Cancer Res. 1998; 58:4255-4259.
325
    Fossmark R, Qvigstad G, Martinsen TC, Hauso O, Waldum HL. Animal models to study the role of long-term
hypergastrinemia in gastric carcinogenesis. J Biomed Biotechnol. 2011; 2011:975479.


                                                Page 156 of 160
      Case 3:18-cv-01063-JWD-EWD                   Document 99-4             04/27/22        Page 158 of 236




326
    Waldum HL, Hauso O, Fossmark R. The regulation of gastric acid secretion clinical perspectives. Acta Physiol
(Oxf) 2014; 210:239 56.
327
    Waldum HL, Haugen OA, Isaksen C, Mecsei R, Sandvik AK. Are diffuse gastric carcinomas neuroendocrine
tumours (ECL-omas)? Eur J Gastroenterol Hepatol 1991; 3:245 9.
328
    Predictive Value of Rodent Forestomach and Gastric Neuroendocrine Tumours in Evaluating Carcinogenic Risks
to Humans. IARC Technical Publication No. 39. Lyon, France 2003.
329
    Modlin IM, Lye KD, Kidd M. A 5-decade analysis of 13,715 carcinoid tumors. Cancer. 2003;97:934-959.
330
                                                                      -based review of carcinoid tumors. Ann Surg.
2004;240:117- 122.
331
     Perez EA, Koniaris LG, Snell SE, et al. 7201 carcinoids: increasing incidence overall and disproportionate
mortality in the elderly. World J Surg. 2007;31:1022-1030.
332
    Hemminki K, Li X. Incidence trends and risk factors of carcinoid tumors: a nationwide epidemiologic study from
Sweden. Cancer. 2001;92:2204-2210.
333
    Id
334
    Id
335
    Id
336
    Id
337
    Id
338
    Id
339
     Fossmark R., Martinsen T.C., Waldum H.L. Adverse effects of proton pump inhibitors Evidence and
plausibility. Int. J. Mol. Sci. 2019; 20:5203. Int J Mol Sci. 2020 Jan; 21(2): 662.
340
    Nandy N., Hanson J.A., Strickland R.S., McCarthy D.M. Solitary gastric carcinoid associated with longterm use
of omeprazole: A case report and review of the literature. Dig. Dis. Sci. 2016;61:708 712.
341
    Haga Y., Nakatsura T., Shibata Y., Samashima H. Human Gastric carcinoid detected during long-term anti-ulcer
therapy of H2 receptor antagonist and proton pump inhibitor. Dig Dis Sci. 1998;43:253.
342
    Dawson R., Manson J.M. Omeprazole in esophageal reflux disease. Lancet. 2000;356:1770 1771.
343
    Attila T., Santharam R.J., Blom D., Komorowski R. Multifocal gastric carcinoid tumor in patient with pernicious
anemia receiving Lansoprazole. Dig. Dis. Sci. 2005; 50:509 513.
344
    Id
345
    Id
346
     Ellis, L., Shale, M.J., Coleman, M.P. Carcinoid tumors in the gastrointestinal tract: Trends in incidence in
England since 1971. Am. J. Gastroenterol. 2010, 105, 2563 2569.
347
    Modlin IM , Lye KD , Kidd M . A 50-year analysis of 562 gastric carcinoids: small tumor or larger problem? Am
J Gastroenterol 2004 ; 99: 23 32 .
348
     Hodgson N, Koniaris LG, Livingstone AS et al. Gastric carcinoids. A temporal increase with proton pump
introduction. Surg Endosc. 2005; 19:1 610 2.
349
    Id.
350
    Id
351
    Sugano H, Nakamura K, Kato Y (1982) Pathological studies of human gastric cancer. Acta Pathol Jpn 32:329
347
352
    Hattori T, Fujita S (1976) Tritated thymidine autoradiographic study on cellular migration in the gastric gland of
the golden hamster. Cell Tissue Res 172:171 184
353
    Kim JP, Kim SC, Yang HK (1994) Prognostic significance of signet ring cell carcinoma of the stomach. Surg
Oncol 3:221 227
354
    Simonsson M, Eriksson S, H
cells in the oxyntic mucosa. A histochemical study. Scand J Gastroenterol 23:1089 1099
355
    Sert OZ, Gulmez S, Uzun O, Bozkurt H, Gunes OH. Gastric mixed adeno-neuroendocrine carcinoma with a large
cell neuroendocrine component. A case report. Ann Ital Chir. 2019 Nov 28;8:S2239253X19031438.
356
    Bamboat ZM, Tang LH, Vinuela E, Kuk D, Gonen M, Shah MA, Brennan MF, Coit DG, Strong VE. Stage-
stratified prognosis of signet ring cell histology in patients undergoing curative resection for gastric
adenocarcinoma. Ann Surg Oncol 2014; 21: 1678-1685
357
    Taghavi S, Jayarajan SN, Davey A, Willis AI. Prognostic significance of signet ring gastric cancer. J Clin Oncol
2012; 30: 3493-3498
358
    Id


                                                 Page 157 of 160
      Case 3:18-cv-01063-JWD-EWD                  Document 99-4             04/27/22        Page 159 of 236




359
    Agnes A, Estrella JS, Badgwell B. The significance of a nineteenth century definition in the era of genomics:
linitis plastica. World J Surg Oncol 2017; 15: 123
360
    Bordi C, Falchetti A, Buffa R, Azzoni C, DÁdda T, Caruana P. et al. Production of basic fibroblast growth factor
by gastric carcinoid tumours and theirm putative cell of origin. Human pathology 1994; 25: 175-180
361
     Waldum HL, Qvigstad G, Fossmark R, Kleveland PM, Sandvik AK. Rebound acid hypersecretion from a
physiological, pathophysiological and clinical viewpoint. Scand J Gastroenterol. 2010 Apr;45(4):389-94.
362
    Larsson H, Carlsson E, Ryberg B, Fryklund J, Wallmark B. Rat parietal cell function after prolonged inhibition
of gastric acid secretion. Am J Physiol 1988; 254: G33 9.
363
    Waldum HL, Arnestad JS, Brenna E, Eide I, Syversen U, Sandvik AK. Marked increase in gastric acid secretory
capacity after omeprazole treatment. Gut 1996; 39: 649 53.
364
    Qvigstad G, Arnestad JS, Brenna E, Waldum HL. Treatment with proton pump inhibitors induces tolerance to
histamine-2 receptor antagonists in Helicobacter pylori-negative patients. Scand J Gastroenterol. 1998
Dec;33(12):1244-8.
365
     Gillen D, Wirz AA, Ardill JE, McColl KEL. Rebound hypersecretion after omeprazole and its relation to
ontreatment acid suppression and Helicobacter pylori status. Gastroenterology 1999; 116:239 47.
366
     Niklasson A, Lindström L, Simrén M, Lindberg G, Björnsson E. Dyspeptic symptom development after
discontinuation of a proton pump inhibitor: a double-blind placebo-controlled trial. Am J Gastroenterol. 2010
Jul;105(7):1531-7.
367
    Reimer C , Søndergaard B, Hilsted L et al. Proton-pump inhibitor therapy induces acid-related symptoms in
healthy volunteers after withdrawal of therapy. Gastroenterology 2009; 137:80 7 .
368
    Gillen D, Wirz AA, Neithercut WD, et al. Helicobacter pylori infection potentiates the inhibition of gastric acid
secretion by omeprazole. Gut 1999; 44: 468 75.
369
    Lødrup A, Reimer C and Bytzer P. 2013. Systematic review: symptoms of rebound acid hypersecretion following
proton pump inhibitor treatment. Scandinavian Journal of Gastroenterology 48(5): 515 22.
370
    Frislid K, Aadland E, Berstad A. Augmented postprandial gastric acid secretion due to exposure to ranitidine in
healthy subjects. Scand J Gastroenterol 1986; 21:119 22.
371
    Nwokolo CU, Smith JT, Sawyerr AM, Pounder RE. Rebound intragastric hyperacidity after abrupt withdrawal of
histamine H2 receptor blockade. Gut 1991; 32:1455-1460.
372
    Smith AD, Gillen D, Cochran KM, et al. Dyspepsia on withdrawal of ranitidine in previously asymptomatic
volunteers. Am J Gastroenterol 1999; 94: 1209 13.
373
    Fossmark R, Johnsen G, Johanessen E, Waldum HL. Rebound acid hypersecretion after long-term inhibition of
gastric acid secretion. Aliment Pharmacol Ther. 2005 Jan 15;21(2):149-54.
374
    Id
376
     Waldum HL, Syversen U. Serum chromogranin A in the control of patients on long-term treatment with
inhibitors of acid secretion. Eur J Clin Invest 2001; 31: 741 3.
377
     Waldum HL, Syversen U. Chromogranin A (CgA) and the enterochromaffin-like (ECL) cell. In: Helle, KB,
Aunis, D, eds. Chromogranins: Functional and Clinical Aspects. New York: Kluwer Academic/Plenum Publishers,
2000: 361 7.
378
     Sanduleanu S, De Bruine A, Stridsberg M, et al. Serum chromogranin A as a screening test for gastric
enterochromaffin-like cell hyperplasia during acid-suppressive therapy. Eur J Clin Invest 2001; 31: 802 11.
379
    Hakanson R, Ding XQ, Norlen P, Chen D. Circulating pancreastatin is a marker for the enterochromaffin-like
cells of the rat stomach. Gastroenterology 1995; 108: 1445 52.
380
    Id
381
    Id
383
    Farup PG, Juul-Hansen PH, Rydning A. Does short-term treatment with proton pump inhibitors cause rebound
aggravation of symptoms? J Clin Gastroenterol 2001;33: 206 9.
385
    Juul-Hansen P, Rydning A. Clinical and pathophysiological consequences of on-demand treatment with PPI in
endoscopy-negative reflux disease. Is rebound hypersecretion of acid a problem? Scand J Gastroenterol
2011;46:398 405.
386
    Metz DC, Pilmer BL, Han C, Perez MC. Withdrawing PPI therapy after healing esophagitis does not worsen
symptoms or cause persistent hypergastrinemia: analysis of Dexlansoprazole MR clinical trial data. Am J
Gastroenterol 2011;106: 1953 60.
387
    Id
388
     Hendricks E, Ajmeri AN, Singh MM, Mongalo M, Goebel LJ. A Randomized Open-Label Study of Two
Methods of Proton Pump Inhibitors Discontinuation. Cureus. 2021 May 14;13(5):e15022.

                                                Page 158 of 160
      Case 3:18-cv-01063-JWD-EWD                 Document 99-4            04/27/22       Page 160 of 236




389
                                                                                                                 -
98.
390
    Haastrup PF, Thompson W, Søndergaard J, Jarbøl DE: Side effects of long-term proton pump inhibitor use: a
review. Basic Clin Pharmacol Toxicol. 2018, 123:114-21.
393
    Department of Health and Human Services Public Health Service, Food and Drug Administration, Center for
Drug Evaluation and Research, Office of Surveillance and Epidemiology, Office of Surveillance and Epidemiology
(OSE) Memorandum. December 21, 2018. Proton Pump Inhibitors. Rebound Acid Hypersecretion.
394
    Id at 1.
395
    Id at 3
397
     Waldum HL, Lehy T, Brenna E, Sandvik AK, Petersen H, Søgnen BS, Bonfils S, Lewin MJ. Effect of the
histamine-1 antagonist astemizole alone or with omeprazole on rat gastric mucosa. Scand J Gastroenterol 1991; 26:
23-35
398
    Mendelson AH, Donowitz M. Catching the pearls and pitfalls for the successful diagnosis of Zollinger-Ellison
syndrome. Dig Dis Sci 2017; 62: 2258-2265
401
    Lundell L, Miettinen P, Myrvold HE, et al. Comparison of outcomes twelve years after antireflux surgery or
omeprazole maintenance therapy for reflux esophagitis. Clin Gastroenterol Hepatol 2009; 7: 1292 8.
402
     Galmiche JP, Hatlebakk J, Attwood S, et al. Laparoscopic antireflux surgery vs esomeprazole treatment for
chronic GERD: the LOTUS randomized clinical trial. JAMA 2011; 305: 1969 77.
403
    Attwood SE, Ell C, Galmiche JP, Fiocca R, Hatlebakk JG, Hasselgren B, Långström G, Jahreskog M, Eklund S,
Lind T, Lundell L. Long-term safety of proton pump inhibitor therapy assessed under controlled, randomised
clinical trial conditions: data from the SOPRAN and LOTUS studies. Aliment Pharmacol Ther. 2015
Jun;41(11):1162-74.
404
   Id at 1173
405
    Lundell L, Vieth M, Gibson F, Nagy P, Kahrilas PJ. Systematic review: the effects of long-term proton pump
inhibitor use on serum gastrin levels and gastric histology. Aliment Pharmacol Ther. 2015 Sep;42(6):649-63 at page
661.
406
    Deposition testimony, Timothy Sullivan, May 13, 2021, page 328, line 11 to page 331, line 20.
411
    Id at 1970
414
    Lesaffre E. Superiority, equivalence, and non-inferiority trials. Bull NYU Hosp Jt Dis. 2008;66(2):150-4.
415
    Multiple Endpoints in Clinical Trials Guidance for Industry. U.S. Department of Health and Human Services
Food and Drug Administration, Center for Drug Evaluation and Research (CDER), Center for Biologics Evaluation
and Research (CBER). January 2017 at page 9, lines 360-363. https://www.fda.gov/files/drugs/published/Multiple-
Endpoints-in-Clinical-Trials-Guidance-for-Industry.pdf. (Accessed November 5, 2021).
416
    Id at page 9, lines 357 364.
418
    Rothman KJ. Six persistent research misconceptions. J Gen Intern Med. 2014;29(7):1060-1064.
419
    Id
420
    Letter from George A. Kummeth, Global Director of Regulatory Affairs, AstraZeneca to Joyce Korvick, MD,
MPH, Acting Director, Food and Drug Administration, Center for Drug Evaluation and Research, Division of
Gastroenterology Products. 11, June 2007.
426
    Id
428
    Id at 1971
430
    Id
431
    June 8, 2007. REACTIVE Q&A and TALKING POINTS. Response to questions regarding reported cardiac
events in omeprazole and esomeprazole (SOPRAN & LOTUS) studies. Version 2.
435
    Cheung KS, Leung WK. Response to letter to the editor by Moayyedi et al. Gut. 2019 Sep;68(9):1721-1722.
436
     Moayyedi P, Veldhuyzen van Zanten SJO, Hookey L, et al. Proton pump inhibitors and gastric cancer:
association is not causation. Gut 2018: gutjnl-2018-316958.
437
    Hill AB. The Environment and Disease: Association or Causation? Proc R Soc Med. 1965 May;58(5):295-300.
440
     Crane SJ, Locke IGR, Harmsen WS et al. Subsite-specific risk factors for esophageal and gastric
adenocarcinoma. Am. J. Gastroenterol. 2007; 102: 1596 602
441
     Duan L, Wu AH, Sullivan-Halley J, Bernstein L. Antacid drug use and risk of esophageal and gastric
adenocarcinomas in Los Angeles County. Cancer Epidemiol Biomarkers Prev 2009; 18: 526-533.
442
    Tran-Duy A, Spaetgens B, Hoes AW, de Wit NJ, Stehouwer CD. Use of proton pump inhibitors and risks of
fundic gland polyps and gastric cancer: systematic review and meta-analysis. Clin Gastroenterol Hepatol.
2016;14:1706-1719.e5.

                                               Page 159 of 160
      Case 3:18-cv-01063-JWD-EWD                  Document 99-4             04/27/22        Page 161 of 236




443
    Chien LN, Huang YJ, Shao YH, Chang CJ, Chuang MT, Chiou HY, Yen Y. Proton pump inhibitors and risk of
periampullary cancers--A nested case-control study. Int J Cancer. 2016 Mar 15;138(6):1401-9.
444
    Wennerström ECM, Simonsen J, Camargo MC, Rabkin CS. Acid-suppressing therapies and subsite-specific risk
of stomach cancer. Br J Cancer. 2017 Apr 25;116(9):1234-1238.
445
     Islam MM, Poly TN, Walther BA, Dubey NK, Anggraini Ningrum DN, Shabbir SA, Jack Li YC. Adverse
outcomes of long-term use of proton pump inhibitors: a systematic review and meta-analysis. Eur J Gastroenterol
Hepatol. 2018 Dec;30(12):1395-1405.
446
     Lee JK, Merchant SA, Schneider JL, Jensen CD, Fireman BH, Quesenberry CP, Corley DA. Proton Pump
Inhibitor Use and Risk of Gastric, Colorectal, Liver, and Pancreatic Cancers in a Community-Based Population. Am
J Gastroenterol. 2020 May;115(5):706-715.
447
    Liu P, McMenamin ÚC, Johnston BT, Murchie P, Iversen L, Lee AJ, Vissers PAJ, Cardwell CR. Use of proton
pump inhibitors and histamine-2 receptor antagonists and risk of gastric cancer in two population-based studies. Br J
Cancer. 2020 Jul;123(2):307-315.
448
    Fusar-Poli P, Radua J. Ten simple rules for conducting umbrella reviews. Evid Based Ment Health. 2018;21:95-
100.
449
    Segna D, Brusselaers N, Glaus D, Krupka N, Misselwitz B. Association between proton-pump inhibitors and the
risk of gastric cancer: a systematic review with meta-analysis. Therap Adv Gastroenterol. 2021 Nov
10;14:17562848211051463.
450
    Zeng R, Sha W, Wang J, Zhuo Z, Wu H, Leung FW, Chen H. Evaluation of proton pump inhibitors and risks of
gastric cancer. Gut. 2021 Nov 26: gutjnl-2021-326291.
452
    Id at 1971.
453
    Id
455
    Moayyedi P, Eikelboom JW, Bosch J, COMPASS Investigators et al. Safety of Proton Pump Inhibitors Based on
a Large, Multi-Year, Randomized Trial of Patients Receiving Rivaroxaban or Aspirin. Gastroenterology. 2019
Sep;157(3):682-691.e2.
456
    Id
467
    Id at 298
468
    Tamim H, Monfared AA, LeLorier J. Application of lag-time into exposure definitions to control for protopathic
bias. Pharmacoepidemiol Drug Saf. 2007 Mar;16(3):250-8.
471
    Borenstein M, Hedges LV, Higgins JP, Rothstein HR. A basic introduction to fixed-effect and random-effects
models for meta-analysis. Res Synth Methods. 2010 Apr;1(2):97-111.
479
    Id, Supplementary appendix 3C.
481
    Id
482
    Dr. David W. Blois memo to Dr. Kenneth M. Given regarding telephone conversation with Dr. R. Lipicky of the
FDA. October 6 1986. Bates numbers MRK-PPl-00090320 - MRK-PPl-00090322.
483
    Bordi C, Cocconi G, Togni R, Vezzadini P & Missale G. 1974. Gastric endocrine cell proliferation. Association
with Zollinger-Ellison syndrome. Arch Pathol, 98: 274- 278.
484
    Soga J, Koro T, Tazawa K, et al. Argyrophil cell microneoplasia in the Mastomys' stomach-an o bservation on
early carcinoid formation. J Natl Cancer Inst. 1975;55:1001 1006.
488
    Fujiyoshi Y, Eimoto T. Chromogranin A expression correlates with tumour cell type and prognosis in signet ring
cell carcinoma of the stomach. Histopathology. 2008;52:305 313.
489
    Jianu CS, Lange OJ, Viset T, Qvigstad G, Martinsen TC, Fougner R, Kleveland PM, Fossmark R, Hauso Ø,
Waldum HL. Gastric neuroendocrine carcinoma after long- term use of proton pump inhibitor. Scand J
Gastroenterol. 2012 Jan;47(1):64-7.




                                                Page 160 of 160
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 162 of 236




                             APPENDIX A

         PATHOLOGY REPORT OF PATRICIA MJØNES, MD, PhD
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 163 of 236
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 164 of 236
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 165 of 236
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 166 of 236
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 167 of 236
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 168 of 236
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 169 of 236
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 170 of 236
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 171 of 236
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 172 of 236
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 173 of 236
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 174 of 236
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 175 of 236
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 176 of 236
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 177 of 236




                             EXHIBIT B

                        CURRICULUM VITAE
  Case 3:18-cv-01063-JWD-EWD               Document 99-4         04/27/22     Page 178 of 236




        CURRICULUM VITAE - HELGE L. WALDUM, MD, PhD,

Head of Department of Gastroenterology and Hepatology,
St. Olavs Hospital, Trondheim for 20 years and professor for 35 years at Department of Cancer
Research and Molecular Medicine, Norwegian University of Science and Technology,
Trondheim, Norway

E-mail: helge.waldum@ntnu.no

MD, University of Oslo, Norway, second best result ever and reported to the King.
Specialist in Internal Medicine and Gastroenterology 1980.




       gastric» (Très honorable avec félicitations)

One year of Research fellowship at Hôpital Bichat Paris 1987-1988.
Diplôme d'etudes approfondies de biologie cellulaire et fonctionnelle des processus digestifs.
Année 1987-1988. Responsable : Professeur S. Bonfils - Paris VII.
Research within the areas of gastric acid secretion, gastrointestinal hormones, gastric pathology
and tumour classification, the cell of origin not only for gastric but also renal cancer,
carcinogenesis, the role of neuroendocrine cells in carcinogenesis, differentiated contra stem cell
origin of cancers (paradigm shift?), neuroendocrine markers (chromogranin A), gastric markers
(pepsinogens), problems related to inhibition of gastric acid secretion, nicotine and CO toxicity,
and carcinoid disease with valvular heart disease.
Serotonin and cardiac valvular disease in general.

Most important scientific achievements:

       Solved a more than a 50 year dispute about the regulation of gastric acid secretion with
       the interaction between the principal gastric acid secretagogues and localization of the
       gastrin receptor by the isolated rat stomach model.

       Described rebound acid hypersecretion after profound acid inhibition with proton pump
       inhibitors (PPIs), a mechanism responsible for the problems in stopping treatment with
       PPIs when first started due to dyspepsia secondary to rebound acid hypersecretion.

       Described that gastric juice may play an important role in the defense against prion
       diseases.

       Contributed to the development of chromogranin A as an important marker for
       neuroendocrine cell hyperplasia and neoplasia.



                                            Page 2 of 7
Case 3:18-cv-01063-JWD-EWD             Document 99-4         04/27/22      Page 179 of 236




   Made important contributions to the classification of tumours in general and particularly
   to the classification of gastric carcinomas.

   Showed the central role of gastrin in gastric tumourigenesis. Described the close
   relationship between the regulation of function and growth with implications for
   hormonal carcinogenesis and tumour prevention.

   Gave arguments for and claimed that profound long-term inhibition of gastric acid
   secretion would lead to gastric carcinomas not only in animals, but also in man. This was
   supported by others autumn 2017.

   Described that the carcinogenic effect of gastric Helicobacter pylori infection could be
   due the increase in gastrin.

   Developed a rodent model (Japanese cotton rat) to study ECL cell tumourigenesis.
   Combined physiology, animal models, studies on human gastric cancers into a new
   concept for an important part of human gastric carcinomas.

   Focused on the identification of cell origin for cancers, particularly for gastric and renal
   cancers.

   Showed that serotonin alone could induce changes in the heart valves- implications not
   only for carcinoid heart valve disease, but possibly for the pathogenesis of heart valve
   disease in general.

   Showed that life-long nicotine exposure in the rat did not cause any harm, only a reduced
   body weight, indicating that other parts of tobacco smoke are the carcinogenic ones.

   Supervised 20 candidates for PhD.

   Published about 4300 original papers.

   Published a book November 2020. T

   The book is based upon experience for more than 30 years.

   Published 20 book chapters including one chapter on the ECL cell in: Encyclopedia of
   Gastroenterology 2nd Edition. (Ernst Kuipers editor). Elsevier 2019.pp. 265-272,and one
   chapter on gastric hormones in: Hormonal Signaling in Biology & Medicine. Gerald
   Litwack, editor. Elsevier. 2019, pp. 341-360


   Expert (1 of 5) at FDA meeting in Washington, year 2000, about proton pump inhibitors
   over the counter.



                                        Page 3 of 7
  Case 3:18-cv-01063-JWD-EWD             Document 99-4        04/27/22      Page 180 of 236




      Together with Director Sidney Wolfe, Public Citizen wrote a petition to FDA in 2011




      Various national prizes.




      Guest Editor twice in: International Journal of Molecular Sciences. Topic: Proton Pump
      Inhibitors.


Participation in congresses and meetings:

      DDWs 33 times, the first years with abstracts, but since 1996 when I realized that I never
      would be allowed to make an oral presentation, seldom with abstracts, but always
      participating in the oral discussions.

      World Congress of Gastroenterology: Madrid 1978, Stockholm 1982, Sao Paulo 1986,
      Sydney 1990, Vienna 1998, Bangkok 2002, London 2009.

      European Gastroenterology Congress. Participated in many meetings during the 90-ties
      and early part of 2000, but not the last meetings since I prefer DDW compared with
      European Gastroenterology Congress due to more focus on basic science. For two years I
      represented the Nordic and Baltic countries in UEG (United European Gastroenterology).

      Gastrin meetings. Diana Point 1992 (X), Tucson 1999 and London 2005 (XVII)

      Participated in the meetings ahead of establishing the European Neuroendocrine Tumours
      Society (ENETS) and have been taking parts in every of the subsequent yearly meetings.

      Participated in all yearly meetings in Norwegian Society of Gastroenterology

      Participated in: International Congress of Gastric Cancer 2001 (XIV) and 2005 (XVI)

      Participated in multiple meetings arranged by pharmaceutical industry

      Organized international meeting: Histamine and the Stomach in Trondheim, 1990 with
      most of the international experts present. The book: Histamine and the Stomach, Edited
      by Helge L. Waldum and Hermod Petersen. Scand J Gastroenterol 1991; 26, Suppl 180,
      is still up to date in most aspects.




                                         Page 4 of 7
  Case 3:18-cv-01063-JWD-EWD              Document 99-4        04/27/22     Page 181 of 236




       Seminar on basic gastric physiology in connection with my 60th birthday where among
       others: Nobel Prize Lauriat Sir James Black, Professor Rolf Håkanson (the man who
       described the ECL cell), professor Jens Rehfeld ( the world leading expert in gastrin and
       CCK biochemistry), Professor Irvin Modlin (one of the leading experts in
       neuroendocrinology) and Professor Michel Mignon ( leading expert within gastrin
       producing tumors) were present.



Trondheim, December 16th , 2021
Helge L. Waldum


Book chapters

I.      Waldum HL, Huser PO.
Stress-reaksjoner under usedvanlig harde militærøvelser i fredstid
In: Sanitetsnytt 1974; 1: 1-18.
II.     Hermansen L, Mæhlum S, Pruett EDR, Vaage O, Waldum HL, Wessel-Aas T.
Lactate removal at rest and during exercise.
In: Metabolic adaption to prolonged physical exercise. H. Howald, J. Poortmans (eds),
Birkhäuser Verlag, Basel 1975, pp. 101-105.
III.    Waldum HL.
Radioimmunoassay of pepsin in gastric juice.
In: Pepsinogens in man: Clinical and genetic advances. J. Kreuning, IM. Samlof, JI. Rotter, AW.
Eriksson (eds). Alan R. Liss, Nev York 1985: 75-78.
IV.     Waldum HL.
The influence of nervous and humoral stimulation on serum group I pepsinogens.
In: Pepsinogens in man: Clinical and genetic advances. J. Kreuning, IM. Samloff, JI. Rotter,
AW. Eriksson (eds). Alan R. Liss, New York 1985: 115-127.
V.      Waldum HL.
Les activateurs de l'adenylate cyclase au niveau de la cellule pariétale.
Mémoire bibliographique pour le DEA de Biologie Cellulaire et Fonctionelle des Processus
Digestifs 1987-1988, Université de Paris.
VI.     Waldum HL.
Production d'anticorps monoclonaux à partir d'une lignée de cellules gastriques humaines HGT-
1. Diplôme d'etudes approfondies de biologie cellulaire et fonctionelle des processus digestifs.
Année 1987-1988. Responsable: Professeur S. Bonfils - Paris
VII. Waldum HL.
Viral etiology of cancers.
In: Theories of Carcinogenesis. OH. Iversen (ed), Hemisphere publishing Corporation,
Washington 1988: 301-302.
VIII. Waldum HL, Kleveland PM, Sandvik AK.
Effects of gastrin on isolated perfused stomach.
In: The stomach as an endocrine organ. R. Håkanson, F. Sundler (eds), Erik Fernstrøm
Symposium. Elsevier 1991: 283-296.

                                          Page 5 of 7
  Case 3:18-cv-01063-JWD-EWD              Document 99-4        04/27/22     Page 182 of 236




IX.     Iwasa K, Sandvik AK, Waldum HL.
Pentagastrin-stimulated histamine release and acid secretion from the totally isolated vascularly
perfused rat stomach.
In: New perspectives in histamine research. H. Timmerman, H. van der Goot (eds). Birkhauser,
Basel, 1991: 429-434.
X.      Waldum HL, Sandvik AK, Brenna E.
Gastrin: Histamine-releasing activity.
In: Gastrin. JH Walsh (ed.). Raven press, 1993: 259-271.
XI.     Waldum HL, Sandvik AK.
Gastric functional and trophic receptors for CCK.
In: Aspects of synaptic transmission: acetylcholine, sigma receptors, CCK ans eicosanoids,
neurotoxins. T. Smith (ed.) Taylor and Francis Ltd., London. 1993: 157-172.
XII. Waldum HL.
Regulering av funksjon og vekst i ventrikkelen. De diffust spredte neuroendokrine cellers rolle i
funksjons- og vekstkontroll - implikasjoner for carcinogenese.
I Trøndelag Medisinske Selskap 150 år. H. Leira, (ed.). Tapir 1993: 242-247.
XIII. Waldum HL, Syversen U.
Chromogranin A (CgA) and the enterochromaffin-like (ECL) cell. Adv Exp Med Biol 2000; 482:
361-367. In: Chromogranins: Functional and clinical aspects. K Helle and D Aunis (eds.).
Kluwer Academic/Plenum Publishers, New York, 2000).
XIV. Qvigstad G, Waldum HL.
ECL origin of gastric carcinomas not only in rodents, but also in man.
In: 4th International Gastric Cancer Congress, New York April 30-May 2, 2001. MF Brennan,
MS Karpeh, eds. Monduzzi Editore S.p.A. Medimond Inc. 2001: 577-581.
XV. Waldum HL, Qvigstad G, Brenna E.
Omeprazole, a proton pump inhibitor.
In: Predictive value of rodent forestomach and gastric neuroendocrine tumours in evaluating
carcinogenic risks to humans. Views and expert opinions of an IARC Working Group, Lyon, 29.
November 1. December 1999. IARC Technical Publication No. 39, Lyon 2003: 159-165.
XVI. Waldum HL, Fossmark R, Qvigstad G, Bakkelund KE, Martinsen TC, Kawase S.
The Japanese cotton rat develops spontaneously an ECL cell derived gastric carcinoma.
In: 6th International Gastric Cancer Congress. M. Kitajima, Otani Y. (eds.). Medimond
International Proceedings 2005; p317-322.
XVII. Waldum HL, Kleveland PM, Sandvik AK, Brenna E, Bakke I.
Gastrin and cell proliferation.
 In: IM Modlin (ed): From gastrin to GERD. Felsenstein CCCP 2006, pp 60-66.
XVIII. Waldum HL, Martinsen TC.
Tobacco and cancer in the digestive tract.
In: Cho CH, Purohit V (eds): Alcohol, tobacco and cancer. Basel, Karger 2006: 229-236.
XIX. Waldum HL.
Stomach Hormones.
In: Hormonal Signaling in Biology & Medicine. Gerald Litwack, editor. Elsevier. 2019, pp. 341-
360
XX. Waldum HL, Fossmark R.
Enterochromaffin-like (ECL) Cells



                                          Page 6 of 7
  Case 3:18-cv-01063-JWD-EWD             Document 99-4        04/27/22     Page 183 of 236




In: Encyclopedia of Gastroenterology 2nd Edition. (Ernst Kuipers editor). Elsevier 2019.pp. 265-
272




                                          Page 7 of 7
Case 3:18-cv-01063-JWD-EWD   Document 99-4   04/27/22   Page 184 of 236




                             APPENDIX C

                        PUBLICATIONS LIST




                             Page 1 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22       Page 185 of 236




1: Waldum H, Martinsen TC.
Chronic diseases: what about infections of virus and prions via the gut?
Therap Adv Gastroenterol. 2021 Sep28;14:17562848211028805. doi:
10.1177/17562848211028805. PMID: 34603505; PMCID:PMC8481751.

2: Waldum H.
Tumor Classification Should Be Based on Biology and Not Consensus: Re-Defining
Tumors Based on Biology May Accelerate Progress, An Experience of Gastric Cancer.
Cancers (Basel). 2021 Jun 24;13(13):3159. doi:
10.3390/cancers13133159. PMID: 34202596; PMCID: PMC8269176.

3: Waldum H, Fossmark R.
Gastritis, Gastric Polyps and Gastric Cancer.
Int J MolSci. 2021 Jun 18;22(12):6548. doi: 10.3390/ijms22126548. PMID: 34207192;
PMCID:PMC8234857.

4: Ness-Jensen E, Bringeland EA, Mattsson F, Mjønes P, Lagergren J, Grønbech JE,
Waldum HL, Fossmark R.
Hypergastrinemia is associated with an increased risk of gastric adenocarcinoma with
proximal location:
A prospective population-based nested case-control study.
Int J Cancer. 2021 Apr 15;148(8):1879-1886. doi:10.1002/ijc.33354. Epub 2020 Nov 2. PMID:
33091962; PMCID: PMC7984285.

5: Helgadóttir H, Lund SH, Gizurarson S, Waldum H, Björnsson ES.
Pharmacokinetics of single and repeated oral doses of esomeprazole and gastrin
elevation in healthy males and females.
Scand J Gastroenterol. 2021Feb;56(2):128-136. doi: 10.1080/00365521.2020.1859610.
Epub 2020 Dec 17. PMID:33327801.

6: Kjellman M, Knigge U, Welin S, Thiis-Evensen E, Gronbaek H, Schalin-Jäntti C,Sorbye
H, Joergensen MT, Johanson V, Metso S, Waldum H, Søreide JA, Ebeling T, Lindberg F,
Landerholm K, Wallin G, Salem F, Schneider MDP, Belusa R.
A Plasma Protein Biomarker Strategy for Detection of Small Intestinal
NeuroendocrineTumors.
Neuroendocrinology. 2021;111(9):840-849. doi: 10.1159/000510483. Epub
2020 Jul 28. PMID: 32721955.

7: Waldum H, Mjønes P.
Towards Understanding of Gastric Cancer Based upon Physiological Role of
Gastrin and ECL Cells.
Cancers (Basel). 2020 Nov 22;12(11):3477. doi: 10.3390/cancers12113477. PMID: 33266504;
PMCID: PMC7700139.




                                        Page 2 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22    Page 186 of 236




8: Waldum HL.
The increase in early-onset gastric carcinomas from 1995 is probably due to the
introduction of proton pump inhibitors.
Surgery. 2020 Sep;168(3):568-569. doi: 10.1016/j.surg.2020.01.016. Epub 2020 Feb 28.
PMID:32122656.

9: Waldum H, Mjønes PG. Correct Identification of Cell of Origin May Explain Many
Aspects of Cancer: The Role of Neuroendocrine Cells as Exemplified from the Stomach.
Int J Mol Sci. 2020 Aug 11;21(16):5751. doi: 10.3390/ijms21165751.
PMID: 32796591; PMCID: PMC7461029.

10: Waldum H. Gastrin drives gastric cancer due to oxyntic atrophy also after Helicobacter
pylori eradication. Therap Adv Gastroenterol. 2020 Jun 23; 13:1756284820931717. doi:
10.1177/1756284820931717. PMID: 32636927; PMCID: PMC7313333.

11: Waldum HL.
Clinical consequences of controversies in gastric physiology.
Scand J Gastroenterol. 2020 Jun;55(6):752-758. doi:
10.1080/00365521.2020.1771758. Epub 2020 Jun 9. PMID: 32515242.

12: Waldum HL.
Reflections after 10 years as Editor, including 8 years as Editor-in-Chief in
Scandinavian Journal of Gastroenterology.
Scand J Gastroenterol. 2020 Jun;55(6):638-639. doi: 10.1080/00365521.2020.1758875. Epub
2020 Apr 30.
PMID: 32352880.

13: Aasarød KM, Waldum HL, Stunes AK, Sandvik AK, Flatberg A, Mjønes P, Syversen
U, Bakke I, Fossmark R. Gastric Corpus Mucosal Hyperplasia and Neuroendocrine Cell
Hyperplasia, but not Spasmolytic Polypeptide-Expressing Metaplasia, Is Prevented by a
Gastrin Receptor Antagonist in H(+)K(+)ATPase
Beta Subunit Knockout Mice.
Int J Mol Sci. 2020 Jan 31;21(3):927. doi: 10.3390/ijms21030927. PMID: 32023822; PMCID:
PMC7037105.

14: Martinsen TC, Fossmark R, Waldum HL.
The Phylogeny and Biological Function of Gastric Juice-Microbiological Consequences of
Removing Gastric Acid.
Int J Mol Sci. 2019 Nov 29;20(23):6031. doi: 10.3390/ijms20236031. PMID: 31795477;
PMCID: PMC6928904.

15: Fossmark R, Martinsen TC, Waldum HL.
Adverse Effects of Proton Pump Inhibitors-Evidence and Plausibility.
Int J Mol Sci. 2019 Oct 21;20(20):5203. doi: 10.3390/ijms20205203. PMID: 31640115; PMCID:
PMC6829383.




                                        Page 3 of 53
  Case 3:18-cv-01063-JWD-EWD           Document 99-4       04/27/22     Page 187 of 236




16: Waldum HL, Rehfeld JF.
Gastric cancer and gastrin: on the interaction of Helicobacter pylori gastritis and acid
inhibitory induced hypergastrinemia.
Scand J Gastroenterol. 2019 Sep;54(9):1118-1123. doi: 10.1080/00365521.2019.1663446. Epub
2019 Sep 14. PMID: 31524029.

17: Waldum HL, Fossmark R.
Role of Autoimmune Gastritis in Gastric Cancer.
Clin Transl Gastroenterol. 2019 Sep;10(9):e00080. doi: 10.14309/ctg.0000000000000080.
PMID: 31517647; PMCID: PMC6775339.

18: Fossmark R, Balto TM, Martinsen TC, Grønbech JE, Munkvold B, Mjønes PG,
Waldum HL.
Hepatic micrometastases outside macrometastases are present in all patients with ileal
neuroendocrine primary tumour at the time of liver resection.
Scand J Gastroenterol. 2019 Aug;54(8):1003-1007. doi:
10.1080/00365521.2019.1647281. Epub 2019 Aug 1. PMID: 31368380.

19: Waldum HL, Sørdal ØF, Mjønes PG.
The Enterochromaffin-like [ECL] Cell-Central in Gastric Physiology and Pathology.
Int J Mol Sci. 2019 May 17;20(10):2444. doi: 10.3390/ijms20102444. PMID: 31108898;
PMCID: PMC6567877.

20: Waldum HL, Fossmark R.
Types of Gastric Carcinomas.
Int J Mol Sci. 2018 Dec 18;19(12):4109. doi: 10.3390/ijms19124109. PMID: 30567376;
PMCID: PMC6321162.

21: Waldum HL.
Editorial: proton pump inhibitors (PPIs) and primary liver cancer.
Aliment Pharmacol Ther. 2018 Aug;48(3):380-381. doi: 10.1111/apt.14841.PMID: 29998498.

22: Waldum HL, Sørdal Ø, Fossmark R. Proton pump inhibitors (PPIs) may cause
gastric cancer - clinical consequences.
Scand J Gastroenterol. 2018 Jun;53(6):639-642. doi: 10.1080/00365521.2018.1450442.
Epub 2018 May 31. PMID:29852782.

23: Waldum HL, Öberg K, Sørdal ØF, Sandvik AK, Gustafsson BI, Mjønes P, Fossmark R.
Not only stem cells, but also mature cells, particularly neuroendocrine cells, may develop
into tumours:
time for a paradigm shift.
Therap Adv Gastroenterol. 2018 May 27;11:1756284818775054. doi:
10.1177/1756284818775054.
PMID: 29872453; PMCID: PMC5974566.




                                       Page 4 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22     Page 188 of 236




24: Mjønes P, Nordrum IS, Sørdal Ø, Sagatun L, Fossmark R, Sandvik A, Waldum HL.
Expression of the Cholecystokinin-B Receptor in Neoplastic Gastric Cells.
Horm Cancer. 2018 Feb;9(1):40-54. doi: 10.1007/s12672-017-0311-8. Epub 2017 Oct 4.
PMID: 28980157; PMCID: PMC5775387.

25: Waldum HL, Fossmark R.
Proton pump inhibitors and gastric cancer: a long expected side effect finally reported also
in man.
Gut. 2018 Jan;67(1):199-200.doi: 10.1136/gutjnl-2017-315629. Epub 2017 Nov 20. PMID:
29158236; PMCID:
PMC5754847.

26: Mjønes P, Sagatun L, Nordrum IS, Waldum HL.
Neuron-Specific Enolase as an Immunohistochemical Marker Is Better Than Its
Reputation.
J Histochem Cytochem. 2017 Dec;65(12):687-703. doi: 10.1369/0022155417733676. Epub 2017
Oct 3. PMID:
28972818; PMCID: PMC5714096.

27: Vange P, Bruland T, Doseth B, Fossmark R, Sousa MML, Beisvag V, Sørdal Ø,
Qvigstad G, Waldum HL, Sandvik AK, Bakke I.
The cytoprotective protein clusterin is overexpressed in hypergastrinemic rodent models of
oxyntic preneoplasia and promotes gastric cancer cell survival.
PLoS One. 2017 Sep 13;12(9):e0184514.doi: 10.1371/journal.pone.0184514. PMID: 28902909;
PMCID: PMC5597207.

28: Waldum HL, Björnsson ES, Brenna E.
Chronic cholestatic liver diseases.
Scand J Gastroenterol. 2017 Jun-Jul;52(6-7):788. doi: 10.1080/00365521.2017.1296276.
Epub 2017 Feb 28. PMID: 28276829.

29: Mjønes PG, Nordrum IS, Qvigstad G, Sørdal Ø, Rian LL, Waldum HL.
Expression of erythropoietin and neuroendocrine markers in clear cell renal cell
carcinoma.
APMIS. 2017 Mar;125(3):213-222. doi: 10.1111/apm.12654. PMID: 28233444.

30: Boyce M, Moore AR, Sagatun L, Parsons BN, Varro A, Campbell F, Fossmark R,
Waldum HL, Pritchard DM. Netazepide, a gastrin/cholecystokinin-2 receptor antagonist,
can eradicate gastric neuroendocrine tumours in patients with autoimmune chronic
atrophic gastritis.
Br J Clin Pharmacol. 2017 Mar;83(3):466-475. doi: 10.1111/bcp.13146. Epub 2016 Nov 21.
PMID: 27704617;
PMCID: PMC5306499.




                                        Page 5 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22     Page 189 of 236




31: Waldum HL, Sagatun L, Mjønes P.
Gastrin and Gastric Cancer.
Front Endocrinol (Lausanne). 2017 Jan 17;8:1. doi: 10.3389/fendo.2017.00001. PMID:
28144230;
PMCID: PMC5239792.

32: Waldum HL, Kleveland PM, Sørdal ØF.
Helicobacter pylori and gastric acid: an intimate and reciprocal relationship.
Therap Adv Gastroenterol. 2016Nov;9(6):836-844. doi: 10.1177/1756283X16663395. Epub
2016 Aug 23. PMID:
27803738; PMCID: PMC5076771.

33: Sagatun L, Mjønes P, Jianu CS, Boyce M, Waldum HL, Fossmark R.
The gastrin receptor antagonist netazepide (YF476) in patients with type 1 gastric
enterochromaffin-like cell neuroendocrine tumours: review of long-term treatment.
Eur J Gastroenterol Hepatol. 2016 Nov;28(11):1345-1352.
doi:10.1097/MEG.0000000000000713. PMID: 27682220.

34: Sagatun L, Fossmark R, Jianu CS, Qvigstad G, Nordrum IS, Mjønes P, Waldum HL.
Follow-up of patients with ECL cell-derived tumours.
Scand J Gastroenterol. 2016 Nov;51(11):1398-405. doi: 10.3109/00365521.2016.1169588. Epub
2016 Jun 16.
PMID: 27309188.

35: Waldum HL, Martinsen TC.
Proton Pump Inhibitors and Dementia Incidence.
JAMA Neurol. 2016 Aug 1;73(8):1026. doi: 10.1001/jamaneurol.2016.1497. PMID:27322028.

36: Fossmark R, Calvete O, Mjønes P, Benitez J, Waldum HL.
ECL-cell carcinoids and carcinoma in patients homozygous for an inactivating mutation in
the gastric
H(+) K(+) ATPase alpha subunit.
APMIS. 2016 Jul;124(7):561-6. doi: 10.1111/apm.12546. Epub 2016 May 6. PMID: 27150581.

37: Waldum HL, Hauso Ø, Brenna E, Qvigstad G, Fossmark R.
Does long-term profound inhibition of gastric acid secretion increase the risk of ECL cell-
derived tumors in man? Scand J Gastroenterol. 2016 Jul;51(7):767-73. doi:
10.3109/00365521.2016.1143527. Epub 2016 Feb 12. PMID: 26872579.

38: Grong E, Græslie H, Munkvold B, Arbo IB, Kulseng BE, Waldum HL, Mårvik R.
Gastrin Secretion After Bariatric Surgery-Response to a Protein-Rich Mixed Meal
Following Roux-En-Y Gastric Bypass and Sleeve Gastrectomy: a Pilot Study in
Normoglycemic Women.
Obes Surg. 2016 Jul;26(7):1448-56. doi:10.1007/s11695-015-1985-z. PMID: 26613757.




                                        Page 6 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22        Page 190 of 236




39: Waldum HL, Sørdal ØF.
Classification of Epithelial Malignant Tumors-the Differentiation Between
Adenocarcinomas and Neuroendocrine Carcinomas: Why Rely on Nonspecific
Histochemistry and Dismiss Specific Methods Like Immunohistochemistry and In Situ
Hybridization?
Appl Immunohistochem Mol Morphol. 2016 May-Jun;24(5):309-12. doi:
10.1097/PAI.0000000000000190. PMID:
26067134.

40: Waldum HL.
Proton pump inhibitors and gastric cancer.
Tidsskr Nor Laegeforen. 2016 Jan 12;136(1):13-4. English, Norwegian. doi:
10.4045/tidsskr.15.1032. PMID: 26757651.

41: Waldum H.
Re: E-sigaretter – til skade eller nytte? [Re: E-cigarettes--harmful or beneficial?].
Tidsskr Nor Laegeforen. 2015 Aug 25;135(15):1338. Norwegian. doi: 10.4045/tidsskr.15.0765.
PMID: 26315224.

42: Waldum HL.
Re: E-sigaretter – til skade eller nytte? [Re: E-cigarettes--harmful or beneficial?].
Tidsskr Nor Laegeforen. 2015 Aug 11;135(14):1222-3.Norwegian. doi: 10.4045/tidsskr.15.0712.
PMID: 26269047.

43: Waldum HL, Hauso Ø, Fossmark R.
Letter: proton pump inhibitors, hypergastrinaemia and the risk of gastric neoplasia.
Aliment Pharmacol Ther. 2015 Aug;42(3):389. doi: 10.1111/apt.13282. PMID: 26147114.

44: Hauso Ø, Martinsen TC, Waldum H.
5-Aminosalicylic acid, a specific drug for ulcerative colitis.
Scand J Gastroenterol. 2015 Aug;50(8):933-41. doi: 10.3109/00365521.2015.1018937. Epub
2015 Mar 2. PMID: 25733192.

45: Fossmark R, Sagatun L, Nordrum IS, Sandvik AK, Waldum HL.
Hypergastrinemia is associated with adenocarcinomas in the gastric corpus and shorter
patient survival.
APMIS. 2015 Jun;123(6):509-14. doi: 10.1111/apm.12380. Epub 2015 May 5. PMID:
25939315.

46: Waldum HL, Kleveland PM, Fossmark R.
Upper gastrointestinal physiology and diseases.
Scand J Gastroenterol. 2015 Jun;50(6):649-56. doi: 10.3109/00365521.2015.1009157. Epub
2015 Apr 9. PMID: 25857514.




                                        Page 7 of 53
  Case 3:18-cv-01063-JWD-EWD           Document 99-4       04/27/22     Page 191 of 236




47: Waldum HL, Hauso Ø, Sørdal ØF, Fossmark R.
Gastrin May Mediate the Carcinogenic Effect of Helicobacter pylori Infection of the
Stomach.
Dig Dis Sci. 2015 Jun;60(6):1522-7. doi: 10.1007/s10620-014-3468-9. Epub 2014 Dec 6. PMID:
25480404.

48: Sagatun L, Jianu CS, Fossmark R, Mårvik R, Nordrum IS, Waldum HL.
The gastric mucosa 25 years after proximal gastric vagotomy.
Scand J Gastroenterol. 2014 Oct;49(10):1173-80. doi: 10.3109/00365521.2014.950979. Epub
2014 Aug 26.
PMID: 25157752.

49: Waldum HL, Ringnes E, Nordbø H, Sørdal Ø, Nordrum IS, Hauso Ø.
The normal neuroendocrine cells of the upper gastrointestinal tract lack E-cadherin.
Scand J Gastroenterol. 2014 Aug;49(8):974-8. doi: 10.3109/00365521.2014.909275.
Epub 2014 Apr 17. PMID: 24742175.

50: Sørdal Ø, Qvigstad G, Nordrum IS, Sandvik AK, Gustafsson BI, Waldum H.
The PAS positive material in gastric cancer cells of signet ring type is not mucin.
Exp Mol Pathol. 2014 Jun;96(3):274-8. doi: 10.1016/j.yexmp.2014.02.008. Epub 2014 Feb 28.
PMID: 24589859.

51: Zeinali F, Hauso Ø, Wiseth R, Moufack M, Waldum HL.
Venous plasma serotonin is not a proper biomarker for pulmonary arterial hypertension.
Scand Cardiovasc J. 2014 Apr;48(2):106-10. doi: 10.3109/14017431.2014.886335. Epub 2014
Feb 24.
PMID: 24446683.

52: Waldum HL, Hauso Ø, Fossmark R.
The regulation of gastric acid secretion - clinical perspectives.
Acta Physiol (Oxf). 2014 Feb;210(2):239-56. doi: 10.1111/apha.12208. Epub 2013 Dec 27.
PMID: 24279703.

53: Yang H, Qi H, Ren J, Cui J, Li Z, Waldum HL, Cui G.
Involvement of NF- B/IL-6 Pathway in the Processing of Colorectal Carcinogenesis in
Colitis Mice.
Int J Inflam. 2014;2014:130981. doi: 10.1155/2014/130981. Epub 2014 Jun 29.
PMID: 25093140; PMCID: PMC4100381.

54: Sørdal Ø, Waldum H, Nordrum IS, Boyce M, Bergh K, Munkvold B, Qvigstad G.
The gastrin receptor antagonist netazepide (YF476) prevents oxyntic mucosal inflammation
induced by Helicobacter pylori infection in Mongolian gerbils.
Helicobacter. 2013 Dec;18(6):397-405. doi: 10.1111/hel.12066. Epub 2013 Jul 19.PMID:
23865485.




                                       Page 8 of 53
  Case 3:18-cv-01063-JWD-EWD           Document 99-4       04/27/22     Page 192 of 236




55: Fossmark R, Waldum H.
Development of diffuse carcinomas in the gastric corpus in patients with rugal hyperplastic
gastritis.
Int J Cancer. 2013 Nov;133(9):2260. doi: 10.1002/ijc.28227. Epub 2013 May 29. PMID:
23613381.

56: Aabakken L, Waldum HL.
Introducing a new executive editor, Professor Einar S.Bjørnsson.
Scand J Gastroenterol. 2013 Oct;48(10):1107. doi:10.3109/00365521.2013.832940. Epub 2013
Sep 2. PMID: 23992094.

57: Østvik AE, Granlund AV, Torp SH, Flatberg A, Beisvåg V, Waldum HL, Flo TH,
Espevik T, Damås JK, Sandvik AK.
Expression of Toll-like receptor-3 is enhanced in active inflammatory bowel disease and
mediates the excessive release of lipocalin 2.
Clin Exp Immunol. 2013 Sep;173(3):502-11. doi: 10.1111/cei.12136. PMID: 23668802;
PMCID: PMC3949638.

58: Fossmark R, Sørdal ØF, Bakkelund KE, Nordrum IS, Waldum H.
The effects of unilateral truncal vagotomy on gastric carcinogenesis in hypergastrinemic
Japanese female cotton rats.
Regul Pept. 2013 Jun 10;184:62-7. doi: 10.1016/j.regpep.2013.03.006. Epub 2013 Mar 13.
PMID: 23499800.

59: Vigen RA, Kodama Y, Viset T, Fossmark R, Waldum H, Kidd M, Wang TC, Modlin
IM, Chen D, Zhao CM. Immunohistochemical evidence for an impairment of autophagy in
tumorigenesis of gastric carcinoids and adenocarcinomas in rodent models and patients.
Histol Histopathol. 2013 Apr;28(4):531-42. doi: 10.14670/HH-28.531.
Epub 2013 Feb 7. PMID: 23389729.

60: Zeinali F, Fossmark R, Hauso Ø, Wiseth R, Hjertner Ø, Waldum HL.
Serotonin in blood: assessment of its origin by concomitant determination of -
thromboglobulin (platelets) and chromogranin A (enterochromaffin cells).
Scand J Clin Lab Invest. 2013 Mar;73(2):148-53. doi: 10.3109/00365513.2012.756121.
Epub 2013 Jan 17. PMID: 23327100.

61: Fossmark R, Waldum H.
The distressing overuse of gastric acid inhibitors.
Dig Dis Sci. 2013 Mar;58(3):600-1. doi: 10.1007/s10620-012-2532-6. Epub 2013 Jan 10. PMID:
23306853.

62: Sørdal Ø, Qvigstad G, Nordrum IS, Gustafsson B, Waldum HL.
In situ hybridization in human and rodent tissue by the use of a new and simplified
method.
Appl Immunohistochem Mol Morphol. 2013 Mar;21(2):185-9. doi:
10.1097/PAI.0b013e31825a0048. PMID: 22688353.



                                       Page 9 of 53
  Case 3:18-cv-01063-JWD-EWD           Document 99-4       04/27/22    Page 193 of 236




63: Ostvik AE, Granlund AV, Bugge M, Nilsen NJ, Torp SH, Waldum HL, Damås JK,
Espevik T, Sandvik AK.
Enhanced expression of CXCL10 in inflammatory bowel disease: potential role of mucosal
Toll-like receptor 3 stimulation.
Inflamm Bowel Dis. 2013 Feb;19(2):265-74. doi: 10.1002/ibd.23034. PMID: 22685032.

64: Fossmark R, Skarsvåg E, Aarset H, Hjorth-Hansen H, Waldum HL.
Symptomatic primary (Al) amyloidosis of the stomach and duodenum.
Case Rep Gastrointest Med. 2013;2013:525439. doi: 10.1155/2013/525439. Epub 2013 Feb 25.
PMID: 23533841;
PMCID: PMC3596920.

65: Granlund Av, Flatberg A, Østvik AE, Drozdov I, Gustafsson BI, Kidd M, Beisvag V,
Torp SH, Waldum HL, Martinsen TC, Damås JK, Espevik T, Sandvik AK.
Whole genome gene expression meta-analysis of inflammatory bowel disease colon mucosa
demonstrates lack of major differences between Crohn's disease and ulcerative colitis.
PLoS One. 2013;8(2):e56818. doi: 10.1371/journal.pone.0056818. Epub 2013 Feb 13. PMID:
23468882; PMCID:
PMC3572080.

66: Bjøro K, Aabakken L, Waldum HL.
Cinical gastroenterology.
Scand J Gastroenterol. 2013 Jan;48(1):3. doi: 10.3109/00365521.2013.754638. PMID:
23244450.

67: Waldum HL, Hauso Ø.
Gastric acid inhibitors may prevent/heal oxyntic lesions by reducing blood demand.
Gut. 2013 Jan;62(1):184. doi:10.1136/gutjnl-2012-303077. Epub 2012 Jul 5. PMID: 22767421.

68: Fossmark R, Sørdal Ø, Jianu CS, Qvigstad G, Nordrum IS, Boyce M, Waldum HL.
Treatment of gastric carcinoids type 1 with the gastrin receptor antagonist netazepide
(YF476) results in regression of tumours and normalisation of serum chromogranin A.
Aliment Pharmacol Ther. 2012 Dec;36(11-12):1067-75. doi: 10.1111/apt.12090. Epub 2012 Oct
16. PMID 23072686.

69: Jianu CS, Fossmark R, Viset T, Qvigstad G, Sørdal O, Mårvik R, Waldum HL.
Gastric carcinoids after long-term use of a proton pump inhibitor.
Aliment Pharmacol Ther. 2012 Oct;36(7):644-9. doi: 10.1111/apt.12012. Epub 2012 Aug 5.
PMID: 22861200.

70: Riis A, Martinsen TC, Waldum HL, Fossmark R.
Clinical experience with infliximab and adalimumab in a single-center cohort of patients
with Crohn's disease. Scand J Gastroenterol. 2012 Jun;47(6):649-57. doi:
10.3109/00365521.2012.672591. Epub 2012 Apr 4. PMID: 22472026.




                                       Page 10 of 53
  Case 3:18-cv-01063-JWD-EWD             Document 99-4       04/27/22     Page 194 of 236




71: Waldum HL, Sandvik AK, Hauso O, Qvigstad G, Fossmark R.
Withdrawing PPI therapy: response to Metz et al.
Am J Gastroenterol. 2012 Feb;107(2):325-6; author reply 326. doi: 10.1038/ajg.2011.391.
PMID: 22306953.

72: Bakkelund KE, Nordrum IS, Fossmark R, Waldum HL.
Gastric carcinomas localized to the cardia.
Gastroenterol Res Pract. 2012;2012:457831. doi:10.1155/2012/457831. Epub 2012 Feb 28.
PMID: 22474435; PMCID: PMC3299334.

73: Jianu CS, Lange OJ, Viset T, Qvigstad G, Martinsen TC, Fougner R, KlevelandPM,
Fossmark R,
Hauso Ø, Waldum HL.
Gastric neuroendocrine carcinoma after long-term use of proton pump inhibitor.
Scand J Gastroenterol. 2012 Jan;47(1):64-7.doi: 10.3109/00365521.2011.627444. Epub 2011
Nov 16. PMID: 22087794.

74: Fossmark R, Stunes AK, Petzold C, Waldum HL, Rubert M, Lian AM, Reseland JE,
Syversen U.
Decreased bone mineral density and reduced bone quality in H(+)
/K(+) ATPase beta-subunit deficient mice.
J Cell Biochem. 2012 Jan;113(1):141-7. doi: 10.1002/jcb.23337. PMID: 21882222.

75: Martinsen TC, Benestad SL, Moldal T, Waldum HL.
Inhibitors of gastric acid secretion increase the risk of prion infection in mice.
Scand J Gastroenterol. 2011 Dec;46(12):1418-22. doi: 10.3109/00365521.2011.619277. Epub
2011 Sep 22.
PMID: 21936725.

76: Granlund Av, Beisvag V, Torp SH, Flatberg A, Kleveland PM, Ostvik AE, Waldum
HL, Sandvik AK.
Activation of REG family proteins in colitis.
Scand J Gastroenterol. 2011 Nov;46(11):1316-23. doi: 10.3109/00365521.2011.605463. PMID:
21992413; PMCID: PMC3212911.

77: Stunes AK, Reseland JE, Hauso O, Kidd M, Tømmerås K, Waldum HL, Syversen U,
Gustafsson BI.
Adipocytes express a functional system for serotonin synthesis, reuptake and receptor
activation.
Diabetes Obes Metab. 2011 Jun;13(6):551-8. doi: 10.1111/j.1463-1326.2011.01378.x. PMID:
21320265.




                                        Page 11 of 53
  Case 3:18-cv-01063-JWD-EWD           Document 99-4       04/27/22     Page 195 of 236




78: Gustafsson BI, Bakke I, Hauso Ø, Kidd M, Modlin IM, Fossmark R, Brenna E,
Waldum HL.
Parietal cell activation by arborization of ECL cell cytoplasmic projections is likely the
mechanism for histamine induced secretion of hydrochloric acid.
Scand J Gastroenterol. 2011 May;46(5):531-7. doi:10.3109/00365521.2011.558113. Epub 2011
Feb 23. PMID: 21342027.

79: Jianu CS, Fossmark R, Syversen U, Hauso Ø, Fykse V, Waldum HL.
Five-year follow-up of patients treated for 1 year with octreotide long-acting release for
enterochromaffin-like cell carcinoids.
Scand J Gastroenterol. 2011 Apr;46(4):456-63. doi: 10.3109/00365521.2010.539255. Epub 2010
Dec 7. PMID:
21133821.

80: Fossmark R, Qvigstad G, Martinsen TC, Hauso Ø, Waldum HL.
Animal models to study the role of long-term hypergastrinemia in gastric carcinogenesis.
J Biomed Biotechnol. 2011;2011:975479. doi: 10.1155/2011/975479. Epub 2010 Nov 24. PMID:
21127707; PMCID: PMC2992820.

81: Jianu CS, Fossmark R, Syversen U, Hauso Ø, Waldum HL.
A meal test improves the specificity of chromogranin A as a marker of neuroendocrine
neoplasia.
Tumour Biol. 2010 Oct;31(5):373-80. doi: 10.1007/s13277-010-0045-5. Epub 2010 May 18.
PMID: 20480408.

82: Bakkelund KE, Waldum HL, Nordrum IS, Hauso Ø, Fossmark R.
Long-term gastric changes in achlorhydric H(+)/K(+)-ATPase beta subunit deficient mice.
Scand J Gastroenterol. 2010 Sep;45(9):1042-7. doi: 10.3109/00365521.2010.490952. PMID:
20476858.

83: Waldum HL, Hauso Ø, Sandvik AK.
PPI-induced hypergastrinaemia and Barrett's mucosa: the fog thickens.
Gut. 2010 Aug;59(8):1157-8; authr reply 1158. doi:10.1136/gut.2010.213173. PMID: 20639256.

84: Waldum HL.
Protonpumpehemmere uten resept [Proton pump inhibitors without prescription].
Tidsskr Nor Laegeforen. 2010 May 20;130(10):1014. Norwegian. doi:10.4045/tidsskr.10.0404.
PMID: 20489795.

85: Waldum HL, Qvigstad G, Fossmark R, Kleveland PM, Sandvik AK.
Rebound acid hypersecretion from a physiological, pathophysiological and clinical
viewpoint.
Scand J Gastroenterol. 2010 Apr;45(4):389-94. doi: 10.3109/00365520903477348.PMID:
20001749.




                                       Page 12 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4        04/27/22    Page 196 of 236




86: Waldum HL, Martinsen TC, Hauso O, Qvigstad G.
Oral proton-pump inhibitors and step-down therapy for nonulcer dyspepsia: is this the
right approach?
Therap Adv Gastroenterol. 2010 Mar;3(2):73-6. doi: 10.1177/1756283X09357220. PMID:
21180591; PMCID: PMC3002572.

87: Martinsen TC, Herter R, Dybdahl JH, Waldum HL.
Bruk av TNF-alpha-antistoff ved inflammatorisk tarmsykdom [Use of TNFalpha
antibodies in treatment of
inflammatory bowel disease].
Tidsskr Nor Laegeforen. 2010 Feb 11;130(3):273-7. Norwegian. doi: 10.4045/tidsskr.09.0642.
PMID: 20160771.

88: Martinsen TC, Skogaker NE, Fossmark R, Nordrum IS, Sandvik AK, Bendheim MØ,
Bakkelund KE, Waldum HL. Neuroendocrine cells in diffuse gastric carcinomas: an
ultrastructural study with immunogold
labeling of chromogranin A.
Appl Immunohistochem Mol Morphol. 2010 Jan;18(1):62-8. doi:
10.1097/PAI.0b013e3181b70594. PMID: 19713831.

89: Waldum HL.
Protonpumpehemmere bør ikke selges reseptfritt [Proton pump inhibitors should not be
sold without prescription].
Tidsskr Nor Laegeforen. 2009 Nov 5;129(21):2263. Norwegian. doi: 10.4045/tidsskr.09.1066.
PMID:19898585.

90: Tsolakis AV, Grimelius L, Stridsberg M, Falkmer SE, Waldum HL, Saras J, Janson
ET.
Obestatin/ghrelin cells in normal mucosa and endocrine tumours of the stomach.
Eur J Endocrinol. 2009 Jun;160(6):941-9. doi: 10.1530/EJE-09-0001. Epub 2009 Mar 16. PMID:
19289536.

91: Haram PM, Kemi OJ, Lee SJ, Bendheim MØ, Al-Share QY, Waldum HL, Gilligan LJ,
Koch LG, Britton SL, Najjar SM, Wisløff U.
Aerobic interval training vs. continuous moderate exercise in the metabolic syndrome of
rats artificially
selected for low aerobic capacity.
Cardiovasc Res. 2009 Mar 1;81(4):723-32. doi:10.1093/cvr/cvn332. Epub 2008 Dec 1. PMID:
19047339; PMCID: PMC2642601.

92: Waldum HL, Kleveland PM, Brenna E, Bakke I, Qvigstad G, Martinsen TC, Fossmark
R,
Gustafsson BI, Sandvik AK.
Interactions between gastric acid secretagogues and the localization of the gastrin receptor.
Scand J Gastroenterol. 2009;44(4):390-3. doi: 10.1080/00365520802624219. PMID: 19089789.




                                        Page 13 of 53
  Case 3:18-cv-01063-JWD-EWD           Document 99-4       04/27/22     Page 197 of 236




93: Bakkelund K, Fossmark R, Nordrum IS, Waldum HL.
Effect of antrectomy in hypergastrinaemic female Japanese cotton rats.
Scand J Gastroenterol. 2009;44(1):32-9. doi: 10.1080/00365520802308011. PMID: 19037819.

94: Li Z, Liu J, Tang F, Liu Y, Waldum HL, Cui G.
Expression of non-mast cell histidine decarboxylase in tumor-associated microvessels in
human esophageal
squamous cell carcinomas.
APMIS. 2008 Dec;116(12):1034-42. doi: 10.1111/j.1600-0463.2008.01048.x. PMID: 19133005.

95: Hauso O, Gustafsson BI, Kidd M, Waldum HL, Drozdov I, Chan AK, Modlin IM.
Neuroendocrine tumor epidemiology: contrasting Norway and North America.
Cancer.2008 Nov 15;113(10):2655-64. doi: 10.1002/cncr.23883. PMID: 18853416.

96: Waldum HL, Sandvik AK, Brenna E, Fossmark R, Qvigstad G, Soga J.
Classification of tumours.
J Exp Clin Cancer Res. 2008 Nov 14;27(1):70. doi: 10.1186/1756-9966-27-70. PMID:
19014574; PMCID: PMC2596779.

97: Qvigstad G, Kolbjørnsen Ø, Skancke E, Waldum HL.
Gastric neuroendocrine carcinoma associated with atrophic gastritis in the norwegian
lundehund.
J Comp Pathol. 2008 Nov;139(4):194-201. doi: 10.1016/j.jcpa.2008.07.001. Epub 2008 Sep 25.
PMID: 18817920.

98: Hauso O, Gustafsson BI, Nordrum IS, Waldum HL.
The effect of terguride in carbon tetrachloride-induced liver fibrosis in rat.
Exp Biol Med (Maywood). 2008 Nov;233(11):1385-8. doi: 10.3181/0804-RM-137. Epub 2008
Aug 14. PMID: 18703754.

99: Waldum HL.
August issue of Scandinavian Journal of Gastroenterology.
Scand J Gastroenterol. 2008 Aug;43(8):899-901. doi: 10.1080/00365520802273348. PMID:
18649223.

100: Nørsett KG, Laegreid A, Kusnierczyk W, Langaas M, Ylving S, Fossmark R, Myhre
S, Falkmer S, Waldum HL, Sandvik AK.
Changes in gene expression of gastric mucosa during therapeutic acid inhibition.
Eur J Gastroenterol Hepatol. 2008 Jul;20(7):613-23. doi: 10.1097/MEG.0b013e3282f5dc19.
PMID: 18679062.




                                       Page 14 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4        04/27/22     Page 198 of 236




101: Sørhaug S, Steinshamn S, Munkvold B, Waldum HL.
Release of neuroendocrine products in the pulmonary circulation during intermittent
hypoxia in isolated
rat lung.
Respir Physiol Neurobiol. 2008 Jun 30;162(1):1-7. doi: 10.1016/j.resp.2008.02.014. Epub 2008
Mar 12. PMID: 18468494.

102: Bye A, Sørhaug S, Ceci M, Høydal MA, Stølen T, Heinrich G, Tjønna AE, Najjar SM,
Nilsen OG, Catalucci D, Grimaldi S, Contu R, Steinshamn S, Condorelli G, Smith GL,
Ellingsen O, Waldum H, Wisløff U.
Carbon monoxide levels experienced by heavy smokers impair aerobic capacity and
cardiac contractility
and induce pathological hypertrophy.
Inhal Toxicol. 2008 May;20(7):635-46. doi: 10.1080/08958370701883821. PMID: 18464052.

103: Tsolakis AV, Stridsberg M, Grimelius L, Portela-Gomes GM, Falkmer SE, Waldum
HL, Janson ET.
Ghrelin immunoreactive cells in gastric endocrine tumors
and their relation to plasma ghrelin concentration.
J Clin Gastroenterol. 2008 Apr;42(4):381-8. doi: 10.1097/MCG.0b013e318032338c. PMID:
18277901.

104: Fossmark R, Qvigstad G, Waldum HL.
Gastric cancer: animal studies on the risk of hypoacidity and hypergastrinemia.
World J Gastroenterol. 2008 Mar 21;14(11):1646-51. doi: 10.3748/wjg.14.1646. PMID:
18350594; PMCID: PMC2695903.

105: Fossmark R, Jianu CS, Martinsen TC, Qvigstad G, Syversen U, Waldum HL.
Serum gastrin and chromogranin A levels in patients with fundic gland polyps caused by
long-term
proton-pump inhibition.
Scand J Gastroenterol. 2008 Jan;43(1):20-4. doi: 10.1080/00365520701561959. PMID:
18938772.

106: Hauso Ø, Gustafsson BI, Loennechen JP, Stunes AK, Nordrum I, Waldum HL.
Long-term serotonin effects in the rat are prevented by terguride.
Regul Pept. 2007 Oct 4;143(1-3):39-46. doi: 10.1016/j.regpep.2007.02.009. Epub 2007 Mar 1.
PMID: 17391782.

107: Hauso Ø, Gustafsson BI, Waldum HL.
Long slender cytoplasmic extensions: a common feature of neuroendocrine cells?
J Neuroendocrinol. 2007 Sep;19(9):739-42. doi: 10.1111/j.1365-2826.2007.01578.x. PMID:
17680890.




                                        Page 15 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22    Page 199 of 236




108: Waldum HL, Qvigstad G.
Proton pump inhibitors and gastric neoplasia.
Gut. 2007 Jul;56(7):1019-20; author reply 1020. doi: 10.1136/gut.2006.116434. PMID:
17566032; PMCID: PMC1994369.

109: Westbroek I, Waarsing JH, van Leeuwen JP, Waldum H, Reseland JE, Weinans H,
Syversen U, Gustafsson BI. Long-term fluoxetine administration does not result in major
changes in bone architecture and
strength in growing rats.
J Cell Biochem. 2007 May 15;101(2):360-8. doi: 10.1002/jcb.21177. PMID: 17163489.

110: Fossmark R, Waldum H.
Rebound acid hypersecretion.
Aliment Pharmacol Ther. 2007 Apr 15;25(8):999-1000; author reply 1000. doi: 10.1111/j.1365-
2036.2007.03263.x. PMID: 17403004.

111: Fossmark R, Brenna E, Waldum HL.
pH 4.0.
Scand J Gastroenterol. 2007 Mar;42(3):297-8. doi: 10.1080/00365520600887828. PMID:
17354107.

112: Sørhaug S, Steinshamn S, Haaverstad R, Nordrum IS, Martinsen TC, Waldum HL.
Expression of neuroendocrine markers in non-small cell lung cancer.
APMIS. 2007 Feb;115(2):152-63. doi: 10.1111/j.1600-0463.2007.apm_542.x. PMID: 17295682.

113: Erlandsen SE, Fykse V, Waldum HL, Sandvik AK.
Octreotide induces apoptosis in the oxyntic mucosa.
Mol Cell Endocrinol. 2007 Jan 29;264(1-2):188-96. doi: 10.1016/j.mce.2006.12.031. Epub 2007
Jan 8. PMID: 17210224.

114: Cui G, Waldum HL.
Physiological and clinical significance of enterochromaffin-like cell activation in the
regulation of gastric acid
secretion.
World J Gastroenterol. 2007 Jan 28;13(4):493-6. doi: 10.3748/wjg.v13.i4.493. PMID: 17278212;
PMCID: PMC4065968.

115: Sørhaug S, Steinshamn S, Nilsen OG, Waldum HL.
Chronic inhalation of carbon monoxide: effects on the respiratory and cardiovascular
system at doses
corresponding to tobacco smoking.
Toxicology. 2006 Dec 7;228(2-3):280-90. doi:10.1016/j.tox.2006.09.008. Epub 2006 Sep 29.
PMID: 17056171.




                                       Page 16 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4        04/27/22     Page 200 of 236




116: Sørhaug S, Langhammer A, Waldum HL, Hveem K, Steinshamn S.
Increased serum levels of chromogranin A in male smokers with airway obstruction.
Eur Respir J. 2006 Sep;28(3):542-8. doi: 10.1183/09031936.06.00092205. Epub 2006 May 17.
PMID:
16707514.

117: Waldum HL, Qvigstad G.
Achlorhydria, parietal cell hyperplasia, and multiple gastric carcinoids: a new disorder?
Am J Surg Pathol. 2006 Jul;30(7):919. doi: 10.1097/01.pas.0000202157.57868.6b. PMID:
16819339.

118: Linder S, Myrvold K, Falkmer UG, Qvigstad G, Waldum HL, Falkmer SE.
Neuroendocrine cells in pancreatic duct adenocarcinoma: an immunohistochemical study.
J Exp Clin Cancer Res. 2006 Jun;25(2):213-21. PMID: 16918133.

119: Jianu C, Qvigstad G, Waldum HL.
Synchronous gastric adenocarcinoma and carcinoid.
J Gastrointestin Liver Dis. 2006 Jun;15(2):202; author reply 202-3. PMID: 16802019.

120: Martinsen TC, Waldum HL.
Gastric juice--a natural-born killer.
Aliment Pharmacol Ther. 2006 Jun 1;23(11):1677-8; author reply 1678. doi: 10.1111/j.1365-
2036.2006.02893.x. PMID: 16696819.

121: Bakkelund K, Fossmark R, Nordrum I, Waldum H.
Signet ring cells in gastric carcinomas are derived from neuroendocrine cells.
J Histochem Cytochem. 2006 Jun;54(6):615-21. doi: 10.1369/jhc.5A6806.2005. Epub 2005 Dec
12. PMID:
16344325.

122: Qvigstad G, Hatlen-Rebhan P, Brenna E, Waldum HL.
Capsule endoscopy in clinical routine in patients with suspected disease of the small
intestine:
a 2-year prospective study.
Scand J Gastroenterol. 2006 May;41(5):614-8. doi: 10.1080/00365520500335159. PMID:
16638706.

123: Gustafsson BI, Thommesen L, Stunes AK, Tommeras K, Westbroek I, Waldum HL,
Slørdahl K, Tamburstuen MV, Reseland JE, Syversen U.
Serotonin and fluoxetine modulate bone cell function in vitro.
J Cell Biochem. 2006 May 1;98(1):139-51. doi: 10.1002/jcb.20734. PMID: 16408289.




                                        Page 17 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22     Page 201 of 236




124: Gustafsson BI, Westbroek I, Waarsing JH, Waldum H, Solligård E, Brunsvik A,
Dimmen S, van Leeuwen JP, Weinans H, Syversen U.
Long-term serotonin administration leads to higher bone mineral density, affects bone
architecture,
and leads to higher femoral bone stiffness in rats.
J Cell Biochem. 2006 Apr 15;97(6):1283-91. doi: 10.1002/jcb.20733. PMID: 16329113.

125: Gustafsson BI, Bakke I, Tømmerås K, Waldum HL.
A new method for visualization of gut mucosal cells, describing the enterochromaffin cell in
the
rat gastrointestinal tract.
Scand J Gastroenterol. 2006 Apr;41(4):390-5. doi: 10.1080/00365520500331281. PMID:
16635905.

126: Waldum H.
Juks i medisinsk forskning [Medical research fraud].
Tidsskr Nor Laegeforen. 2006 Mar 23;126(7):935; author reply 935. Norwegian. PMID:
16554892.

127: Fykse V, Solligård E, Bendheim MØ, Chen D, Grønbech JE, Sandvik AK, Waldum
HL.
ECL cell histamine mobilization and parietal cell stimulation in the rat stomach studied by
microdialysis and electron microscopy.
Acta Physiol (Oxf). 2006 Jan;186(1):37-43. doi: 10.1111/j.1748-1716.2005.01504.x. PMID:
16497178.

128: Waldum H.
Assessment of the risk of iatrogenic hypergastrinaemia from patients with gastrinoma.
Basic Clin Pharmacol Toxicol. 2006 Jan;98(1):3. doi: 10.1111/j.1742-7843.2006.pto_378b.x.
PMID: 16433885.

129: Sandvik AK, Alsberg BK, Nørsett KG, Yadetie F, Waldum HL, Laegreid
A. Gene expression analysis and clinical diagnosis.
Clin Chim Acta. 2006 Jan;363(1-2):157-64. doi: 10.1016/j.cccn.2005.05.046. Epub 2005 Oct 5.
PMID:
16168978.

130: Waldum HL.
Nobelpris for Helicobacter pylori [Nobel Prize for Helicobacter pylori].
Tidsskr Nor Laegeforen. 2005 Dec 1;125(23):3245. Norwegian. PMID: 16327844.

131: Waldum HL, Fossmark R.
Idiopathic gastric acid hypersecretion.
Eur J Gastroenterol Hepatol. 2005 Dec;17(12):1433. doi: 10.1097/00042737-200512000-00028.
PMID: 16292103.




                                       Page 18 of 53
  Case 3:18-cv-01063-JWD-EWD           Document 99-4       04/27/22    Page 202 of 236




132: Martinsen TC, Bakke I, Chen D, Sandvik AK, Zahlsen K, Aamo T, Waldum HL.
Ciprofibrate stimulates the gastrin-producing cell by acting luminally on antral PPAR-
alpha.
Am J Physiol Gastrointest Liver Physiol. 2005 Dec;289(6):G1052-60. doi:
10.1152/ajpgi.00268.2005.
Epub 2005 Aug 11. PMID: 16099866.

133: Fykse V, Sandvik AK, Waldum HL.
One-year follow-up study of patients with enterochromaffin-like cell carcinoids after
treatment with octreotide long- acting release.
Scand J Gastroenterol. 2005 Nov;40(11):1269-74. doi: 10.1080/00365520510023684. PMID:
16334435.

134: Waldum HL.
Korrupt forskning kan skade folkehelsen [Corrupt research may damage public health].
Tidsskr Nor Laegeforen. 2005 Oct 6;125(19):2672-3. Norwegian. PMID: 16215620.

135: Waldum HL, Gustafsson B, Fossmark R, Qvigstad G.
Antiulcer drugs and gastric cancer.
Dig Dis Sci. 2005 Oct;50 Suppl 1:S39-44. doi:10.1007/s10620-005-2805-4. PMID: 16184420.

136: Fossmark R, Martinsen TC, Qvigstad G, Bendheim MØ, Kopstad G, Kashima K,
Waldum HL.
Ultrastructure and chromogranin A immunogold labelling of ECL cell carcinoids.
APMIS. 2005 Jul-Aug;113(7-8):506-12. doi: 10.1111/j.1600-0463.2005.apm_147.x. PMID:
16086820.

137: Nørsett KG, Laegreid A, Langaas M, Wörlund S, Fossmark R, Waldum HL, Sandvik
AK.
Molecular characterization of rat gastric mucosal response to potent acid inhibition.
Physiol Genomics. 2005 Jun 16;22(1):24-32. doi: 10.1152/physiolgenomics.00245.2004.
Epub 2005 Apr 12. PMID: 15827235.

138: Fossmark R, Zhao CM, Martinsen TC, Kawase S, Chen D, Waldum HL.
Dedifferentiation of enterochromaffin-like cells in gastric cancer of hypergastrinemic
cotton rats.
APMIS. 2005 Jun;113(6):436-49. doi: 10.1111/j.1600-0463.2005.apm_134.x. PMID: 15996161.

139: Petersen H, Schumacher KP, Waldum HL, Berstad A, Florholmen J, Selbekk B,
Veenstra M.
Gjensidig evaluering som kvalitetssikringsmetode for sykehusenheter
[Mutual evaluation as a method of quality assurance in hospital units].
Tidsskr Nor Laegeforen. 2005 May 4;125(9):1201-4. Norwegian. PMID: 15880161.




                                      Page 19 of 53
  Case 3:18-cv-01063-JWD-EWD             Document 99-4       04/27/22       Page 203 of 236




140: Sørhaug S, Steinshamn SL, Waldum HL.
Octreotide treatment for paraneoplastic intestinal pseudo-obstruction complicating SCLC.
Lung Cancer. 2005 Apr;48(1):137-40. doi: 10.1016/j.lungcan.2004.09.008. PMID: 15777981.

141: Waldum HL.
Hypergastrinaemia in patients infected with Helicobacter pylori treated with proton pump
inhibitors.
Gut. 2005 Apr;54(4):566. PMID: 15753549; PMCID: PMC1774456.

142: Gustafsson BI, Tømmerås K, Nordrum I, Loennechen JP, Brunsvik A, Solligård E,
Fossmark R, Bakke I,
Syversen U, Waldum H.
Long-term serotonin administration induces heart valve disease in rats.
Circulation. 2005 Mar 29;111(12):1517-22. doi: 10.1161/01.CIR.0000159356.42064.48.
Epub 2005 Mar 21. PMID: 15781732.

143: Waldum HL, Martinsen TC, Brenna E.
Nonulcer dyspepsia and proton pump inhibitors.
Gastroenterology. 2005 Mar;128(3):805; author reply 805-6. doi: 10.1053/j.gastro.2005.01.024.
PMID: 15765429.

144: Martinsen TC, Bergh K, Waldum HL.
Gastric juice: a barrier against infectious diseases.
Basic Clin Pharmacol Toxicol. 2005 Feb;96(2):94-102. doi: 10.1111/j.1742-
7843.2005.pto960202.x. PMID: 15679471.

145: Fykse V, Coy DH, Waldum HL, Sandvik AK.
Somatostatin-receptor 2 (sst2)-mediated effects of endogenous somatostatin on exocrine
and endocrine
secretion of the rat stomach.
Br J Pharmacol. 2005 Feb;144(3):416-21. doi: 10.1038/sj.bjp.0706094. PMID: 15655503;
PMCID: PMC1576019.

146: Qvigstad G, Fløttum O, Waldum HL.
Kapselendoskopi - en ny metode for diagnostikk av sykdom i tynntarm [Capsule
endoscopy--a new method for the
diagnosis of diseases of the small intestine].
Tidsskr Nor Laegeforen. 2005 Jan 20;125(2):163-6. Norwegian. PMID: 15665888.

147: Fossmark R, Johnsen G, Johanessen E, Waldum HL.
Rebound acid hypersecretion after long-term inhibition of gastric acid secretion.
Aliment Pharmacol Ther. 2005 Jan 15;21(2):149-54. doi: 10.1111/j.1365-2036.2004.02271.x.
PMID: 15679764.




                                        Page 20 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22      Page 204 of 236




148: Syversen U, Ramstad H, Gamme K, Qvigstad G, Falkmer S, Waldum HL.
Clinical significance of elevated serum chromogranin A levels.
Scand J Gastroenterol. 2004 Oct;39(10):969-73. doi: 10.1080/00365520410003362. PMID:
15513336.

149: Fossmark R, Martinsen TC, Bakkelund KE, Kawase S, Torp SH, Waldum HL.
Hypergastrinaemia induced by partial corpectomy results in development of
enterochromaffin-like cell carcinoma in male Japanese cotton rats.
Scand J Gastroenterol. 2004 Oct;39(10):919-26. doi: 10.1080/00365520410003281. PMID:
15513328.

150: Nørsett KG, Laegreid A, Midelfart H, Yadetie F, Erlandsen SE, Falkmer S, Grønbech
JE, Waldum HL, Komorowski J, Sandvik AK.
Gene expression based classification of gastric carcinoma.
Cancer Lett. 2004 Jul 16;210(2):227-37. doi: 10.1016/j.canlet.2004.01.022. PMID: 15183539.


151: Fykse V, Sandvik AK, Qvigstad G, Falkmer SE, Syversen U, Waldum HL.
Treatment of ECL cell carcinoids with octreotide LAR.
Scand J Gastroenterol. 2004 Jul;39(7):621-8. doi: 10.1080/00365520410005225. PMID:
15370681.

152: Waldum HL, Fossmark R, Bakke I, Martinsen TC, Qvigstad G.
Hypergastrinemia in animals and man: causes and consequences.
Scand J Gastroenterol. 2004 Jun;39(6):505-9. doi: 10.1080/00365520410005072. PMID:
15223671.

153: Fossmark R, Martinsen TC, Bakkelund KE, Kawase S, Waldum HL.
ECL-cell derived gastric cancer in male cotton rats dosed with the H2-blocker loxtidine.
Cancer Res. 2004 May 15;64(10):3687-93. doi: 10.1158/0008-5472.CAN-03-3647. PMID:
15150129.

154: Qvigstad G, Waldum H.
Rebound hypersecretion after inhibition of gastric acid secretion.
Basic Clin Pharmacol Toxicol. 2004 May;94(5):202-8. doi:10.1111/j.1742-
7843.2004.pto940502.x. PMID: 15125689.

155: Fossmark R, Martinsen TC, Torp SH, Kawase S, Sandvik AK, Waldum HL.
Spontaneous enterochromaffin-like cell carcinomas in cotton rats (Sigmodon hispidus) are
prevented by a somatostatin analogue.
Endocr Relat Cancer. 2004 Mar;11(1):149-60. doi: 10.1677/erc.0.0110149. PMID: 15027892.

156: Viste A, Øvrebø K, Maartmann-Moe H, Waldum H.
Lanzoprazole promotes gastric carcinogenesis in rats with duodenogastric reflux.
Gastric Cancer. 2004;7(1):31-5. doi: 10.1007/s10120-003-0264-1. PMID: 15052437.




                                       Page 21 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22     Page 205 of 236




157: Martinsen TC, Kawase S, Håkanson R, Torp SH, Fossmark R, Qvigstad G, Sandvik
AK, Waldum HL.
Spontaneous ECL cell carcinomas in cotton rats: natural course and prevention by a
gastrin receptor antagonist. Carcinogenesis. 2003 Dec;24(12):1887-96. doi:
10.1093/carcin/bgg156. Epub 2003 Aug 29. PMID:12949047.

158: Hoff JM, Waldum HL.
Klinisk ledelse og akademisk kompetanse [Clinical leadership and academic competence].
Tidsskr Nor Laegeforen. 2003 Oct 23;123(20):2917. Norwegian. PMID: 14600726.

159: Waldum HL, Qvigstad G, Sandvik AK.
Reg protein in gastric cancer tumour cells.
FEBS Lett. 2003 Oct 23;553(3):464-5. doi: 10.1016/s0014-5793(03)01021-4. PMID: 14572670.

160: Zhao CM, Wang X, Friis-Hansen L, Waldum HL, Halgunset J, Wadström T, Chen D.
Chronic Helicobacter pylori infection results in gastric hypoacidity and hypergastrinemia
in wild-type mice but vagally induced hypersecretion in gastrin-deficient mice.
Regul Pept. 2003 Oct 15;115(3):161-70. doi: 10.1016/s0167-0115(03)00167-8. PMID:
14556957.

161: Yadetie F, Laegreid A, Bakke I, Kusnierczyk W, Komorowski J, Waldum HL,
Sandvik AK.
Liver gene expression in rats in response to the peroxisome proliferator-activated receptor-
alpha agonist ciprofibrate.
Physiol Genomics. 2003 Sep 29;15(1):9-19. doi: 10.1152/physiolgenomics.00064.2003. PMID:
12851464.

162: Waldum HL.
Autoritaert styre uten autoritet og legitimitet [Authoritarian steering without authority
and legitimacy].
Tidsskr Nor Laegeforen. 2003 Aug 28;123(16):2334. Norwegian. PMID: 14508581.

163: Grav HJ, Tronstad KJ, Gudbrandsen OA, Berge K, Fladmark KE, Martinsen TC,
Waldum H,
Wergedahl H, Berge RK.
Changed energy state and increased mitochondrial beta-oxidation rate in liver of rats
associated with lowered
proton electrochemical potential and stimulated uncoupling protein 2 (UCP-2) expression:
evidence for peroxisome proliferator-activated receptor-alpha independent induction of
UCP-2 expression.
J Biol Chem. 2003 Aug 15;278(33):30525-33. doi: 10.1074/jbc.M303382200. Epub 2003 May
19. PMID:
12756242.




                                        Page 22 of 53
  Case 3:18-cv-01063-JWD-EWD           Document 99-4       04/27/22    Page 206 of 236




164: Waldum HL.
Protonpumpehemmere og kronisk behov [Proton pump inhibitors and chronic
requirement].
Lakartidningen. 2003 May 15;100(20):1830-1. Norwegian. PMID: 12806870.

165: Brenna O, Qvigstad G, Brenna E, Waldum HL.
Cytotoxicity of streptozotocin on neuroendocrine cells of the pancreas and the gut.
Dig Dis Sci. 2003 May;48(5):906-10. doi: 10.1023/a:1023043411483. PMID: 12772787.

166: Waldum H, Brenna E.
Discussion on the effect of chronic hypergastrinemia on human enterochromaffin-like cells:
insights from patients with sporadic gastrinomas.
Gastroenterology. 2003 May;124(5):1564-5; author reply 1565. doi: 10.1016/s0016-
5085(03)00357-3. PMID: 12744241.

167: Waldum HL.
Comment: acute cholestatic hepatitis associated with celecoxib.
Ann Pharmacother. 2003 May;37(5):748; author reply 748-9. doi: 10.1345/aph.1C110a. PMID:
12708959.

168: Martinsen TC, Skogaker NE, Bendheim MØ, Waldum HL.
Antral G cells in rats during dosing with a PPAR alpha agonist: a morphometric and
immunocytochemical study.
Med Electron Microsc. 2003 Mar;36(1):18-32. doi: 10.1007/s007950300003. PMID: 12658348.

169: Waldum HL, Kleveland PM, Sandvik AK, Brenna E, Syversen U, Bakke I, Tømmerås
K.
The cellular localization of the cholecystokinin 2 (gastrin) receptor in the stomach.
Pharmacol Toxicol. 2002 Dec;91(6):359-62. doi: 10.1034/j.1600-0773.2002.910613.x. PMID:
12688379.

170: Bakke I, Hammer TA, Sandvik AK, Waldum HL.
PPAR alpha stimulates the rat gastrin-producing cell.
Mol Cell Endocrinol. 2002 Sep 30;195(1-2):89-97. doi: 10.1016/s0303-7207(02)00187-9. PMID:
12354675.

171: Tømmerås K, Bakke I, Sandvik AK, Larsson E, Waldum HL.
Rat parietal cells express CCK(2) receptor mRNA: gene expression analysis of single cells
isolatedby laser-assisted microdissection.
Biochem Biophys Res Commun. 2002 Sep 20;297(2):335-40. doi: 10.1016/s0006-
291x(02)02202-7. PMID: 12237123.




                                       Page 23 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4        04/27/22    Page 207 of 236




172: Bofin AM, Qvigstad G, Waldum C, Waldum HL.
Neuroendocrine differentiation in carcinoma of the breast. Tyramide signal amplification
discloses chromogranin
A-positive tumour cells in more breast tumours than previously realized.
APMIS. 2002 Sep;110(9):658-64. doi: 10.1034/j.1600-0463.2002.1100910.x. PMID: 12529020.

173: Waldum HL, Sandvik AK.
GRP and stimulation of acid secretion.
Gut. 2002 Aug;51(2):297; author reply 297-8. doi: 10.1136/gut.51.2.297-a. PMID: 12117901;
PMCID: PMC1773335.

174: Cui GL, Sandvik AK, Munkvold B, Waldum HL.
Effects of anaesthetic agents on gastrin-stimulated and histamine-stimulated gastric acid
secretion in the
totally isolated vascularly perfused rat stomach.
Scand J Gastroenterol. 2002 Jul;37(7):750-3. doi: 10.1080/00365520213249. PMID: 12190085.

175: Waldum HL.
Funksjonelle mageog tarmlidelser [Functional gastrointestinal diseases].
Tidsskr Nor Laegeforen. 2002 May 10;122(12):1178. Norwegian. PMID: 12089841.

176: Waldum HL, Brenna E, Sandvik AK.
Long-term safety of proton pump inhibitors: risks of gastric neoplasia and infections.
Expert Opin Drug Saf. 2002 May;1(1):29-38. doi: 10.1517/14740338.1.1.29. PMID: 12904157.

177: Martinsen TC, Taylor DM, Johnsen R, Waldum HL.
Gastric acidity protects mice against prion infection?
Scand J Gastroenterol. 2002 May;37(5):497-500. doi: 10.1080/00365520252903017. PMID:
12059048.

178: van Bergeijk JD, Wilson JH, Nielsen OH, von Tirpitz C, Karvonen AL, Lygren I,
Rädler A, Waldum HL,
Mulder CJ, Friis S, Tefera S, Hoogkamer JF; OPUS 1 study group.
Octreotide in patients with active ulcerative colitis treated with high dose corticosteroids
(OPUS 1).
Eur J Gastroenterol Hepatol. 2002 Mar;14(3):243-8. doi: 10.1097/00042737-200203000-00007.
PMID: 11953688.

179: Waldum HL, Brenna E.
Gastro-oesophageal reflux disease in general practice. Last year's guidelines are probably
biased.
BMJ. 2002 Feb 23;324(7335):485-6. PMID: 11859057; PMCID: PMC1122401.




                                        Page 24 of 53
  Case 3:18-cv-01063-JWD-EWD           Document 99-4       04/27/22     Page 208 of 236




180: Waldum HL.
Legemiddelbehandling av irritabel tarm-syndrom [Drug therapy of irritable bowel
syndrome].
Tidsskr Nor Laegeforen. 2002 Feb 10;122(4):401-2. Norwegian. PMID: 11915671.

181: Qvigstad G, Qvigstad T, Westre B, Sandvik AK, Brenna E, Waldum HL.
Neuroendocrine differentiation in gastric adenocarcinomas associated with severe
hypergastrinemia and/or pernicious anemia.
APMIS. 2002 Feb;110(2):132-9. doi: 10.1034/j.1600-0463.2002.100302.x. PMID: 12064868.

182: Cui GL, Sandvik AK, Munkvold B, Waldum HL.
Glycine-extended gastrin-17 stimulates acid secretion only via CCK-2 receptor-induced
histamine release in
the totally isolated vascularly perfused rat stomach.
Acta Physiol Scand. 2002 Feb;174(2):125-30. doi: 10.1046/j.1365-201X.2002.00933.x. PMID:
11860374.

183: Dzienis-Koronkiewicz E, ØvrebØ K, Gislason H, Waldum HL, Svanes K.
Gastric mucosal exposure to histamine in rats is followed by absorption of histamine but
not mucosal hyperemia. Hepatogastroenterology. 2002 Jan-Feb;49(43):290-6. PMID:
11941978.

184: Loennechen JP, Nilsen OG, Arbo I, Aadahl P, Nilsen T, Waldum HL, Sandvik AK,
Ellingsen O.
Chronic exposure to carbon monoxide and nicotine: endothelin ET(A) receptor antagonism
attenuates carbon monoxide-induced myocardial hypertrophy in rat.
Toxicol Appl Pharmacol. 2002 Jan 1;178(1):8-14. doi: 10.1006/taap.2001.9300. PMID:
11781074.

185: Bakke I, Qvigstad G, Sandvik AK, Waldum HL.
The CCK-2 receptor is located on the ECL cell, but not on the parietal cell.
Scand J Gastroenterol. 2001 Nov;36(11):1128-33. doi: 10.1080/00365520152584734. PMID:
11686210.

186: Cui GL, Syversen U, Zhao CM, Chen D, Waldum HL.
Long-term omeprazole treatment suppresses body weight gain and bone mineralization in
young male rats.
Scand J Gastroenterol. 2001 Oct;36(10):1011-5. doi: 10.1080/003655201750422585. PMID:
11589371.

187: Sandvik AK, Cui G, Bakke I, Munkvold B, Waldum HL.
PACAP stimulates gastric acid secretion in the rat by inducing histamine release.
Am J Physiol Gastrointest Liver Physiol. 2001 Oct;281(4):G997-G1003.
doi:10.1152/ajpgi.2001.281.4.G997. PMID: 11557520.




                                       Page 25 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22    Page 209 of 236




188: Waldum HL, Syversen U.
Serum chromogranin A in the control of patients on long-term treatment with inhibitors of
acid secretion.
Eur J Clin Invest. 2001 Sep;31(9):741-3. doi: 10.1046/j.1365-2362.2001.00889.x. PMID:
11589715.

189: Waldum HL, Qvigstad G, Falkmer S.
Indications for a neuroendocrine tumor- carcinoma sequence.
Virchows Arch. 2001 Aug;439(2):215-7. doi: 10.1007/s004280100460. PMID: 11561765.

190: Cui G, Yuan A, Qvigstad G, Waldum HL.
Estrogen receptors are not expressed in esophagogastric carcinomas that come from a high
incidence
area of China.
Hepatogastroenterology. 2001 May-Jun;48(39):594-5. PMID: 11794139.

191: Waldum HL.
The safety of proton pump inhibitors.
Aliment Pharmacol Ther. 2001 May;15(5):729-30. doi: 10.1046/j.1365-2036.2001.0955c.x.
PMID: 11328270.

192: Zhao CM, Bakke I, Tostrup-Skogaker N, Waldum HL, Håkanson R, Chen D.
Functionally impaired, hypertrophic ECL cells accumulate vacuoles and lipofuscin bodies.
An ultrastructural study of ECL cells isolated from hypergastrinemic rats.
Cell Tissue Res. 2001 Mar;303(3):415-22. doi: 10.1007/s004410000326. PMID: 11320657.

193: Fresvig A, Qvigstad G, Halvorsen TB, Falkmer S, Waldum HL.
Neuroendocrine differentiation in bronchial carcinomas of classic squamous-cell type: an
immunohistochemical study of 29 cases applying the tyramide signal amplification
technique.
Appl Immunohistochem Mol Morphol. 2001 Mar;9(1):9-13. PMID: 11277422.

194: Waldum HL.
Medisinstudiet gir for liten biologisk kompetanse [Insufficient biological competence
following medical training]. Tidsskr Nor Laegeforen. 2001 Jan 10;121(1):108. Norwegian.
PMID: 12013604.

195: Kleveland O, Syversen U, Slørdahl K, Waldum HL.
Hypergastrinemia as a cause of chromogranin a increase in blood in patients suspected to
have
neuroendocrine tumor.
Digestion. 2001;64(2):71-4. doi: 10.1159/000048842. PMID: 11684818.




                                       Page 26 of 53
  Case 3:18-cv-01063-JWD-EWD             Document 99-4        04/27/22     Page 210 of 236




196: Waldum HL, Brenna E, Martinsen TC.
Safety of proton pump inhibitors.
Aliment Pharmacol Ther. 2000 Nov;14(11):1537-8. doi: 10.1046/j.1365-2036.2000.00859.x.
PMID: 11069327.

197: Brenna E, Flaaten B, Waldum HL, Myrvold HE.
Behandling av oesophagusvaricer med strikkligatur [Treatment of esophageal varices with
banding ligation].
Tidsskr Nor Laegeforen. 2000 Sep 20;120(22):2626-9. Norwegian. PMID: 11077505.

198: Qvigstad G, Sandvik AK, Brenna E, Aase S, Waldum HL.
Detection of chromogranin A in human gastric adenocarcinomas using a sensitive
immunohistochemical technique.
Histochem J. 2000 Sep;32(9):551-6. doi: 10.1023/a:1004102312006. PMID: 11127976.

199: Bakke I, Sandvik AK, Waldum HL.
Octreotide inhibits the enterochromaffin- like cell but not peroxisome proliferator-induced
hypergastrinemia.
J Mol Endocrinol. 2000 Aug;25(1):109-19. doi: 10.1677/jme.0.0250109. PMID: 10915223.

200: Waldum HL, Brenna E, Sandvik AK.
The mechanism of histamine secretion from gastric enterochromaffin-like cells.
Am J Physiol Cell Physiol. 2000 Jun;278(6):C1275-6. doi: 10.1152/ajpcell.2000.278.6.C1275.
PMID: 10905856.

201: Bakke I, Qvigstad G, Brenna E, Sandvik AK, Waldum HL.
Gastrin has a specific proliferative effect on the rat enterochromaffin-like cell, but not on
the parietal cell:
a study by elutriation centrifugation.
Acta Physiol Scand. 2000 May;169(1):29-37. doi: 10.1046/j.1365-201x.2000.00688.x. PMID:
10759608.

202: Qvigstad G, Falkmer S, Waldum HL.
Immunhistokjemisk diagnostikk ved bruk av tyramid-signalamplifikasjon
[Immunohistochemical diagnosis by means of tyramide signal amplification].
Tidsskr Nor Laegeforen. 2000 Jan 20;120(2):236-8. Norwegian. PMID: 10851922.

203: Waldum HL, Syversen U.
Chromogranin A (CGA) and the enterochromaffin-like (ECL) cell.
Adv Exp Med Biol. 2000;482:361-7. doi: 10.1007/0-306-46837-9_29. PMID: 11192596.

204: Waldum HL, Mårvik R, Grønbech JE, Sandvik AK, Aase S.
Oxyntic lesions may be provoked in the rat both by the process of acid secretion and also
by gastric acidity. Aliment Pharmacol Ther. 2000 Jan;14(1):135-41. doi: 10.1046/j.1365-
2036.2000.00663.x. PMID: 10632657.




                                         Page 27 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4        04/27/22    Page 211 of 236




205: Waldum HL, Brenna E.
Personal review: is profound acid inhibition safe?
Aliment Pharmacol Ther. 2000 Jan;14(1):15-22. doi: 10.1046/j.1365-2036.2000.00681.x. PMID:
10632641.

206: Cui G, Qvigstad G, Falkmer S, Sandvik AK, Kawase S, Waldum HL.
Spontaneous ECLomas in cotton rats (Sigmodon hispidus): tumours occurring
inhypoacidic/hypergastrinaemic animals with normal parietal cells.
Carcinogenesis. 2000 Jan;21(1):23-7. doi: 10.1093/carcin/21.1.23. PMID: 10607729.

207: Qvigstad G, Falkmer S, Westre B, Waldum HL.
Clinical and histopathological tumour progression in ECL cell carcinoids ("ECLomas").
APMIS. 1999 Dec;107(12):1085-92. doi: 10.1111/j.1699-0463.1999.tb01513.x. PMID:
10660138.

208: Jørgensen G, Waldum HL.
Lack of effect of transdermal nicotine on 3 cases of primary sclerosing cholangitis.
Dig Dis Sci. 1999 Dec;44(12):2484. doi: 10.1023/a:1026639106272. PMID: 10630501.

209: Loennechen JP, Beisvag V, Arbo I, Waldum HL, Sandvik AK, Knardahl S, Ellingsen
O. Chronic carbon monoxide exposure in vivo induces myocardial endothelin-1 expression
and hypertrophy in rat. Pharmacol Toxicol. 1999 Oct;85(4):192-7. doi: 10.1111/j.1600-
0773.1999.tb00091.x. PMID: 10563519.

210: Waldum HL, Syversen U.
Prospective study of the value of serum chromogranin A or serum gastrin levels in the
assessment of the presence, extent, or growth of gastrinomas.
Cancer. 1999 Oct 1;86(7):1377-8. doi: 10.1002/(sici)1097-0142(19991001)86:7<1377::aid-
cncr38>3.0.co;2-7. PMID:
10506728.

211: Syversen U, Nordsletten L, Falch JA, Madsen JE, Nilsen OG, Waldum HL.
Effect of lifelong nicotine inhalation on bone mass and mechanical properties in female rat
femurs.
Calcif Tissue Int. 1999 Sep;65(3):246-9. doi: 10.1007/s002239900692. PMID: 10441660.

212: Waldum HL, Brenna E, Sandvik AK.
Risiko ved medikamentell syrehemming [Risk of gastric acid inhibition by drugs].
Tidsskr Nor Laegeforen. 1999 Aug 30;119(20):3045-6. Norwegian. PMID: 10504859.

213: Waldum HL.
ECL cell tumor and endocrine carcinoma of the stomach.
Gastroenterology. 1999 Aug;117(2):510-11. doi: 10.1053/gast.1999.0029900510b. PMID:
10465636.




                                        Page 28 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4        04/27/22    Page 212 of 236




214: Angelsen A, Falkmer S, Sandvik AK, Waldum HL.
Pre- and postnatal testosterone administration induces proliferative epithelial lesions with
neuroendocrine differentiation in the dorsal lobe of the rat prostate.
Prostate. 1999 Jul 1;40(2):65-75. doi: 10.1002/(sici)1097-0045(19990701)40:2<65::aid-
pros1>3.0.co;2-x.
PMID: 10386466.

215: Waldum HL, Rørvik H, Falkmer S, Kawase S.
Neuroendocrine (ECL cell) differentiation of spontaneous gastric carcinomas of cotton rats
(Sigmodon hispidus).
Lab Anim Sci. 1999 Jun;49(3):241-7. PMID: 10403437.

216: Waldum HL, Sandvik AK, Angelsen A, Krokan H, Falkmer S.
Re: Editorial entitled 'The origin of gut and pancreatic neuroendocrine (APUD) cells--the
last word?'.
J Pathol. 1999 May;188(1):113-4. doi: 10.1002/(SICI)1096-9896(199905)188:1<113::AID-
PATH318>3.0.CO;2-B. PMID: 10398150.

217: Qvigstad G, Bjørgaas M, Eide I, Sandvik AK, Waldum HL.
Vagal stimulation augments maximal (penta) gastrin-stimulated acid secretion in humans.
Acta Physiol Scand. 1999 Mar;165(3):277-81. doi: 10.1046/j.1365-201x.1999.00514.x. PMID:
10192177.

218: Waldum HL.
Hypergastrinaemia with long-term omeprazole treatment.
Aliment Pharmacol Ther. 1999 Mar;13(3):440. doi: 10.1046/j.1365-2036.1999.0467c.x. PMID:
10102980.

219: Qvigstad G, Arnestad JS, Brenna E, Waldum HL.
Treatment with proton pump inhibitors induces tolerance to histamine-2 receptor
antagonists in Helicobacter
pylori-negative patients.
Scand J Gastroenterol. 1998 Dec;33(12):1244-8. doi: 10.1080/00365529850172313. PMID:
9930386.

220: Waldum HL.
Svensk doktorgrad meritterer ikke i Norge [A Swedish MD degree is not a valid
qualification in Norway].
Tidsskr Nor Laegeforen. 1998 Nov 20;118(28):4417. Norwegian. PMID: 9889627.

221: Kleveland PM, Waldum HL.
Intragastric pH and Helicobacter pylori treatment with proton pump inhibitors combined
with amoxycillin.
Scand J Gastroenterol. 1998 Nov;33(11):1230. doi: 10.1080/00365529850172629. PMID:
9867105.




                                        Page 29 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4        04/27/22    Page 213 of 236




222: Waldum HL, Brenna E, Sandvik AK.
Maximal gastric acid secretion in man: a concept that needs precision.
Scand J Gastroenterol. 1998 Oct;33(10):1009-15.doi: 10.1080/003655298750026679. PMID:
9829352.

223: Hammer TA, Waldum HL.
Peroksisomer og peroksisomproliferatorer. Interessante miljøgifter og terapeutika med
effekt på fettstoffskifte og hormonfrigjøring [Peroxisomes and peroxisome proliferators.
Specific environmental poisons and therapeutic agents affecting lipid metabolism and
hormone release].
Tidsskr Nor Laegeforen. 1998 Sep 30;118(23):3603-8. Norwegian. PMID: 9820005.

224: Waldum HL, Aase S, Kvetnoi I, Brenna E, Sandvik AK, Syversen U, Johnsen G,
Vatten L, Polak JM. Neuroendocrine differentiation in human gastric carcinoma.
Cancer. 1998 Aug 1;83(3):435-44. PMID: 9690535.

225: Waldum HL, Sandvik AK.
The relevance of luminal release is doubtful.
Gastroenterology. 1998 Jul;115(1):245. PMID: 9659345.

226: Waldum HL, Sandvik AK.
The Relevance of Luminal Release Is Doubtful.
Gastroenterology. 1998 Jul;115(1):245a-245. PMID: 9649491.

227: Hammer TA, Sandvik AK, Waldum HL.
Potentiating hypergastrinemic effect by the peroxisome proliferator ciprofibrate and
omeprazole in the rat.
Scand J Gastroenterol. 1998 Jun;33(6):595-9. doi: 10.1080/00365529850171855. PMID:
9669630.

228: Waldum HL, Brenna E, Sandvik AK.
Relationship of ECL cells and gastric neoplasia.
Yale J Biol Med. 1998 May-Aug;71(3-4):325-35. PMID: 10461363; PMCID: PMC2578987.

229: Sandvik AK, Mårvik R, Dimaline R, Waldum HL.
Carbachol stimulation of gastric acid secretion and its effects on the parietal cell.
Br J Pharmacol. 1998 May;124(1):69-74. doi: 10.1038/sj.bjp.0701802. PMID: 9630345;
PMCID: PMC1565362.

230: Waldum HL, Sandvik AK, Idle JR.
Gastrin is the most important factor in ECL tumorigenesis.
Gastroenterology. 1998 May;114(5):1113-5. doi: 10.1016/s0016-5085(98)70346-4. PMID:
9606099.




                                        Page 30 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22     Page 214 of 236




231: Waldum HL.
Behandling med homolog feces [Treatment with homologous feces].
Tidsskr Nor Laegeforen. 1998 Apr 20;118(10):1604-5. Norwegian. PMID: 9615593.

232: Angelsen A, Sandvik AK, Syversen U, Stridsberg M, Waldum HL.
NGF-beta, NE- cells and prostatic cancer cell lines. A study of neuroendocrine expression
in the human prostatic cancer cell lines DU-145, PC-3, LNCaP, and TSU-pr1 following
stimulation of the nerve growth factor-beta.
Scand J Urol Nephrol. 1998 Feb;32(1):7-13. doi: 10.1080/003655998750014611. PMID:
9561567.

233: Waldum HL, Kvetnoi IM, Sylte R, Schulze B, Martinsen TC, Sandvik AK.
The effect of the peroxisome proliferator ciprofibrate on the gastric mucosa and
particularly the gastrin cell.
J Mol Endocrinol. 1998 Feb;20(1):111-7. doi: 10.1677/jme.0.0200111. PMID: 9513087.

234: Sandvik AK, Brenna E, Waldum HL.
Review article: the pharmacological inhibition of gastric acid secretion--tolerance and
rebound.
Aliment Pharmacol Ther. 1997 Dec;11(6):1013-8. doi: 10.1046/j.1365-2036.1997.00257.x.
PMID: 9663823.

235: Syversen U, Heide LS, Waldum HL.
Kromogranin A i blod--en nyttig tumormarkør [Chromogranin A in blood--a useful tumor
marker].
Tidsskr Nor Laegeforen. 1997 Oct 30;117(26):3810-1. Norwegian. PMID: 9417686.

236: Angelsen A, Mecsei R, Sandvik AK, Waldum HL.
Neuroendocrine cells in the prostate of the rat, guinea pig, cat, and dog.
Prostate. 1997 Sep 15;33(1):18-25. doi: 10.1002/(sici)1097-0045(19970915)33:1<18::aid-
pros4>3.0.co;2-5. PMID: 9294622.

237: Kleveland PM, Waldum HL, Brenna E, Aase S, Maeland JA.
Relationship between the efficacy of amoxicillin and intragastric pH for the treatment of
Helicobacter
pylori infection.
Helicobacter. 1997 Sep;2(3):144-8. doi: 10.1111/j.1523-5378.1997.tb00076.x. PMID: 9432343.

238: Marvik R, Sandvik AK, Waldum HL.
Evaluation of biologic gastrin activity of compound CI-988 in the isolated, vascularly
perfused rat stomach.
Scand J Gastroenterol. 1997 Jun;32(6):519-22. doi: 10.3109/00365529709025092. PMID:
9200280.




                                       Page 31 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4        04/27/22     Page 215 of 236




239: Brenna E, Kleveland PM, Waldum HL.
En enkel metode for endoskopisk plassering av nasojejunal ernaeringssonde [A simple
method for endoscopic
placement of a nasojejunal feeding tube].
Tidsskr Nor Laegeforen. 1997 May 30;117(14):2054-5. Norwegian. PMID: 9235687.

240: Sandvik AK, Brenna E, Sundan A, Holst JJ, Waldum HI.
Bombesin inhibits histamine release from the rat oxyntic mucosa by a somatostatin-
dependent mechanism.
Scand J Gastroenterol. 1997 May;32(5):427-32. doi:10.3109/00365529709025076. PMID:
9175202.

241: Angelsen A, Syversen U, Stridsberg M, Haugen OA, Mjølnerød OK, Waldum HL.
Use of neuroendocrine serum markers in the follow-up of patients with cancer of the
prostate.
Prostate. 1997 May 1;31(2):110-7. doi: 10.1002/(sici)1097-0045(19970501)31:2<110::aid-
pros6>3.0.co;2-r. PMID: 9140124.

242: Kvetnoy IM, Yuzhakov VV, Sandvik AK, Waldum HL.
Melatonin in mast cells and tumor radiosensitivity.
J Pineal Res. 1997 Apr;22(3):169-70. doi: 10.1111/j.1600-079x.1997.tb00319.x. PMID:
9213271.

243: Arnestad JS, Kleveland PM, Waldum HL.
In single doses ranitidine effervescent is more effective than lansoprazole in decreasing
gastric acidity.
Aliment Pharmacol Ther. 1997 Apr;11(2):355-8. doi: 10.1046/j.1365-2036.1997.300000.x.
PMID: 9146775.

244: Støa-Birketvedt G, Waldum HL, Vonen B, Florholmen J.
Effect of cimetidine on basal and postprandial plasma concentrations of cholecystokinin
and gastrin in humans.
Acta Physiol Scand. 1997 Apr;159(4):321-5. doi: 10.1046/j.1365-201X.1997.00122.x. PMID:
9146753.

245: Kvetnoy I, Sandvik AK, Waldum HL.
The diffuse neuroendocrine system and extrapineal melatonin.
J Mol Endocrinol. 1997 Feb;18(1):1-3. doi: 10.1677/jme.0.0180001. PMID: 9061601.

246: Valen G, Sellei P, Owall A, Eriksson E, Kallner A, Waldum H, Risberg B, Vaage J.
Release of markers of myocardial and endothelial injury following cold cardioplegic arrest
in pigs.
Scand Cardiovasc J. 1997;31(1):45-50. doi: 10.3109/14017439709058068. PMID: 9171148.




                                        Page 32 of 53
  Case 3:18-cv-01063-JWD-EWD             Document 99-4       04/27/22     Page 216 of 236




247: Mårvik R, Sandvik AK, Waldum HL.
Gastrin stimulates histamine release from the isolated pig stomach.
Scand J Gastroenterol. 1997 Jan;32(1):2-5. doi: 10.3109/00365529709025055. PMID: 9018759.

248: Angelsen A, Syversen U, Haugen OA, Stridsberg M, Mjølnerød OK, Waldum HL.
Neuroendocrine differentiation in carcinomas of the prostate: do neuroendocrine serum
markers reflect immunohistochemical findings?
Prostate. 1997 Jan 1;30(1):1-6. doi: 10.1002/(sici)1097-0045(19970101)30:1<1::aid-
pros1>3.0.co;2-t.
PMID: 9018329.

249: Syversen U, Opsjøn SL, Stridsberg M, Sandvik AK, Dimaline R, Tingulstad S,
Arntzen KJ, Brenna E, Waldum HL. Chromogranin A and pancreastatin-like
immunoreactivity in normal pregnancies.
J Clin Endocrinol Metab. 1996 Dec;81(12):4470-5. doi: 10.1210/jcem.81.12.8954061. PMID:
8954061.

250: Waldum HL, Arnestad JS, Brenna E, Eide I, Syversen U, Sandvik AK.
Marked increase in gastric acid secretory capacity after omeprazole treatment.
Gut. 1996 Nov;39(5):649-53. doi: 10.1136/gut.39.5.649. PMID: 9026477; PMCID:
PMC1383386.

251: Martinsen TC, Nesjan N, Rønning K, Sandvik AK, Waldum HL.
The peroxisome- proliferator ciprofibrate induces hypergastrinemia without raising gastric
pH.
Carcinogenesis. 1996 Oct;17(10):2153-5. doi: 10.1093/carcin/17.10.2153. PMID: 8895482.

252: Waldum HL, Osmundsen H, Olsnes S, Sand O.
Anders Jahres medisinske priser 1996 [The Anders Jahre medical awarad 1996].
Tidsskr Nor Laegeforen. 1996 Sep 30;116(23):2804-6. Norwegian. PMID: 8928170.

253: Chen D, Mårvik R, Rønning K, Andersson K, Waldum HL, Håkanson R.
Gastrin- evoked secretion of pancreastatin and histamine from ECL cells and of acid from
parietal cells in isolated, vascularly perfused rat stomach. Effects of isobutyl methylxanthin
and alpha-fluoromethylhistidine.
Regul Pept. 1996 Sep 9;65(2):133-8. doi: 10.1016/0167-0115(96)00082-1. PMID: 8884980.

254: Waldum HL, Sandvik AK, Brenna E, Kleveland PM.
The gastrin-histamine sequence.
Gastroenterology. 1996 Sep;111(3):838-9. doi: 10.1053/gast.1996.v111.agast961110838. PMID:
8780600.




                                        Page 33 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4        04/27/22    Page 217 of 236




255: Rønning K, Sandvik AK, Waldum HL.
The fade of gastrin-stimulated gastric acid secretion in the rat is due to depletion of
releasable mucosal histamine.
Acta Physiol Scand. 1996 Aug;157(4):487-91. doi: 10.1046/j.1365-201X.1996.506272000.x.
PMID: 8869732.

256: Waldum HL, Brenna E.
Non-proliferative capacity of endocrine cells of the human gastro-intestinal tract.
Histochem J. 1996 May;28(5):397-8. doi: 10.1007/BF02331403. PMID: 8818687.

257: Waldum HL, Arnestad JS.
Behandling med syresekresjonshemmere i symptomlindrende øyemed [Treatment with
anti-secretory agents for symptomatic relief].
Tidsskr Nor Laegeforen. 1996 Apr 30;116(11):1384. Norwegian. PMID: 8658425.

258: Waldum HL, Rørvik H, Brenna E.
The gastrointestinal tract and the lungs. Similarities with particular emphasis on the
neuroendocrine cells. Sarcoidosis Vasc Diffuse Lung Dis. 1996 Mar;13(1):63-5. PMID:
8865413.

259: Waldum HL.
Medisinsk forskning og legemiddelindustrien [Medical research and drug industry].
Tidsskr Nor Laegeforen. 1996 Feb 20;116(5):656-7. Norwegian. PMID: 8658464.

260: Gislason H, Varhaug P, Sørbye H, Waldum HL, Svanes K.
Role of adenosine and nitric oxide in the hyperemic response to superficial and deep gastric
mucosal
injury and H+ back-diffusion in cats.
Scand J Gastroenterol. 1996 Jan;31(1):14-23. doi: 10.3109/00365529609031621. PMID:
8927935.

261: Waldum HL, Nilsen OG, Nilsen T, Rørvik H, Syversen V, Sanvik AK, Haugen OA,
Torp SH, Brenna E.
Long-term effects of inhaled nicotine.
Life Sci. 1996;58(16):1339-46. doi: 10.1016/0024-3205(96)00100-2. PMID: 8614291.

262: Angelsen A, Waldum HL, Brenna E.
Neuroendocrine cells in prostatic carcinoma.
Hum Pathol. 1995 Dec;26(12):1389-90. doi: 10.1016/0046-8177(95)90308-9. PMID: 8522316.

263: Mårvik R, Sandvik AK, Waldum HL.
Bioassay of gastrin using the isolated vascularly perfused rat stomach. A new, simplified
and sensitive method. ActaPhysiol Scand. 1995 Nov;155(3):323-7. doi: 10.1111/j.1748-
1716.1995.tb09980.x. PMID: 8619331.




                                        Page 34 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22     Page 218 of 236




264: Sandvik AK, Dimaline R, Brenna E, Waldum HL.
Differential expression and regulation of SSTR2 messenger RNA in rat gastric antrum and
corpus.
Am J Physiol. 1995 Oct;269(4 Pt 1):G542-7. doi: 10.1152/ajpgi.1995.269.4.G542. PMID:
7485506.

265: Gislason H, Sørbye H, Abdi-Dezfuli F, Waldum HL, Svanes K.
Role of prostaglandins and histamine in hyperemic response to superficial and deep gastric
mucosal injury and H+ back-diffusion in cats.
Dig Dis Sci. 1995 Aug;40(8):1669-78. doi: 10.1007/BF02212687. PMID: 7648966.

266: Syversen U, Halvorsen T, Mårvik R, Waldum HL.
Neuroendocrine differentiation in colorectal carcinomas.
Eur J Gastroenterol Hepatol. 1995 Jul;7(7):667-74. PMID: 8590163.

267: Waldum HL, Brenna E.
Re: increased risk of neuroectodermal tumors and stomach cancer in relatives of patients
with
Ewing's sarcoma family of tumors.
J Natl Cancer Inst. 1995 Jun 21;87(12):934-5. doi: 10.1093/jnci/87.12.934. PMID: 7666486.

268: Dekkers CP, Forssell H, Hegarty J, Määttänen J, Toftgaard CL, Waldum HL,
Naessens H, Van Wilder P.
Higher doses of ranitidine in the acute treatment of duodenal ulcer.
Eur J Gastroenterol Hepatol. 1995 May;7(5):485. PMID: 7614113.

269: Qvigstad G, Waldum HL. Vismut.
Gammelt middel med ny aktualitet [Bismuth. An old medicine of current interest].
Tidsskr Nor Laegeforen. 1995 Apr 30;115(11):1353-7. Norwegian. PMID: 7770830.

270: Brenna E, Sandvik AK, Kleveland PM, Waldum HL.
Tykktarmsskader av ikke- steroide antiinflammatoriske medikamenter [Damages to the
large intestine
induced by non-steroidal anti-inflammatory agents].
Tidsskr Nor Laegeforen. 1995 Apr 20;115(10):1225-7. Norwegian. PMID: 7754489.

271: Brenna E, Tielemans Y, Kleveland PM, Sandvik AK, Willems G, Waldum HL.
Effect of the histamine-2 agonist impromidine on stem cell proliferation of rat oxyntic
mucosa.
Scand J Gastroenterol. 1995 Apr;30(4):311-4. doi: 10.3109/00365529509093282. PMID:
7610344.




                                       Page 35 of 53
  Case 3:18-cv-01063-JWD-EWD           Document 99-4       04/27/22     Page 219 of 236




272: Gislason H, Guttu K, Sørbye H, Schifter S, Waldum HL, Svanes K.
Role of histamine and calcitonin gene-related peptide in the hyperemic response to
hypertonic saline and
H+ back-diffusion in the gastric mucosa of cats.
Scand J Gastroenterol. 1995 Apr;30(4):300-10. doi: 10.3109/00365529509093281. PMID:
7541914.

273: Waldum HL, Brenna E.
Omeprazole therapy in resistant reflux disease.
Ann Intern Med. 1995 Feb 1;122(3):236; author reply 236-7. doi:10.7326/0003-4819-122-3-
199502010-00019. PMID: 7888009.

274: Waldum HL, Brenna E, Sandvik AK.
Ventrikkelfysiologi--en oppklaring [Stomach physiology--an elucidation].
Nord Med. 1995;110(2):60. Norwegian. PMID: 7854914.

275: Waldum HL, Brenna E, Kleveland PM, Sandvik AK.
Gastrin-physiological and pathophysiological role: clinical consequences.
Dig Dis. 1995 Jan- Feb;13(1):25-38. doi: 10.1159/000171484. PMID: 7606834.

276: Waldum HL, Brenna E.
Omeprazole tolerability.
Drug Saf. 1994 Dec;11(6):477-8. doi: 10.2165/00002018-199411060-00008. PMID: 7727056.

277: Brenna E, Swarts HG, Klaassen CH, de Pont JJ, Waldum HL.
Evaluation of the trophic effect of longterm treatment with the histamine H2 receptor
antagonist
loxtidine on rat oxyntic mucosa by differential counting of dispersed cells.
Gut. 1994 Nov;35(11):1547-50. doi: 10.1136/gut.35.11.1547. PMID: 7828970; PMCID:
PMC1375609.

278: Waldum HL.
Er legene i ferd med å miste posisjoner og innflytelse over medisinsk forskning? [Are
physicians going to lose their positions and influence on medical research?].
Tidsskr Nor Laegeforen. 1994 Oct 20;114(25):2995. Norwegian. PMID: 7974414.

279: Sandvik AK, Dimaline R, Mårvik R, Brenna E, Waldum HL.
Gastrin regulates histidine decarboxylase activity and mRNA abundance in rat oxyntic
mucosa.
Am J Physiol. 1994 Aug;267(2 Pt 1):G254-8. doi: 10.1152/ajpgi.1994.267.2.G254. PMID:
8074225.

280: Waldum HL, Qvigstad G, Mårvik R, Brenna E, Syversen U, Sandvik AK.
The effect of tripotassium dicitrato bismuthate on the rat stomach.
Aliment Pharmacol Ther. 1994 Aug;8(4):425-31. doi: 10.1111/j.1365-2036.1994.tb00310.x.
PMID: 7527257.



                                       Page 36 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4        04/27/22     Page 220 of 236




281: Mårvik R, Johnsen AH, Rehfeld JF, Sandvik A, Waldum HL.
Effect of cionin on histamine and acid secretion by the perfused rat stomach.
Scand J Gastroenterol. 1994 Jul;29(7):591-4. doi: 10.3109/00365529409092477. PMID:
7524136.

282: Syversen U, Jacobsen MB, O'Connor DT, Rønning K, Waldum HL.
Immunoassays for measurement of chromogranin A and pancreastatin-like
immunoreactivity in
humans: correspondence in patients with neuroendocrine neoplasia.
Neuropeptides. 1994 Mar;26(3):201-6. doi: 10.1016/0143-4179(94)90131-7. PMID: 8208366.

283: Kleveland PM, Waldum HL.
Symptomatisk gallestein hos hjertetransplantert pasient. En alvorlig og lite påaktet
bivirkning av cyklosporin A [Symptomatic gallstones in a patient with heart
transplantation. A serious and little observed adverse reaction of cyclosporine A].
Tidsskr Nor Laegeforen. 1994 Feb 20;114(5):564-6. Norwegian. PMID: 8209338.

284: Waldum HL, Brenna E, Sandvik AK.
Ventrikkelfysiologi og ulcusmidler [Stomach physiology and ulcer drugs].
Nord Med. 1994;109(5):144. Norwegian. PMID: 8190614.

285: Waldum HL, Haugen OA, Brenna E.
Do neuroendocrine cells, particularly the D-cell, play a role in the development of gastric
stump cancer?
Cancer Detect Prev. 1994;18(6):431-6. PMID: 7867015.

286: Waldum HL, Brenna E, Kleveland PM, Sandvik AK, Syversen U.
Review article: the use of gastric acid-inhibitory drugs--physiological and
pathophysiological considerations. Aliment Pharmacol Ther. 1993 Dec;7(6):589-96. doi:
10.1111/j.1365-2036.1993.tb00139.x. PMID: 7909240.

287: Waldum HL, Sandvik A, Brenna E.
Gastrin, the enterochromaffinlike cell, and gastric tumors.
Gastroenterology. 1993 Oct;105(4):1264-6. doi: 10.1016/0016-5085(93)90990-t. PMID:
8405879.

288: Waldum HL.
Problembasert laering [Problem-based teaching].
Tidsskr Nor Laegeforen. 1993 Sep 30;113(23):2941. Norwegian. PMID: 8236204.




                                        Page 37 of 53
  Case 3:18-cv-01063-JWD-EWD             Document 99-4        04/27/22    Page 221 of 236




289: Kleveland M, Waldum H, Aase S, Lange OJ.
"Mikroskopisk kolitt" og kollagenkolitt. Sjeldne forklaringer på diaré uten annen kjent
årsak
["Microscopic colitis" and collagenous colitis. Unusual explanation of diarrhea of unknown
origin].
Tidsskr Nor Laegeforen. 1993 Mar 10;113(7):844-6. Norwegian. PMID: 8480290.

290: Johannessen T, Petersen H, Kristensen P, Kleveland PM, Dybdahl J, Sandvik AK,
Brenna E, Waldum H.
The intensity and variability of symptoms in dyspepsia.
Scand J Prim Health Care. 1993 Mar;11(1):50-5. doi: 10.3109/02813439308994902. PMID:
8484080.

291: Waldum HL.
Optimal syrehemning ved syrerelatert sykdom. Fysiologiske og patofysiologiske
betraktninger med implikasjoner for terapivalg [Optimal use of acid-inhibitors in acid-
related diseases. Physiological and physiopathological considerations with implications on
therapeutic choice].
Tidsskr Nor Laegeforen. 1993 Feb 10;113(4):465-9. Norwegian. PMID: 8465291.

292: Waldum HL, Brenna C.
Classification of gastric carcinomas.
Hum Pathol. 1993 Jan;24(1):114-5. doi: 10.1016/0046-8177(93)90074-q. PMID: 8418012.

293: Syversen U, Mignon M, Bonfils S, Kristensen A, Waldum HL.
Chromogranin A and pancreastatin-like immunoreactivity in serum of gastrinoma
patients.
Acta Oncol. 1993;32(2):161-5. doi: 10.3109/02841869309083906. PMID: 8323758.

294: Waldum HL, Sandvik AK, Syversen U, Brenna E.
The enterochromaffin-like (ECL) cell. Physiological and pathophysiological role.
Acta Oncol. 1993;32(2):141-7. doi: 10.3109/02841869309083903. PMID: 8323755.

295: Brenna E, Zahlsen K, Mårvik R, Nilsen T, Nilsen OG, Waldum HL.
Effect of nicotine on the enterochromaffin like cells of the oxyntic mucosa of the rat.
Life Sci. 1993;53(1):21-9. doi: 10.1016/0024-3205(93)90607-5. PMID: 7685847.

296: Sandvik AK, Brenna E, Waldum HL.
Calcium mediates gastrin-induced gastric histamine release in the rat.
Am J Physiol. 1993 Jan;264(1 Pt 1):G51-6. doi: 10.1152/ajpgi.1993.264.1.G51. PMID: 7679253.




                                        Page 38 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22    Page 222 of 236




297: Waldum HL, Mignon M, Sandvik AK, Bonfils S.
Biologic and immunologic gastrin activity in serum of patients with gastrinoma. Bioassay
of gastrin
activity in serum.
Scand J Gastroenterol. 1992 Dec;27(12):1039-44. doi: 10.3109/00365529209028135. PMID:
1475620.

298: Waldum HL.
Acid and gastric ulcer pain.
J Clin Gastroenterol. 1992 Oct;15(3):273. doi: 10.1097/00004836-199210000-00027. PMID:
1479183.

299: Brenna E, Waldum HL.
Trophic effect of gastrin on the enterochromaffin like cells of the rat stomach:
establishment of a dose response relationship.
Gut. 1992 Oct;33(10):1303-6. doi: 10.1136/gut.33.10.1303. PMID: 1446849; PMCID:
PMC1379593.

300: Waldum HL, Sandvik AK.
The role of gastric secretagogues in regulating gastric histamine release in vivo.
Gastroenterology. 1992 Sep;103(3):1123. doi: 10.1016/0016-5085(92)90077-c. PMID: 1379953.

301: Waldum HL.
Funksjonell dyspepsi--en stressykdom [Functional dyspepsia—a stress disease].
Tidsskr Nor Laegeforen. 1992 Aug 10;112(18):2387-8. Norwegian. PMID: 1412245.

302: Syversen U, Waldum HL, O'Connor DT.
Rapid, high-yield isolation of human chromogranin A from chromaffin granules of
pheochromocytomas. Neuropeptides. 1992 Aug;22(4):235-40. doi: 10.1016/0143-
4179(92)90052-x. PMID: 1508327.

303: Waldum HL.
Prevalence of primary sclerosing cholangitis in patients with ulcerative colitis.
J Hepatol. 1992 Jul;15(3):417. doi: 10.1016/0168-8278(92)90081-y. PMID: 1447509.

304: Waldum HL, Hamre T, Kleveland PM, Dybdahl JH, Petersen H.
Can NSAIDs cause acute biliary pain with cholestasis?
J Clin Gastroenterol. 1992 Jun;14(4):328-30. doi: 10.1097/00004836-199206000-00011. PMID:
1607609.

305: Brenna E, Waldum HL, Sandvik AK, Schulze Søgnen B, Kristensen A.
Effects on the rat oxyntic mucosa of the histamine2-antagonist loxtidine and the H+,
K(+)-ATPase inhibitor omeprazole.
Aliment Pharmacol Ther. 1992 Jun;6(3):335-49. doi: 10.1111/j.1365-2036.1992.tb00055.x.
PMID: 1600050.




                                       Page 39 of 53
  Case 3:18-cv-01063-JWD-EWD           Document 99-4       04/27/22    Page 223 of 236




306: Waldum HL.
Hvorfor endre medisinstudiet? [Why change medical education?].
Tidsskr Nor Laegeforen. 1991 Dec 10;111(30):3727-8. Norwegian. PMID: 1780836.

307: Brenna E, Waldum HL.
Studies of isolated parietal and enterochromaffin-like cells from the rat.
Scand J Gastroenterol. 1991 Dec;26(12):1295-306. doi: 10.3109/00365529108998627. PMID:
1722349.

308: Petersen H, Johannessen T, Sandvik AK, Kleveland PM, Brenna E, Waldum H,
Dybdahl JD.
Relationship between endoscopic hiatus hernia and gastroesophageal reflux symptoms.
Scand J Gastroenterol. 1991 Sep;26(9):921-6. doi: 10.3109/00365529108996243. PMID:
1947783.

309: Waldum HL, Petersen H.
24-hour intragastric acidity and plasma gastrin after omeprazole treatment and after
proximal gastric vagotomy in duodenal ulcer patients.
Gastroenterology. 1991 Jul;101(1):274. doi: 10.1016/0016-5085(91)90499-b. PMID: 1878058.

310: Brenna E, Håkanson R, Sundler F, Sandvik AK, Waldum HL.
The effect of omeprazole-induced hypergastrinemia on the oxyntic mucosa of mastomys.
Scand J Gastroenterol. 1991 Jun;26(6):667-72. doi: 10.3109/00365529109043642. PMID:
1862305.

311: Waldum HL, Sandvik AK, Brenna E, Petersen H.
Gastrin-histamine sequence in the regulation of gastric acid secretion.
Gut. 1991 Jun;32(6):698-701. doi: 10.1136/gut.32.6.698. PMID: 1711995; PMCID:
PMC1378893.

312: Sandvik AK, Waldum HL.
CCK-B (gastrin) receptor regulates gastric histamine release and acid secretion.
Am J Physiol. 1991 Jun;260(6 Pt 1):G925-8. doi: 10.1152/ajpgi.1991.260.6.G925. PMID:
1711780.

313: Kleveland PM, Waldum HL.
The gastrin receptor assay.
Scand J GastroenterolSuppl. 1991;180:62-9. doi: 10.3109/00365529109093180. PMID:
2042036.

314: Waldum HL, Sandvik AK, Brenna E, Schulze Søgnen B.
Radioimmunoassay of histamine.
Scand J Gastroenterol Suppl. 1991;180:32-9. doi: 10.3109/00365529109093175. PMID:
2042035.




                                       Page 40 of 53
  Case 3:18-cv-01063-JWD-EWD             Document 99-4       04/27/22     Page 224 of 236




315: Waldum HL, Brenna E, Sandvik AK, Petersen H.
Trophic effect of histamine on the stomach.
Scand J Gastroenterol Suppl. 1991;180:137-42. doi: 10.3109/00365529109093191. PMID:
2042030.

316: Waldum HL, Brenna E.
Rôle des cellules enterochromaffin-like et de l'histamine dans la régulation de la sécrétion
gastrique acide [Role of the enterochromaffin-like cells and histamine in the regulation of
gastric acid
secretion].
Gastroenterol Clin Biol. 1991;15(5 ( Pt 2)):65C-72C. French. PMID: 1717338.

317: Iwasa K, Sandvik AK, Waldum HL.
Pentagastrin-stimulated histamine release and acid secretion from the totally isolated
vascularly perfused rat stomach.
Agents Actions Suppl. 1991;33:429-34. doi: 10.1007/978-3-0348-7309-3_34. PMID: 1711278.

318: Waldum HL, Haugen OA, Isaksen C, Mecsei R, Sandvik AK.
Enterochromaffin- like tumour cells in the diffuse but not the intestinal type of gastric
carcinomas.
Scand J Gastroenterol Suppl. 1991;180:165-9. doi: 10.3109/00365529109093195. PMID:
1710371.

319: Sandvik AK, Waldum HL.
Aspects of the regulation of gastric histamine release.
Scand J Gastroenterol Suppl. 1991;180:108-12. doi: 10.3109/00365529109093186. PMID:
1710369.

320: Waldum HL, Lehy T, Brenna E, Sandvik AK, Petersen H, Søgnen BS, Bonfils S,
Lewin MJ.
Effect of the histamine-1 antagonist astemizole alone or with omeprazole on rat gastric
mucosa.
Scand J Gastroenterol. 1991 Jan;26(1):23-35. doi: 10.3109/00365529108996480. PMID:
1706533.

321: Johannessen T, Petersen H, Kleveland PM, Dybdahl JH, Sandvik AK, Brenna E,
Waldum H.
The predictive value of history in dyspepsia.
Scand J Gastroenterol. 1990 Jul;25(7):689-97. doi: 10.3109/00365529008997594. PMID:
2396082.

322: Waldum HL, Iversen OJ.
Stum HIV-infeksjon hos HIV-seronegative personer? [Silent HIV infection in HIV
seronegative individuals?].
Tidsskr Nor Laegeforen. 1990 Mar 20;110(8):997-8. Norwegian. PMID: 2181734.




                                        Page 41 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22     Page 225 of 236




323: Brenna E, Skreden K, Waldum HL, Mårvik R, Dybdahl JH, Kleveland PM, Sandvik
AK, Halvorsen T,
Myrvold HE, Petersen H.
The benefit of colonoscopy.
Scand J Gastroenterol. 1990 Jan;25(1):81-8. doi: 10.3109/00365529008999213. PMID:
2305208.

324: Sandvik AK, Waldum HL.
Rat gastric histamine release: a sensitive gastrin bioassay.
Life Sci. 1990;46(6):453-9. doi: 10.1016/0024-3205(90)90089-a. PMID: 1689449.

325: Haugen SE, Douglas AJ, Rønning B, Walker B, Sandvik AK, Murphy RF, Elmore DT,
Waldum HL.
Bioactivity studies on new gastrin analogues.
Scand J Gastroenterol. 1989 Jun;24(5):577-80. doi: 10.3109/00365528909093092. PMID:
2762757.

326: Sandvik AK, Lewin MJ, Waldum HL.
Histamine release in the isolated vascularly perfused stomach of the rat: regulation by
autoreceptors.
Br J Pharmacol. 1989 Mar;96(3):557-62. doi: 10.1111/j.1476-5381.1989.tb11853.x.
PMID:2470453; PMCID: PMC1854377.

327: Waldum HL, Sandvik AK.
Histamine and the stomach.
Scand J Gastroenterol. 1989 Mar;24(2):130-9. doi: 10.3109/00365528909093027. PMID:
2467349.

328: Waldum HL, Brenna E, Sandvik AK, Kleveland PM, Petersen H, Søgnen B.
Histamine and gastrin in plasma of patients with upper gastrointestinal diseases.
Digestion. 1989;42(3):121-7. doi: 10.1159/000199836. PMID: 2767343.

329: Sandvik AK, Holst JJ, Waldum HL.
The effect of gastrin-releasing peptide on acid secretion and the release of gastrin,
somatostatin, and histamine in the totally isolated, vascularly perfused rat stomach.
Scand J Gastroenterol. 1989 Jan;24(1):9-15. doi: 10.3109/00365528909092232. PMID:
2467348.

330: Sandvik AK, Kleveland PM, Waldum HL.
Muscarinic M2 stimulation releases histamine in the totally isolated, vascularly perfused
rat stomach.
Scand J Gastroenterol. 1988 Nov;23(9):1049-56. doi: 10.3109/00365528809090168. PMID:
2470130.




                                       Page 42 of 53
  Case 3:18-cv-01063-JWD-EWD             Document 99-4        04/27/22     Page 226 of 236




331: Sandvik AK, Kofstad J, Holst JJ, Waldum HL.
Ionized calcium influences gastrin stimulated histamine release and acid secretion, but not
histamine stimulated acid output in the totally isolated vascularly perfused rat stomach.
Acta Physiol Scand. 1988 Nov;134(3):443-8. doi: 10.1111/j.1748-1716.1988.tb08513.x. PMID:
2465675.

332: Sandvik AK, Waldum HL.
The effect of misoprostol on base-line and stimulated acid secretion and on gastrin and
histamine release in the totally isolated, vascularly perfused rat stomach.
Scand J Gastroenterol. 1988 Aug;23(6):696-700. doi: 10.3109/00365528809093935. PMID:
2459756.

333: Sandvik AK, Waldum HL.
The effect of somatostatin on baseline and stimulated acid secretion and vascular histamine
release from the totally isolated vascularly perfused rat stomach.
Regul Pept. 1988 Mar;20(3):233-9. doi: 10.1016/0167-0115(88)90079-1. PMID: 2452464.

334: Petersen H, Johannessen T, Kleveland PM, Fjøsne U, Dybdahl JH, Waldum HL.
Do we need to listen to the patient? The predictive value of symptoms.
Scand J Gastroenterol Suppl. 1988;155:30-6. doi: 10.3109/00365528809096278. PMID:
3244998.

335: Sandvik AK, Waldum HL, Kleveland PM, Schulze Søgnen B.
Gastrin produces an immediate and dose-dependent histamine release preceding acid
secretion in the
totally isolated, vascularly perfused rat stomach.
Scand J Gastroenterol. 1987 Sep;22(7):803-8. doi: 10.3109/00365528708991918. PMID:
2445018.

336: Kleveland PM, Waldum HL, Larsson H.
Gastric acid secretion in the totally isolated, vascularly perfused rat stomach. A selective
muscarinic-1 agent does,
whereas gastrin does not, augment maximal histamine-stimulated acid secretion.
Scand J Gastroenterol. 1987 Aug;22(6):705-13. doi: 10.3109/00365528709011147. PMID:
2443961.

337: Kleveland PM, Waldum HL.
The storage time of monoiodinated gastrin affects the biological activity and binding to rat
fundic plasma membranes similarly, whereas the immunoreactivity is less affected.
Scand J Gastroenterol. 1987 May;22(4):390-6. doi: 10.3109/00365528708991480. PMID:
3602920.




                                        Page 43 of 53
  Case 3:18-cv-01063-JWD-EWD             Document 99-4        04/27/22     Page 227 of 236




338: Sandvik AK, Kleveland PM, Waldum HL.
Stimulated pepsin secretion after omeprazole-induced acid suppression in the totally
isolated, vascularly perfused
rat stomach.
Scand J Gastroenterol. 1987 Apr;22(3):362-6. doi: 10.3109/00365528709078605. PMID:
2438747.

339: Kleveland PM, Waldum HL, Petersen H, Sandberg P.
Pepsin secretion by the totally isolated, vascularly perfused rat stomach.
Scand J Gastroenterol. 1987 Mar;22(2):165-73. doi: 10.3109/00365528708991875. PMID:
2953063.

340: Sandvik AK, Kleveland PM, Waldum HL.
The effect of secretin on acid and pepsin secretion and gastrin release in the totally isolated
vascularly perfused
rat stomach.
Regul Pept. 1987 Mar;17(3):143-9. doi: 10.1016/0167-0115(87)90023-1. PMID: 2438726.

341: Waldum HL, Kleveland PM.
Gastrointestinal regulatory peptides: radioimmunoassay and biological activity.
Scand J Gastroenterol. 1986 Nov;21(9):1025-8. doi: 10.3109/00365528608996415. PMID:
3544184.

342: Kleveland PM, Waldum HL, Bjerve KS, Fjøsne HE.
Bioassay of gastrin, using the totally isolated, vascularly perfused rat stomach. A biomodel
sensitive to
gastrin in physiological concentrations.
Scand J Gastroenterol. 1986 Oct;21(8):945-50. doi: 10.3109/00365528608996400. PMID:
3775261.

343: Kleveland PM, Waldum HL.
Binding and degradation of 125I-gastrin by plasma membranes from homogenized rat
gastric mucosa.
Scand J Gastroenterol. 1986 Jun;21(5):547-55. doi: 10.3109/00365528609003098. PMID:
3018914.

344: Kleveland PM, Haugen SE, Waldum HL.
Effect of pentagastrin on gastric acid secretion in the totally isolated vascularly perfused
rat stomach stimulated
with the phosphodiesterase inhibitor isobutyl methylxanthine.
Scand J Gastroenterol. 1986 Jun;21(5):577-84. doi: 10.3109/00365528609003103. PMID:
2428094.




                                         Page 44 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22     Page 228 of 236




345: Fjøsne U, Kleveland PM, Waldum H, Halvorsen T, Petersen H.
The clinical benefit of routine upper gastrointestinal endoscopy.
Scand J Gastroenterol. 1986 May;21(4):433-40. doi: 10.3109/00365528609015159. PMID:
3726451.

346: Kleveland PM, Haugen SE, Sandvik S, Waldum HL.
The effect of pentagastrin on the gastric secretion by the totally isolated vascularly
perfused rat
stomach.
Scand J Gastroenterol. 1986 Apr;21(3):379-84. doi: 10.3109/00365528609003091. PMID:
3086966.

347: Fjøsne U, Waldum H, Haanshuus AP, Johannessen HL, Petersen H.
Colontømming før koloskopi [Cleansing of the colon before coloscopy].
Tidsskr Nor Laegeforen. 1986 Jan 20;106(2):137-40. Norwegian. PMID: 3513365.

348: Waldum HL, Dregelid E, Larsen T, Lygren I, Burhol PG, Schulz TB.
The effect of secretin on the abdominal distribution of the cardiac output using
radiolabelled microspheres in rats. Mater Med Pol. 1986 Jan-Mar;18(1):12-5. PMID:
3747604.

349: Fjøsne U, Waldum HL, Romslo I, Kleveland PM, Johnsen H, Engebretsen LF.
Amylase, pancreatic isoamylase and lipase in serum before and after endoscopic
pancreatography.
Acta Med Scand. 1986;219(3):301-4. doi: 10.1111/j.0954-6820.1986.tb03315.x. PMID:
2422881.

350: Sandvik A, Kaul BK, Waldum H, Petersen H.
Gastric acid and pepsin secretion in response to modified sham feeding in active and
inactive duodenal ulcer
disease.
Scand J Gastroenterol. 1985 Jun;20(5):602-6. doi: 10.3109/00365528509089703. PMID:
3927472.

351: Kleveland PM, Haugen SE, Waldum HL.
The preparation of bioactive 125I-gastrin, using Iodo-gen as oxidizing agent, and the use of
this tracer in
receptor studies.
Scand J Gastroenterol. 1985 Jun;20(5):569-76. doi: 10.3109/00365528509089698. PMID:
2992067.

352: Fjøsne U, Frøland G, Kleveland PM, Grande J, Waldum H, Petersen H.
Misbruk av sykehussenger [Misuse of hospital beds].
Tidsskr Nor Laegeforen. 1985 Jan 20;105(2):160-2. Norwegian. PMID: 3975885.




                                       Page 45 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4        04/27/22    Page 229 of 236




353: Waldum HL, Jorde R, Burhol PG, Schulz TB.
The effect of ethanol ingestion on plasma secretion and plasma cholecystokinin (CCK) in
man.
Mater Med Pol. 1985 Jan-Mar;17(1):39-40. PMID: 4033221.

354: Waldum HL.
Radioimmunoassay of pepsin in gastric juice.
Prog Clin Biol Res. 1985;173:75-8. PMID: 3920672.

355: Waldum HL.
The influence of nervous and humoral stimulation on serum group I pepsinogens.
Prog Clin Biol Res. 1985;173:115-27. PMID: 2858864.

356: Florholmen J, Burhol PG, Jorde R, Waldum HL.
The effect of insulin-induced hypoglycemia and atropine on serum cationic trypsin-like
immunoreactivity in
man.
Scand J Gastroenterol. 1984 Nov;19(8):1086-90. PMID: 6398509.

357: Elgsaas M, Waldum HL, Burhol PG.
Den kliniske nytte av leverbiopsi ved inflammatorisk leverlidelse [The clinical usefulness of
liver biopsy in
inflammatory liver disease].
Tidsskr Nor Laegeforen. 1984 Feb 10;104(4):229-31. Norwegian. PMID: 6701865.

358: Lygren I, Burhol PG, Waldum HL.
Production and evaluation of VIP antibodies in rabbits.
Mater Med Pol. 1984 Jan-Mar;16(1):26-9. PMID: 6527569.

359: Florholmen J, Burhol PG, Jorde R, Waldum HL.
The effect of graded doses of secretin on serum trypsin, serum pancreatic amylase, serum
insulin, plasma
somatostatin, and plasma pancreatic polypeptide in man.
Scand J Gastroenterol. 1984 Jan;19(1):24-30. PMID: 6200924.

360: Sandvik A, Waldum H, Erichsen H, Myrvold H, Petersen H.
Overvåkning av pasienter med akutte øvre gastrointestinale blødninger [Monitoring of
patients
with acute upper gastrointestinal hemorrhage].
Tidsskr Nor Laegeforen. 1983 Dec 10;103(34-36):2329-31. Norwegian. PMID: 6607550.

361: Gunnes P, Waldum HL, Rasmussen K, Ostensen H, Burhol PG.
Cardiovascular effects of secretin infusion in man.
Scand J Clin Lab Invest. 1983 Nov;43(7):637-42. PMID: 6658378.




                                        Page 46 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22    Page 230 of 236




362: Oktedalen O, Opstad PK, Jorde R, Waldum H.
The effect of prolonged strain on serum levels of human pancreatic polypeptide and group
I pepsinogens.
Scand J Gastroenterol. 1983 Jul;18(5):663-8. doi: 10.3109/00365528309181654. PMID:
6675187.

363: Oktedalen O, Opstad PK, Waldum H, Jorde R.
The fasting levels and the postprandial response of gastroenteropancreatic hormones
before and after
prolonged fasting.
Scand J Gastroenterol. 1983 May;18(4):555-60. doi: 10.3109/00365528309181637. PMID:
6669932.

364: Waldum HL, Petersen H.
Histamin-2-reseptorblokkernes plass innen gastroenterologien [The use of histamine H2
receptor blockaders in
gastroenterology].
Tidsskr Nor Laegeforen. 1983 Apr 30;103(12):980-3. Norwegian. PMID: 6136102.

365: Lygren I, Burhol PG, Jorde R, Waldum HL.
The effect of insulin-induced hypoglycemia with and without atropine on plasma vasoactive
intestinal
polypeptide in man.
Scand J Gastroenterol. 1983 Jan;18(1):155-9. doi: 10.3109/00365528309181576. PMID:
6675173.

366: Waldum HL, Johnsrud N.
Intraluminalt duodenaldivertikkel [Intraluminal duodenal diverticulum].
Tidsskr Nor Laegeforen. 1982 Nov 30;102(33):1776-7. Norwegian. PMID: 6820197.

367: Lygren I, Waldum HL, Burhol PG, Rekvig OP.
Secretin exerts inhibition of the 8BrcAMP-stimulated 86Rb influx into avian red blood
cells.
Regul Pept. 1982 Sep;4(4):221-5. doi: 10.1016/0167-0115(82)90114-8. PMID: 6293005.

368: Haukland HH, Waldum HL, Johnson JA.
Effect of proximal gastric vagotomy on insulin- induced gastric H+ and pepsin secretion
and serum group I pepsinogens.
Scand J Gastroenterol. 1982 Jun;17(4):555-9. doi: 10.3109/00365528209182249. PMID:
6813958.

369: Lygren I, Jorde R, Burhol PG, Waldum HL.
The effect of atropine on plasma vasoactive intestinal polypeptide after intraduodenal
infusion of fat in man.
Scand J Gastroenterol. 1982 Apr;17(3):405-7. doi: 10.3109/00365528209182076. PMID:
7134868.



                                       Page 47 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22     Page 231 of 236




370: Schulz TB, Jorde R, Waldum HL, Burhol PG.
Preparation of 125I-labeled gastric inhibitory polypeptide, using water-insoluble 1,2,4,6-
tetrachloro-3
alpha,6 alpha-diphenylglycoluril (Iodo-gen) as the oxidizing agent.
Scand J Gastroenterol. 1982 Apr;17(3):379-82. doi: 10.3109/00365528209182071. PMID:
7134864.

371: Waldum HL, Jorde R, Gunnes P.
Renal excretion of and the effect of posture on serum group I pepsinogens.
Scand J Gastroenterol. 1982 Mar;17(2):253-5. doi: 10.3109/00365528209182048. PMID:
7134850.

372: Burhol PC, Jorde R, Lygren I, Waldum HL.
En oversikt over gastrointestinale reguleringspeptider [A review of gastrointestinal
regulatory peptides].
Tidsskr Nor Laegeforen. 1982 Jan 30;102(3):185-9. Norwegian. PMID: 7089943.

373: Burhol PG, Jenssen TG, Lygren I, Schulz TB, Jorde R, Waldum HL.
Iodination with Iodo-gen and radioimmunoassay of cholecystokinin (CCK) in acidified
plasma,
CCK release, and molecular CCK components in man.
Digestion. 1982;23(3):156-68. doi: 10.1159/000198723. PMID: 7106417.

374: Jorde R, Schulz TB, Burhol PG, Waldum HL.
Effect of gastrin on fasting and postprandial plasma GIP release in man.
Digestion. 1982;25(2):81-7. doi: 10.1159/000198815. PMID: 6293900.

375: Walde NH, Waldum HL.
The effect of secretin in physiological doses on serum group I pepsinogens (PG I) in man.
Hepatogastroenterology. 1981 Dec;28(6):322-3. PMID: 7345013.

376: Burhol PG, Waldum HL, Jorde R.
Arkiv-og registreringssystemer ved et gastroenterologisk laboratorium [File and
registration systems in a
gastroenterological laboratory].
Tidsskr Nor Laegeforen. 1981 Nov 10;101(31):1767-70. Norwegian. PMID: 7339967.

377: Waldum HL, Bjorvatn B, Burhol PG.
Gastritis, peptic ulcer disease, inflammatory bowel disease, and stomach and colon cancers-
are they all caused
by viral infections?
Med Hypotheses. 1981 Nov;7(11):1329-38. doi: 10.1016/0306-9877(81)90123-7. PMID:
7321919.




                                       Page 48 of 53
  Case 3:18-cv-01063-JWD-EWD           Document 99-4       04/27/22     Page 232 of 236




378: Jenssen TG, Waldum HL, Burhol PG, Straume BK.
Diagnostikk av ulcus pepticum og cancer ventriculi i et gastroskopimateriale [The
diagnosis of peptic ulcer
and gastric cancer in gastroscopy case material].
Tidsskr Nor Laegeforen. 1981 Apr 30;101(12):706-9. Norwegian. PMID: 7245155.

379: Jorde R, Burhol PG, Waldum HL.
The effect of atropine on plasma gastric inhibitory polypeptide (GIP), serum insulin, and
blood glucose after
intraduodenal infusion of fat.
Scand J Gastroenterol. 1981 Apr;16(3):331-6. doi: 10.3109/00365528109181977. PMID:
16435472.

380: Myhre ES, Waldum HL, Burhol PG, Bogen B, Bostad L, Wesenberg F.
Erveret idiopatisk hypogammaglobulinemi. Et pasientmateriale [Acquired idiopathic
hypogammaglobulinemia.
A patient protocol].
Tidsskr Nor Laegeforen. 1981 Mar 10;101(7):459-61. Norwegian. PMID: 7209936.

381: Schulz TB, Burhol PG, Jorde R, Waldum HL.
Gastric inhibitory polypeptide release into the portal vein in response to intraduodenal
glucose loads in
anesthetized rats.
Scand J Gastroenterol. 1981;16(8):1061-5. doi: 10.3109/00365528109181029. PMID: 7336132.

382: Waldum HL, Burhol PG.
Serum group I pepsinogens.
Scand J Gastroenterol. 1981;16(4):449-51. doi: 10.3109/00365528109181996. PMID: 7323680.

383: Jorde R, Burhol PG, Waldum HL.
The effect of a test meal on plasma gastric inhibitory polypeptide and serum gastrin in
patients with achlorhydria and hypergastrinemia, and in patients with normal gastric H+
secretion.
Digestion. 1981;21(6):304-9. doi: 10.1159/000198582. PMID: 7250551.

384: Burhol PG, Jorde R, Lygren I, Schulz TB, Waldum HL.
Diurnal profile of plasma secretin in man.
Digestion. 1981;22(4):192-5. doi: 10.1159/000198644. PMID: 7198065.

385: Jorde R, Waldum HL, Burhol PG.
The effect of insulin-induced hypoglycemia with and without atropine on plasma GIP in
man.
Scand J Gastroenterol. 1981;16(2):219-23. doi: 10.3109/00365528109181959. PMID: 7031846.




                                       Page 49 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4       04/27/22    Page 233 of 236




386: Jorde R, Burhol PG, Schulz TB, Waldum HL, Lygren I, Jenssen T, Myhre ES.
The effect of a 34-h fast on the meal-induced rises in plasma GIP, serum insulin, and blood
glucose in man.
Scand J Gastroenterol. 1981;16(1):109-12. PMID: 7015476.

387: Waldum HL, Walde N, Burhol PG.
The effect of secretin on gastric H+ and pepsin secretion and on urinary electrolyte
excretion in man.
Scand J Gastroenterol. 1981;16(8):999-1004. doi: 10.3109/00365528109181018. PMID:
6801758.

388: Jorde R, Waldum HL, Burhol PG, Lygren I, Schulz TB, Florholmen J, Jenssen TG.
The effect of somatostatin on fasting and postprandial plasma GIP, serum insulin, and
blood glucose in man.
Scand J Gastroenterol. 1981;16(1):113-9. PMID: 6112787.

389: Waldum HL.
Virushepatitter [Virus hepatitis].
Tidsskr Nor Laegeforen. 1980 Dec 10;100(34-36):2058-60. Norwegian. PMID: 7456073.

390: Waldum HL, Sundsfjord JA, Aanstad U, Burhol PG.
The effect of secretin on renal haemodynamics in man.
Scand J Clin Lab Invest. 1980 Sep;40(5):475-8. doi: 10.3109/00365518009101870. PMID:
7444349.

391: Florholmen J, Waldum H, Nordøy A.
Cerebral thrombosis in two patients with malabsorption syndrome treated with vitamin K.
Br Med J. 1980 Aug 23;281(6239):541. doi: 10.1136/bmj.281.6239.541. PMID: 7427361;
PMCID:
PMC1713452.

392: Burhol PG, Rayford PL, Jorde R, Waldum HL, Schulz TB, Thompson JC.
Radioimmunoassay of plasma cholecystokinin (CCK), duodenal release of CCK, diurnal
variation of plasma CCK, and immunoreactive plasma CCK components in man.
Hepatogastroenterology. 1980 Aug;27(4):300-9. PMID: 7193631.

393: Waldum HL, Aanstad U, Burhol PG, Berstad A.
The diuretic effect of secretin in man.
Scand J Clin Lab Invest. 1980 Jun;40(4):381-7. doi: 10.3109/00365518009092658. PMID:
7414255.

394: Waldum HL, Straume BK, Burhol PG, Dahl LB.
Serum group I pepsinogens in children.
Acta Paediatr Scand. 1980 Mar;69(2):215-8. doi: 10.1111/j.1651-2227.1980.tb07063.x. PMID:
7368925.




                                       Page 50 of 53
  Case 3:18-cv-01063-JWD-EWD           Document 99-4       04/27/22    Page 234 of 236




395: Waldum HL, Burhol PG.
The effect of secretin on serum group I pepsinogens (PG I) in man.
Scand J Gastroenterol. 1980;15(3):273-6. doi: 10.3109/00365528009181469. PMID: 7433885.

396: Waldum HL, Jorde R, Burhol PG.
The effect of a test meal on serum group I pepsinogens (PG I) and serum gastrin in persons
with normal gastric H+ secretion and in persons with achlorhydria.
Scand J Gastroenterol. 1980;15(3):267-71. doi: 10.3109/00365528009181468. PMID: 7433884.

397: Burhol PG, Jorde R, Waldum HL.
Radioimmunoassay of plasma gastric inhibitory polypeptide (GIP), release of GIP after a
test meal and duodenal
infusion of bile, and immunoreactive plasma GIP components in man.
Digestion. 1980;20(5):336-45. doi: 10.1159/000198457. PMID: 7390059.

398: Waldum HL, Straume BK, Lundgren R.
Serum group I pepsinogens during pregnancy.
Scand J Gastroenterol. 1980;15(1):61-3. doi: 10.3109/00365528009181433. PMID: 7367823.

399: Lygren I, Burhol PG, Waldum HL, Jorde R.
The effect of duodenal infusion of graded doses of HCL on plasma secretin and vasoactive
intestinal polypeptide
(VIP), and on duodenal bicarbonate secretion in man.
Mater Med Pol. 1980;12(4):223-8. PMID: 7266047.

400: Burhol PG, Lygren I, Waldum HL, Jorde R.
The effect of duodenal infusion of bile on plasma VIP, GIP, and secretin and on duodenal
bicarbonate secretion.
Scand J Gastroenterol. 1980;15(8):1007-11. doi: 10.3109/00365528009181805. PMID: 7233065.

401: Jorde R, Burhol PG, Waldum HL, Schulz TB, Lygren I, Florholmen J.
Diurnal variation of plasma gastric inhibitory polypeptide in man.
Scand J Gastroenterol. 1980;15(5):617-9. doi: 10.3109/00365528009182224. PMID: 7192431.

402: Waldum HL, Burhol PG.
The effect of insulin-induced hypoglycaemia on serum group I pepsinogens, serum gastrin,
and plasma secretin and on gastric H+ and pepsin outputs.
Scand J Gastroenterol. 1980;15(3):259-66. doi: 10.3109/00365528009181467. PMID: 6776621.

403: Waldum HL, Burhol PG.
The effect of somatostatin on serum group I pepsinogens (PG I), serum gastrin, and gastric
H+ and pepsin secretion in man.
Scand J Gastroenterol. 1980;15(4):425-31. doi: 10.3109/00365528009181495. PMID: 6107988.




                                      Page 51 of 53
  Case 3:18-cv-01063-JWD-EWD            Document 99-4        04/27/22     Page 235 of 236




404: Pedersen EK, Waldum H, Mair IW.
Acute cochleovestibular dysfunction.
Clin Otolaryngol Allied Sci. 1979 Dec;4(6):401-6. doi: 10.1111/j.1365-2273.1979.tb01772.x.
PMID: 316749.

405: Jorde R, Lygren I, Burhol PG, Waldum HL.
The effect of intragastric infusion of bile, meat extract, CaCl2, and ethanol on plasma VIP
and gastrin and
on gastric H+ and pepsin outputs.
Mater Med Pol. 1979 Oct-Dec;11(4):330-3. PMID: 45275.

406: Johnsrud N, Waldum HL.
Intraluminal duodenal diverticulum diagnosed by intravenous cholangiography.
Acta Hepatogastroenterol (Stuttg). 1979 Aug;26(4):331-3. PMID: 115208.

407: Waldum HL, Burhol PG. The effect of duodenal acidification on plasma
secretin and gastrin and pancreatic bicarbonate secretion in man.
Acta Hepatogastroenterol (Stuttg). 1979 Apr;26(2):142-7. PMID: 37687.

408: Burhol PG, Waldum HL, Jorde R, Lygren I.
The effect of a test meal on plasma vasoactive intestinal polypeptide (VIP), gastric
inhibitory polypeptide
(GIP), and secretin in man.
Scand J Gastroenterol. 1979;14(8):939-43. PMID: 531513.

409: Størset O, Todnem K, Waldum HL, Burhol PG, Kearney MS.
A patient with Cronkhite-Canada syndrome, myxedema and muscle atrophy.
Acta Med Scand. 1979;205(4):343-6. doi: 10.1111/j.0954-6820.1979.tb06060.x. PMID: 433675.

410: Waldum HL, Straume BK, Burhol PG.
Radioimmunoassay of group I pepsinogens (PGI) and the effect of food on serum PGI.
Scand J Gastroenterol. 1979;14(2):241-7. doi: 10.3109/00365527909179877. PMID: 432546.

411: Waldum HL, Burhol PG, Straume BK.
Serum group I pepsinogens during prolonged infusion of pentagastrin and secretin in man.
Scand J Gastroenterol. 1979;14(6):761-8. doi: 10.3109/00365527909181950. PMID: 43586.

412: Burhol PG, Waldum HL.
Radioimmunoassay of secretin in acidified plasma.
Acta Hepatogastroenterol (Stuttg). 1978 Dec;25(6):474-81. PMID: 726817.

413: Burhol PG, Waldum HL.
Organisering og drift av en medisinsk poliklinikk [Organization and operation of a medical
outpatient clinic].
Tidsskr Nor Laegeforen. 1978 May 20;98(14):753-5. Norwegian. PMID: 663914.




                                        Page 52 of 53
  Case 3:18-cv-01063-JWD-EWD             Document 99-4       04/27/22     Page 236 of 236




414: Burhol PG, Waldum HL.
Production and evaluation of secretin antibodies.
Acta Hepatogastroenterol (Stuttg). 1978 Apr;25(2):139-43. PMID: 654847.

415: Burhol PG, Lygren I, Waldum HL.
Radioimmunoassay of vasoactive intestinal polypeptide in plasma.
Scand J Gastroenterol. 1978;13(7):807-13. doi: 10.3109/00365527809182195. PMID: 725503.

416: Waldum HL, Burhol PG, Straume BK.
Serum group I pepsinogens and gastrin in relation to gastric H+ and pepsin outputs before
and after subcutaneous
injection of pentagastrin.
Scand J Gastroenterol. 1978;13(8):943-6. doi: 10.3109/00365527809181373. PMID: 31675.

417: Oyen D, Giercksky KE, Waldum H.
Erfaringer med endoskopisk retrograd cholangio-pancreatografi (ERCP) ved et
regionsykehus [Experiences with
endoscopic retrograde cholangio-pancreaticography (ERCP) at a regional hospital].
Tidsskr Nor Laegeforen. 1977 Nov 30;97(33):1746-8. Norwegian. PMID: 594976.

418: Waldum HL, Burhol PG, Johnson JA, Smith AG.
MSH-producing gastric tumour.
Acta Hepatogastroenterol (Stuttg). 1977 Oct;24(5):386-8. PMID: 930541.

419: Waldum HL, Burhol PG, Nordoe A, Kearney M.
Proteinlosing gastropathy with gastric hypersecretion of acid (H+) and pepsin and
hypergastrinemia.
A casereport.
Acta Hepatogastroenterol (Stuttg). 1977 Aug;24(4):296-301. PMID: 333848.

420: Waldum HL, Fuglesang JE.
Fulminant meningococcemia starting as an acute gastroenteritis.
Scand J Infect Dis. 1977;9(4):309-10. doi: 10.3109/inf.1977.9.issue-4.10. PMID: 601525.

421: Waldum HL, Nietsche UB.
CRST-syndromet, en variant av sklerodermi [CRST- syndrome, a form of scleroderma].
Tidsskr Nor Laegeforen. 1976 Aug 30;96(24):1267-8. Norwegian. PMID: 968856.

422: Waldum HL, Malde K.
Yersinia enterocolitica-infeksjon med epidemisk opptreden [Epidemics of Yersinia
enterocolitica infections]. Tidsskr Nor Laegeforen. 1975 Oct 10;95(28):1578-9, 1593, 1602.
Norwegian. PMID: 1179383.




                                        Page 53 of 53
